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                                            No. 25-1282


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                        AMERICAN FEDERATION OF TEACHERS, et al.,

                                                        Plaintiffs-Appellees,

                                                  v.

         SCOTT BESSENT, IN HIS OFFICIAL CAPACITY AS SECRETARY OF THE TREASURY,
                                         et al.,

                                                        Defendants-Appellants.


                        On Appeal from the United States District Court
                                for the District of Maryland


                          JOINT APPENDIX – VOLUME I (JA1-JA578)


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                                                                                                              APPEAL

                                       U.S. District Court
                                District of Maryland (Greenbelt)
                         CIVIL DOCKET FOR CASE #: 8:25-cv-00430-DLB


  American Federation of Teachers et al v. Bessent et al                    Date Filed: 02/10/2025
  Assigned to: Judge Deborah L. Boardman                                    Jury Demand: None
  Case in other court: Fourth Circuit Court of Appeals, 25-01282            Nature of Suit: 440 Civil Rights: Other
  Cause: 05:551 Administrative Procedures Act                               Jurisdiction: U.S. Government Defendant

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                                                 JA7                                           7/26
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                                                 JA9                                           9/26
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                                                JA10                                           10/26
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                                                JA11                                           11/26
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                                                JA12                                           12/26
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                                             District of Maryland (CM/ECF Live NextGen 1.7.1.1)

                                                                         Jessica A. Marsden
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         John L. Schwab
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         Kristy Parker
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         Laurence M. Schwartztol
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         Liam Gennari
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         Victor Roman Leal
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         Wendy Qiuyu Xiao
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         Xiaonan April Hu
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED
  Plaintiff
  International Federation of Professional           represented by Mark Hanna
  and Technical Engineers                                           (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                         Carson J. Scott
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         Jane Bentrott
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                    JA13                                           13/26
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                                                 District of Maryland (CM/ECF Live NextGen 1.7.1.1)

                                                                             ATTORNEY TO BE NOTICED

                                                                             Jessica A. Marsden
                                                                             (See above for address)
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             John L. Schwab
                                                                             (See above for address)
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Kristy Parker
                                                                             (See above for address)
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Laurence M. Schwartztol
                                                                             (See above for address)
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Liam Gennari
                                                                             (See above for address)
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Victor Roman Leal
                                                                             (See above for address)
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Wendy Qiuyu Xiao
                                                                             (See above for address)
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             Xiaonan April Hu
                                                                             (See above for address)
                                                                             PRO HAC VICE
                                                                             ATTORNEY TO BE NOTICED

                                                                             David J Rodwin
                                                                             (See above for address)
                                                                             ATTORNEY TO BE NOTICED


  V.
  Defendant
  Scott Bessent                                          represented by Bradley Philip Humphreys
  in his official capacity as Secretary of the                          United States Department of Justice
  Treasury                                                              1100 L St. NW
                                                                        Washington, DC 20005
                                                        JA14                                                  14/26
USCA4      Appeal: 25-1282
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                                             District of Maryland (CM/ECF Live NextGen 1.7.1.1)

                                                                         2023050878
                                                                         Fax: 2026168470
                                                                         Email: bradley.humphreys@usdoj.gov
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Elizabeth J. Shapiro
                                                                         DOJ-Civ
                                                                         Poc Agostinho, Jean
                                                                         1100 L St., N.W.
                                                                         8142
                                                                         Washington, DC 20530
                                                                         202-307-0340
                                                                         Email: elizabeth.shapiro@usdoj.gov
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Ariana Wright Arnold
                                                                         DOJ-USAO
                                                                         U.S. Attorney's Office - District of
                                                                         Maryland
                                                                         36 S. Charles Street
                                                                         Ste 4th Floor
                                                                         Baltimore, MD 21201
                                                                         410-209-4813
                                                                         Fax: 410-962-9947
                                                                         Email: ariana.arnold@usdoj.gov
                                                                         ATTORNEY TO BE NOTICED

                                                                         Emily Margaret Hall
                                                                         DOJ-Civ
                                                                         Civil Division, Office of the Assistant
                                                                         Attorney General
                                                                         950 Pennsylvania Ave. NW
                                                                         Washington, DC 20530
                                                                         202-307-6482
                                                                         Email: emily.hall@usdoj.gov
                                                                         ATTORNEY TO BE NOTICED
  Defendant
  United States Department of the Treasury           represented by Bradley Philip Humphreys
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                         Elizabeth J. Shapiro
                                                                         (See above for address)
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Ariana Wright Arnold
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

                                                    JA15                                                           15/26
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                                                                        Emily Margaret Hall
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED
  Defendant
  Charles Ezell                                     represented by Bradley Philip Humphreys
  in his official capacity as the Acting                           (See above for address)
  Director of the Office of Personnel                              LEAD ATTORNEY
  Management                                                       ATTORNEY TO BE NOTICED

                                                                        Elizabeth J. Shapiro
                                                                        (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                        Ariana Wright Arnold
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Emily Margaret Hall
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Denise Carter                                     represented by Bradley Philip Humphreys
  in her official capacity as the Acting                           (See above for address)
  Secretary of Education                                           LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                        Elizabeth J. Shapiro
                                                                        (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                        Ariana Wright Arnold
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED

                                                                        Emily Margaret Hall
                                                                        (See above for address)
                                                                        ATTORNEY TO BE NOTICED
  Defendant
  Unites States Office of Personnel                 represented by Bradley Philip Humphreys
  Management                                                       (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                        Elizabeth J. Shapiro
                                                                        (See above for address)
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                        Ariana Wright Arnold
                                                   JA16                                           16/26
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                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Emily Margaret Hall
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
  Defendant
  United States Department of Education               represented by Bradley Philip Humphreys
                                                                     (See above for address)
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                          Elizabeth J. Shapiro
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Ariana Wright Arnold
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Emily Margaret Hall
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED


   Date Filed      #   Docket Text
   02/10/2025      1 COMPLAINT against All Defendants ( Filing fee $ 405 receipt number AMDDC-
                     11775871.), filed by Christopher Purdy, Kristofer Goldsmith, National Active and Retired
                     Federal Employees, Thomas Fant, American Federation of Teachers, International
                     Association of Machinists and Aerospace Workers, National Federation of Federal
                     Employees, Jason Cain, Clifford Grambo, Donald Martinez. (Attachments: # 1 Civil Cover
                     Sheet, # 2 Summons, # 3 Summons, # 4 Summons, # 5 Summons, # 6 Summons, # 7
                     Summons, # 8 Summons, # 9 Summons)(Rodwin, David) (Entered: 02/10/2025)
   02/11/2025      2 Summons Issued 60 days as to Scott Bessent, Denise Carter, Charles Ezell, United States
                     Department of Education, United States Department of the Treasury, Unites States Office
                     of Personnel Management, U.S. Attorney and U.S. Attorney General(bas, Deputy Clerk)
                     (Entered: 02/11/2025)
   02/11/2025          Case Reassigned to Judge Deborah L. Boardman. Judge Deborah K. Chasanow no longer
                       assigned to the case. (jf3s, Deputy Clerk) (Entered: 02/11/2025)
   02/12/2025      3 MOTION to Appear Pro Hac Vice for John L. Schwab (Filing fee $100, receipt number
                     AMDDC-11780001.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                     02/12/2025)
   02/12/2025      4 MOTION to Appear Pro Hac Vice for Xiaonan April Hu (Filing fee $100, receipt number
                     AMDDC-11780072.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                                                     JA17                                                      17/26
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                       National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                       02/12/2025)
   02/12/2025      5 MOTION to Appear Pro Hac Vice for Victor Roman Leal (Filing fee $100, receipt number
                     AMDDC-11780084.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                     02/12/2025)
   02/12/2025      6 MOTION to Appear Pro Hac Vice for Carson J. Scott (Filing fee $100, receipt number
                     AMDDC-11780219.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                     02/12/2025)
   02/12/2025      7 MOTION to Appear Pro Hac Vice for Kristy Parker (Filing fee $100, receipt number
                     AMDDC-11780235.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                     02/12/2025)
   02/12/2025      8 MOTION to Appear Pro Hac Vice for Shalini Goel Agarwal (Filing fee $100, receipt
                     number AMDDC-11780243.) by American Federation of Teachers, Jason Cain, Thomas
                     Fant, Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                     02/12/2025)
   02/12/2025      9 MOTION to Appear Pro Hac Vice for Daniel J. McNeil (Filing fee $100, receipt number
                     AMDDC-11780258.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                     02/12/2025)
   02/12/2025     10 MOTION to Appear Pro Hac Vice for Jessica A. Marsden (Filing fee $100, receipt number
                     AMDDC-11780283.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                     02/12/2025)
   02/12/2025     11 MOTION to Appear Pro Hac Vice for Laurence M. Schwartztol (Filing fee $100, receipt
                     number AMDDC-11780289.) by American Federation of Teachers, Jason Cain, Thomas
                     Fant, Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                     02/12/2025)
   02/12/2025     12 MOTION to Appear Pro Hac Vice for Jane Bentrott (Filing fee $100, receipt number
                     AMDDC-11780375.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, Donald Martinez, National Active and Retired Federal Employees,

                                                     JA18                                                      18/26
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                       National Federation of Federal Employees, Christopher Purdy(Rodwin, David) (Entered:
                       02/12/2025)
   02/12/2025     13 AMENDED COMPLAINT against All Defendants, filed by National Active and Retired
                     Federal Employees, Thomas Fant, American Federation of Teachers, Jason Cain, Donald
                     Martinez, Christopher Purdy, Kristofer Goldsmith, International Association of Machinists
                     and Aerospace Workers, Clifford Grambo, National Federation of Federal Employees,
                     International Federation of Professional and Technical Engineers. (Attachments: # 1
                     Exhibit A - Redlined Amended Complaint)(Rodwin, David) (Entered: 02/12/2025)
   02/12/2025     14 MOTION for Temporary Restraining Order by American Federation of Teachers, Jason
                     Cain, Thomas Fant, Kristofer Goldsmith, Clifford Grambo, International Association of
                     Machinists and Aerospace Workers, International Federation of Professional and Technical
                     Engineers, Donald Martinez, National Active and Retired Federal Employees, National
                     Federation of Federal Employees, Christopher Purdy (Attachments: # 1 Memorandum in
                     Support, # 2 Text of Proposed Order, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7
                     Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit)(Rodwin, David)
                     (Entered: 02/12/2025)
   02/13/2025     15 PAPERLESS ORDER granting 3 Motion to Appear Pro Hac Vice on behalf of John L.
                     Schwab. Directing attorney John L. Schwab to register for pro hac vice filing in the
                     District of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not
                     already done so. The Pro Hac Vice option must be selected when registering. Signed by
                     Clerk on 2/13/2025. (mh4s, Deputy Clerk) (Entered: 02/13/2025)
   02/13/2025     16 PAPERLESS ORDER granting 4 Motion to Appear Pro Hac Vice on behalf of Xiaonan
                     April Hu. Directing attorney Xiaonan April Hu to register for pro hac vice filing in the
                     District of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not
                     already done so. The Pro Hac Vice option must be selected when registering. Signed by
                     Clerk on 2/13/2025. (mh4s, Deputy Clerk) Modified on 2/13/2025 (mh4s). (Entered:
                     02/13/2025)
   02/13/2025     17 PAPERLESS ORDER granting 5 Motion to Appear Pro Hac Vice on behalf of Victor
                     Roman Leal. Directing attorney Victor Roman Leal to register for pro hac vice filing in the
                     District of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not
                     already done so. The Pro Hac Vice option must be selected when registering. Signed by
                     Clerk on 2/13/2025. (mh4s, Deputy Clerk) (Entered: 02/13/2025)
   02/13/2025     18 PAPERLESS ORDER granting 6 Motion to Appear Pro Hac Vice on behalf of Carson J.
                     Scott. Directing attorney Carson J. Scott to register for pro hac vice filing in the District of
                     Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not already done
                     so. The Pro Hac Vice option must be selected when registering. Signed by Clerk on
                     2/13/2025. (mh4s, Deputy Clerk) (Entered: 02/13/2025)
   02/13/2025     19 PAPERLESS ORDER granting 7 Motion to Appear Pro Hac Vice on behalf of Kristy
                     Parker. Directing attorney Kristy Parker to register for pro hac vice filing in the District of
                     Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not already done
                     so. The Pro Hac Vice option must be selected when registering. Signed by Clerk on
                     2/13/2025. (mh4s, Deputy Clerk) (Entered: 02/13/2025)
   02/13/2025     20 QC NOTICE: 8 Motion to Appear Pro Hac Vice, filed by Christopher Purdy, Kristofer
                     Goldsmith, Thomas Fant, International Association of Machinists and Aerospace Workers,
                     National Federation of Federal Employees, American Federation of Teachers, National
                     Active and Retired Federal Employees, Donald Martinez, Clifford Grambo, Jason Cain
                     needs to be modified. See attachment for details and corrective actions needed regarding
                     missing or incomplete information. (mh4s, Deputy Clerk) (Entered: 02/13/2025)

                                                        JA19                                                        19/26
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   02/13/2025     21 PAPERLESS ORDER granting 10 Motion to Appear Pro Hac Vice on behalf of Jessica A.
                     Marsden. Directing attorney Jessica A. Marsden to register for pro hac vice filing in the
                     District of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not
                     already done so. The Pro Hac Vice option must be selected when registering. Signed by
                     Clerk on 2/13/2025. (mh4s, Deputy Clerk) (Entered: 02/13/2025)
   02/13/2025     22 PAPERLESS ORDER granting 11 Motion to Appear Pro Hac Vice on behalf of Laurence
                     M. Schwartztol. Directing attorney Laurence M. Schwartztol to register for pro hac vice
                     filing in the District of Maryland through PACER at https://pacer.uscourts.gov/ if attorney
                     has not already done so. The Pro Hac Vice option must be selected when registering.
                     Signed by Clerk on 2/13/2025. (mh4s, Deputy Clerk) (Entered: 02/13/2025)
   02/13/2025     23 CORRECTED MOTION to Appear Pro Hac Vice for Shalini Goel Agarwal by American
                     Federation of Teachers, Jason Cain, Thomas Fant, Kristofer Goldsmith, Clifford Grambo,
                     International Association of Machinists and Aerospace Workers, International Federation
                     of Professional and Technical Engineers, Donald Martinez, National Active and Retired
                     Federal Employees, National Federation of Federal Employees, Christopher Purdy. The fee
                     has already been paid.(Rodwin, David) (Entered: 02/13/2025)
   02/13/2025     24 PAPERLESS ORDER granting 12 Motion to Appear Pro Hac Vice on behalf of Jane
                     Bentrott. Directing attorney Jane Bentrott to register for pro hac vice filing in the District
                     of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not already done
                     so. The Pro Hac Vice option must be selected when registering. Signed by Clerk on
                     2/13/2025. (mh4s, Deputy Clerk) (Entered: 02/13/2025)
   02/14/2025     25 PAPERLESS ORDER scheduling a hearing on 14 motion for a temporary restraining order
                     for Wednesday, February 19, 2025 at 10 a.m. in the Greenbelt Courthouse. The defendants'
                     opposition is due Monday, February 17 at 12 p.m. The plaintiffs' reply is due Tuesday,
                     February 18 at 12 p.m. Signed by Judge Deborah L. Boardman on 2/14/2025. (rs10,
                     Chambers) (Entered: 02/14/2025)
   02/14/2025     26 NOTICE of Appearance by Ariana Wright Arnold on behalf of All Defendants (Arnold,
                     Ariana) (Entered: 02/14/2025)
   02/14/2025          Telephone Conference held on 2/14/2025 before Judge Deborah L. Boardman. (rc2s,
                       Deputy Clerk) (Entered: 02/18/2025)
   02/17/2025     27 RESPONSE in Opposition re 14 MOTION for Temporary Restraining Order filed by Scott
                     Bessent, Denise Carter, Charles Ezell, United States Department of Education, United
                     States Department of the Treasury, Unites States Office of Personnel Management.
                     (Attachments: # 1 Exhibit 1 - Krause Declaration, # 2 Exhibit 2 - Robinson Declaration, #
                     3 Exhibit 3 - Gioeli Declaration, # 4 Exhibit 4 - Wenzler Declaration, # 5 Exhibit 5 -
                     Ramada Declaration, # 6 Exhibit 6 - Supplemental Ramada Declaration, # 7 Exhibit 7 -
                     Flagg Declaration, # 8 Exhibit 8 - Hogan Declaration, # 9 Text of Proposed Order)(Arnold,
                     Ariana) (Entered: 02/17/2025)
   02/18/2025     28 REPLY to Response to Motion re 14 MOTION for Temporary Restraining Order filed by
                     American Federation of Teachers, Jason Cain, Thomas Fant, Kristofer Goldsmith, Clifford
                     Grambo, International Association of Machinists and Aerospace Workers, International
                     Federation of Professional and Technical Engineers, Donald Martinez, National Active and
                     Retired Federal Employees, National Federation of Federal Employees, Christopher Purdy.
                     (Attachments: # 1 Exhibit - Declaration of Xiaonan April Hu, # 2 Exhibit - Attachments to
                     Declaration of Xiaonan April Hu)(Rodwin, David) (Entered: 02/18/2025)
   02/18/2025     29 NOTICE by Scott Bessent, Denise Carter, Charles Ezell, United States Department of
                     Education, United States Department of the Treasury, Unites States Office of Personnel
                     Management of Recent Decision (Attachments: # 1 Attachment Memorandum Opinion and
                                                       JA20                                                      20/26
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                       Order, University of California Student Association v. Carter, et al., Civil Action No. 25-
                       354 (RDM), ECF #20, (D.D.C. February 17, 2025))(Arnold, Ariana) (Entered: 02/18/2025)
   02/19/2025     30 NOTICE of Appearance by Emily Margaret Hall on behalf of All Defendants (Hall, Emily)
                     (Entered: 02/19/2025)
   02/19/2025     31 NOTICE of Appearance by Elizabeth J. Shapiro on behalf of All Defendants (Shapiro,
                     Elizabeth) (Entered: 02/19/2025)
   02/19/2025     32 Motion Hearing held on 2/19/2025 re 14 MOTION for Temporary Restraining Order
                     before Judge Deborah L. Boardman.(Court Reporter: Patricia Klepp - 4A) (hcs, Deputy
                     Clerk) (Entered: 02/19/2025)
   02/19/2025     33 Correspondence re: Treating TRO Motion as Motion for Preliminary Injunction
                     (Attachments: # 1 Attachment Hogan Declaration Filed 2.19.2025)(Hall, Emily) (Entered:
                     02/19/2025)
   02/20/2025     34 NOTICE of Appearance by Daniel James McNeil on behalf of American Federation of
                     Teachers (McNeil, Daniel) (Entered: 02/20/2025)
   02/21/2025     35 Correspondence re: Treasury Employees (Attachments: # 1 Attachment 1 - York
                     Declaration, # 2 Attachment 2 - Order)(Hall, Emily) (Entered: 02/21/2025)
   02/21/2025     36 Correspondence re: Recent Decisions (Attachments: # 1 Attachment EDVA Decision, # 2
                     Attachment SDNY Decision)(Hall, Emily) (Entered: 02/21/2025)
   02/23/2025     37 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 2/19/25,
                     before Judge Deborah L. Boardman. Court Reporter/Transcriber Patricia Klepp, Telephone
                     number 3013443228. Total number of pages filed: 117. Transcript may be viewed at the
                     court public terminal or purchased through the Court Reporter/Transcriber before the
                     deadline for Release of Transcript Restriction. After that date it may be obtained from the
                     Court Reporter or through PACER. Redaction Request due 3/17/2025. Redacted Transcript
                     Deadline set for 3/26/2025. Release of Transcript Restriction set for 5/27/2025. (Entered:
                     02/23/2025)
   02/24/2025     38 MEMORANDUM OPINION AND TEMPORARY RESTRAINING ORDER. Signed by
                     Judge Deborah L. Boardman on 2/24/2025. (kns, Deputy Clerk) (Entered: 02/24/2025)
   02/24/2025     39 Local Rule 103.3 Disclosure Statement by American Federation of Teachers (Rodwin,
                     David) (Entered: 02/24/2025)
   02/24/2025     40 Local Rule 103.3 Disclosure Statement by International Association of Machinists and
                     Aerospace Workers (Rodwin, David) (Entered: 02/24/2025)
   02/24/2025     41 Local Rule 103.3 Disclosure Statement by National Active and Retired Federal Employees
                     (Rodwin, David) (Entered: 02/24/2025)
   02/24/2025     42 Local Rule 103.3 Disclosure Statement by National Federation of Federal Employees
                     (Rodwin, David) (Entered: 02/24/2025)
   02/24/2025     43 Local Rule 103.3 Disclosure Statement by International Federation of Professional and
                     Technical Engineers (Rodwin, David) (Entered: 02/24/2025)
   02/25/2025     44 Status Report Submitted Jointly with Defendants by American Federation of Teachers,
                     Jason Cain, Thomas Fant, Kristofer Goldsmith, Clifford Grambo, International Association
                     of Machinists and Aerospace Workers, International Federation of Professional and
                     Technical Engineers, Donald Martinez, National Active and Retired Federal Employees,
                     National Federation of Federal Employees, Christopher Purdy (Hu, Xiaonan) (Entered:
                     02/25/2025)

                                                       JA21                                                     21/26
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   02/26/2025     45 Status Conference held on 2/26/2025 before Judge Deborah L. Boardman.(Court Reporter:
                     FTR - 2C) (hcs, Deputy Clerk) (Entered: 02/26/2025)
   02/26/2025     46 PAPERLESS ORDER directing the government to produce the administrative record by 5
                     p.m. on March 7, 2025. The plaintiffs' motion for a preliminary injunction is due by 5 p.m.
                     on March 10, 2025; the government's opposition is due by 5 p.m. on March 13, 2025; and
                     the plaintiffs' reply is due by 5 p.m. on March 14, 2025. Plaintiffs shall notify the Court by
                     midnight on March 8, 2025 if they seek limited discovery, and the government shall
                     respond by midnight on March 9, 2025. The Court will hold a preliminary injunction
                     hearing on March 17, 2025 at 10:30 a.m. in the Greenbelt Courthouse. The plaintiffs shall
                     indicate in their briefing whether they believe witness testimony will be necessary at the
                     hearing and, if so, whose testimony will be necessary and why. Signed by Judge Deborah
                     L. Boardman on 2/26/2025. (lmys, Chambers) (Entered: 02/26/2025)
   02/27/2025     47 NOTICE of Appearance by Bradley Philip Humphreys on behalf of All Defendants
                     (Humphreys, Bradley) (Entered: 02/27/2025)
   03/03/2025          Check Received on 03/03/2025 from Murphy Anderson PLLC. Check Number: 10147.
                       Amount: $10.000.00. (bas, Deputy Clerk) (Entered: 03/03/2025)
   03/04/2025     48 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 2/26/2025,
                     Status Conference before Judge Deborah L. Boardman. Court Reporter/Transcriber Patricia
                     G. Mitchell, 410-962-3858, trish_mitchell@mdd.uscourts.gov. Total number of pages filed:
                     23. Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained from the Court Reporter or through PACER. Redaction Request
                     due 3/25/2025. Redacted Transcript Deadline set for 4/4/2025. Release of Transcript
                     Restriction set for 6/2/2025. (Entered: 03/04/2025)
   03/04/2025     49 Correspondence re: TRO (Attachments: # 1 Exhibit A)(Hu, Xiaonan) (Entered:
                     03/04/2025)
   03/06/2025     50 PAPERLESS ORDER: For good cause, the Court extends 38 the Temporary Restraining
                     Order ("TRO") imposed on February 24, 2025 at 8:00 a.m. until March 17, 2025 at 5:00
                     p.m., or until such time as the Court rules on the forthcoming preliminary injunction
                     motion--whichever is earlier. The TRO is currently set to expire on March 10, 2025 at 8:00
                     a.m. This extension will protect the status quo and prevent the irreparable harm identified
                     in 38 while the defendants produce the administrative record, the parties brief the
                     preliminary injunction motion, and the Court holds a hearing on the preliminary injunction
                     motion. The Court may, if there is good cause, extend the TRO for an additional period,
                     but not beyond March 24, 2025 at 8:00 a.m. Signed by Judge Deborah L. Boardman on
                     3/6/2025. (rs10, Chambers) (Entered: 03/06/2025)
   03/07/2025     51 NOTICE by Scott Bessent, Denise Carter, Charles Ezell, United States Department of
                     Education, United States Department of the Treasury, Unites States Office of Personnel
                     Management of Filing of Administrative Records (Attachments: # 1 Exhibit Administrative
                     Record of the Office of Personnel Management, # 2 Exhibit Administrative Record of the
                     U.S. Department of the Treasury, # 3 Exhibit Administrative Record of the U.S.
                     Department of Education)(Humphreys, Bradley) (Entered: 03/07/2025)
   03/07/2025     52 Joint MOTION for Protective Order by Scott Bessent, Denise Carter, Charles Ezell, United
                     States Department of Education, United States Department of the Treasury, Unites States
                     Office of Personnel Management (Attachments: # 1 Exhibit Stipulated Protective Order)
                     (Humphreys, Bradley) (Entered: 03/07/2025)
   03/08/2025     53 MOTION for Discovery by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                                                       JA22                                                      22/26
USCA4      Appeal: 25-1282
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                                                District of Maryland (CM/ECF Live NextGen 1.7.1.1)

                       Aerospace Workers, International Federation of Professional and Technical Engineers,
                       Donald Martinez, National Active and Retired Federal Employees, National Federation of
                       Federal Employees, Christopher Purdy (Attachments: # 1 Memorandum in Support of
                       Plaintiffs' Motion for Extra-Record Discovery, # 2 Appendix of Xiaonan April Hu, # 3
                       Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9
                       Exhibit G, # 10 Exhibit H, # 11 Text of Proposed Order)(Hu, Xiaonan) (Entered:
                       03/08/2025)
   03/09/2025     54 RESPONSE in Opposition re 53 MOTION for Discovery filed by Scott Bessent, Denise
                     Carter, Charles Ezell, United States Department of Education, United States Department of
                     the Treasury, Unites States Office of Personnel Management.(Humphreys, Bradley)
                     (Entered: 03/09/2025)
   03/10/2025     55 STIPULATED PROTECTIVE ORDER. Signed by Judge Deborah L. Boardman on
                     3/10/2025. (ybs, Deputy Clerk) (Entered: 03/10/2025)
   03/10/2025     56 MOTION to Appear Pro Hac Vice for Wendy Qiuyu Xiao (Filing fee $100, receipt number
                     AMDDC-11831589.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, International Federation of Professional and Technical Engineers,
                     Donald Martinez, National Active and Retired Federal Employees, National Federation of
                     Federal Employees, Christopher Purdy(Rodwin, David) (Entered: 03/10/2025)
   03/10/2025     57 MOTION to Appear Pro Hac Vice for Liam Gennari (Filing fee $100, receipt number
                     AMDDC-11831598.) by American Federation of Teachers, Jason Cain, Thomas Fant,
                     Kristofer Goldsmith, Clifford Grambo, International Association of Machinists and
                     Aerospace Workers, International Federation of Professional and Technical Engineers,
                     Donald Martinez, National Active and Retired Federal Employees, National Federation of
                     Federal Employees, Christopher Purdy(Rodwin, David) (Entered: 03/10/2025)
   03/10/2025     58 NOTICE by Scott Bessent, Denise Carter, Charles Ezell, United States Department of
                     Education, United States Department of the Treasury, Unites States Office of Personnel
                     Management re 51 Notice (Other), of Errata (Attachments: # 1 Exhibit, # 2 Exhibit)
                     (Humphreys, Bradley) (Entered: 03/10/2025)
   03/10/2025     59 MOTION for Preliminary Injunction by American Federation of Teachers, Jason Cain,
                     Thomas Fant, Kristofer Goldsmith, Clifford Grambo, International Association of
                     Machinists and Aerospace Workers, International Federation of Professional and Technical
                     Engineers, Donald Martinez, National Active and Retired Federal Employees, National
                     Federation of Federal Employees, Christopher Purdy (Attachments: # 1 Memorandum in
                     Support of Plaintiffs' Motion for Preliminary Injunction, # 2 Affidavit of Xiaonan April
                     Hu, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F,
                     # 9 Exhibit G, # 10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J, # 13 Exhibit K, # 14 Exhibit
                     L, # 15 Text of Proposed Order)(Hu, Xiaonan) (Entered: 03/10/2025)
   03/12/2025     60 PAPERLESS ORDER granting 56 Motion to Appear Pro Hac Vice on behalf of Wendy
                     Qiuyu Xiao. Directing attorney Wendy Qiuyu Xiao to register for pro hac vice filing in the
                     District of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not
                     already done so. The Pro Hac Vice option must be selected when registering. Signed by
                     Clerk on 3/12/2025. (mh4s, Deputy Clerk) (Entered: 03/12/2025)
   03/12/2025     61 PAPERLESS ORDER granting 57 Motion to Appear Pro Hac Vice on behalf of Liam
                     Gennari. Directing attorney Liam Gennari to register for pro hac vice filing in the District
                     of Maryland through PACER at https://pacer.uscourts.gov/ if attorney has not already done
                     so. The Pro Hac Vice option must be selected when registering. Signed by Clerk on
                     3/12/2025. (mh4s, Deputy Clerk) (Entered: 03/12/2025)

                                                       JA23                                                     23/26
USCA4      Appeal: 25-1282
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                                                District of Maryland (CM/ECF Live NextGen 1.7.1.1)

   03/13/2025     62 RESPONSE in Opposition re 59 MOTION for Preliminary Injunction filed by United
                     States Department of Education, United States Department of the Treasury, Unites States
                     Office of Personnel Management. (Attachments: # 1 Affidavit Matteson Decl., # 2
                     Affidavit Wenzler Decl.)(Humphreys, Bradley) (Entered: 03/13/2025)
   03/14/2025     63 REPLY to Response to Motion re 59 MOTION for Preliminary Injunction filed by
                     American Federation of Teachers, Jason Cain, Thomas Fant, Kristofer Goldsmith, Clifford
                     Grambo, International Association of Machinists and Aerospace Workers, International
                     Federation of Professional and Technical Engineers, Donald Martinez, National Active and
                     Retired Federal Employees, National Federation of Federal Employees, Christopher Purdy.
                     (Attachments: # 1 Declaration of Xiaonan April Hu, # 2 Exhibit A, # 3 Exhibit B)(Hu,
                     Xiaonan) (Entered: 03/14/2025)
   03/15/2025     64 NOTICE by Scott Bessent, Denise Carter, Charles Ezell, United States Department of
                     Education, United States Department of the Treasury, Unites States Office of Personnel
                     Management of Filing of Supplement to the OPM Administrative Record and of Materials
                     Filed in Alliance for Retired Americans v. Bessent, No. 25-cv-313 (D.D.C.) (Attachments:
                     # 1 Exhibit A, # 2 Exhibit B)(Humphreys, Bradley) (Entered: 03/15/2025)
   03/17/2025     65 Motion Hearing held on 3/17/2025 re 59 MOTION for Preliminary Injunction before
                     Judge Deborah L. Boardman.(Court Reporter: Patricia Klepp - 4A) (bus, Deputy Clerk)
                     (Entered: 03/17/2025)
   03/17/2025     66 PAPERLESS ORDER For the reasons stated on the record today, for good cause, the Court
                     extends 38 the Temporary Restraining Order ("TRO") imposed on February 24, 2025 at
                     8:00 a.m. until March 24, 2025 at 8:00 a.m., or until such time as the Court rules on 59 the
                     plaintiffs' preliminary injunction motion--whichever is earlier. Signed by Judge Deborah L.
                     Boardman on 3/17/2025. (rs10, Chambers) (Entered: 03/17/2025)
   03/23/2025     67 FILED IN ERROR: NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings
                     held on 3/17/25, before Judge Deborah L.Boardman. Court Reporter/Transcriber Patricia
                     Klepp, Telephone number 3013443228. Total number of pages filed: 87. Transcript may be
                     viewed at the court public terminal or purchased through the Court Reporter/Transcriber
                     before the deadline for Release of Transcript Restriction. After that date it may be obtained
                     from the Court Reporter or through PACER. Redaction Request due 4/14/2025. Redacted
                     Transcript Deadline set for 4/23/2025. Release of Transcript Restriction set for 6/23/2025.
                     Modified on 3/24/2025 (pk4). (Entered: 03/23/2025)
   03/24/2025     68 MEMORANDUM OPINION. Signed by Judge Deborah L. Boardman on 3/24/2025. (kns,
                     Deputy Clerk) (Entered: 03/24/2025)
   03/24/2025     69 ORDER granting 59 Motion for Preliminary Injunction and denying without prejudice 53
                     Motion for Extra-Record Discovery; Status Report due by 5:00 p.m. on March 31, 2025.
                     Signed by Judge Deborah L. Boardman on 3/24/2025. (kns, Deputy Clerk) (Entered:
                     03/24/2025)
   03/24/2025     70 NOTICE OF APPEAL as to 68 Memorandum Opinion, 69 Order on Motion for Discovery,
                     Order on Motion for Preliminary Injunction by Scott Bessent, Denise Carter, Charles Ezell,
                     United States Department of Education, United States Department of the Treasury, Unites
                     States Office of Personnel Management. (Humphreys, Bradley) (Entered: 03/24/2025)
   03/24/2025     71 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 3/17/25,
                     before Judge Deborah L. Boardman. Court Reporter/Transcriber Patricia Klepp, Telephone
                     number 3013443228. Total number of pages filed: 87. Transcript may be viewed at the
                     court public terminal or purchased through the Court Reporter/Transcriber before the
                     deadline for Release of Transcript Restriction. After that date it may be obtained from the
                     Court Reporter or through PACER. Redaction Request due 4/14/2025. Redacted Transcript
                                                       JA24                                                     24/26
USCA4      Appeal: 25-1282
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                       Deadline set for 4/24/2025. Release of Transcript Restriction set for 6/23/2025. (Entered:
                       03/24/2025)
   03/24/2025     72 MOTION to Stay Pending Appeal by Scott Bessent, Denise Carter, Charles Ezell
                     (Attachments: # 1 Text of Proposed Order)(Shapiro, Elizabeth) (Entered: 03/24/2025)
   03/24/2025     73 Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re 70 Notice
                     of Appeal. IMPORTANT NOTICE: To access forms which you are required to file with the
                     United States Court of Appeals for the Fourth Circuit please go to
                     http://www.ca4.uscourts.gov and click on Forms & Notices.(slss, Deputy Clerk) (Entered:
                     03/24/2025)
   03/24/2025     74 USCA Case Number 25-1282 for 70 Notice of Appeal, filed by United States Department
                     of the Treasury, Unites States Office of Personnel Management, Scott Bessent, Charles
                     Ezell, United States Department of Education, Denise Carter - Case Manager - Rachel
                     Phillips. (slss, Deputy Clerk) (Entered: 03/24/2025)
   03/24/2025     75 RESPONSE in Opposition re 72 MOTION to Stay Pending Appeal filed by American
                     Federation of Teachers, Jason Cain, Thomas Fant, Kristofer Goldsmith, Clifford Grambo,
                     International Association of Machinists and Aerospace Workers, International Federation
                     of Professional and Technical Engineers, Donald Martinez, National Active and Retired
                     Federal Employees, National Federation of Federal Employees, Christopher Purdy.(Hu,
                     Xiaonan) (Entered: 03/24/2025)
   03/26/2025     76 PAPERLESS ORDER informing the government that if it intends to file a reply to the
                     plaintiffs' opposition to 72 motion to stay, the reply is due by Thursday, March 27 at 5:00
                     p.m. Signed by Judge Deborah L. Boardman on 3/26/2025. (rs10, Chambers) (Entered:
                     03/26/2025)
   03/28/2025     77 ORDER Denying 72 Motion to Stay the Preliminary Injunction. Signed by Judge Deborah
                     L. Boardman on 3/28/2025. (bas, Deputy Clerk) (Entered: 03/28/2025)
   03/31/2025     78 STATUS REPORT (Joint) by Scott Bessent, Denise Carter, Charles Ezell, United States
                     Department of Education, United States Department of the Treasury, Unites States Office
                     of Personnel Management(Humphreys, Bradley) (Entered: 03/31/2025)
   04/01/2025     79 PAPERLESS ORDER directing the parties to file a status report after the Fourth Circuit
                     resolves the government's motion to stay the preliminary injunction. Signed by Judge
                     Deborah L. Boardman on 4/1/2025. (rs10, Chambers) (Entered: 04/01/2025)
   04/07/2025     80 ORDER of USCA Court Denying initial hearing en banc and Granting appellants' motion
                     to stay pending appeal as to 70 Notice of Appeal, filed by United States Department of the
                     Treasury, Unites States Office of Personnel Management, Scott Bessent, Charles Ezell,
                     United States Department of Education, Denise Carter. (slss, Deputy Clerk) (Entered:
                     04/08/2025)
   04/08/2025     81 STATUS REPORT (Joint) by Scott Bessent, Denise Carter, Charles Ezell, United States
                     Department of Education, United States Department of the Treasury, Unites States Office
                     of Personnel Management (Attachments: # 1 Exhibit)(Humphreys, Bradley) (Entered:
                     04/08/2025)
   04/08/2025     82 Consent MOTION for Extension of Time to File Answer or Otherwise Respond to
                     Plaintiffs' Amended Complaint by Scott Bessent, Denise Carter, Charles Ezell, United
                     States Department of Education, United States Department of the Treasury, Unites States
                     Office of Personnel Management (Attachments: # 1 Text of Proposed Order)(Humphreys,
                     Bradley) (Entered: 04/08/2025)
   04/09/2025     83 PAPERLESS ORDER granting 82 Motion for Extension of Time to Answer. The
                     defendants shall file their response to the plaintiffs' amended complaint within 30 days of
                                                       JA25                                                         25/26
USCA4      Appeal: 25-1282
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                       the Fourth Circuit's decision on the defendants' appeal of this Court's preliminary
                       injunction. Signed by Judge Deborah L. Boardman on 4/9/2025. (lmys, Chambers)
                       (Entered: 04/09/2025)



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                                                                Criteria:          DLB
                             Billable Pages: 28                 Cost:              2.80




                                                            JA26                                             26/26
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                     SOUTHERN DIVISION


        AMERICAN FEDERATION OF                      Case No. 8:25-cv-00430
        TEACHERS,
            555 New Jersey Ave. N.W.
            Washington, DC 2000,

        INTERNATIONAL ASSOCIATION OF
        MACHINISTS AND AEROSPACE
        WORKERS,
             9000 Machinists Place
             Upper Marlboro, MD 20772,

        INTERNATIONAL FEDERATION OF
        PROFESSIONAL AND TECHNICAL
        ENGINEERS,
             513 C St. NE
             Washington, DC 20002,

        NATIONAL ACTIVE AND RETIRED
        FEDERAL EMPLOYEES ASSOCIATION,
             606 N Washington St.
             Alexandria, VA 22314,

        NATIONAL FEDERATION OF FEDERAL
        EMPLOYEES,
             225 New York Ave., NW, Suite 450
             Washington, DC 20005,

        DONALD MARTINEZ,
            c/o Murphy Anderson PLLC
            1401 K St. NW
            Washington, D.C. 20005,

        JASON CAIN,
             c/o Murphy Anderson PLLC
             1401 K St. NW
             Washington, D.C. 20005,

        CLIFFORD GRAMBO,
             c/o Murphy Anderson PLLC
             1401 K St. NW
             Washington, D.C. 20005,

        THOMAS FANT,
            c/o Murphy Anderson PLLC
            1401 K St. NW
            Washington, D.C. 20005,
        CHRISTOPHER PURDY,


                                                1
                                            JA27
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               c/o Murphy Anderson PLLC
               1401 K St. NW
               Washington, D.C. 20005, and

        KRISTOFER GOLDSMITH
             c/o Murphy Anderson PLLC
             1401 K St. NW
             Washington, D.C. 20005,

                      Plaintiffs,

               vs.

        SCOTT BESSENT, in his official capacity as
        Secretary of the Treasury,
               1500 Pennsylvania Ave. NW
               Washington, D.C. 20220,
        The UNITED STATES DEPARTMENT OF
        THE TREASURY,
              1500 Pennsylvania Ave. NW
              Washington D.C. 20220,

        CHARLES EZELL, in his official capacity as
        the Acting Director of the Office of Personnel
        Management,
               1900 E St. NW
               Washington, D.C. 20415,

        The UNITED STATES OFFICE OF
        PERSONNEL MANAGEMENT,
              1900 E St. NW
              Washington, D.C. 20415,

        DENISE L. CARTER, in her official capacity
        as the Acting Secretary of Education, and
                400 Maryland Ave., SW
                Washington, D.C. 20202,
        The UNITED STATES DEPARTMENT OF
        EDUCATION,
              400 Maryland Ave., SW
              Washington, D.C. 20202,

                      Defendants.



                                          AMENDED COMPLAINT

               1.     Americans who interact with the U.S. Government routinely entrust federal
        agencies with sensitive personal information: Social Security numbers, home addresses, financial


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                                                    JA28
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        records, and more. The government has codified its promise to treat their information with care

        in the requirements of the Privacy Act. Today, Defendants are permitting Elon Musk and a cadre

        of loyalists imported from his private companies to help themselves to the personal information

        of millions of Americans, in violation of those legal requirements. Plaintiffs in this case seek

        immediate relief to stop the Defendants from further unlawful disclosures and halt the serious

        harms that flow from the exposure and dissemination of sensitive personal information.

               2.      On January 20, 2025, President Trump issued an executive order refashioning the

        United States Digital Services as the “U.S. DOGE Service,” ostensibly to promote government

        efficiency. It has been widely reported that the DOGE effort is led by the world’s richest man,

        Elon Musk, and a small team of DOGE representatives that he directs, including at least one 19-

        year-old who had previously leaked proprietary information.

               3.      The White House has revealed little about the members of the DOGE and their

        qualifications, training, or background. It is similarly unclear whether and to what extent the

        members of the DOGE have been subject to the same rigorous background checks that federal

        employees who have access to some of the government’s most sensitive and closely guarded data

        systems undergo. Notwithstanding this, Defendants have provided representatives of the DOGE

        with access to these systems, which includes Social Security numbers, bank account numbers,

        dates and places of birth, and other extraordinarily sensitive records of millions of Americans.
               4.      Steamrolling into sensitive government record systems threatens to upend how

        these critical systems are maintained and compromises the safety and security of personal

        identifying information for Americans all across the country. It also violates federal law.

               5.      Collecting and securely maintaining sensitive personal information allows the

        federal government to provide crucial services—from managing Social Security and veterans’

        disability payments, to supporting Americans pursuing higher education and helping them access

        health care.

               6.      The Privacy Act balances the government’s legitimate need for information about
        individual Americans with the imperative to mitigate the risks inherent in collecting personal


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                                                      JA29
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        information at scale. “Enacted in the wake of the Watergate and the Counterintelligence Program

        (“COINTELPRO”) scandals involving illegal surveillance on opposition political parties and

        individuals deemed to be ‘subversive,’ the Privacy Act sought to restore trust in government and

        to address what at the time was seen as an existential threat to American democracy.” Off. of

        Privacy & Civ. Liberties, Overview of the Privacy Act of 1974: 2020 Edition, at 1. The statute

        carefully regulates the circumstances in which agency records about individuals can be shared.

        Disclosures beyond what the statute authorizes are unlawful.

               7.      Defendants’ mass disclosure of personal information flies in the face of that legal

        framework and tramples on the individual privacy rights and interests protected by the Privacy

        Act. It also threatens real people, including individual Plaintiffs and members of the Plaintiff

        Organizations (collectively, “Plaintiffs”), by exposing them to the risk of identity theft,

        harassment, intimidation, and embarrassment.

               8.      For example, Defendants Treasury Department and Secretary of Treasury Bessent

        have improperly disclosed to DOGE representatives the contents of the Federal Disbursement

        System, which is the government’s mechanism for sending payments it owes to individual

        Americans (as well as other payees). That system contains records relating to every American

        who receives (among other things) a tax refund, social security benefit, veterans pay, or a federal

        salary. To facilitate these payments, the system maintains highly sensitive information about
        millions of Americans, including Social Security numbers, dates of birth, bank account

        information, and home addresses.

               9.      Similarly, Defendants Department of Education and Acting Secretary of

        Education Denise L. Carter have improperly disclosed information maintained in the National

        Student Loan Data System. That system contains information on almost 43 million borrowers

        and their families necessary to manage federal student loan programs. This includes sensitive

        personal information such as Social Security numbers, bank records, tax returns, home addresses,

        employment data, documentation of marital status, mortgage statements, bank records, tax
        returns, child support, investments, family financial status and records, dependent-care cost,


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                                                      JA30
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        death, divorce, job loss, immigration status, and demographic data about student-borrowers—

        and, often, also for their parents, spouses, or other family members.

                10.     Defendants U.S. Office of Personnel Management and its Acting Director Charles

        Ezell have improperly disclosed information in multiple sensitive record systems. Those records

        contain information about the 2.3 million federal employees, as well as millions of other former

        federal employees and job applicants. These files contain exceedingly sensitive personal

        information: in addition to Social Security numbers, contact information, and demographic

        information, they contain highly sensitive employment information.

                11.     All of these agencies have valid purposes for maintaining these record systems.

        But that does not mean that Elon Musk or other DOGE representatives may have unlimited

        access to them. The Privacy Act requires each of these agencies to provide access to records only

        as part of the agencies’ routine work to advance the legitimate purposes for which the records are

        maintained in the first place, or with the express written consent of the individual whose data is

        being sought.

                12.     Representatives of the DOGE, however, do not believe themselves constrained by

        those legitimate purposes or by the individual record-holders’ consent. They have accessed

        Defendants’ data systems and the sensitive information contained within to “shut[] down”

        payments and in the case of the Education Department, the agency itself.1
                13.     The risks to Americans whose sensitive information is improperly disclosed are

        very real. Failing to handle these records according to established safeguards increases the risks

        that external actors may access them. The personal data contained in these systems could readily

        facilitate identity theft and other economic crimes, with potentially devastating consequences for

        the victims.

                14.     These disclosures have directly harmed Plaintiffs. Plaintiffs include veterans who

        receive benefit payments as provided by law, current and former federal employees whose

        1
         Elon Musk (@elonmusk), X (Feb. 2, 2025, 3:14 AM), https://x.com/elonmusk/status/1885964969335808217; Elon
        Musk (@elonmusk), X (Feb. 3, 2025, 8:30 PM), https://x.com/elonmusk/status/1886633448078475593.


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                                                         JA31
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        confidential employment files reside in the Office of Personnel Management’s (“OPM”) system,

        and teachers, first responders, and health care workers whose pathway to careers in public

        service included relying on student loans to fund their own educations. As to all of them, their

        personal data has been improperly disclosed to DOGE representatives in a manner completely

        divorced from the legitimate purposes for which it was maintained and in violation of their

        privacy rights. Plaintiffs are anxious about the implications of this government-facilitated breach

        of their personal information and uncertain about how their data is being used or who it will be

        shared with and whether it will be weaponized against them. They are concerned that the breach

        may well result in serious personal, social, and economic harm, from being targeted for

        harassment and threats to doxxing, swatting, and identity theft.

               15.     The Administrative Procedure Act authorizes persons whose information has been

        unlawfully disclosed in violation of the Privacy Act to seek injunctive relief. Doe v. Chao, 435

        F.3d 492, 505 n.17 (4th Cir. 2006). Accordingly, Plaintiffs ask this Court to restore the privacy

        they are entitled to under federal law by preventing further unauthorized and improper

        disclosures and ensuring that improper disclosures to DOGE representatives stop immediately.

                                         JURISDICTION AND VENUE

               16.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

        § 1331, because this action arises under the laws of the United States.
               17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e)(1)(C) because

        Defendants are officers and agencies of the United States, no real property is at issue in this case,

        and one or more Plaintiffs are residents of this District.

                                                     PARTIES

               18.     Plaintiff American Federation of Teachers (“AFT”) is a national labor

        organization headquartered in Washington, D.C., representing over 1.8 million members who are

        employed as pre-K through 12th-grade teachers, early childhood educators, paraprofessionals,

        and other school-related personnel; higher education faculty and professional staff; federal, state,
        and local government employees; and nurses and other healthcare professionals. For over a


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                                                       JA32
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        decade the AFT has been fighting to help teachers and nurses burdened by student debt receive

        Public Service Loan Forgiveness. The national union has hosted hundreds of student debt clinics

        for tens of thousands of its members. As part of those clinics, the AFT has helped its members

        apply for the Public Service Loan Forgiveness Program, which is administered by the

        Department of Education. AFT members have records housed within OPM and Department of

        Education record systems and receive payments of various kinds from the United States

        Treasury. AFT also advocates for the ethical use of artificial intelligence and enforcement of

        government regulations that protect its members’ personal data.2

                 19.      Plaintiff National Active and Retired Federal Employees Association

        (“NARFE”) is a nonprofit organization founded in 1921, incorporated in the District of

        Columbia, and headquartered in Alexandria, Virginia, with a membership of approximately

        128,000 current and former federal employees as well as spousal annuitants. NARFE’s mission

        is to promote the general welfare of current federal civilian employees and federal retirees and

        their survivors, to advise and assist them with respect to their federal benefits, to represent their

        interests before appropriate authorities, and to support legislation and regulations beneficial to

        such employees and retirees and to oppose those detrimental to their interests. NARFE’s

        members have records housed within OPM and Department of Education record systems and

        receive payments of various kinds from the United States Treasury. NARFE’s advocacy efforts
        include calling on federal agencies to take reasonable steps to protect the privacy of NARFE

        members’ digital information.3

                 20.      Plaintiff International Association of Machinists and Aerospace Workers

        (“IAM”) is an international labor organization and unincorporated membership organization

        headquartered in Upper Marlboro, Maryland. IAM is one the largest and most diverse labor

        unions in North America with nearly 600,000 active and retired members. Among IAM’s

        2
          See, e.g., The Future of Public Work: Artificial Intelligence, Algorithms & Data Protection in a Digital Age, Am.
        Fed’n Tchrs. (July 17, 2022), https://www.aft.org/resolution/future-public-work-artificial-intelligence-algorithms-
        and-data-protection.
        3
          See, e.g., Updates on OPM Cybersecurity Incident, Nat’l Active & Retired Fed. Emps. Ass’n (Jan. 10, 2019),
        https://www.narfe.org/blog/2019/01/10/updates-on-opm-cybersecurity-incident.


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        affiliate organizations is the National Federation of Federal Employees (“NFFE”), which is a

        national labor organization and unincorporated membership organization headquartered in

        Washington, D.C. Together, IAM and NFFE represent more than 100,000 federal workers,

        approximately 13,000 of whom are dues-paying members, from agencies across the federal

        government. IAM and NFFE also represent many veterans and veterans’ groups, advocate on

        their behalf, and assist them in receiving their benefits, among other services. IAM and NFFE

        members have records housed within OPM and Department of Education record systems and

        receive payments of various kinds from the United States Treasury. IAM and NFFE advocacy

        efforts include assisting their members in seeking redress for federal agencies’ unlawful

        disclosures of members’ sensitive data.4

                 21.      Plaintiff International Federation of Professional and Technical Engineers

        (“IFPTE”) is an international labor organization headquartered in Washington, D.C., that

        represents approximately 34,000 federal employees, 7,000 of which are dues-paying members.

        The majority of federal employees represented by IFPTE work at the Department of Defense,

        primarily shipyards. Other represented members include nuclear submarine engineers, scientists

        and researchers at NASA, Administrative Law Judges at the Social Security Administration, and

        nuclear engineers at the Tennessee Valley Authority, as well as employees of the Environmental

        Protection Agency. IFPTE comprises many members who are veterans and represents and
        advocates for veterans and veterans’ groups. IFPTE members have records housed within OPM

        and Department of Education record systems and receive payments of various kinds from the

        United States Treasury. IFPTE advocacy efforts include calling on federal legislators and

        agencies to implement policies that protect IFPTE members’ privacy interests.5

                 22.      Plaintiff Jason Cain is a resident of North Carolina and currently works as an

        instructor of political science. He served for 10 years in the U.S. Army, as Sergeant First Class in


        4
         See, e.g., Privacy Rights, Nat’l Fed’n Fed. Emps., https://nffe.org/members-center/privacy-rights.
        5
         See, e.g., Letter from Paul Shearon, Pres., Int’l Fed’n Prof. Tech. Engs., to Diane Feinstein, U.S. Senator (June 14,
        2021), https://www.ifpte.org/s/IFPTE_NASA_MAP_Feinstein_letter
        _June142021_FINAL.pdf.


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        the U.S. Army Special Operations Command and the 82nd Airborne and had a Top Secret

        security clearance. He receives financial benefits from the federal government, including VA

        disability benefits. He previously received GI bill benefits, student loans, and a VA home loan

        from the federal government. As a result of his military service, employment in the civil service,

        and financial benefits, federal government agencies, including Defendants OPM and the

        Departments of Education and Treasury, have sensitive personal information about him in their

        record systems. When his VA account was previously hacked, and his disability and education

        benefits diverted to criminal enterprises, Plaintiff Cain experienced the fear and helplessness of

        having his personal information compromised. He is anxious about repeating this experience

        based on this unauthorized access to his personal information. He is outraged that such a grave

        breach of his privacy took place, given the extreme caution with which he was required to handle

        sensitive information during his service in the military and at the VA.

               23.     Plaintiff Kristofer Goldsmith is a resident of New York and currently works as

        the head of a nonprofit organization combating domestic extremists. He is a military veteran of

        the U.S. Army, was deployed to Iraq in 2005, and left the Army as a Sergeant. He receives

        financial benefits from the federal government, including VA disability benefits. He has also

        previously received student loans from the federal government. As a result of his military service

        and financial benefits, federal government agencies, including Defendants Departments of
        Education and Treasury, have sensitive personal information about him in their record systems.

        Plaintiff Goldsmith is deeply concerned that his personal information is compromised, and may

        be exploited by domestic extremist organizations to harass, intimidate, and harm him and his

        family. These concerns are even more acute in light of the presidential pardons of many domestic

        extremists, with Musk’s apparent support.

               24.     Plaintiff Clifford “Buzz” Grambo is a resident of Maryland and is currently

        retired. He is a military veteran who served in the U.S. Navy for 20 years, retiring as Chief Petty

        Officer. He receives financial benefits from the federal government, including VA disability
        benefits and a military pension. Because of these financial benefits from his military service,


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                                                      JA35
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        federal government agencies, including Defendant Treasury, have sensitive personal information

        about him in their record systems. Plaintiff Grambo believes that the unauthorized access to his

        and others’ personal information poses a national security risk.

               25.     Plaintiff Thomas Fant is a resident of Massachusetts and is currently retired. He

        is a military veteran of the U.S. Coast Guard, from which he was medically discharged. He

        receives financial benefits from the federal government, including VA disability benefits.

        Because of these financial benefits from his military service, federal government agencies,

        including Defendant Treasury, have sensitive personal information about him in their record

        systems. Plaintiff Fant is apprehensive and anxious that the unauthorized access to his and

        others’ personal information will enable third parties affiliated with DOGE representatives to

        profit at the expense of him and other Americans.

               26.     Plaintiff Donald Martinez is a resident of Colorado and currently works as a

        rancher. He is a military veteran of the U.S. Army, and had two deployments to Iraq as a Field

        Artillery Officer with a Top Secret/Sensitive Compartmented Information security clearance.

        During his service, he sustained a traumatic brain injury and was medically retired. He receives

        financial benefits from the federal government, including veterans’ benefits, Social Security

        Disability Insurance/Medicare, Combat Related Special Compensation, and a VA home loan.

        Apart from his military service, Plaintiff Martinez also worked for the Federal Emergency
        Management Agency. And he received student loans from the federal government. As a result of

        his military service, employment in the civil service, and financial benefits, federal government

        agencies, including Defendants OPM and Departments of Education and Treasury, have

        sensitive personal information about him in their record systems. Especially because of his

        previous military service in a geographically sensitive area and involvement in high-level

        negotiations because of which he received death threats from terrorists, Plaintiff Martinez is

        worried that unauthorized access and disclosure of his personal information held within the

        federal government will compromise his personal safety and security.




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                                                     JA36
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                  27.   Plaintiff Christopher Purdy is a resident of Georgia and currently works as the

        head of a nonprofit organization. He served for eight years in the Army National Guard, where

        he was deployed to Iraq in 2011. He receives financial benefits from the federal government,

        including VA disability benefits. He previously also received a VA home loan and student loans

        from the federal government. As a result of his military service and financial benefits, federal

        government agencies, including Defendants Departments of Education and Treasury, have

        sensitive personal information about him in their record systems. Plaintiff Purdy is distressed that

        the breach of his personal information by unauthorized parties makes it more vulnerable to being

        released to the public, which could cause him severe economic harm. He is also very worried

        that Musk and DOGE may use their unauthorized access to his personal information to stop his

        VA disability payments, a major source of income in his household.

                  28.   Defendant the United States Department of the Treasury (“Treasury”) is an

        agency of the United States.

                  29.   Defendant Scott Bessent is sued in his official capacity as the Secretary of the

        Treasury.

                  30.   Defendant the Office of Personnel Management is an agency of the United

        States.

                  31.   Defendant Charles Ezell is the Acting Director of the Office of Personnel
        Management (“OPM”) and is sued in his official capacity.

                  32.   Defendant United States Department of Education is an agency of the United

        States.

                  33.   Defendant Denise Carter is the Acting Secretary of Education and is sued in her

        official capacity.

                                          FACTUAL ALLEGATIONS

        Establishment of DOGE

                  34.   On January 20th, 2025, President Trump signed an executive order replacing the
        United States Digital Services with the “United States DOGE Service,” which serves as the


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                                                      JA37
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        parent agency for the new “U.S. DOGE Service Temporary Organization.”6 The order called for

        DOGE to “implement the President’s DOGE Agenda, by modernizing Federal technology and

        software to maximize governmental efficiency and productivity.”7

                35.     Even before the inauguration, President Trump announced that Elon Musk would

        lead the DOGE effort. It has been publicly reported that Musk directly leads and supervises

        activities of DOGE and its team.8 According to the White House, Musk now serves as a Special

        Government Employee.9

                36.     The order establishing DOGE also provided for “DOGE teams” of at least four

        employees, which can include Special Government Employees, to be embedded within Federal

        agencies. Special Government Employee is a temporary employment status typically used for

        outside advisors, experts or consultants appointed to work on a short-term basis within the

        federal government. They are exempt from some federal ethics rules.

                37.     DOGE representatives within the government are a combination of friends and

        former employees of Musk and his companies and a cadre of young adult software engineers,

        including college students and at least one teenager, whose identities the White House and

        DOGE have sought to conceal.10

        The Privacy Act’s Prohibitions on Disclosure of Records Without Express Written Consent

                38.     “The Privacy Act directs agencies to establish safeguards to protect individuals
        against the disclosure of confidential records ‘which could result in substantial harm,

        embarrassment, inconvenience, or unfairness to any individual on whom information is

        maintained.’” F.A.A. v. Cooper, 566 U.S. 284, 294-95 (2012) (quoting 5 U.S.C. § 552a(e)(1)). It

        6
          Madeleine Ngo & Theodore Schleifer, How Trump’s Department of Government Efficiency Will Work, N.Y. Times
        (Jan. 21, 2025), https://www.nytimes.com/2025/01/21/us/politics/doge-government-efficiency-trump-musk.html
        7
          Executive Order, Establishing and Implementing The President’s “Department of Government Efficiency” The
        White House (Jan. 20, 2025), https://www.whitehouse.gov/presidential-actions/2025/01/establishing-and-
        implementing-the-presidents-department-of-government-efficiency.
        8
          Bobby Allyn & Shannon Bond, Elon Musk Is Barreling into Government With DOGE, Raising Unusual Legal
        Questions, NPR (Feb. 3, 2025), https://www.npr.org/2025/02/03/nx-s1-5285539/doge-musk-usaid-trump.
        9
          Kaitlan Collins & Tierney Sneed, Elon Musk Is Serving as a ‘Special Government Employee,’ White House Says,
        CNN (Feb. 3, 2025), https://www.cnn.com/2025/02/03/politics/musk-government-employee/index.html.
        10
           Theodore Schleifer et al., Young Aides Emerge as Enforcers in Musk’s Broadside Against Government, N.Y.
        Times (Feb. 7, 2025), https://www.nytimes.com/2025/02/07/us/politics/musk-doge-aides.html.


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                                                          JA38
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        does that by providing a legal framework for how the government handles sensitive records

        about Americans in a manner that protects their significant privacy rights.

                39.      The Privacy Act states, “No agency shall disclose any record which is contained

        in a system of records by any means of communication to any person, or to another agency”

        without consent of the individual whose information is in the record, subject to twelve statutory

        exceptions.11

                40.      Under the Privacy Act, a system of records is “a group of any records under the

        control of an agency from which information is retrieved by the name of the individual or …

        other identifying particular assigned to the individual.”12

                41.      A record is “any item, collection, or grouping of information about an individual

        that is maintained by an agency, including, but not limited to, his education, financial

        transactions, medical history, and criminal or employment history and that contains his name, or

        the identifying number, symbol, or other identifying particular assigned to the individual, such as

        a finger or voice print or a photograph.”13

                42.      Office of Management and Budget (“OMB”) guidelines state that disclosure

        under the Privacy Act “may be either the transfer of a record or the granting of access to a

        record.”14 Disclosure can be written, oral, electronic, or a mechanical transfer between computers

        of record content.15
                43.      The Privacy Act specifies when individual information maintained in an agency

        record system may be disclosed. It does not prohibit disclosures to employees of the maintaining

        agency “who have a need for the record in the performance of their duties.”16

                44.      Similarly, the Privacy Act does not prohibit disclosures made for a “routine use,”

        defined as “the use of such record for a purpose which is compatible with the purpose for which


        11
           5 U.S.C. § 552a(b).
        12
           5 U.S.C. § 552a(5).
        13
           5 U.S.C. § 552a(a)(4).
        14
           OMB Guidelines, 40 Fed. Reg. 28,948, 28,953 (July 9, 1975).
        15
           Id.
        16
           5 U.S.C. § 552a(b)(1).


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        it was collected.”17 Agencies must publish a Statement of Record Notice (“SORN”) identifying

        all possible routine uses of a system of records.18

                45.      Additionally, the Privacy Act mandates that “Each agency that maintains a system

        of rec-ords shall . . . establish appropriate administrative, technical, and physical safeguards to

        insure the security and confidentiality of records and to protect against any anticipated threats or

        hazards to their security or integrity which could result in substantial harm, embarrassment,

        inconvenience, or unfairness to any individual on whom information is maintained[.]”19

        The Treasury Department’s Federal Disbursement Services

                46.      The Federal Disbursement Services (“FDS”), which is housed within the Treasury

        Department’s Bureau of the Fiscal Service (the “Fiscal Service”), provides critical payment

        services for hundreds of federal agencies, allowing them to disburse payments such as Social

        Security benefits, federal income tax refunds, and veterans’ pay, on which more than 70 million

        Americans rely.20

                47.      In fiscal year 2024, FDS disbursed more than 1.27 billion payments, valued at

        more than $5.45 trillion.21

                48.      The payment systems that make up FDS contain extensive amounts of sensitive,

        personally identifiable information (“PII”). This includes name, Social Security number, date and

        location of birth, physical address, telephone number, and financial institution information,
        among many other pieces of PII.22 Within the payment systems, there is PII for tens of millions

        of individuals, if not more.23




        17
           5 U.S.C. § 552a(a)(7).
        18
           Id.
        19
           5 U.S.C. § 552a(e)(10).
        20
           See U.S. Dep’t Treasury, Federal Disbursement Services (FDS), (last modified Oct. 15, 2024),
        https://fiscal.treasury.gov/fds/; Monthly Statistical Snapshot, December 2024, Social Security Administration (Jan.
        2025), https://www.ssa.gov/policy/docs/quickfacts/stat_snapshot/.
        21
           Id.
        22
           U.S. Dep’t Treasury, Notice of a Modified System of Records. 85 Fed. Reg. 11,776, 11,778 (Feb. 27, 2020).
        23
           U.S. Dep’t Treasury, Privacy and Civil Liberties Impact Assessment: Payment Automation Manager (Jul. 11,
        2019), https://www.fiscal.treasury.gov/files/pia/pampclia.pdf.


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                                                             JA40
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                49.      Historically, “only a small group of career employees” has operated the payment

        systems.24 It is “extremely unusual” for “anyone connected to political appointees” to request or

        gain access to the payment systems.25 Payment system access is strictly limited to “[o]nly

        employees whose official duties require access.”26

                50.      The Fiscal Service does not play a discretionary role in providing payment

        services. Rather, when federal agencies provide the Fiscal Service with a payment voucher to

        disburse money to a recipient and the Fiscal Service verifies that the voucher has been completed

        properly, payment systems within Fiscal Service issue the disbursement without exercising

        independent judgment.27 Stated differently, the Fiscal Service’s routine use of the FDS is limited

        to issuing disbursements requested by various federal agencies.

        DOGE’s Repeated Efforts to Improperly Access the Federal Disbursement Services

                51.      For months, individuals affiliated with the initiative that would later become

        DOGE have worked to gain access to the Federal Disbursement System.28 Indeed, soon after the

        November 2024 election, they asked for access to the system in an effort to have the Treasury

        Department serve as a “chokepoint” on payments.29

                52.      David A. Lebryk, a senior career civil servant at Treasury, denied all of DOGE’s

        requests for access to the sensitive personal data stored on the FDS. On January 24, 2025,

        DOGE-related officials asked Lebryk, at the time Acting Secretary of the Treasury, to
        “immediately shut off all USAID payments using [Treasury’s] ultra-sensitive payment

        processing system.”30 Lebryk refused to do so on the grounds that stopping payments other

        24
           Jacqueline Alemany et al., Senior U.S. Official Exits After Rift with Musk Allies over Payment System, WASH.
        POST (Jan. 31, 2025), https://www.washingtonpost.com/business/2025/01/31/elon-musk-treasury-department-
        payment-systems.
        25
           Id.
        26
           85 Fed. Reg. 11,776, 11,778.
        27
           See 31 U.S.C. § 3325(a).
        28
           Jacqueline Alemany et al., Senior U.S. Official Exits After Rift with Musk Allies over Payment System, WASH.
        POST (Jan. 31, 2025), https://www.washingtonpost.com/business/2025/01/31/elon-musk-treasury-department-
        payment-systems.
        29
           Katelyn Polantz, Phil Mattingly & Tierney Sneed, How an Arcane Treasury Department Office Became Ground
        Zero In The War Over Federal Spending, CNN (Feb. 1, 2025), https://www.cnn.com/2025/01/31/politics/doge-
        treasury-department-federal-spending.
        30
           Id.


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                                                            JA41
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        federal agencies have requested is not within the Treasury’s purview or part of its practice.31

        Lebryk was subsequently placed on administrative leave and later announced his retirement.32

                53.      On or before January 31, 2025, and following Lebryk’s placement on

        administrative leave, at least two people affiliated with DOGE gained access to the Federal

        Disbursement System.33 They included Tom Krause, the CEO of Cloud Software Group, and

        Marko Elez, a 25-year-old DOGE staffer and Elon Musk deputy.34 The government has claimed

        that both Krause and Elez were appointed as Special Government Employees in the Treasury

        Department.

                54.      The day after Krause and Elez gained access to the payment systems, Musk

        posted on X that DOGE representatives “discovered” that “payment approval officers at

        Treasury were instructed always to approve payments, even to known fraudulent or terrorist

        groups.”35

                55.      On February 2, 2025, Musk posted on X that “[c]areer Treasury officials are

        breaking the law every hour … by approving payments that are fraudulent” and this had to “stop

        NOW!”36 The same day, Musk replied to a post on X criticizing funding to specific religiously

        affiliated non-profit organizations and stated that “[t]he @DOGE team is rapidly shutting down

        these illegal payments.”37

                56.      On February 3, 2025, White House Press Secretary Karoline Leavitt said DOGE
        staff had been granted read-only access to the Treasury payments system.38 A letter from the

        Treasury Department to members of Congress on February 4, 2025 reiterated that Treasury staff


        31
           Id.
        32
           Andrew Duehren et al., Treasury Official Quits After Resisting Musk’s Requests on Payments, N.Y. TIMES (Jan.
        31, 2025), https://www.nytimes.com/2025/01/31/us/politics/david-lebryk-treasury-resigns-musk.html.
        33
           Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System, N.Y. TIMES (Feb. 1,
        2025), https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-system.html.
        34
           Tobias Burns, DOGE Staffer Who Accessed Treasury Department Payment Systems Resigns after Racist Posts
        Exposed, THE HILL (Feb. 6, 2025), https://thehill.com/business/5131442-elon-musk-deputy-resign.
        35
           Elon Musk (@elonmusk), X (Feb. 1, 2025, 1:52 AM), https://x.com/elonmusk/status/1885582076247712229.
        36
           Elon Musk (@elonmusk), X (Feb. 2, 2025, 2:27 PM), https://x.com/elonmusk/status/1886134485822922785.
        37
           Elon Musk (@elonmusk), X (Feb. 2, 2025, 3:14 AM), https://x.com/elonmusk/status/1885964969335808217.
        38
           Jonathan Swan et al., Inside Musk’s Aggressive Incursion Into the Federal Government, N.Y. TIMES (Feb. 3,
        2025), https://www.nytimes.com/2025/02/03/us/politics/musk-federal-government.html.


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                                                           JA42
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        working with Krause would have read-only access to the coded data of the payment systems.39

        The letter further stated that this was the type of access provided to individuals reviewing

        Treasury systems, such as auditors.

                57.      On February 4, 2025, WIRED reported that, contrary to Leavitt’s and Treasury’s

        representations, Elez possessed read and write access to Treasury Department payment

        systems.40 Elez’s administrative-level privileges reportedly included the ability to write code on

        the Payment Automation Manager (PAM) and Secure Payment System (SPS) at the Bureau of

        the Fiscal Service (BFS). WIRED reported that “[t]ypically, those admin privileges could give

        someone the power to . . . change user permissions, and delete or modify critical files.”

        Defendants’ Disclosure of Information in the FDS to DOGE Officials Violates the Privacy

        Act

                Payment Systems Within the FDS Are a System of Records

                58.      Multiple payment systems within FDS are systems of records, as certified by the

        Chief Privacy Officer of the Fiscal Service.41 The Fiscal Service has published a Systems of

        Records Notice (SORN) for these payment systems.42

                59.      The information in specific payment systems within FDS, including the Secure

        Payment System, the Invoice Processing Platform, and the Automated Standard Application for

        Payments, among others, is retrieved by an “identifying particular” assigned to an individual.43
                60.      The payment systems maintained within FDS contain extensive personally

        identifiable information about individuals, including but not limited to Social Security numbers,

        sensitive financial information, and addresses.44


        39
           U.S. Dep’t Treasury, Treasury Department Letter to Members of Congress Regarding Payment Systems (Feb. 4,
        2025), https://home.treasury.gov/news/press-releases/sb0009.
        40
           Vittoria Elliott et al., A 25-Year-Old With Elon Musk Ties Has Direct Access to the Federal Payment System,
        WIRED (Feb. 4, 2025), https://www.wired.com/story/elon-musk-associate-bfs-federal-payment-system/
        41
           See, e.g., Privacy and Civil Liberties Impact Assessment: Secure Payment System, U.S. Dep’t Treasury (Mar. 22,
        2021), https://www.fiscal.treasury.gov/files/pia/spspclia.pdf.
        42
           85 Fed. Reg. 11,776.
        43
           See, e.g., Privacy and Civil Liberties Impact Assessment: Secure Payment System, U.S. Dep’t Treasury (Mar. 22,
        2021), https://www.fiscal.treasury.gov/files/pia/spspclia.pdf.
        44
           85 Fed. Reg. 11,776.


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                                                            JA43
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                 Providing DOGE Representatives with Direct Access to the FDS is a “Disclosure”

                 Under the Privacy Act

                 61.     Representatives of DOGE were granted access to payment systems within FDS

        and the records and data therein on January 31, 2025.45 That access qualifies as a disclosure

        under the Privacy Act.

                 62.     None of the individual Plaintiffs, and on information and belief, none of the

        members of the Plaintiff Organizations requested disclosure or provided express written consent

        to the disclosure of their records and information to DOGE representatives.

                 DOGE Representatives Do Not Require Access to the FDS in the Performance of Their

        Duties

                 63.     The New York Times recently reported that “Musk allies who have been granted

        access to the payment system were made Treasury employees.”46

                 64.     The Privacy Act’s exception for disclosures to employees who need the record “in

        the performance of their duties” does not apply. Even if Krause and Elez were Treasury

        employees at the time Defendants provided them with access to the FDS, Musk’s stated purpose

        for that access, which is to stop “approving” all payments,47 is incompatible with any legitimate

        duties of the Department of the Treasury with respect to the FDS.

                 65.     The Treasury Department maintains the relevant record systems so that it may, in
        a non-discretionary manner, send out payments approved by other federal agencies.48 Consistent

        with the Treasury Department’s limited role in the payment disbursement process, FDS’s

        payment systems are designed to “facilitate” payments from federal government entities to their

        recipients.49 Stated differently, the payment systems contained within the FDS serve as


        45
           Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System, N.Y. Times, (Feb. 1,
        2025), https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-system.html.
        46
           Id.
        47
           Elon Musk (@elonmusk), X (Feb. 2, 2025, 2:27 PM), https://x.com/elonmusk/status/1886134485822922785.
        48
           See 31 U.S.C. § 3325(a); U.S. Dep’t Treasury, Treasury Department Letter to Members of Congress Regarding
        Payment Systems (Feb. 4, 2025), https://home.treasury.gov/news/press-releases/sb0009 (“To be clear, the agency
        responsible for making the payment always drives the payment process.”).
        49
           85 Fed. Reg. 11,776, 11,778.


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        processing centers that enact disbursement requests received from agencies; they are not

        independent centers of review.50

                Defendants’ Disclosures of FDS Information to DOGE Representatives is Not a “Routine

        Use” of the Protected Information

                66.     The Privacy Act’s “routine use” exception also does not apply. The SORN for

        payments systems within FDS lists 19 possible routine uses, none of which apply to DOGE

        staffers’ access to FDS.51

                67.     For example, representatives of DOGE are not accessing FDS records on behalf

        of the banking industry, an investigative agency, an agency responsible for law enforcement, a

        court, a foreign government, a congressional office, a union, a third party during the course of an

        investigation, a federal creditor agency, a state, debt collectors, or representatives of the National

        Archives and Records Administration.52

                68.     Representatives of DOGE also are not responding to a suspected or confirmed

        “breach of the system of records,”53 or “ensuring the efficient administration” of “payment

        processing services.”54

                69.     Rather, representatives of DOGE intend to change the purpose of payment

        systems within FDS to “scrutinize[]” payments and “pause” those they deem “improper,” rather

        than disburse payments in a non-discretionary manner.55 Consistent with this, Musk has
        indicated that DOGE officials are looking to control, and potentially cut off, disbursements from

        the Bureau of the Fiscal Service.56 This is not a routine use listed in the SORN that would

        authorize Defendants’ disclosure of sensitive personal and financial data to DOGE


        50
           U.S. Dep’t Treasury, Privacy and Civil Liberties Impact Assessment: Secure Payment System (Mar. 22, 2021),
        https://www.fiscal.treasury.gov/files/pia/spspclia.pdf.
        51
           85 Fed. Reg. 11,776, 11,778.
        52
           See id.
        53
           Id.
        54
           Id.
        55
           Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System, N.Y. TIMES (Feb. 1,
        2025), https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-system.html. ; Elon
        Musk (@elonmusk), X (Feb. 3, 2025, 11:43 AM), https://x.com/elonmusk/status/1886455404713943058.
        56
           Elon Musk (@elonmusk), X (Feb. 2, 2025, 3:14 AM), https://x.com/elonmusk/status/1885964969335808217.


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        Representatives.57 Nor could it be, given the Treasury’s practice and policies regarding use of the

        FDS to fulfill its duty to disburse payments approved by other agencies.

                70.      None of the other statutory exceptions for disclosure of personal information set

        forth in the Privacy Act applies or would have applied to authorize Defendants Bessell’s and the

        Treasury’s decision to disclose the sensitive information and data contained within the FDS to

        DOGE representatives.

        U.S. Office of Personnel Management Federal Work Force Files

                71.      OPM serves as the “chief human resources agency and personnel policy manager

        for the Federal Government.”58

                72.      As part of its workforce management responsibilities, OPM maintains systems

        that are responsible for “government-wide personnel management activities,” such as tracking

        human resource and payroll data, operating centralized application and hiring systems for federal

        government jobs, and managing health benefits for more than 8 million federal civilian

        employees and other eligible individuals.59

                73.      The systems that OPM operates and maintains contain extensive amounts of

        sensitive PII. This includes name, Social Security number, employment history, address,

        telephone number, demographic information, and disability status, among many other pieces of

        PII.60 Within the OPM systems, there is PII for tens of millions of individuals, if not more,




        57
           85 Fed. Reg. 11,776.
        58
           About Us, U.S. Off. Personnel Mgmt., https://www.opm.gov/about-us.
        59
           Privacy Impact Statement for Health Insurance Data Warehouse, U.S. Off. Personnel Mgmt. (July 2, 2021),
        https://www.opm.gov/information-management/privacy-policy/privacy-policy/hidw-pia.pdf [hereinafter HIDW
        PIA]; Privacy Impact Assessment for USAJOBS, U.S. Off. Personnel Mgmt. (July 8, 2020),
        https://web.archive.org/web/20241228071153/https://www.opm.gov/information-management/privacy-
        policy/privacy-policy/usajobs-pia.pdf; Privacy Impact Statement for Enterprise Human Resources Integration Data
        Warehouse, U.S. Off. Personnel Mgmt. (July 11, 2019), https://www.opm.gov/information-management/privacy-
        policy/privacy-policy/ehridw.pdf.
        60
           Privacy Impact Assessment Summaries, U.S. Off. Personnel Mgmt., https://www.opm.gov/information-
        management/privacy-policy/#url=PIAs.


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                                                           JA46
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        including current and former federal employees and applicants to jobs at more than 500 federal

        agencies.61

                74.      It has been reported that access to these OPM systems is generally held only by

        “senior career employees” at OPM.62 Some subsets of records in OPM systems are subject to

        even stricter access restrictions, such as those in the Health Insurance Data Warehouse, which

        are generally confined to “a limited number of well-trained [health insurance] analysts.”63

        DOGE’s Efforts to Improperly Access OPM Systems

                75.      Shortly after the inauguration of President Trump, civil servants within OPM

        received instructions to provide access to the sensitive OPM systems to DOGE representatives.64

                76.      On information and belief, DOGE representatives have gained sweeping access to

        highly sensitive record systems within the last few weeks. The Washington Post reported on

        February 6:

                At least six DOGE agents were given broad access to all personnel systems at the
                OPM on the afternoon of Jan. 20, the day of Trump’s inauguration, according to
                two agency officials. Three more gained access about a week later, they said.

                The data that the DOGE team can access includes a massive trove of personal
                information for millions of federal employees, included in systems called
                Enterprise Human Resources Integration and Electronic Official Personnel Folder.
                It also includes personal information for anyone who applied to a federal job
                through the site USAJobs, the people said. Last year alone, the people said, there
                were 24.5 million such applicants.


        61
           U.S. Gov. Accountability Off., USAJOBS Website: OPM Has Taken Actions to Assess & Enhance the User
        Experience (Oct. 2020), https://www.gao.gov/assets/gao-21-
        31.pdf#:~:text=approximately%2017.5%20million%20job%20applications%20were%20started,applicants%20are%
        20deemed%20qualified%20and%20which%20are; HIDW PIA, supra note 59.
        62
           Tim Reid, Exclusive: Musk Aides Lock Workers Out of OPM Computer Systems, Reuters (Feb. 2, 2025),
        https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-
        say-2025-01-31; see, e.g., HIDW PIA, supra note 59, at 9 (noting that “only a limited number of well-trained
        [health-insurance] analysts have access to the information in the [Health Insurance Data Warehouse system].”);
        Privacy Impact Assessment for the Payment Processing Automation Initiative, U.S. Off. Personnel Mgmt. at 8 (June
        3, 2020), https://www.opm.gov/information-management/privacy-policy/privacy-policy/ppai-olbp.pdf (noting
        “access controls that limit access to only those with a need to know and only with access appropriate to their roles
        and responsibilities”).
        63
           HIDW PIA, supra note 59.
        64
           Caleb Ecarma & Judd Legum, Musk Associates Given Unfettered Access to Private Data of Government
        Employees, Popular Info. (Feb. 3, 2025), https://popular.info/p/musk-associates-given-unfettered.


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                                                             JA47
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                The two OPM officials said the level of access granted to DOGE agents means they
                could copy the Social Security number, phone numbers and personnel files for
                millions of federal employees.65
                77.      The access instructions specified that DOGE representatives should have “admin

        user” access that allowed them to “code read and write permissions,” in essence allowing these

        officials to “make updates to anything that they want.”66

                78.      Defendants OPM and Acting Director Ezell provided DOGE representatives,

        including a recent high school graduate, with access to these sensitive systems and databases,

        including USAJOBS, the Enterprise Human Resources Integration Data Warehouse (“EHRI

        DW”), USA Staffing, USA Performance, and the Health Insurance Data Warehouse (“HIDW”),
        and the personally identifiable information contained within.67

                79.      In late January, career officials who have long had access to these systems had

        their permissions “revoked.”68

                80.      DOGE representatives at OPM have since used their access to examine job

        description data and “remove” specific government employees.69 On February 8, 2025, the

        Washington Post reported that access to EHRI DW and the Electronic Official Personnel Folder

        was revoked for “some” DOGE agents.70

        Defendants’ Disclosure of Information in OPM Systems to DOGE Representatives Violates

        the Privacy Act

                OPM Systems Contain Systems of Records




        65
           Isaac Stanley-Becker et al., Musk’s DOGE Agents Access Sensitive Personnel Data, Alarming Security Officials,
        Wash. Post (Feb. 6, 2025), https://www.washingtonpost.com/national-security/2025/02/06/elon-musk-doge-access-
        personnel-data-opm-security.
        66
           Ecarma & Legum, supra note 64.
        67
           Id.
        68
           Tim Reid, Exclusive: Musk Aides Lock Workers Out of OPM Computer Systems, Reuters (Feb. 2, 2025),
        https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-
        say-2025-01-31.
        69
           Ecarma & Legum, supra note 64.
        70
           Isaac Stanley-Becker and Hannah Natanson, Some DOGE agents removed from sensitive personnel systems after
        security fears, Washington Post (Feb. 8, 2025), https://www.washingtonpost.com/nation/2025/02/08/doge-opm-
        musk/.


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                                                           JA48
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                81.     The systems to which DOGE-related officials have access within OPM, including

        USAJOBS, EHRI DW, USA Staffing, USA Performance, and HI DW (collectively, “OPM

        Systems”), are systems of records, as certified by the Chief Privacy Officer of OPM.71 OPM has

        published a SORN for these record systems.72

                82.     The information in the OPM Systems is retrieved by “an identifying particular”

        assigned to an individual.73

                83.     The systems within OPM contain extensive personally identifiable information

        about individuals, including but not limited to Social Security number, employment history, and

        addresses.74

                Providing DOGE Representatives with Direct Access to Specific OPM Systems is a

                Disclosure Under the Privacy Act

                84.     Representatives of DOGE were granted access to personnel- and benefit-related

        systems within OPM and the records therein on or before January 31, 2025.75 That access

        qualifies as a disclosure under the Privacy Act.

                85.     DOGE representatives within OPM have “‘review[ed] position description level

        data,’” an act that would involve information retrieval from systems within OPM.76

                86.     Disclosure can be written, oral, electronic, or a mechanical transfer between

        computers of record content.77
                87.     None of the individual Plaintiffs, and on information and belief, none of the

        members of the Plaintiff Organizations requested disclosure or provided express written consent

        71
           Privacy Policy, U.S. Off. Personnel Mgmt., https://www.opm.gov/information-management/privacy-
        policy/#url=PIAs
        72
           System of Records Notices (SORN), U.S. Off. Personnel Mgmt., https://www.opm.gov/information-
        management/privacy-policy/#url=SORNs.
        73
           OPM SORN GOVT-2 Employee Performance File System Records, U.S. Off. Personnel Mgmt.,
        https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-2-employee-performance-file-
        system-records.pdf.
        74
           See, e.g., HIDW PIA, supra note 59.
        75
           See Tim Reid, Exclusive: Musk Aides Lock Workers Out of OPM Computer Systems, REUTERS (Feb. 2, 2025),
        https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-
        say-2025-01-31.
        76
           Ecarma & Legum, supra note 64.
        77
           OMB Guidelines, 40 Fed. Reg. 28,948, 28,953 (July 9, 1975).


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        to the disclosure of their records and information to DOGE representatives. As such, Defendants’

        continued and ongoing disclosure of their records to DOGE representatives constitutes a

        violation of the Privacy Act, for which no exception applies.

                DOGE Representatives Do Not Require Access to the FDS in the Performance of Their

                Duties

                88.      It has been reported that the DOGE representatives who have been provided by

        Defendants with access to the OPM systems are “political appointees” at OPM.78 However, it has

        also been reported that DOGE representatives “have received official government credentials,

        including official email addresses, at multiple agencies.”79 For example, some DOGE

        representatives in the Department of Education’s internal address book “also have GSA or OPM

        email addresses,” seemingly holding themselves out as employees of multiple agencies at the

        same time, while ultimately serving DOGE’s mission.

                89.      The Privacy Act’s exception for disclosures to employees who need the record “in

        the performance of their duties” does not apply to the disclosures here. On information and

        belief, DOGE’s purpose for accessing that data is to significantly “restructur[e]” the government

        by “push[ing]” out employees.80

                Defendants’ Disclosures of Specific OPM Systems to DOGE Officials is Not a “Routine

                Use” of the Protected Information
                90.      The Privacy Act’s “routine use” exception also does not apply. The SORNs for

        specific systems within OPM, namely USAJOBS, EHRI DW, USA Staffing, USA Performance,

        and HI DW, list 114 overlapping possible routine uses, none of which apply here.81

        78
           Ecarma & Legum, supra note 64.
        79
           Washington Post Staff, Elon Musk’s DOGE Has Swept into 15 Federal Agencies. Here’s What to Know., WASH.
        POST (Feb. 8, 2025), https://www.washingtonpost.com/business/2025/02/04/elon-musk-government-legal-doge.
        80
           Id.; Reuters, Musk’s DOGE agents access sensitive government personnel data, Washington Post reports (Feb. 6,
        2025), available at https://www.reuters.com/world/us/musks-doge-agents-access-sensitive-opm-personnel-data-
        washington-post-reports-2025-02-06/.
        81
           See Privacy Act of 1974: Update and Amend System of Records, 79 Fed. Reg. 16834 (March 26, 2014); OPM
        GOVT-2 Applicant Race, Sex National Origin, & Disability Status Records, U.S. Off. Personnel Mgmt.,
        https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-7-applicant-race-sex-national-
        origin-and-disability-status-records.pdf; Privacy Act of 1974: Update Existing System of Records, 77 Fed. Reg.



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                91.      For example, representatives of DOGE are not accessing OPM records on behalf

        of a training facility, educational institution, foreign government official, agency adjudicating

        benefit claims, agency choosing to honor employees, labor organization official, the Merit

        Systems Protection Board, or the Equal Employment Opportunity Commission, among others.82

                92.      Rather, on information and belief, representatives of DOGE intend to misuse

        OPM’s systems to indiscriminately remove individuals from their positions en masse.83 This is

        not a routine use listed in the SORNs.84

                93.      None of the other statutory exceptions for disclosure of personal information set

        forth in the Privacy Act applies or would have applied to authorize Defendants’ decision to

        disclose the sensitive information and data contained within the FDS to DOGE representatives.

        Department of Education Student Loan Systems

                94.      The Department of Education (ED) is responsible for managing the federal

        student loan system through its Federal Student Aid (FSA) office. ED maintains several systems

        of record that support operation of the federal student loan system.

                National Student Loan Data System

                95.      The National Student Loan Data System (NSLDS) is a comprehensive national

        database for the Federal financial aid program. “As the central database for Title IV student

        financial aid, NSLDS stores information about loans, grants, students, borrowers, lenders,
        guaranty agencies . . . , schools, and servicers. It provides detailed information on individuals




        73694 (Dec. 11, 2012); OPM GOVT-6 Personnel Research & Test Validation Records, U.S. Off. Personnel Mgmt.,
        https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-6-personnel-research-and-test-
        validation-records.pdf; OPM SORN GOVT-2 Employee Performance File System Records, U.S. Off. Personnel
        Mgmt., https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-2-employee-
        performance-file-system-records.pdf; Privacy Act of 1974; System of Records, 89 Fed. Reg. 72902 (Sep. 6, 2024).
        82
           77 Fed. Reg. 73694.
        83
           Ecarma & Legum, supra note 64.
        84
           U.S. Off. Personnel Mgmt., System of Records Notices (SORN), https://www.opm.gov/information-
        management/privacy-policy/#url=SORNs.


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        pertaining to their Title IV loans and grants during all stages of their aid life cycle, from approval

        through disbursement, repayment, default, and closure.”85

                96.      The NSLDS contains sensitive PII about the tens of millions of Americans who

        apply for or receive Federal student aid, including Social Security Number, name, date of birth,

        address, phone number, email address, and driver’s license information, as well as demographic

        data about the borrower.86

                97.      Personal data about a borrower’s parents or co-signers is also contained in the

        NSLDS. Among other things, it contains “information on the parent(s) of a dependent recipient,

        including name, date of birth, SSN, marital status, email address, highest level of schooling

        completed, and income and asset information.”87

                Common Origination and Disbursement System

                98.      The Common Origination and Disbursement System (CODS) processes

        information relating to determining eligibility for federal student aid.88

                99.      The CODS includes records about aid applicants and recipients and their parents

        and spouses, including Social Security number, name, date of birth, mailing address, email

        address, driver’s license, and telephone number, and demographic information.89

                FUTURE Act System

                100.     The FUTURE Act System (FAS) is used to determine eligibility for, or repayment
        obligations under, various income-driven repayment plans for federal student loans.90

                101.     FAS contains information about aid applicants, including last name, date of birth,

        Social Security number and/or Tax Identification Number. It also includes similar information

        85
           See U.S. Dep’t of Educ., Privacy Impact Assessment for the National Student Loan Data System (NLDS-New) at
        4-5 (May 19, 2022), https://www.ed.gov/sites/ed/files/notices/pia/pia-nslds-new.pdf. The records on the NSLDS
        “legacy” system were transferred to a revamped NSLDS-New system in October 2022. Id.
        86
           U.S. Dep’t of Educ., Notice of a Modified System of Records (“NSLDS SORN”), 87 Fed. Reg. 57,873, 57,878.
        87
           Id. at 57,879.
        88
           U.S. Dep’t of Educ., Privacy Impact Assessment for the Common Origination & Disbursement System (Sept. 29,
        2023), https://www.ed.gov/sites/ed/files/notices/pia/fsa-pia-cod.pdf.
        89
           U.S. Dep’t of Educ., Notice of a Modified System of Records (“CODS SORN”), 88 Fed. Reg. 41,942, 41,947
        (June 28, 2023).
        90
           U.S. Dep’t of Educ., Privacy Impact Assessment for the Federal Tax Information Module (June 4, 2024),
        https://www.ed.gov/sites/ed/files/notices/pia/pia-ftim.pdf.


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        about parents of dependent applicants and spouses of independent applicants, plus spousal

        income and asset information and parental income and asset information.91

                Financial Management System

                102.     The Financial Management System (“FMS”) interfaces with other Federal

        Student Aid systems and consolidates and centralizes all Federal Student Aid accounting and

        financial data into one system. FMS contains personally identifying information about individual

        borrowers who are entitled to a refund of an overpayment or discharge, or both. The system

        includes a borrower’s Social Security number, name and address, amount of overpayment to be

        refunded and name of the loan holder.92

        DOGE’s Efforts to Improperly Access ED’s Systems

                103.     According to a report in the Washington Post, “roughly 20 people with Elon

        Musk’s ‘Department of Government Efficiency,’ known as DOGE, have begun working inside

        the Education Department, looking to cut spending and staff.”93 The Washington Post has also

        written, “DOGE staffers have gained access to multiple sensitive internal systems, including a

        financial aid dataset that contains the personal information for millions of students enrolled in the

        federal student aid program.”94 The access has “deeply alarmed” career staff.95 On information

        and belief, the systems accessed include NSLDS, COGS, FAS and/or FMS.

                104.     It has been publicly reported that DOGE representatives “fed sensitive data from
        across the Education Department into artificial intelligence software to probe the agency’s

        programs and spending.”96 The Washington Post has reported that “[t]he DOGE team plans to


        91
           U.S. Dep’t of Educ., Notice of a New System of Records (“FAS SORN”), 88 Fed. Reg. 42,220, 42,222 (June 29,
        2023).
        92
           U.S. Dep’t of Educ., Notice of a New System of Records (“FMS SORN”), 73 Fed. Reg. 177, 177 (Jan. 2, 2008).
        93
           Laura Meckler et al., Trump Preps Order to Dismantle Education Dept. as DOGE Probes Data, WASH. POST
        (Feb. 3, 2025), https://www.washingtonpost.com/education/2025/02/03/trump-education-department-dismantling-
        executive-order-draft.
        94
           Id.
        95
           Jeff Stein et al., U.S. Government Officials Privately Warn Musk’s Blitz Appears Illegal, Wash. Post (Feb. 4,
        2025), https://www.washingtonpost.com/business/2025/02/04/elon-musk-government-legal-doge.
        96
           Hannah Natanson et al., Elon Musk’s DOGE Is Feeding Sensitive Federal Data into AI to Target Cuts, Wash.
        Post (Feb. 6, 2025), https://www.washingtonpost.com/nation/2025/02/06/elon-musk-doge-ai-department-education.


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        replicate this process across many departments and agencies, accessing the back-end software at

        different parts of the government and then using AI technology to extract and sift through

        information about spending on employees and programs.”

        Defendants’ Disclosure of Information in ED’s Systems to DOGE Officials Violates the

        Privacy Act

               The ED Systems are Systems of Record

               105.    NLSDS, COGS, FAS, and FMS (collectively, the “ED Systems”) are each a

        system of records, and ED has published a SORN describing each system’s purposes and uses.97

               106.    The information in each of the ED Systems is retrieved by the name of the

        individual or other “identifying particular” assigned to an individual.98

               107.    ED’s systems contain extensive personally identifiable information about

        individuals, including but not limited to Social Security number, sensitive financial information,

        and address.

               Providing DOGE Representatives with Direct Access to ED Systems is a “Disclosure”

               Under the Privacy Act

               108.    On information and belief, Defendants Acting Secretary of Education Denise

        Carter and the Department of Education granted representatives of DOGE access to ED Systems

        on or before February 3, 2025. That access qualifies as a disclosure under the Privacy Act.
               109.    None of the individual Plaintiffs, and on information and belief, none of the

        members of the Plaintiff Organizations requested disclosure or provided express written consent

        to the disclosure of their records and information to DOGE representatives.

               “Feeding” ED Systems Data to Unvetted AI Tools Is Likewise a “Disclosure” Under the

               Privacy Act

               110.    Public reporting has revealed that DOGE has begun “feeding” ED data into

        artificial intelligence tools, including “data with personally identifiable information for people

        97
          See NSLDS SORN, CODS SORN, FAS SORN, FMS SORN.
        98
          NLDS SORN, 87 Fed. Reg. 57,873, 57,881; CODS SORN, 88 Fed. Reg. 41,942, 41,950; FAS SORN, 88 Fed.
        Reg. 42,220, 42,225; FMS SORN, 73 Fed. Reg. 177, 179.


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        who manage grants, as well as sensitive internal financial data.”99 Reporting also indicates that

        DOGE plans to use artificial intelligence programs to analyze data retrieved from additional

        agency systems.100 The AI tools DOGE is using to analyze agency data are reportedly hosted on

        cloud-based computers that are located outside of federal-government facilities.101

                111.     Feeding ED Systems data into DOGE’s AI tools constitutes additional

        unauthorized disclosures of data to the pur-based computers and operators of those systems.102

                DOGE Representatives Do Not Require Access to ED Systems in the Performance of

                their Duties

                112.     The Privacy Act carves out an exception for disclosures without prior written

        consent to “officers and employees of the agency which maintains the record who have a need

        for the record in the performance of their duties.”

                113.     The Privacy Act’s exception for disclosures to employees who need the record “in

        the performance of their duties” does not apply.

                114.     Disclosure of data housed in any of the ED Systems to DOGE representatives is

        not necessary for the performance of the duties of ED employees or officials.

                115.     The data stored on ED Systems is collected and maintained to enable

        administration of the student loan system under Title IV of the Higher Education Act.103

                116.     DOGE and its representatives’ access to ED Systems has a very different purpose:
        Musk has boasted online that DOGE is advancing President Trump’s aim to “end[] the federal

        Department of Education.”104 Musk’s claim comes after President Trump “repeatedly vowed to

        shutter the federal agency” on the campaign trail and announced after taking office that he



        99
           See Natanson, supra n.102.
        100
            Id.
        101
            Id.
        102
            Id.
        103
            NLDS SORN, 87 Fed. Reg. 57,873, 57,877-78; CODS SORN, 88 Fed. Reg. 41,942, 41,945-46; FMS SORN, 73
        Fed. Reg, 177, 178; FAS SORN, 88 Fed. Reg. 42,220, 42,221-22.
        104
            Elon Musk (@elonmusk), X (Feb. 3, 2025, 8:30 PM), https://x.com/elonmusk/status/1886633448078475593; see
        also Meckler et al., supra note 92 (noting that DOGE access “is a prelude to a more dramatic effort to make good on
        one of Trump’s campaign promises: eliminating the Education Department altogether”).


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        expects his nominee for Secretary of Education to “put herself out of a job.”105 On February 7,

        2025, after DOGE officials had gained access to ED systems, Musk claimed that the department

        “doesn’t exist.”106

                Defendants’ Disclosures of ED Systems Information to DOGE Officials is Not a “Routine

                Use” of the Protected Information

                117.     The Privacy Act’s “routine use” exception also does not apply.

                118.     The SORN for NSLDS lists 14 routine uses, none of which apply here.

                119.     The routine uses for NSLDS generally fall into several broad categories: uses

        related to administration of the loan program; disclosures to enable enforcement by agencies

        “charged with the responsibility of investigating or prosecuting” specific violations; litigation or

        alternative disputes resolution procedures; disclosures required under the Freedom of

        Information Act or Privacy Act; contract-related disclosures; employment- or benefit-related

        matters; employee grievance proceedings; labor organization disclosure; disclosures to the

        Justice Department or OMB; disclosures in the course of responding to a data breach; disclosures

        in assisting another agency responding to a data breach; and disclosures to the National Archives

        and Records Administration.107

                120.     None of the routine uses listed by the NSLDS SORN contemplate data access for

        the purpose of dismantling the Department of Education.
                121.     None of the routine uses listed by the NSLDS SORN contemplate “feeding” data

        into artificial intelligence systems, and certainly not for the purpose of dismantling the

        Department of Education.

                122.     As alleged above, DOGE officials are accessing the ED Systems for purposes of

        destroying ED, not for any of the purposes identified in the NSLDS SORN.



        105
            Zachary Schermele, President Trump Says He Wants His Education Secretary to ‘Put Herself out of a Job’, USA
        TODAY (Feb. 4, 2025), https://www.usatoday.com/story/news/education/2025/02/04/trump-education-department-
        mcmahon/78220522007.
        106
            Elon Musk (@elonmusk), X (Feb. 7, 2025, 5:34 PM), https://x.com/elonmusk/status/1888038615780909178.
        107
            NLDS SORN, 87 Fed. Reg. 57,873, 57,879-81.


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                123.    The SORN for CODS lists 15 routine uses, none of which apply here. The routine

        uses for CODS are similar to those for NSLDS.108

                124.    As alleged above, DOGE officials are accessing the ED Systems for purposes of

        destroying ED, not for any of the purposes identified in the CODS SORN.

                125.    The SORN for FAS lists 15 routine uses, none of which apply here. The routine

        uses for FAS are similar to those for NSLDS and CODS.109

                126.    As alleged above, DOGE officials are accessing the ED Systems for purposes of

        destroying ED, not for any of the purposes identified in the FAS SORN.

                127.    The SORN for FMS lists 10 routine uses, none of which apply here. The routine

        uses for FAS are similar to those for NSLDS, CODS, and FAS.110

                128.    As alleged above, DOGE officials are accessing the ED Systems for purposes of

        destroying ED, not for any of the purposes identified in the FMS SORN.

                129.    The use of the records contained in ED Systems to dismantle ED is incompatible

        with any legitimate duties of the Department and with the purpose for which the records were

        collected and maintained.

                130.    None of the other statutory exceptions for disclosure of personal information set

        forth in the Privacy Act applies or would have applied to authorize Defendants’ decision to

        disclose the sensitive information and data contained within the ED to DOGE representatives.
        Defendants’ Disclosure of Protected Data to DOGE Employees Is Unprecedented

                131.    Defendants and DOGE have turned the data systems that enable the government

        to function into a weapon to dismantle the government from the inside. Indeed, Mr. Musk exults

        the non-routine nature of DOGE. In response to a post on X that said “DOGE is speedrunning

        government reform--$4B/day cuts could start THIS weekend. Bureaucracy never saw it




        108
            CODS SORN, 88 Fed. Reg. 41,942, 41,948-50.
        109
            FAS SORN, 88 Fed. Reg. 42,220, 42,223-25.
        110
            FMS SORN, 93 Fed. Reg. 177, 178-79.


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        coming[,]” Musk seemed to agree, explaining: “Very few in the bureaucracy actually work the

        weekend, so it’s like the opposing team just leaves the field for 2 days!”111

                132.     As DOGE’s intrusion into Plaintiffs’ sensitive data is unprecedented, Defendants’

        disclosures cannot constitute “routine use” authorized by the Privacy Act.112 When these systems

        are used for routine purposes, access is usually very restricted.113 For instance, “the aggregate

        information contained in the OPM databases is so sensitive, said a U.S. official, that even White

        House requests for certain types of data were rebuffed under previous administrations.”114

                133.     Defendants are disclosing protected data to DOGE representatives not to advance

        their agencies’ respective agendas, but to advance the DOGE agendas. Destroying

        Congressionally-established federal agencies is not a “routine use” of these systems. Identifying

        entire programs to eliminate is not a “routine use” of these systems. And feeding Americans’ PII

        into private artificial intelligence systems is not a “routine use” of these systems.

        Defendants’ Disclosure of Protected Data Has Harmed and Will Continue to Harm

        Plaintiffs

                134.     President Gerald Ford, who signed the Privacy Act into law, described the Act as

        codifying this country’s long-held commitment to “safeguard personal privacy.” Indeed, the Act

        mandates that the government “protect the right of privacy for every American.” Defendants’

        unauthorized access and disclosure of that information to DOGE representatives violates
        Plaintiffs’ rights under the Privacy Act. It has also exposed Plaintiffs’ sensitive information to

        serious risk.




        111
            Elon Musk (@elonmusk), X (Feb. 1, 2025 3:37 PM), https://x.com/elonmusk/status/1885789468713476492.
        112
            Charlie Warzel & Ian Bogost, The Government’s Computing Experts Say They are Terrified, The Atlantic (Feb.
        7, 2025), https://www.theatlantic.com/technology/archive/2025/02/elon-musk-doge-security/681600/.
        113
            Id.
        114
            Isaac Stanley-Becker et al., Musk’s DOGE Agents Access Sensitive Personnel Date, Alarming Security Officials,
        Wash. Post (Feb. 6, 2025), https://www.washingtonpost.com/national-security/2025/02/06/elon-musk-doge-access-
        personnel-data-opm-security/?utm_campaign=wp_post_most&utm_medium=email&utm_source=newsletter&carta-
        url=https%3A%2F%2Fs2.washingtonpost.com%2Fcar-ln-
        tr%2F40f0f54%2F67a4ea66cd86f13ee737dd6e%2F5972aa5bade4e21a84818a4e%2F14%2F60%2F67a4ea66cd86f1
        3ee737dd6e.


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                135.     Plaintiffs, like many millions of Americans since the Act’s passage, rely on the

        protections enshrined in the Privacy Act to safeguard their sensitive information housed in the

        systems described in this Complaint. Defendants’ actions have run roughshod over those

        protections. Cyber security experts warn that Defendants’ actions pose several extreme risks. “As

        one administrator for a federal agency with deep knowledge about the government’s IT

        operations told [the Atlantic], “‘I don’t think the public quite understands the level of

        danger.’”115

                136.     According to public reporting, a Treasury Department internal threat analysis has

        designated DOGE to be an “insider threat.”116 The Bureau of Fiscal Service’s threat intelligence

        team recommended “suspending [DOGE’s] access immediately and conducting a comprehensive

        review of all actions they may have taken on these systems.”117 The internal Treasury report

        went on, “Continued access to any payment systems by DOGE members, even ‘read only,’ likely

        poses the single greatest insider threat risk the Bureau of the Fiscal Service has ever faced.”118

                137.     The chaotic119 and secretive120 process by which DOGE representatives have

        gained access to protected data—sometimes without proper vetting or security clearances121—

        increases Plaintiffs’ concern about additional risks of unauthorized disclosure. Even “read only”

        access allows users to copy and transfer Plaintiffs’ protected data into other systems—without

        limitation.122



        115
            Charlie Warzel & Ian Bogost, The Government’s Computing Experts Say They are Terrified, The Atlantic (Feb.
        7, 2025), https://www.theatlantic.com/technology/archive/2025/02/elon-musk-doge-security/681600/.
        116
            Vittoria Elliott & Leah Feiger, A US Treasury Intelligence Analysis Designates DOGE Staff as ’Insider Threat’,
        Wired (Feb. 7, 2025), https://www.wired.com/story/treasury-bfs-doge-insider-threat/.
        117 Id.
        118 Id.
        119
            Makena Kelly, DOGE Staff Had Questions About the ’Resign’ Email. Their New HR Chief Dodged Them, Wired
        (Feb. 1, 2025), https://www.wired.com/story/doge-hr-elon-musk-resignation-fork-road-leaked-staff-meeting/.
        120
            Vittoria Elliott et al., The US Treasury Claimed DOGE Technologist Didn’t Have ”Write Access” When He
        Actually Did, Wired (Feb. 6, 2025), https://www.wired.com/story/treasury-department-doge-marko-elez-access/.
        121
            Nick Schwellenbach, Elon Musk’s DOGE Teams Raise Vetting, Ethic Concerns, Project on Government
        Oversight (Feb. 6, 2025), https://www.pogo.org/investigations/elon-musks-doge-teams-raise-vetting-ethics-
        concerns.
        122
            Charlie Warzel & Ian Bogost, The Government’s Computing Experts Say They are Terrified, The Atlantic (Feb.
        7, 2025), https://www.theatlantic.com/technology/archive/2025/02/elon-musk-doge-security/681600/.


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                                                            JA59
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                138.    At least one DOGE representative has been publicly reported to have been a

        member of cybercrime communities123 and was reported to have been previously fired from a

        cybersecurity firm for leaking company secrets.124 It has also been widely reported that DOGE

        representatives are using non-government issued devices to connect to government servers,

        which significantly increases the risk of hacking.125

                139.    Exacerbating the risk of additional unauthorized access to Plaintiffs’ private

        records is the planned introduction of the at-issue data into artificial intelligence systems. The

        security risks associated with AI are well-documented. President Biden issued an Executive

        Order on October 30, 2023—which President Trump has since rescinded—identifying the

        “extraordinary potential” for “peril” associated with use of AI, including but not limited to

        “fraud, discrimination, bias, and disinformation” and creating risks “to national security.”126

        Notwithstanding this, Defendants and DOGE representatives have adopted a “move fast and

        break things” “AI-first strategy” that has already resulted in the sharing of sensitive Education

        Department information with AI software with additional AI uses likely to follow.127

                140.    Defendants’ unlawful disclosures of Plaintiffs’ data to DOGE representatives has

        caused Plaintiffs major distress and anxiety, as they do not know who their data has been or will

        be shared with, whether these disclosures have made them vulnerable to further privacy

        breaches, and how it may be weaponized against them. They are concerned that as a result of the



        123
            Brian Krebs, Teen on Musk’s DOGE Team Graduated from ‘The Com’, Krebs on Security (Feb. 7, 2025),
        https://krebsonsecurity.com/2025/02/teen-on-musks-doge-team-graduated-from-the-com/.
        124
            Jason Leopold et al., Musk’s DOGE Teen Was Fired By Cybersecurity Firm for Leaking Company Secrets,
        Bloomberg (Feb. 7, 2025), https://www.bloomberg.com/news/articles/2025-02-07/musk-s-doge-teen-was-fired-by-
        cybersecurity-firm-for-leaking-company-
        secrets?accessToken=eyJhbGciOiJIUzI1NiIsInR5cCI6IkpXVCJ9.eyJzb3VyY2UiOiJTdWJzY3JpYmVyR2lmdGVk
        QXJ0aWNsZSIsImlhdCI6MTczODk1NzQyNCwiZXhwIjoxNzM5NTYyMjI0LCJhcnRpY2xlSWQiOiJTUkJXMTl
        UMVVNMFcwMCIsImJjb25uZWN0SWQiOiIyQjE3NzFFOTlEODc0QzRDOTY1Njg1RTZBQkJGM0QwRCJ9.v
        xGv4ncXEbIrUGmUYpTUdxLmCVDwzmEWp-VRWV9otME&leadSource=uverify%20wall.
        125
            Cynthia Brumfield, Musk’s DOGE effort could spread malware, expose US systems to threat actors, CSO (Feb.
        4, 2025), https://www.csoonline.com/article/3815925/musks-doge-effort-could-spread-malware-expose-us-systems-
        to-threat-actors.html.
        126
            Exec. Order No. 14,110, 88 Fed.Reg. 75,191 (Nov. 1, 2023).
        127
            Victor Tangermann, Elon Musk's DOGE Training an AI to Analyze Government Spending, Futurism (Feb. 7,
        2025), https://futurism.com/elon-musk-doge-ai-government; Natanson, supra n. 103.


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                                                          JA60
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        unlawful disclosures, they will be subject to harassment, intimidation, and economic and

        reputational harm. These harms are ongoing and will continue absent judicial intervention.

        Ongoing Litigation

               141.    On February 3, several unions and membership associations sued Defendants

        Bessent and Department of the Treasury in Federal District Court of the District of Columbia

        asserting Privacy Act violations based on DOGE access to FDS systems. On February 6, the

        judge in that case deferred ruling on the plaintiffs’ motion for a temporary restraining order on

        the basis of an agreement among the parties limiting access to FDS records to specific Treasury

        Department officials, as well as Krause and Elez, “until such time as the Court rules on the

        Plaintiffs’ forthcoming Preliminary Injunction Motion.”

                142. On February 7, 2025, the attorneys general of 19 states filed a lawsuit against

        President Trump and Defendants Bessent and Department of the Treasury in the Southern

        District of New York challenging the defendants’ policy to expand the Bureau of Fiscal

        Services’ access to political appointees and Special Government Employees. The States allege

        that the policy violates the Privacy Act, APA, separation of powers doctrine, and the Take Care

        Clause of the United States Constitution.

               143.    On February 8, 2025, the judge in that case granted the plaintiffs’ motion for a

        temporary restraining order, restraining the defendants from granting access to any Treasury
        Department data system containing PII to any political appointee, Special Government

        Employee, or detailee from another agency, and ordering them to direct any person who has

        already received such access to immediately destroy any and all copies of material downloaded

        from Treasury Department systems.

                144. Despite the existence of these other lawsuits, Plaintiffs anticipate additional

        disclosures of their protected data as DOGE continues its plans to expand its reach within the

        agencies.

                                         COUNT I – Violation of APA
                                          (Not in accordance with law)


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               145.    The APA directs courts to hold unlawful and set aside agency actions that are

        found to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.

        5 U.S.C. § 706(2)(A).

               146.    The Privacy Act prohibits Defendants from disclosing records on individuals to

        any person without the individual’s consent except in specified circumstances, none of which are

        present here. 5 U.S.C. § 552a(b).

               147.    Defendants have granted DOGE representatives ongoing access to their systems

        of records containing sensitive and personal data.

               148.    Defendants have disclosed Plaintiffs’ records and the records of Plaintiffs’

        members to DOGE representatives without obtaining their consent.

               149.    Defendants have disclosed Plaintiffs’ records and the records of Plaintiffs’

        members to DOGE representatives for uses other than the routine uses specified in the applicable

        SORNs.

               150.    Defendants’ actions violate the prohibitions in the Privacy Act and are therefore

        not in accordance with law.

               151.    An individual action against Defendants for damages under the Privacy Act

        would not cause Defendants to end the unlawful disclosure of Plaintiffs’ and their members’

        records to DOGE Representatives, including future DOGE Representatives. Defendants’ action
        is “final agency action for which there is no other adequate remedy in a court” and is therefore

        subject to judicial review. 5 U.S.C. §§ 702, 704.

                                         COUNT II – Violation of APA

                                            (Arbitrary and capricious)

               152.    The APA directs courts to hold unlawful and set aside agency actions that are

        found to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.

        5 U.S.C. § 706(2)(A).

               153.    Defendants have failed to consider the consent requirements of the Privacy Act, 5
        U.S.C. § 552a(b), and their duty to protect the sensitive data on their systems, 5 U.S.C. §


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        552a(e)(1); the risks that their disclosures would result in corrupted data; and the security threats

        that are likely to result from their action.

                154.    Defendants failed to engage in reasoned decision-making to grant DOGE

        representatives sweeping access to their systems of records containing sensitive and personal

        data for the purposes of advancing the DOGE agenda.

                155.    Because Defendants have failed to consider an important aspect of the problem,

        failed to engage in reasoned decision-making, and offer explanations that run counter to the

        evidence before them, Defendants’ actions are arbitrary and capricious.

                156.    An individual action against Defendants for damages under the Privacy Act

        would not cause Defendants to end the unlawful disclosure of Plaintiffs’ and their members’

        records. Defendants’ action is “final agency action for which there is no other adequate remedy

        in a court” and is therefore subject to judicial review. 5 U.S.C. §§ 702, 704.

                                          COUNT III – Violation of APA

                                           (Excess of statutory authority)

                157.    The APA directs courts to hold unlawful and set aside agency actions in excess of

        statutory authority. 5 U.S.C. § 706(2)(C).

                158.    Defendants have a non-discretionary duty to protect records on individuals from

        unauthorized disclosure.
                159.    Defendants’ action to grant DOGE representatives access to their systems of

        records containing sensitive and personal data violates that duty.

                                              PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that this Court:

            a. Declare that Defendants acted unlawfully in disclosing records protected by the Privacy

                Act to DOGE representatives.

            b. Enjoin Defendants from continuing to permit such access or otherwise obtain such

                information.




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           c. Enjoin Defendants to ensure that there is no further unauthorized use or dissemination

              resulting from the unauthorized disclosures.

           d. Enjoin Defendants to retrieve or ensure the destruction of any copies of any records that

              were unlawfully disclosed.

           e. Enjoin Defendants to ensure that future disclosure of individual records will occur only in

              accordance with the Privacy Act and the SORNs applicable to the system of records at

              issue.

           f. Grant any temporary, preliminary, or permanent injunctive relief necessary to

              protect the privacy of individuals whose information is contained within the

              system of records.

           g. Award Plaintiffs their costs and attorneys’ fees for this action; and

           h. Grant any other relief as this Court deems appropriate.




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        DATED: February 12, 2025



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                                          Attorneys for Plaintiffs




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                                          CERTIFICATE OF SERVICE

               I hereby certify that on this 12th day of February, 2024, copies of the Amended

        Complaint and Redlined Amended Complaint were filed via CM/ECF, emailed to Department of

        Justice attorneys involved in other litigation, and sent via overnight delivery to the following:


        Attorney General of the United States
        U.S. Department of Justice
        950 Pennsylvania Avenue, NW
        Washington, DC 20530-0001

        Civil Process Clerk
        U.S. Attorney's Office for D.C.
        601 D Street, NW
        Washington, DC 20530

        Erek Barron
        United States Attorney for the District of Maryland
        36 S. Charles Street, 4th Fl.
        Baltimore, MD 21201

        Scott Bessent
        Secretary of the Treasury
        1500 Pennsylvania Ave. NW
        Washington, DC 20220

        Department of the Treasury
        1500 Pennsylvania Ave. NW
        Washington, DC 20220

        Charles Ezell
        Acting Director of the Office of Personnel Management
        1900 E St. NW
        Washington, D.C. 20415

        U.S. Office of Personnel Management
        1900 E St. NW
        Washington, D.C. 20415

        Denise Carter
        Acting Secretary of Education
        400 Maryland Avenue, SW
        Washington, D.C. 20202



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        U.S. Department of Education
        400 Maryland Avenue, SW
        Washington, D.C. 20202




        Dated: February 12, 2025


                                                   /s/ Xiaonan April Hu
                                                   (signed by filer with permission)

                                                   Xiaonan April Hu




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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         SOUTHERN DIVISION


        AMERICAN FEDERATION OF                       Case No. 8:25-cv-00430
        TEACHERS, et al.,

                     Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                     Defendants.


                                 DECLARATION OF JASON CAIN
                               IN SUPPORT OF MOTION FOR TRO

        I, Jason Cain, declare as follows:

        1.​ I am over the age of 18 and have personal knowledge of the facts in this
            declaration.

        2.​ I live in North Carolina and currently work as an instructor of political science
            at Wake Technical Community College.

        3.​ I am a military veteran. From 2000 to 2010, I served in the U.S. Army, as
            Sergeant First Class in the U.S. Army Special Operations Command and the
            82nd Airborne. In that role, I had a Top Secret security clearance.

        4.​ I currently receive financial benefits from the federal government, including
            veterans’ disability compensation from the Veterans Administration.

        5.​ I have previously received other financial benefits from the federal government,
            including GI bill benefits and a home loan from the Veterans’ Administration
            and student loans from the Department of Education.

        6.​ I also worked for the federal government from 2012 to 2015 as Director of
            Intergovernmental Affairs at the Veterans Administration.




                                                JA69
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        7.​ As a result of my military service, employment in the civil service, and the
            financial benefits I receive, federal government agencies, including the Office
            of Personnel Management, the Department of Education, and the Department of
            Treasury, have sensitive personal information about me in their record systems.

        8.​ At the Office of Personnel Management, this information includes my social
            security number, employment history, address, phone number, demographic
            information. At the Department of Treasury, this information includes my social
            security number, date of birth, bank account information, and home address. At
            the Department of Education, this information includes my social security
            number, bank records, tax returns, home address, employment data,
            documentation of marital status, family financial status and records, and
            demographic data, in addition to similar information for my family members.

        9.​ I provided this personal information in order to access essential services like
            employment, disability payments, and funds to help with educational expenses.
            When I provided the information, I expected that the data would be used to
            facilitate my access to these services and only for legally authorized purposes. I
            also expected that the government would zealously safeguard access to that
            information.

        10.​I feel that my right to privacy has been violated by the government’s choice to
            disclose information to DOGE representatives, who appear to be using it for
            purposes that have nothing to do with why I provided the data. I did not request
            disclosure of my personal information to DOGE representatives or provide
            written access authorizing such disclosure. My concerns are amplified because,
            based on news reports, at least some of the DOGE representatives are recent
            high school graduates or college students with a checkered history on data
            security. Further, I am concerned about the potential disclosure of my
            information to AI tools and software.

        11.​My federal government benefits accounts have been previously hacked. As a
            result, my disability and education benefits were diverted to criminal
            enterprises. When that happened, I experienced both fear and helplessness as
            my funding was inaccessible to me and depleted by third parties.

        12.​I am anxious about repeating this ordeal, now made more likely by DOGE’s
            recent unauthorized access to my personal information. I am outraged that the
            federal government facilitated this data breach at all, given the extreme caution
            with which I was trained to handle sensitive information both during my time in



                                                JA70
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            the military and when I worked at the Veterans Administration. And I am
            especially galled that my personal information has been transmitted to
            individuals who appear to have little regard for data privacy.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 11, 2025.​ ​           ​    ​     ​

        ​      ​     ​      ​     ​      ​        ​    ____________/s/*___________
        ​      ​     ​      ​     ​      ​        ​    Jason Cain

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.




                                                  JA71
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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         SOUTHERN DIVISION


        AMERICAN FEDERATION OF                       Case No. 8:25-cv-00430
        TEACHERS, et al.,

                     Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                     Defendants.


                               DECLARATION OF THOMAS FANT
                               IN SUPPORT OF MOTION FOR TRO

        I, Thomas Fant, declare as follows:

        1.​ I am over the age of 18 and have personal knowledge of the facts in this
            declaration.

        2.​ I live in Massachusetts and am currently retired.

        3.​ I am a military veteran. From 1996 to 1998, I served in the U.S. Coast Guard,
            until I was medically discharged.

        4.​ I currently receive financial benefits from the federal government, including
            veterans’ disability compensation, as well as all of my healthcare, from the
            Veterans Administration.

        5.​ As a result of my military service and the financial benefits I receive, federal
            government agencies, including the Department of Treasury, have sensitive
            personal information about me in their record systems.

        6.​ At the Department of Treasury, this information includes my social security
            number, date of birth, bank account information, and home address.

        7.​ I provided this personal information in order to access essential services like
            disability payments. When I provided the information, I expected that the data



                                                JA72
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            would be used to facilitate my access to these services and only for legally
            authorized purposes. I also expected that the government would zealously
            safeguard access to that information.

        8.​ I feel that my right to privacy has been violated by the government’s choice to
            disclose information to DOGE representatives, who appear to be using it for
            purposes that have nothing to do with why I provided the data. I did not request
            disclosure of my personal information to DOGE representatives or provide
            written access authorizing such disclosure. My concerns are amplified because,
            based on news reports, at least some of the DOGE representatives are recent
            high school graduates or college students with a checkered history on data
            security. Further, I am concerned about the potential disclosure of my
            information to AI tools and software.

        9.​ I am alarmed, disturbed, and anxious that the government-facilitated
            unauthorized access to my personal information, and that of millions of other
            Americans, will enable third parties affiliated with Elon Musk and the so-called
            “Department of Government Efficiency” to illegally and corruptly profit at my
            expense and at the expense of the American people, especially my fellow
            veterans.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 11, 2025.​ ​           ​    ​     ​

        ​      ​     ​      ​     ​      ​        ​    ____________/s/*___________
        ​      ​     ​      ​     ​      ​        ​    Thomas Fant

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.




                                                  JA73
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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         SOUTHERN DIVISION

        AMERICAN FEDERATION OF                        Case No. 8:25-cv-00430
        TEACHERS, et al.,

                     Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                     Defendants.

                       DECLARATION OF KRISTOFER GOLDSMITH
                          IN SUPPORT OF MOTION FOR TRO

        I, Kristofer Goldsmith, declare as follows:

        1.​ I am over the age of 18 and have personal knowledge of the facts in this
            declaration.

        2.​ I live in New York and currently work as the president and CEO of Task Force
            Butler Institute, whose mission is to combat domestic extremists.

        3.​ I am a military veteran. From 2004 to 2007, I served in the U.S. Army. I joined
            as a Forward Observer, deployed to Iraq in 2005, and left as a Sergeant.

        4.​ I currently receive financial benefits from the federal government, including
            veterans’ disability compensation from the Veterans Administration.

        5.​ I have previously received other financial benefits from the federal government,
            including student loans from the Department of Education.

        6.​ As a result of my military service and the financial benefits I currently and have
            previously received, federal government agencies, including the Department of
            Education and the Department of Treasury, have sensitive personal information
            about me in their record systems.

        7.​ At the Department of Treasury, this information includes my social security
            number, date of birth, bank account information, and home address. At the
            Department of Education, this information includes my social security number,


                                               JA74
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           bank records, tax returns, home address, employment data, documentation of
           marital status, family financial status and records, as well as job loss and
           demographic data, in addition to similar information for my family members.

        8.​ I provided this personal information in order to access essential services like
            disability payments and funds to help with educational expenses. When I
            provided the information, I expected that the data would be used to facilitate my
            access to these services and only for legally authorized purposes. I also
            expected that the government would zealously safeguard access to that
            information.

        9.​ I feel that my right to privacy has been violated by the government’s choice to
            disclose information to DOGE representatives, who appear to be using it for
            purposes that have nothing to do with why I provided the data. I did not request
            disclosure of my personal information to DOGE representatives or provide
            written access authorizing such disclosure. My concerns are amplified because,
            based on news reports, at least some of the DOGE representatives are recent
            high school graduates or college students with a checkered history on data
            security. Further, I am concerned about the potential disclosure of my
            information to AI tools and software.

        10.​I am deeply concerned that my personal information has been compromised and
            angry that federal agencies appear to have facilitated this breach of my privacy.
            I am worried that my personal information, having been exposed to
            unauthorized individuals, may be exploited by domestic extremist organizations
            to harass, intimidate, and harm me and my family.

        11.​My concerns are only heightened by the presidential pardons of many domestic
            extremists who participated in the January 6 insurrection, and Elon Musk’s
            apparent support of those pardons. Indeed, news reports indicate that DOGE
            representatives have amplified content from white supremacist Nick Fuentes,
            been associated with a cybercriminal network that engages in hacking and
            extortion, and have promoted explicit racial hatred. The reported support by
            DOGE representatives for entities that I target in my work combating domestic
            extremism makes it all the more likely that these individuals would leak my
            personal information to these malicious actors. As a result, I fear those
            malicious actors will seek to target me using my breached personal information.

        12.​While I had already taken some proactive measures to protect my personal
            information and physical security, I have taken additional remedial measures in



                                               JA75
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            response to the government-facilitated breach of my privacy to DOGE
            representatives. Fearing that my data may have already been released by DOGE
            to domestic extremists, I am more protective of my physical security. I
            previously carried a firearm on my person in my home when a neo-Nazi
            threatened my family. Because of the DOGE breach, as of last week, I am now
            carrying in my own home again. I also called my local police station earlier this
            week to alert them that there’s an increased risk of an attempted SWATing
            attack or other security event to try to encourage a measured response. And my
            wife and I are much more vigilant about checking our security cameras since
            the breach. She has asked me to cancel my work trips because she is scared of
            being at our home alone in light of the elevated security risks from the breach.

        13.​This unlawful data access puts my life and my family at risk. These are not
            abstract concerns—they’re potentially deadly. I have already been targeted by
            domestic extremist groups in the past. Reports of DOGE representatives’ links
            to white supremacist networks and cybercriminals only make the risk more
            acute. I feel that the risk of my data being leaked and weaponized against my
            family has never been higher. The psychological toll of this privacy breach is
            immense.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 11, 2025.​ ​           ​    ​     ​

        ​      ​     ​      ​     ​      ​        ​    ____________/s/*___________
        ​      ​     ​      ​     ​      ​        ​    Kristofer Goldsmith

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.




                                                  JA76
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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         SOUTHERN DIVISION

        AMERICAN FEDERATION OF                       Case No. 8:25-cv-00430
        TEACHERS, et al.,

                     Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                     Defendants.

                     DECLARATION OF CLIFFORD “BUZZ” GRAMBO
                          IN SUPPORT OF MOTION FOR TRO

        I, Clifford “Buzz” Grambo, declare as follows:

        1.​ I am over the age of 18 and have personal knowledge of the facts in this
            declaration.

        2.​ I live in Maryland and am currently retired.

        3.​ I am a military veteran. I served in the U.S. Navy for 20 years, retiring as Chief
            Petty Officer.

        4.​ I currently receive financial benefits from the federal government, including
            veterans’ disability compensation and a military pension, both from the
            Veterans Administration.

        5.​ As a result of my military service and the financial benefits I receive, federal
            government agencies, including the Department of Treasury, have sensitive
            personal information about me in their record systems.

        6.​ At the Department of Treasury, this information includes my social security
            number, date of birth, bank account information, and home address.

        7.​ I provided this personal information in order to access essential services like
            disability payments and my military pension. When I provided the information,
            I expected that the data would be used to facilitate my access to these services



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            and only for legally authorized purposes. I also expected that the government
            would zealously safeguard access to that information.

        8.​ I feel that my right to privacy has been violated by the government’s choice to
            disclose information to DOGE representatives, who appear to be using it for
            purposes that have nothing to do with why I provided the data. I did not request
            disclosure of my personal information to DOGE representatives or provide
            written access authorizing such disclosure. My concerns are amplified because,
            based on news reports, at least some of the DOGE representatives are recent
            high school graduates or college students with a checkered history on data
            security. Further, I am concerned about the potential disclosure of my
            information to AI tools and software.

        9.​ I worry that the unauthorized disclosure of my personal information makes it
            more likely that I will be targeted for doxxing, identity theft schemes, or other
            harmful uses of my data.

        10.​I am also deeply offended by the federal government facilitating this
            unauthorized disclosure of my personal information. It is a violation of the rule
            of the law for the government to enable access of my personal information to an
            unelected so-called “department” head who appears to be a threat to national
            security and the DOGE representatives who do not seem to have been subjected
            to an actual background check. This lawlessness by the federal government
            betrays the democratic values I sought to protect through my military service.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 11, 2025.​ ​           ​    ​     ​

        ​      ​     ​      ​     ​      ​        ​    ____________/s/*___________
        ​      ​     ​      ​     ​      ​        ​    Clifford “Buzz” Grambo

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.




                                                  JA78
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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         SOUTHERN DIVISION

        AMERICAN FEDERATION OF                        Case No. 8:25-cv-00430
        TEACHERS, et al.,

                     Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                     Defendants.

                           DECLARATION OF DONALD MARTINEZ
                             IN SUPPORT OF MOTION FOR TRO

        I, Donald Martinez, declare as follows:

        1.​ I am over the age of 18 and have personal knowledge of the facts in this
            declaration.

        2.​ I live in Colorado and currently work as a chicken and goat rancher.

        3.​ I am a military veteran. I served in the U.S. Army and had two deployments to
            Iraq as a Field Artillery Officer with a Top Secret/Sensitive Compartmented
            Information security clearance. During my service, I sustained a traumatic brain
            injury and was medically retired.

        4.​ I currently receive financial benefits from the federal government, including
            veterans’ disability compensation, combat-related special compensation, and a
            home loan from the Veterans Administration, as well as social security
            disability insurance from the Social Security Administration.

        5.​ I have previously received other financial benefits from the federal government,
            including student loans from the Department of Education and vocational
            rehabilitation and employment payments from the Veterans Administration.

        6.​ Apart from my military service, I also worked for the Federal Emergency
            Management Agency as a Presidential Management Fellow.



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        7.​ As a result of my military service, employment in the civil service, and the
            financial benefits I receive, federal government agencies, including the Office
            of Personnel Management, the Department of Education, and the Department of
            Treasury, have sensitive personal information about me in their record systems.

        8.​ At the Office of Personnel Management, this information includes my social
            security number, employment history, address, phone number, demographic
            information. At the Department of Treasury, this information includes my social
            security number, date of birth, bank account information, and home address. At
            the Department of Education, this information includes my social security
            number, bank records, tax returns, home address, employment data,
            documentation of marital status, mortgage statements, child support,
            investments, family financial status and records, as well as divorce and
            demographic data, in addition to similar information for my family members.

        9.​ I provided this personal information in order to access essential services like
            employment, disability payments, and funds to help with educational expenses.
            When I provided the information, I expected that the data would be used to
            facilitate my access to these services and only for legally authorized purposes. I
            also expected that the government would zealously safeguard access to that
            information.

        10.​I feel that my right to privacy has been violated by the government’s choice to
            disclose information to DOGE representatives, who appear to be using it for
            purposes that have nothing to do with why I provided the data. I did not request
            disclosure of my personal information to DOGE representatives or provide
            written access authorizing such disclosure. My concerns are amplified because,
            based on news reports, at least some of the DOGE representatives are recent
            high school graduates or college students with a checkered history on data
            security. Further, I am concerned about the potential disclosure of my
            information to AI tools and software.

        11.​Because of my previous military service in a geographically sensitive area and
            involvement in high-level negotiations, I was targeted by terrorists. Two of my
            interpreters were kidnapped and tortured, and I received multiple death threats.
            In light of that experience, I am worried that unauthorized access and disclosure
            of my personal information held within the federal government will
            compromise my personal safety and security. I also worry that it will
            compromise the safety and security of millions of other Americans.



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        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 11, 2025.​ ​           ​       ​    ​

        ​     ​      ​      ​     ​      ​        ​       ____________/s/*___________
        ​     ​      ​      ​     ​      ​        ​       Donald Martinez

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.




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                                                  JA81
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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
                                         SOUTHERN DIVISION

        AMERICAN FEDERATION OF                      Case No. 8:25-cv-00430
        TEACHERS, et al.,

                     Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                     Defendants.

                         DECLARATION OF CHRISTOPHER PURDY
                           IN SUPPORT OF MOTION FOR TRO

        I, Christopher Purdy, declare as follows:

        1.​ I am over the age of 18 and have personal knowledge of the facts in this
            declaration.

        2.​ I live in Georgia and currently work as the head of The Chamberlain Network, a
            nonprofit that aims to take a stand against political violence to help safeguard
            the principle upon which our democracy was built.

        3.​ I am a military veteran. From 2004 to 2012, I served in the U.S. Army National
            Guard and was deployed to Iraq in 2011.

        4.​ I currently receive financial benefits from the federal government, including
            veterans’ disability compensation from the Veterans Administration.

        5.​ I have previously received other financial benefits from the federal government,
            including a home loan from the Veterans’ Administration and student loans
            from the Department of Education.

        6.​ As a result of my military service and the financial benefits I receive, federal
            government agencies, including the Department of Education, and the
            Department of Treasury, have sensitive personal information about me in their
            record systems.




                                               JA82
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        7.​ At the Department of Treasury, this information includes my social security
            number, date of birth, bank account information, and home address. At the
            Department of Education, this information includes my social security number,
            bank records, tax returns, home address, employment data, documentation of
            marital status, mortgage statements, investments, family financial status and
            records, dependent care costs, as well as job loss and demographic data, in
            addition to similar information for my family members.

        8.​ I provided this personal information in order to access essential services like
            disability payments and funds to help with educational expenses. When I
            provided the information, I expected that the data would be used to facilitate my
            access to these services and only for legally authorized purposes. I also
            expected that the government would zealously safeguard access to that
            information.

        9.​ I feel that my right to privacy has been violated by the government’s choice to
            disclose information to DOGE representatives, who appear to be using it for
            purposes that have nothing to do with why I provided the data. I did not request
            disclosure of my personal information to DOGE representatives or provide
            written access authorizing such disclosure. My concerns are amplified because,
            based on news reports, at least some of the DOGE representatives are recent
            high school graduates or college students with a checkered history on data
            security. Further, I am concerned about the potential disclosure of my
            information to AI tools and software.

        10.​I am distressed that the breach of my personal information to unauthorized
            parties and enabled by the federal government makes that personal information
            more vulnerable to being released further to the public or to malicious
            third-party actors. I fear that this would cause me severe economic harm.

        11.​Further, as I have been reading about cancellations of payments from the federal
            government, sometimes apparently targeted and sometimes haphazard, I am
            very worried that Elon Musk and his so-called “Department of Government
            Efficiency” may use their unauthorized access to my personal information to
            stop my VA disability payments. This is a major source of stress in my family
            as these payments are a significant source of our household income.




                                               JA83
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        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 11, 2025.​ ​           ​

                                                       ____________/s/*___________
        ​     ​      ​      ​     ​      ​        ​    Christopher Purdy​ ​

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.




                                                  JA84
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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   SOUTHERN DIVISION


        AMERICAN FEDERATION OF                        Case No. 8:25-cv-00430
        TEACHERS, et al.,

                    Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                    Defendants.


                         DECLARATION OF SARAH TAMMELLEO

        I, Sarah Tammelleo, declare as follows:

          1.​ I am over the age of 18 and have personal knowledge of the facts in this
              declaration.

          2.​ I am the Senior Director of Research and Strategic Initiatives for the
              American Federation of Teachers. In my role I oversee the national union’s
              Research Strategic Initiatives and Economic issues department which is
              responsible for AFT’s work related to research and economic issues
              including but not limited to, student debt, consumer issues, wages,
              healthcare benefits, and retirement security.

          3.​ The American Federation of Teachers is a national labor organization
              headquartered in Washington, D.C., representing over 1.8 million members
              who are employed as pre-K through 12th-grade teachers, early childhood
              educators, paraprofessionals and other school-related personnel; higher
              education faculty and professional staff; federal, state, and local government
              employees; and nurses and other healthcare professionals.


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          4.​ For over a decade, AFT has been fighting to help teachers and nurses
              burdened by student debt receive Public Service Loan Forgiveness (“PSLF”)
              through the Department of Education. The national union has hosted
              hundreds of student debt clinics for tens of thousands of its members and has
              helped its members apply for relief through the PSLF program. In addition,
              AFT assists its members in applying for and securing payment of various
              federal employment, disability, and retirement benefits. For example, many
              local affiliates offer clinics and webinars to advise members how to obtain
              and file for benefits including but not limited to, Medicare and Social
              Security.

          5.​ Because part of the process by which member teachers and nurses apply for
              federal loans, benefits, and employment involves sharing members’ personal
              data, AFT also advocates for the ethical use of artificial intelligence and
              enforcement of government regulations that protect its members’ personal
              data. Stated differently, as part of AFT’s mission and purpose of supporting
              educators who interface with the federal government, AFT advocates for the
              protection and safeguarding by various federal agencies and departments of
              AFT members’ personal data. For example, AFT has been working with an
              external organization to train leaders and members to secure and protect
              data, and AFT offers cyber insurance through the union’s extensive national
              member benefits program.

          6.​ I am aware of and can identify individual AFT members who have federal
              student loan debt, and/or are federal employees, and/or who have records
              housed within OPM and Department of Education records systems and
              receive payments from the United States Treasury. Specifically, I am aware
              of individual members with personally identifiable information contained in
              the payment systems of Treasury's Federal Disbursement Services; in the
              federal work files of OPM, including USAJOBS and the Electronic Official
              Personnel Folder, among others; and in the Department of Education’s
              National Student Loan Data Systems, Common Origination and
              Disbursement System, FUTURE ACT System, and Financial Management
              System.

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            7.​ I am aware that sensitive information about AFT members is contained in
                these record systems, including Social Security numbers, bank account
                numbers, details of personal finances, and personnel information. Improper
                disclosure of this information increases the risk of access by external actors,
                doxxing, identity theft, invasion of personal privacy, and financial crimes
                against AFT members. Introducing sensitive personal data into artificial
                intelligence systems enhances these risks.

            8.​ I am not aware of any AFT member who has requested or authorized DOGE
                or its representatives to access their personal data.

            9.​ I am aware of and can identify individual members whose right to privacy
                has been violated by such disclosures.

            10.​ I am aware of and can identify individual federal employee members who
                 received an email from OPM on their federal agency account with the
                 subject “Fork in the Road,” detailing a plan for federal employees to
                 immediately resign their positions.

            11.​ I have personally heard from student loan borrower members who are
                 concerned about the risks to their privacy and data security posed by
                 unvetted and unqualified people associated with DOGE going through their
                 personal and financial data.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 12, 2025

                                                           ____________/s/*____________
        ​       ​     ​      ​      ​     ​        ​       Sarah Tammelleo

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.



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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                    SOUTHERN DIVISION


        AMERICAN FEDERATION OF                      Case No. 8:25-cv-00430
        TEACHERS, et al.,

                     Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                     Defendants.


                             DECLARATION OF BRIAN BRYANT

        I, Brian Bryant, declare as follows:

          1.​ I am over the age of 18 and have personal knowledge of the facts in this
              declaration.

          2.​ I am the International President of the International Association of
              Machinists and Aerospace Workers (“IAM”). IAM is an international labor
              organization and unincorporated membership organization headquartered in
              Upper Marlboro, Maryland. IAM is one the largest and most diverse labor
              unions in North America with nearly 600,000 active and retired members.
              Among IAM’s affiliate organizations is the National Federation of Federal
              Employees (“NFFE”), which is a national labor organization and
              unincorporated membership organization headquartered in Washington, D.C.

          3.​ Together, IAM and NFFE represent more than 100,000 federal workers,
              approximately 13,000 of whom are dues-paying members, from agencies
              across the federal government. IAM and NFFE also represent many veterans



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              and veterans’ groups, advocate on their behalf, and assist them in receiving
              their benefits, among other services.

          4.​ IAM and NFFE represent our federal sector members through negotiating
              collective bargaining agreements and assisting employees with enforcing
              them. We assert contractual and statutory rights on behalf of our federal
              sector members by filing grievances, unfair labor practice charges, or other
              complaints through our negotiated grievance procedure or with various
              federal agencies, including the Federal Labor Relations Authority, the Merit
              Systems Protection Board, the Office of Special Counsel, and the Federal
              Labor Relations Authority. IAM and NFFE file litigation on employees’
              behalf in the courts. We also advocate on Capitol Hill and in the media on
              issues of importance to federal workers and to veterans.

          5.​ Both IAM and NFFE have Veterans Committees that advocate on behalf of
              our members who are veterans. Annually, the IAM sponsors two one-week
              educational classes. One class teaches our members how to start a Veterans
              Committee in their community to advocate for their issues in their home
              state. That class includes a component about what benefits veterans are
              entitled to receive. The second class focuses on training veteran members on
              how to assist each other in applying for benefits, while also educating them
              about the importance of maintaining confidentiality concerning the private
              records submitted to the government to obtain those benefits.

          6.​ As part of our missions IAM and NFFE also provide extensive services
              applying for and securing payment of benefits to our members who are
              veterans. When veteran members are having difficulty obtaining the benefits
              they earned, we assist them and their family members in the preparation,
              presentation, and prosecution of claims of benefits with the Department of
              Veterans Affairs. Benefits include disability compensation, education,
              Veterans Readiness & Employment, home loans, life insurance, pensions,
              health care, and burial benefits. These claims include the most sensitive
              medical and financial information concerning the veteran, such as social
              security numbers, healthcare records, bank account information and dates of
              birth.

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          7.​ Because federal employees and retirees have extensive amounts of
              personally identifiable information housed in their personnel records, federal
              payment systems, and student loan records, IAM and NFFE advocacy efforts
              include assisting their members in seeking redress for federal agencies’
              unlawful disclosures of members’ sensitive data.

          8.​ For example, we frequently negotiate provisions in our collective bargaining
              agreements to protect the privacy and accuracy of employees’ personnel
              files by ensuring employees can access, review, and correct errors within
              their official personnel folders or any other regularly-maintained record or
              file regarding their employment. Personnel records are often the basis for
              calculating retirement eligibility or benefits, determining eligibility for
              career ladder promotions or within-grade increases in pay, assessing whether
              an employee has vested appeal rights and civil service protections upon
              completing a probationary period, and placement options in the event of a
              Reduction-in-Force.

          9.​ IAM and NFFE negotiate into collective bargaining agreements rights for
              employees to have personally identifiable information and medical
              information provided only to federal employees with a business need to
              know. Employees who request reasonable accommodations in connection
              with their employment due to a health condition often need to submit
              medical records through processes the union negotiates to maintain
              confidentiality to the maximum extent possible. NFFE uses our National
              Consultation Rights at several agencies to comment on proposed changes to
              agency policies that impact our members’ sensitive data. IAM and NFFE
              regularly train and educate our members on their rights to maintain
              confidentiality, the extent of those rights, what the agency is lawfully
              permitted to solicit and maintain, and how to advocate for themselves in the
              workplace using union-negotiated procedures. NFFE and IAM file and
              pursue grievances, or litigation, like this one, when members’ privacy rights
              have been violated.




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          10.​ I am aware of and can identify individual IAM and NFFE members who
               have federal student loan debt, and/or are federal employees, and/or who
               have records housed within OPM and Department of Education records
               systems and/or who are veterans whose personally sensitive data is
               submitted in the effort to receive benefits and receive payments from the
               United States Treasury. Specifically, I am aware of individual members with
               personally identifiable information contained in the payment systems of
               Treasury's Federal Disbursement Services; in the federal work files of OPM,
               including USAJOBS and the Electronic Official Personnel Folder, among
               others; and in the Department of Education’s National Student Loan Data
               Systems, Common Origination and Disbursement System, FUTURE ACT
               System, and Financial Management System.

          11.​ I am aware that sensitive information about IAM and NFFE members is
               contained in these record systems, including Social Security numbers, bank
               account numbers, medical records, details of personal finances, and
               personnel information. Improper disclosure of this information increases the
               risk of access by external actors, doxxing, identity theft, invasion of personal
               privacy, and financial crimes against IAM and NFFE members. Introducing
               sensitive personal data into artificial intelligence systems enhances these
               risks.

          12.​ I am not aware of any IAM or NFFE member who has requested or
               authorized DOGE or its representatives to access their personal data.

          13.​ I am aware of and can identify individual members whose right to privacy
               has been violated by such disclosures.

          14.​ I am aware of and can identify individual federal employee members who
               received an email from OPM on their federal agency account with the
               subject “Fork in the Road,” detailing a plan for federal employees to
               immediately resign their positions.

          15.​ We have heard from members who are concerned about risks posed by
               DOGE and its representatives having access to their personally identifiable
               information. They are concerned about publication or exporting of their


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              personally identifiable information, including mail and email addresses,
              phone numbers, bank information, medical records and Social Security
              numbers. They fear exposure of their salary history, their job application
              history, and their disciplinary records. They fear their information could be
              exported for nefarious purposes, used in retaliation, or altered. Some
              members have told us that in addition to the identity theft and personal
              safety risks, they are concerned about the national security risk posed if their
              information were to make it into the hands of foreign governments like
              China. Our members have expressed concern that access by DOGE and its
              representatives to their personally identifiable information has made it
              possible for unauthorized surveillance and corruption of their home
              networks and personal devices.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 12, 2025

                                                        ____________/s/*___________
        ​     ​      ​      ​     ​      ​      ​       Brian Bryant

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.




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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                      SOUTHERN DIVISION


     AMERICAN FEDERATION OF                        Case No. 8:25-cv-00430
     TEACHERS, et al.,

                  Plaintiffs,

           vs.

     SCOTT BESSENT, et al.,

                  Defendants.


                      DECLARATION OF WILLIAM SHACKELFORD

     I, William Shackelford, declare as follows:

         1.​ I am over the age of 18 and have personal knowledge of the facts in this
             declaration.

         2.​ I am the President of the National Active and Retired Federal Employees
             Association (“NARFE”). NARFE is a nonprofit organization founded in 1921,
             incorporated in the District of Columbia, and headquartered in Alexandria,
             Virginia, with a membership of approximately 128,000 current and former federal
             employees as well as spousal annuitants.

         3.​ NARFE’s mission is to promote the general welfare of current federal civilian
             employees and federal retirees and their survivors, to advise and assist them with
             respect to their federal benefits, to represent their interests before appropriate
             authorities, and to support legislation and regulations beneficial to such
             employees and retirees and to oppose those detrimental to their interests. As part
             of this mission, NARFE assists its members in various ways in applying for and
             securing the payment of federal employment and retirement benefits.

         4.​ Because federal employees and retirees have extensive amounts of personally
             identifiable information housed in their personnel records, payment systems, and
             student loan records, it is part of NARFE’s mission and purpose to call on federal


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            agencies to vigorously protect the privacy of NARFE members’ digital
            information.

        5.​ I am aware of and can identify individual NARFE members who have federal
            student loan debt, and/or are federal employees, and/or who have records housed
            within OPM and Department of Education records systems and receive payments
            from the United States Treasury. Specifically, I am aware of individual members
            with personally identifiable information contained in the payment systems of
            Treasury's Federal Disbursement Services; in the federal work files of OPM,
            including USAJOBS and the Electronic Official Personnel Folder, among others;
            and in the Department of Education’s National Student Loan Data Systems,
            Common Origination and Disbursement System, FUTURE ACT System, and
            Financial Management System.

        6.​ I am aware that sensitive information about NARFE members is contained in
            these record systems, including Social Security numbers, bank account numbers,
            details of personal finances, and personnel information. Improper disclosure of
            this information increases the risk of access by external actors, doxxing, identity
            theft, invasion of personal privacy, and financial crimes against NARFE
            members. Introducing sensitive personal data into artificial intelligence systems
            enhances these risks.

        7.​ I am not aware of any NARFE member who has requested or authorized DOGE
            or its representatives to access their personal data.

        8.​ I am aware of and can identify individual members whose right to privacy has
            been violated by such disclosures.

        9.​ I am aware of and can identify individual federal employee members who
            received an email from OPM on their federal agency account with the subject
            “Fork in the Road,” detailing a plan for federal employees to immediately resign
            their positions.

        10.​ Throughout NARFE, our members have expressed that unauthorized access to
             their personal information by DOGE and its representatives creates a risk of
             identity theft and financial fraud. Many of our members had high-level security
             clearance and were involved in sensitive matters while performing their daily
             duties. As such, they are concerned about political targeting, retribution and legal
             action being initiated against them. Our members are concerned that the
             information in the secure federal databases could be compromised and that their
             annuities and social security benefits would be impacted. Additionally, many of

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               our members are also veterans of the military and are concerned that healthcare
               benefits could be affected by delay or cancellation.

     I declare under penalty of perjury that the foregoing is true and correct.

     Executed: February 12, 2025

                                                   ____________/s/*___________
     ​     ​       ​      ​     ​     ​      ​     William Shackelford

     *Counsel hereby certifies that he has a signed copy of the foregoing document available
     for inspection at any time by the court or a party to this action.




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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   SOUTHERN DIVISION


        AMERICAN FEDERATION OF                         Case No. 8:25-cv-00430
        TEACHERS, et al.,

                    Plaintiffs,

              vs.

        SCOTT BESSENT, et al.,

                    Defendants.


                         DECLARATION OF MATTHEW S. BIGGS

        I, Matthew S. Biggs, declare as follows:

          1.​ I am over the age of 18 and have personal knowledge of the facts in this
              declaration.

          2.​ I am the President of the International Federation of Professional and
              Technical Engineers (“IFPTE”). IFPTE is an international labor organization
              headquartered in Washington, D.C., that represents approximately 34,000
              federal employees in addition to its other public and private sector
              represented bargaining units. Over 7,000 of these represented federal sector
              employees are dues-paying members. The majority of federal employees
              represented by IFPTE work at the Department of Defense, many in the Navy
              shipyards. Represented employees include nuclear submarine engineers,
              scientists and researchers at NASA, Administrative Law Judges at the Social
              Security Administration, and nuclear engineers at the Tennessee Valley
              Authority, as well as employees of the Environmental Protection Agency.
              IFPTE comprises many members who are veterans and represents and
              advocates for veterans and veterans’ groups.


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          3.​ As a labor union, IFPTE provides representation, information, and
              legislative advocacy for individual federal employees and represented units
              regarding terms and conditions of employment. This includes assistance
              with negotiating pay, healthcare, pensions, security clearances and the
              security revocation process, both at the IFPTE level and by supporting our
              local affiliates. We also provide training to federal sector local affiliates on
              how to bargain contracts regarding pay and benefits. IFPTE has a legislative
              program that includes priorities advocating for pay raises for federal
              employees and protecting federal pensions and healthcare. IFPTE has
              advocated for at least the last ten years for student loan forgiveness for
              public sector workers, including federal employees.

          4.​ IFPTE helps its represented federal employees in navigating reasonable
              accommodations, leave under the Family Medical Leave Act and veterans
              preference issues in the workplace, including for the purposes of promotions
              and points for disability. This requires dealing with personal and medical
              information.

          5.​ In addition to representation in federal workplaces that directly involves
              federal employee PII, IFPTE trains its federal locals on how to interact with
              OPM when it comes to processing retirement benefits, different types of pay
              schedules, special pay rates, and the like. Our local affiliates provide this
              same training for their individual members regarding interactions with OMB
              and other Executive Branch agencies. IFPTE also consistently advocates for
              adequate funding for OPM for processing retirement benefits and
              eliminating the backlog in processing retirement applications. This includes
              advocating against the first Trump administration’s efforts to shutter OPM.

          6.​ Because the services and advocacy IFPTE provides for its federal members
              involves sharing members’ personal data with government agencies, and
              because IFPTE’s federal employee members have extensive personal data
              stored in federal personnel and payment systems, IFPTE’s advocacy efforts
              include calling on federal legislators and agencies to implement policies that
              protect IFPTE members’ privacy interests. Specifically, IFPTE advocates to

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              Congress to invest in software and cybersecurity measures to protect the PII
              of our represented federal employees. When OPM’s data system was
              breached in 2015 by hackers, IFPTE advocated to Congress to provide credit
              monitoring and other individual assistance to federal employees.

          7.​ At the local affiliate levels, our locals assist their represented employees in
              ensuring that the agency employers take steps to protect the PII of their
              members. As an example, IFPTE-represented Social Security
              Administrative Law Judges consistently face personal threats because of
              their jobs, and as such must advocate that their employing agency take every
              possible measure to protect their PII, including home addresses and other
              contact information.

          8.​ I am aware of and can identify individual IFPTE members who have federal
              student loan debt, and/or are federal employees, and/or who have records
              housed within OPM and Department of Education records systems and
              receive payments from the United States Treasury. Specifically, I am aware
              of individual members with personally identifiable information contained in
              the payment systems of Treasury's Federal Disbursement Services; in the
              federal work files of OPM, including USAJOBS and the Electronic Official
              Personnel Folder, among others; and in the Department of Education’s
              National Student Loan Data Systems, Common Origination and
              Disbursement System, FUTURE ACT System, and Financial Management
              System.

          9.​ I am aware that sensitive information about IFPTE members is contained in
              these record systems, including Social Security numbers, bank account
              numbers, details of personal finances, and personnel information. Improper
              disclosure of this information increases the risk of access by external actors,
              doxxing, identity theft, invasion of personal privacy, personal threats to
              safety, and financial crimes against IFPTE members. Introducing sensitive
              personal data into artificial intelligence systems enhances these risks.

          10.​ I am not aware of any IFPTE member who has requested or authorized
               DOGE or its representatives to access their personal data.

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            11.​ I am aware of and can identify individual members whose right to privacy
                 has been violated by such disclosures.

            12.​ I am aware of and can identify individual federal employee members who
                 received an email from OPM on their federal agency account with the
                 subject “Fork in the Road,” detailing a plan for federal employees to
                 immediately resign their positions.

            13.​ I have personally heard from members from every IFPTE federal sector
                 local across the agencies in which we represent workers who are deeply
                 concerned about the risks to their privacy and data security posed by
                 unvetted and unqualified people associated with DOGE going through their
                 personal and financial data.


        I declare under penalty of perjury that the foregoing is true and correct.

        Executed: February 12, 2025

                                                        ____________/s/*___________
        ​      ​      ​     ​     ​      ​      ​       Matthew S. Biggs

        *Counsel hereby certifies that he has a signed copy of the foregoing document
        available for inspection at any time by the court or a party to this action.




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         1                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
         2                           SOUTHERN DIVISION
              ___________________________________
         3                                       )
              AMERICAN FEDERATION OF             )
         4    TEACHERS, et al.,                  )
                                                 )
         5                      Plaintiffs,      )
                                                 )
         6         v.                            ) Case No. 8:25-cv-00430-DLB
                                                 )
         7    SCOTT BESSENT, et al.,             )
                                                 )
         8                      Defendants.      )
              ___________________________________)
         9
                                                   Greenbelt, Maryland
        10                                         February 19, 2025
                                                   10:11 a.m.
        11

        12                             MOTIONS HEARING
                           BEFORE THE HONORABLE DEBORAH L. BOARDMAN
        13                       United States District Judge

        14
                                    A P P E A R A N C E S
        15
              ON BEHALF OF THE PLAINTIFFS:
        16
                   MUNGER, TOLLES & OLSON LLP
        17         601 Massachusetts Avenue, N.W., Suite 500 E
                   Washington, D.C. 20001
        18         BY: XIAONAN APRIL HU, ESQUIRE
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        19              april.hu@mto.com

        20                                (Continued)

        21

        22

        23                            PATRICIA KLEPP, RMR
                                Federal Official Court Reporter
        24                      6500 Cherrywood Lane, Suite 200
                                   Greenbelt, Maryland 20770
        25                               (301) 344-3228



                                         JA100
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                                                                           2

         1                      A P P E A R A N C E S (Cont'd)

         2    ON BEHALF OF THE PLAINTIFFS: (Continued)

         3         MURPHY ANDERSON PLLC
                   1401 K Street, N.W., Suite 300
         4         Washington, DC 20005
                   BY: MARK HANNA, ESQUIRE
         5              (202) 223-2620
                        mhanna@murphypllc.com
         6
                   PROTECT DEMOCRACY
         7         2020 Pennsylvania Avenue, N.W., Suite 163
                   Washington, D.C. 20006
         8         BY: KRISTY PARKER, ESQUIRE
                        (202) 424-9906
         9              kristy.parker@protectdemocracy.org

        10    ON BEHALF OF THE DEFENDANTS:

        11         UNITED STATES DEPARTMENT OF JUSTICE
                   Civil Division, Office of the Assistant Attorney General
        12         950 Pennsylvania Avenue, N.W.
                   Washington, D.C. 20530
        13         BY: EMILY MARGARET HALL, TRIAL ATTORNEY
                        (202) 307-6482
        14              emily.hall@usdoj.gov

        15         UNITED STATES DEPARTMENT OF JUSTICE
                   Civil Division, Federal Programs Branch
        16         Poc Agostinho, Jean
                   1100 L Street, N.W., Suite 8142
        17         Washington, D.C. 20530
                   BY: ELIZABETH J. SHAPIRO, DEPUTY DIRECTOR
        18              (202) 307-0340
                        elizabeth.shapiro@usdoj.gov
        19
                   UNITED STATES ATTORNEY'S OFFICE
        20         36 S. Charles Street, 4th Floor
                   Baltimore, Maryland 21201
        21         BY: ARIANA WRIGHT ARNOLD, ASSISTANT U.S. ATTORNEY
                        (410) 209-4813
        22              ariana.arnold@usdoj.gov

        23    ALSO PRESENT:

        24         CHRISTOPHER HEALY, SENIOR ADVISOR TO THE GENERAL COUNSEL,
                     DEPARTMENT OF THE TREASURY
        25



                                         JA101
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         1                            P R O C E E D I N G S

         2         (Call to order of the Court.)

         3              THE COURTROOM DEPUTY:       All rise.    The United States

         4    District Court for the District of Maryland is now in session,

         5    the Honorable Deborah L. Boardman presiding.

         6              THE COURT:    Okay.    Good morning, everyone.       Please be

         7    seated.

         8              Would you call the case.

         9              THE COURTROOM DEPUTY:       Yes, ma'am.

        10              The matter now pending before the Court is Civil

        11    Action No. DLB-25-0430, American Federation of Teachers, et al.

        12    v. Scott Bessent, et al.     We are here today for the purpose of a

        13    motions hearing.

        14              Counsel, please identify yourselves for the record.

        15              MS. HU:     Good morning, Your Honor.

        16              Xiaonan April Hu from the Law Firm of Munger, Tolles &

        17    Olson, for Plaintiffs, and at counsel table with me are

        18    Mark Hanna from Murphy Anderson, and Kristy Parker from

        19    Protect Democracy.

        20              THE COURT:    Okay.

        21              Is her microphone working?

        22              THE COURTROOM DEPUTY:       Yes, ma'am.

        23              THE COURT:    Okay.

        24              All right.    Good morning.

        25              MS. HALL:    Good morning, Your Honor.



                                           JA102
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         1              My name is Emily Hall, Department of Justice,

         2    representing all of the defendants in this case, and I'm joined

         3    at counsel table by Elizabeth Shapiro of the Department of

         4    Justice, Chris Healy of the Department of the Treasury, and

         5    Ariana Arnold with the Department of Justice.

         6              THE COURT:    All right.     Good morning to all of you.

         7    Please be seated.

         8              MS. HU:     Thank you.

         9              THE COURT:    Okay.    I'm going to go over all of the

        10    procedural background.     I think we all know why we're here, but

        11    just for the record, we're here for a hearing on the plaintiffs'

        12    motion for a temporary restraining order, which they filed last

        13    Wednesday.   The operative pleading is their amended complaint at

        14    ECF 13.

        15              They raised three claims under the Administrative

        16    Procedure Act.   Claim 1 is that by granting members of the

        17    Department of Government Efficiency access to the systems and

        18    records maintained by three agencies, namely, the Treasury, the

        19    Department of Education, and the Office of Personnel Management,

        20    OPM, the government acted not in accordance with law -- that's

        21    Count I; arbitrary and capriciously, that's Count II; and in

        22    excess of statutory authority, that's Count III.

        23              So I've reviewed the TRO, its attachments; I've

        24    reviewed the opposition, its attachments; and then the

        25    plaintiffs filed a reply, which also had attachments; and I



                                           JA103
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         1    looked at the notice of recent decision that the defendants

         2    filed last night, Judge Moss' decision in a related case.

         3              Okay.    We have a lot of ground to cover today.         I have

         4    a lot of questions for both parties.          I think we first -- I'll

         5    start with the plaintiffs.

         6              Ms. Hu, if you could speak clearly into the

         7    microphone, maybe bring it closer to you.         I had a little bit of

         8    a hard time hearing you when you introduced yourself.

         9              Great.

        10              So it's your motion, and I'm happy to hear from you,

        11    but I have some questions, all right?

        12              MS. HU:     Certainly, Your Honor.

        13              THE COURT:    Okay.    Would you like to go to the podium

        14    or stand at counsel table?      Wherever you're comfortable.

        15              MS. HU:     I think I'm more accustomed to speaking at

        16    the podium.

        17              THE COURT:    All right, very good.

        18              MS. HU:     Good morning, Your Honor.

        19              The Privacy Act of 1974 prohibits federal agencies,

        20    like Defendants, from disclosing personally identifiable

        21    information about Americans without their consent except in

        22    specifically enumerated circumstances.         We are here today

        23    because Defendants have violated that law and violated

        24    Plaintiffs' fundamental right to privacy by providing DOGE

        25    representatives and affiliates unfettered access to their data



                                           JA104
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         1    systems without satisfying any of the exceptions set forth in

         2    the statute and because urgent relief is needed to prevent

         3    irreparable harm.

         4              Your Honor, I intend today to start and jump straight

         5    into the TRO factors, beginning with likelihood of success on

         6    the merits, unless you would prefer that I address standing,

         7    which I understand is jurisdictional.

         8              THE COURT:    Standing.

         9              MS. HU:     Certainly, Your Honor.

        10              On the issue of standing, we believe that the question

        11    is resolved by the Supreme Court's decision in TransUnion as

        12    well as the Fourth Circuit's decision in Garey v. James, which

        13    we cite in our reply.    And the essence of the standing argument

        14    really comes down to this.      A concrete harm need not be a

        15    tangible harm; it can be an intangible harm, and it can be one

        16    that Congress codifies in a statute if there's a close analogue

        17    at common law.

        18              THE COURT:    What's the close analogue at common law

        19    that you are relying on?

        20              MS. HU:     The close analogue in common law is the

        21    invasion of a privacy right, the invasion of your privacy, which

        22    both the Supreme Court specifically identified as one of those

        23    common law rights in TransUnion and which the Fourth Circuit

        24    subsequently identified and relied on in Garey v. James.        And

        25    that's at, I believe, page 921 and 922 of the opinion in the



                                           JA105
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         1    Fourth Circuit.

         2              We are talking about precisely that right, that right

         3    to invasion of privacy, and I think Garey v. James --

         4              THE COURT:    Speak a little more slowly, please.

         5              MS. HU:     Certainly, Your Honor.

         6              THE COURT:    So the invasion of privacy is these

         7    departments allowing DOGE people access to personal information

         8    that they're not allowed to have access to; is that correct?

         9              MS. HU:     That's correct, Your Honor.

        10              THE COURT:    So it's not disclosure to the public or

        11    someone outside the agency; is that correct?

        12              MS. HU:     In this particular case right now, I think

        13    there are two aspects of this.       The first is that there's -- our

        14    view is, there's certainly access to unauthorized government

        15    employees, and then the second piece of this is that we think

        16    there is an immediate and imminent risk that that information,

        17    because of how unsecure the processes are in place within the

        18    government right now, will be disclosed to the public.         So there

        19    are two separate harms here, but both flow from that fundamental

        20    right to privacy.

        21              THE COURT:    So let's put the first harm in the parking

        22    lot for a minute and focus on the second harm, which you just

        23    identified as this fear that the information might be leaked or

        24    mishandled, and there could be a cascade of events like

        25    identity theft.



                                           JA106
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         1               Why isn't that theory of harm foreclosed by the

         2    Fourth's Circuit's decision in Beck?           Are you familiar with the

         3    Beck case?

         4               MS. HU:     Yes, Your Honor, we are familiar with the

         5    opinion in Back, and I think we would distinguish that case on

         6    the grounds that in fact, that issue of whether the injury was

         7    too speculative took place at I believe a summary judgment

         8    stage.    The parties had gone through extensive discovery, and it

         9    had been three years since the complaint had been filed, and

        10    there had been no evidence that anyone had access to the laptop,

        11    had looked at the information inside the laptop, or that the

        12    information had been disseminated outside of the laptop.            So

        13    that's the situation in Beck.

        14               What we are dealing with here is -- it's been widely

        15    reported, Defendants do not dispute that these DOGE individuals

        16    and representatives have gained access to Plaintiffs' personally

        17    identifiable information through these databases and that they

        18    have used that information in I think unsecure ways.             I think we

        19    see that from the declaration that was submitted by one of the

        20    DOGE employees on behalf of the Department of Education, where

        21    he states, One of the six employees who were given this access

        22    did not complete basic informational security training or ethics

        23    training before gaining access.

        24               I think if we would zoom out, here, Your Honor, what

        25    we're really dealing with is reams of personally identifiable



                                            JA107
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         1    information, Social Security number, birth date, employment

         2    history, financial income, bank account information and pulling

         3    that from heavily secured databases within the government system

         4    into the hands of these individuals who, on occasion, have been

         5    accessing it without governmental --

         6              THE COURT:    Speak more slowly, please; we've got the

         7    court reporter who's got to take everything down.

         8              MS. HU:     My apologies.

         9              And what we're talking about here are these

        10    DOGE individuals and representatives who, it's been widely

        11    reported, have used nongovernmental devices to access that

        12    information, in the case of OPM, have brought in a commercial

        13    system to put that information onto, and then, Department of

        14    Education, to then filter and funnel that information through

        15    AI tools, which are of course enabled through Microsoft Azure, a

        16    system operator that is not within the government.

        17              And so stepping back, what I think we see here is the

        18    movement of highly secured information through unsecured means,

        19    in unsecured ways, into unsecured spaces by recent high school,

        20    recent college graduates, at least one of whom two years ago was

        21    fired from a corporate internship because he had leaked

        22    proprietary information.     And I think that does create a

        23    material increase in risk that Plaintiffs' information will be

        24    disclosed wrongly to the public, or to outside actors, or to

        25    third parties, and I don't know that Judge Moss' decision



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         1    addresses that harm, right, I think he views it through the lens

         2    of, is there a risk of identity theft, is there a risk of

         3    identity fraud.

         4              I think setting that question aside, the risk here is

         5    also of unlawful disclosure to people outside of the government,

         6    and I think that that risk, we've shown, exists, it's real, it's

         7    imminent, it's ongoing, because of the dissemination of this

         8    information through AI tools, and that creates --

         9              THE COURT:    So -- hold on.        I have a couple questions.

        10    Where is there evidence that personal private information has

        11    been disseminated or inputted into AI?

        12              MS. HU:     Certainly, Your Honor.      I think the evidence

        13    there is from that Washington Post article we cite in our

        14    complaint.   It notes in that article that personally

        15    identifiable information associated with the grant, the people

        16    who oversee the grants, so these would be employees, I believe,

        17    of Education, or individuals who oversee the grants, has been

        18    fed into the AI tools.     So that's personal information.      Now,

        19    obviously, the government is best positioned to know about

        20    whether other personal information has been fed, but that is at

        21    least one indication that at least some personal information is

        22    being fed into AI.

        23              And then I think there this is also the ambiguous

        24    language from what I believe is Mr. Gioeli or

        25    Ms. Vona Robinson's declaration that says, Mr. Elez, who had



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         1    access and is a DOGE representative or affiliate, automated a

         2    manual payment review process using his access, and I think a

         3    reasonable inference from that, based on how open DOGE has been

         4    about their desire to use AI, is that some form of AI may have

         5    been implemented to automate that process.

         6              THE COURT:    Do you need this form of injury?       By "this

         7    form of injury," the one you just talked about, which is the

         8    material risk of disclosure.      Do you need that in order to get a

         9    TRO -- or in order to have standing, I should say?

        10              MS. HU:     No, Your Honor, neither for standing nor for

        11    a TRO, because we believe that the violation of the fundamental

        12    right to privacy that Plaintiffs have come forward here, which

        13    is expressly protected by the Privacy Act of 1974, is sufficient

        14    to satisfy the Article III requirement of a concrete harm, and

        15    it also is sufficient to show irreparable harm because it is a

        16    fundamental right.

        17              And I think I would direct Your Honor's attention to

        18    the Sourcebook for the Privacy Act, which laid bare that what

        19    Congress thought it was doing when it enacted the Act was to

        20    codify this -- "constitutional," they called it, constitutional

        21    right to privacy that flows from the Bill of Rights and the

        22    Supreme Court's decisions.      And I think the United States

        23    Department of Justice case that we cite in our reply articulates

        24    the contours of that privacy right in a way that Judge Moss'

        25    opinion did not grapple with, perhaps because it was not



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         1    foregrounded the way that we have foregrounded it here.

         2              And the right to privacy I think is properly

         3    understood as the right to control who gets your information and

         4    how widely it's disseminated, and the Privacy Act was intended

         5    to capture that and does, I think, capture that, because it

         6    recognizes that when we interact with the government in any

         7    number of ways -- I apply for a student loan -- I have to give

         8    you my personal information as part of that.         I expect that the

         9    way the government will use my personal information, my

        10    Social Security number, my parents' Social Security number, my

        11    parents' income, is for that purpose for which it is being

        12    collected.

        13              THE COURT:    All right, okay.

        14              MS. HU:     It's to evaluate my application.

        15              THE COURT:    All right.     Let me ask you a question.        If

        16    you were bringing an action for damages under the Privacy Act --

        17    which I understand you're not, you're bringing an action for

        18    injunctive relief through the APA, which Fourth Circuit law

        19    allows, but if you were bringing a money damages claim under the

        20    Privacy Act, you'd have to allege an adverse effect.           What is

        21    the adverse effect you're alleging here?

        22              MS. HU:     Well, the adverse effect requirement, we

        23    think, is specific to money damages in the Privacy Act context,

        24    because you have to show the amount of the -- the financial

        25    amount of the harm, right, so for example, a disclosure has



                                           JA111
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         1    happened, and you now have to pay some amount of thousands of

         2    dollars to fix or resolve a dispute with your credit agency,

         3    right, that is an example of something that costs money.

         4              Or an example of harm might be the wrongful disclosure

         5    of your information to another government agency was used to

         6    deny you, you know, 30 percent of your right -- 30 percent of

         7    your benefits allotted.   That is a measurable amount which is

         8    captured by the adverse effect requirement for monetary damages.

         9              Here, of course, we're dealing with a request for

        10    injunctive relief, for which the violation of a fundamental

        11    right like the right to privacy, which is intangible and not

        12    measured by money damages, provides a sufficient basis to award

        13    relief, both in the emergency basis we're seeking now but also

        14    in the permanent injunction form that we would seek at the end

        15    of these proceedings.

        16              And I think, Your Honor, I -- part of the decision

        17    that Judge Moss issued, which I think is troubling here, is that

        18    under that line of reasoning, a plaintiff situated in our

        19    plaintiffs' positions could never seek injunctive relief to

        20    block the unlawful disclosure of their information.          I think

        21    Congress would be very surprised to know this.       I think if you

        22    look at the legislative history for the Privacy Act of 1974, it

        23    is abundantly clear that the precise evil they thought they were

        24    preventing was what is happening here, which is the random

        25    dissemination of information well beyond the boundaries of what



                                         JA112
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         1    is carved out for its use.

         2               And I think's important, again, to point to what the

         3    Privacy Act does.      It starts with a presumption.       It says,

         4    Information cannot be disclosed absent written consent by the

         5    individual whose records are at issue except in certain

         6    delineated circumstances.      So the Act starts with the

         7    presumption that you need the consent of the person to look at

         8    that information.      I think that goes to the heart of what we say

         9    here is the fundamental right to privacy, the right to control

        10    who gets your information, under what circumstances, when.               The

        11    government strikes that balance by saying, here are some of the

        12    exceptions we think that don't require that written express

        13    consent.

        14               And for the reasons we've discussed in the brief and

        15    reasons I'm happy to get into today, we don't think those

        16    exceptions are met.

        17               THE COURT:    All right.

        18               MS. HU:     But I think at the core, this is the

        19    irreparable harm.

        20               THE COURT:    Okay, I understand.

        21               Let's go back to the common law analogue.            You said --

        22    I don't know if you gave me a specific one.          As I read some of

        23    the cases, it seems to me that at least one common law analogue

        24    to a violation of the Privacy Act would be intrusion upon

        25    seclusion, which was referenced in TransUnion.          I've looked at



                                            JA113
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         1    the Restatement (Second) of Torts, Section 52(b), and it seems

         2    to me that that might be common law analogue.         Are there any

         3    others, from your perspective?

         4              MS. HU:     Your Honor, I think that that is correct.       I

         5    also think invasion of privacy, which is specifically referenced

         6    in Garey, would also qualify.      That was the analysis in the hook

         7    that the Fourth Circuit used in Garey.

         8              And I think it is also important to remember here that

         9    the Fourth Circuit was clear, we don't look for an exact

        10    duplicate, right, we look for a close analogue that captures the

        11    essence of that right recognized in common law, and I think both

        12    invasion of privacy, intrusion upon seclusion would satisfy

        13    that, that standard.

        14              THE COURT:    Okay.    Since you mentioned irreparable

        15    harm, and it's intertwined, of course, with the standing issue

        16    and what the concrete harm is, I did read Judge Moss' opinion.

        17    It's your position that the irreparable harm is the ongoing

        18    alleged violation of the Privacy Act; is that correct?

        19              MS. HU:     I would slightly reframe that, Your Honor; I

        20    would say the ongoing harm is the violation of the Privacy Act,

        21    which also violates Plaintiffs' privacy rights, fundamental

        22    privacy rights.   But yes, that is the -- that is the theory of

        23    irreparable harm, or that is one of them.        I think the other is

        24    related to the risk of disclosure, the material increase in the

        25    risk of disclosure to outside parties, to -- outside the



                                           JA114
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         1    government, potentially to bad actors as well.

         2              THE COURT:     Okay.    Let's -- let me just clarify.          What

         3    is your position on what the final agency action is, here?               The

         4    government suggests in its briefing that there has been no final

         5    agency action.    What is your position on that?

         6              MS. HU:     We disagree with that, Your Honor.         We think

         7    the final agency action here is the decision to disclose

         8    Plaintiffs' personally identifiable information to

         9    DOGE individuals and representatives by granting them access to

        10    the data systems that Defendants maintain.          We think that that

        11    satisfies the two-prong test that courts adhere to in

        12    determining whether or not there has been a final agency action.

        13              The first is consummation of a decision-making process

        14    by statute.   There were criteria that they had to consider

        15    before granting that access, and they determined that an

        16    exception was met and decided to grant that access.             So that is

        17    a consummation.    It's a final decision.       It's not an interim

        18    decision, it's a final one.       They have access now, they continue

        19    to have that access absent court intervention.

        20              The second prong, of course, is that it determines

        21    rights, and we think here, it determines the rights of the

        22    plaintiffs.   It also determines Defendants' rights, because it

        23    determined that they did not need to ask for our plaintiffs'

        24    written consent.      It determined the scope of our plaintiffs'

        25    rights, who had a right to provide their consent before having



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         1    their information disclosed, and the government narrowed that

         2    right by determining, in this case, that they did not need to

         3    seek that consent.

         4              So we think this is clearly final agency action, and

         5    I think we cite to cases in the FOIA context, for instance,

         6    where the decision to disclose is considered a final agency

         7    action.

         8              THE COURT:    All right.     Let's talk about the two

         9    Privacy Act exceptions that you target in your complaint and

        10    that the government relies on.       The first is the need to know

        11    exception.    It's Section 55 -- excuse me, 552a(b)(1) of Title 5

        12    of the United States Code.

        13              What I've read from the government is that the people

        14    who have submitted declarations, those are the DOGE people --

        15    they include Mr. Krause, Mr. Ramada, Mr. Hogan, from Treasury,

        16    Education, and OPM, respectively -- that those people, who are

        17    executing the President's directives in Executive Orders, that

        18    they need access to all unclassified information in the systems

        19    of records in those agencies in order to perform their duties

        20    under the Executive Orders.      What is your response to that?

        21              MS. HU:     Certainly.   We have several responses,

        22    Your Honor.   I'll start, first and foremost, with the fact that

        23    this question, why do DOGE individuals need access to

        24    Social Security numbers, dates of birth, addresses, was posed

        25    directly to President Trump, who obviously authored and signed



                                           JA116
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         1    those Executive Orders that Your Honor just referenced, and he

         2    said in response, They don't, they do not need this information,

         3    but it's very easy for them to get.           Those were his direct

         4    responses when the question was posed to him.           I think we would

         5    start there as background for why it seems that this exception

         6    is not met.

         7                And I would emphasize here, the standard is need to

         8    know.     It's not would like to know, would be nice to know; it's

         9    need to know.     And courts have rigorously enforced that

        10    standard; they've really scrutinized whether there truly is a

        11    need to know the information sought to be disclosed.             That is,

        12    they have sought to assure themselves, the courts have sought to

        13    assure themselves, what are these employees' duties, why do they

        14    need this information in order to fulfill their duties?

        15                And I think Defendants here have not provided

        16    information, even with these declarations, to answer that

        17    question in the affirmative, that there is, in fact, a need,

        18    because they have not identified with specificity each of the

        19    systems that are being accessed, they have not identified who

        20    has received that access, they have not identified the specific

        21    duties assigned to those individuals who have that access.

        22                Instead, they have claimed, in these very broad,

        23    sweeping terms, we need access for these DOGE individuals and

        24    representatives, because fraud, or because we need to maintain

        25    the systems, or because we want to review them for alignment, we



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         1    want to review the grants in the Education Department for

         2    alignment with policy initiatives or policy preferences of

         3    senior leadership.

         4              And that is not going to cut it.         And I think we know

         5    that that's not going to cut it because of decisions like

         6    Bigelow v. Department of Defense, where the D.C. Circuit, to

         7    analyze this exact question, does this individual need to know,

         8    looked and found a regulation that said, this individual needed

         9    to know that information.

        10              THE COURT:    So I saw that in Bigelow, and I see,

        11    for instance, in Mr. Hogan's declaration from -- the

        12    Chief Information Officer of OPM, he has identified a regulation

        13    or statute that identifies his duties.        The other declarants

        14    refer to the Executive Orders as the source of their duties or

        15    the description of their duties.       Is that your understanding of

        16    what their duties are?

        17              I certainly will ask the government, so they can start

        18    thinking about their answer ahead of time.

        19              MS. HU:     My understanding of the duties they are

        20    alleging here or raising here are as set forth in the

        21    declarations, which are fraud, waste, abuse -- well, actually,

        22    I think that's for Education.      He said waste, abuse, and senior

        23    policy priorities.    That's one example of what he said.      He's

        24    been reviewing the grants for -- or the system and the

        25    information in the data systems for --



                                           JA118
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         1                THE COURT:    What I'm trying to focus on, as you

         2    suggested, in Bigelow, the source of the document we're looking

         3    to, to determine what the person's duties are.           In that case, it

         4    was a statute or a regulation.

         5                MS. HU:     Correct.

         6                THE COURT:    Here, it seems as if we have to look to

         7    the Executive Orders.      Is that your understanding?

         8                MS. HU:     I don't think that an Executive Order can

         9    define what the duties are if they countermand the will of

        10    Congress or what the function of the agency is, but in this

        11    case, Your Honor, I don't think that question is squarely

        12    presented, because the Executive Orders themselves --

        13    for example, the Executive Order that established DOGE, which

        14    Defendants rely upon, does not mention waste, fraud, or abuse.

        15    None of those terms are in that Executive Order which Defendants

        16    are now relying on as the purpose for which they need access.

        17                So I think they have cited to the Executive Order.

        18    I think we have questions about whether the Executive Order

        19    actually supports the demonstrated need, but I think if we look

        20    at what Defendants have crystalized the need as, they do not

        21    align with the purpose for which that data is collected, which

        22    is evident from the privacy impact assessments the government is

        23    required to publish online for each of the systems that they

        24    maintain.

        25                And I'm happy to walk through a few examples of that,



                                             JA119
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         1    Your Honor, unless you have further questions on the

         2    Executive Orders.

         3              THE COURT:    No, let's keep with the need to know

         4    exception.   So ...

         5              MS. HU:     Certainly.

         6              So in the Education Department, for example, there is

         7    a database called CODS, which --

         8         (Reporter requesting clarification.)

         9              MS. HU:     CODS, C-O-D-S, like the fish.

        10              So that stands for the Common Origination and

        11    Disbursement System.    This system requires a moderate risk

        12    security clearance in order to access.        It contains Social

        13    Security number, birth dates, mailing addresses, driver's

        14    license numbers, telephone numbers, demographic information.

        15    And the privacy impact assessment states that among several very

        16    specific purposes for which that data is used and maintained, is

        17    to determine and validate aid applicants' and recipients'

        18    eligibility for and benefits under Title IV, including receiving

        19    grants, loans, or scholarships.

        20              And so someone who has a need to know this

        21    information, that need would be closely tethered to the purpose

        22    that this information is kept for which the agency has already

        23    described, so that would be an employee of the agency who is

        24    reviewing this information to determine if the criteria for

        25    eligibility have been satisfied.



                                           JA120
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         1               THE COURT:    So I think I'm confused.       To me, what

         2    your -- your analysis bleeds into a routine use analysis.         So

         3    for need to know, it's whether the person -- so here, the DOGE

         4    employee -- has to examine the record in connection with the

         5    performance of duties assigned to him in order to perform those

         6    duties properly.

         7               So first we start with, what are this person's duties,

         8    which is why I asked, how do I know what their duties are?            The

         9    only source of a duty I have so far is an Executive Order.

        10               Then we ask, does this person need access to

        11    everything they've been provided access to in order to fulfill

        12    those duties.

        13               What I heard you saying was just a little bit more

        14    closely aligned with routine use, what was the purpose of the

        15    collection of the information, and is the use, or the disclosure

        16    of it, compatible with that.       So correct me if I'm wrong, but

        17    that's what I thought I heard.

        18               MS. HU:     Your Honor, I apologize for not being

        19    clearer.   I think that's exactly right; the analysis you set

        20    forth is the proper way to look at this.         What I was addressing

        21    is, if -- why isn't it enough that Defendants have simply

        22    invoked broadly waste, or fraud, or abuse?          That was what my

        23    argument just now was tailored to.

        24               But I think going back to Your Honor's point about the

        25    Executive Order and whether that's -- if that sets forth the



                                            JA121
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         1    duties, whether there's a close need for those duties set forth

         2    in the Executive Order, and I would say that that's not met

         3    here.     The Executive Order specifies maintaining and upgrading

         4    IT systems.

         5                It is not clear to me at all why DOGE individuals and

         6    representatives would need to know all of the personally

         7    identifiable information stored within these systems in order to

         8    upgrade or maintain them.       I think that is, in fact,

         9    demonstrably proven to not be needed because of the declaration

        10    of, for example, Mr. Gioeli, who acknowledges that access in the

        11    past has been given for audits but that it has not reached the

        12    level, or the scope, or the breadth that was given to these

        13    DOGE representatives or individuals.

        14                And I also, Your Honor, would point to the fact that

        15    some of these data systems, as is clear through the privacy

        16    impact assessments, can be viewed with all of the personally

        17    identifiable information redacted.          So in those systems, what

        18    the government will do is, they will replace all of the PII with

        19    dummy numbers.     So instead of Social Security numbers, you get

        20    XXX-XX-XXXX, and that is not something that Defendants have done

        21    here in giving these DOGE representatives access.

        22                So if we're looking at the --

        23                THE COURT:    How do you know that?

        24                MS. HU:     How do we know that, I think -- I think the

        25    government would have pointed that out to us, if -- I think if



                                             JA122
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         1    it's a strong fact in their favor, I think they would have

         2    pointed it out to us, if that was in fact what was happening and

         3    that none of Plaintiffs' personally identifiable information

         4    could have been disclosed because it's all been redacted, and

         5    they have not said that; they have not disputed that Defendants

         6    have given access to this information to DOGE individuals and

         7    DOGE representatives.

         8              THE COURT:    Okay.    Anything else on the need to know

         9    exception?

        10              MS. HU:     Your Honor, I think just one last point on

        11    the Treasury, which I think typifies the problems here.        The

        12    need to know that they have asserted has changed over time.

        13    With the Executive Order, of course, it locks that into

        14    maintaining the systems.

        15              Then it was widely reported Treasury -- that

        16    DOGE individuals sought access to those Treasury systems to stop

        17    payments, which is not something that the Treasury Department

        18    can do when other agencies have approved payments.

        19              And now, as evidenced through I believe the many

        20    declarations submitted, for example, by Mr. Krause, by

        21    Mr. Gioeli, by Ms. Robinson, the purpose has now shifted to,

        22    we're not trying to stop payments, we're trying to flag improper

        23    payments for the State Department.

        24              But even if you credit this last explanation as the

        25    reason for the access, it would not hold up to the need to know



                                           JA123
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         1    provision, because by statute, Congress has determined that the

         2    Treasury Department and the disbursing official do not review

         3    payments for impropriety in the ways that are described by

         4    Defendants' declarations.      And I would direct Your Honor's

         5    attention to Section 3325(a)(2) of 31 USC and 3520(a), which set

         6    forth those responsibilities.

         7               So we don't think that Defendants have met the

         8    requirement to show that in support of their duties, or what is

         9    needed for their duties, to accomplish their duties, these

        10    DOGE individuals and representatives had to have access to this

        11    sweeping breadth of personally identifiable information.

        12               THE COURT:    So let's talk about the Treasury

        13    Department, and we're still on the need to know exception.           What

        14    if the President has directed Mr. Krause -- who is now only a

        15    Treasury employee -- what if the President has directed

        16    Mr. Krause to look in the -- is it the federal disbursement

        17    service?   Is that what it's called?

        18               MS. HU:     I think that's correct -- federal

        19    disbursement system, I think.

        20               THE COURT:    Thank you.

        21               MS. HU:     Yes.

        22               THE COURT:    Look at that and identify payments that

        23    the President, through Mr. Krause, believes are improper, and

        24    just -- those are his duties, according to an Executive Order

        25    commanded by the President.       What if his response is, in order



                                            JA124
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         1    to fulfill those duties, I need to look at all of this

         2    information?   What is your response to that?

         3              MS. HU:     I think my response to that, Your Honor,

         4    would be that the duty has to be defined by the agency and

         5    consistent with their statutory authority as determined by

         6    Congress, and in this case, an order from the President, saying,

         7    I want you, the head of Treasury, to go into these systems and

         8    look for improper payments and flag them, would countermand the

         9    statutory setup for that authority, which says, very clearly,

        10    that responsibility for reviewing payments for things like

        11    impropriety belong within the scope of the agency certifying and

        12    approving that payment.

        13              What the Treasury officials' responsibilities are

        14    under statute are to examine the voucher, if necessary, to

        15    determine it is in the proper form, that it was certified and

        16    approved by another agency, and computed correctly.            And that is

        17    not what -- those are not the facts that we have here.

        18              And I would say, Your Honor, that we are not in a

        19    situation where the President has ordered anyone within the

        20    Treasury to do this, because his Executive Order is quite

        21    general -- it says to maintain the systems -- and I don't think

        22    there's an Article II question presented here, because that

        23    Executive Order expressly states, Provide access to the systems

        24    to the maximum extent permitted by the law.         And so I think,

        25    here, the amount of access that has been granted is not



                                           JA125
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         1    permitted by the law -- by the Privacy Act.

         2              THE COURT:    All right.     I don't want to beat a dead

         3    horse, but I'm still trying to understand the duties.          So what I

         4    think I just heard you say is that Mr. Krause, his duties are

         5    limited to the duties of perhaps a comparable Treasury employee?

         6              MS. HU:     No, Your Honor, that's not what I was trying

         7    to suggest.   I think Mr. Krause's duties are, given his rank in

         8    the government, probably defined somewhere with some

         9    specificity, but I don't think he defines it himself with

        10    specificity in the declaration, I don't think Defendants have

        11    defined it with specificity.

        12              But that's not what I was intending to suggest; I was

        13    merely suggesting -- or arguing, here, that the scope of his

        14    duties can't be to violate or countermand a congressional

        15    mandate that dictates the review process for these payments that

        16    are being disbursed by the Treasury.

        17              But again, I think the Executive Order doesn't

        18    actually state that these DOGE individuals or representatives

        19    are dispatched to investigate waste, fraud, or abuse; those

        20    words do not appear in the Executive Order.

        21              THE COURT:    Okay.    Let's move on to an arguably even

        22    more complicated exception, the routine use exception.

        23              So the Privacy Act permits disclosure of personal

        24    information for routine use, which is defined as the use of such

        25    record for a purpose which is compatible with the purpose for



                                           JA126
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         1    which it was collected.       That's Title 5, United States Code

         2    Section 552a(a)(7) and (b)(3).

         3                So the government has identified a few statement of

         4    record notices, or SORNs, that it believes identify the

         5    categories of the routine use.         What is your response to the

         6    SORNs that the government has identified?

         7                MS. HU:     Certainly, Your Honor.      I think here, our

         8    response is that the routine use as identified by Defendants as

         9    supporting the access are not met.

        10                I'll start first with the Treasury routine use they

        11    identify, which they point, say, for the purpose of identifying,

        12    preventing or recouping improper payments to an applicant for or

        13    recipient of federal funds, but the full routine use here says

        14    it's disclosure to a federal agency.            Defendants have now made

        15    clear through their declarations and through their papers that

        16    Mr. Krause and Mr. Elez are and were, respectively, Treasury

        17    employees.     So this can't be disclosure to a federal agency for

        18    the purpose of identifying, preventing, or recouping improper

        19    payments.

        20                I would note, by the way, that this routine use is

        21    very consistent with the statutory scheme involving the

        22    disbursement and approval of payments.           It authorizes the

        23    Treasury to disclose information to another agency to help that

        24    agency identify improper payments, as is that other agency's

        25    responsibility under the statute.



                                             JA127
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         1                Your Honor, if you have no questions on that, I will

         2    move to the OPM routine use.

         3                THE COURT:    Okay, go ahead.

         4                MS. HU:     So the OPM routine use, Defendants, in their

         5    brief, say, In certain circumstances, this routine use says,

         6    information can be used or disclosed to help eliminate waste,

         7    fraud, and abuse in governmental programs, but what they omit in

         8    their brief is that the circumstances identify --

         9                THE COURT:    Hang on, hang on.      Just -- you're smarter

        10    than I am, you're faster than I am; you need to slow down.

        11                We're at OPM and we're at the SORN they've identified.

        12    What did they identify?       There is ... to disclose relevant

        13    information with personal identifiers of federal civilian

        14    employees whose records are contained in the EHRI, to authorize

        15    federal agencies and nonfederal entities for use in computer

        16    matching?

        17                MS. HU:     Correct.

        18                THE COURT:    Okay.

        19                MS. HU:     That is the computer matching provision, and

        20    I think what Defendant's brief elides is that the purpose of

        21    helping eliminate waste, fraud, and abuse is very specific to

        22    the use of authorized computer matching programs.            Computer

        23    matching programs are specifically defined in the Privacy Act,

        24    they require an agreement, that agreement takes 30 days to take

        25    effect, and it has to be an agreement between the agency that



                                             JA128
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         1    maintains the record and the agency that will be doing the

         2    computer matching.

         3               And here, none of those requirements for this routine

         4    use are satisfied, because again, Defendants have represented

         5    that the DOGE affiliates and representatives who have access

         6    here are OPM employees.      So you don't computer match with

         7    yourself, but even if you were to accept that maybe some of

         8    these were DOGE employees, there could not be a computer

         9    matching agreement in place, because the access began well

        10    before 30 days had passed between the Executive Order and when

        11    access was granted.

        12               THE COURT:    Okay.    What about Education?

        13               MS. HU:     So in Education, Defendants have pointed to a

        14    provision, a routine use that says disclosure is permitted to

        15    support the investigation of possible fraud or abuse and to

        16    detect and prevent fraud or abuse in Title IV HEA program funds.

        17    But Mr. Ramada's supplemental declaration expressly states that

        18    he and others affiliated with DOGE who have been dispatched to

        19    Education have been reviewing information in the systems, not

        20    for fraud, but instead for waste, abuse, and leadership policy

        21    priorities.

        22               That is obviously not -- that does not map onto this

        23    routine use.    Fraud is missing from that declaration.         In its

        24    place, we now have leadership policy priorities, which are not

        25    defined.



                                            JA129
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         1              And I think if Defendants had wanted to rely and say

         2    that this is a routine use of the data, they should have,

         3    consistent with the Privacy Act, published a notice in the

         4    Federal Register, stating their intent to add that, policy

         5    priorities, leadership policy priorities, as a routine use that

         6    warrants the disclosure of this information, and then under the

         7    statute given the 30 days of notice to the public to solicit

         8    comments, feedback, disagreements, and then made any adjustments

         9    needed before finalizing that routine use, but they did not do

        10    that; they are trying to fit what they are doing now into a

        11    preexisting routine use that does not accommodate their actions.

        12              THE COURT:    All right.     Is there -- isn't there

        13    another SORN that they identified for Education?          I believe it

        14    is to support governmental researchers and policy analysts?

        15              MS. HU:     That's correct, Your Honor, but in this

        16    particular case, the focus of that routine use is disclosure to

        17    analysts, policy analysts, and government researchers.         There is

        18    no allegation in the declaration of Mr. Ramada that he has been

        19    sharing any this information with a governmental researcher or

        20    with a policy analyst.     Those words do not appear in his

        21    declaration.   I do not think that they have set forth any

        22    evidence that would support that is, in fact, a routine use that

        23    is being used here.

        24              THE COURT:    All right.

        25              MS. HU:     And I would finally note, Your Honor, I'm



                                           JA130
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         1    sure eventually we will talk about what it looks like after the

         2    TRO hearing has concluded and an order has been issued, but the

         3    statute, the Privacy Act --

         4                THE COURT:    If an order has been issued.

         5                MS. HU:     If an order -- if an order has been issued,

         6    that's correct, Your Honor, an order denying or an order

         7    granting.

         8                THE COURT:    Fair point.

         9                MS. HU:     The Privacy Act actually has very stringent

        10    requirements for agencies to log every use of the routine use.

        11    So if they're relying on that, there is a log, there should be a

        12    log that would justify its support and substantiate the fact

        13    that they are using these specific routine uses to justify

        14    disclosure to Defendants.

        15                THE COURT:    Okay.    I believe with respect to

        16    Education, the government in its paper cited to another portion

        17    of the Federal Register.       It wasn't exactly clear to me if they

        18    were attempting to cite another SORN.           This was at 88 Federal

        19    Register -- hold on.

        20                I'm looking at page 27 of Government's opposition,

        21    ECF 27, Federal Register 42,200 and 42,222.

        22                Maybe this is a question for the government, but ...

        23    maybe you've already gone over that one.

        24                MS. HU:     Your Honor, I apologize; I'm having trouble

        25    locating this.     Is this page 27 at the bottom or at the top



                                             JA131
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         1    stamped?

         2               THE COURT:    Good question.        I always refer to the

         3    ECF number, so it's ECF page 27.

         4               MS. HU:     My brief is potentially turned around; the

         5    pages are out of order, so --

         6               THE COURT:    All right.     Well, the bottom is 25.

         7               MS. HU:     I apologize, Your Honor; I appear to have

         8    pages 22 and 27 but not in between.

         9               THE COURT:    All right, okay.       Let's move on.   It's

        10    probably a better question for the government in any event.

        11               Thank you, Counsel.

        12               MS. HU:     Your Honor, I think I could address this

        13    maybe on reply or rebuttal, I think.

        14               THE COURT:    All right, that sounds fine.

        15               Okay.   Let's move on from the SORNs.

        16               The additional requirement for routine use is

        17    compatibility, of course, and in your reply, you argue the

        18    government hasn't even addressed the compatibility requirement,

        19    so we're on the same page.

        20               MS. HU:     I'm sorry, Your Honor, if I actually may just

        21    briefly address the Federal Register point?

        22               THE COURT:    Sure.

        23               MS. HU:     I think that is exactly the point that I was

        24    making earlier, which is that they have pointed to language that

        25    says, "support the investigation of possible fraud and abuse and



                                            JA132
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         1    to detect and prevent fraud and abuse," but the declaration

         2    submitted by the DOGE employee in support of the Education's

         3    purpose and the reason why and the purpose for which these

         4    individuals are accessing the systems now does not state fraud;

         5    it says waste, abuse, and senior policy -- or leadership policy

         6    priorities, and that does not, on its face, align with the

         7    routine use stated here, or that the government is invoking in

         8    its briefs.

         9              THE COURT:    Okay.    Let's talk about compatibility.

        10    One of the requirements for the routine use exception is that

        11    the disclosure of the record is for a purpose which is

        12    compatible with the purpose for which it was collected.

        13              Let's start with collection.        How do I determine what

        14    is the purpose for which records were collected, so collected

        15    from your clients, from other people whose information are in

        16    federal databases.

        17              MS. HU:     Your Honor, for that answer, I would direct

        18    you to the privacy impact assessments, which are on a

        19    system-by-system basis, and explain -- in a section, there's

        20    actually a question, why has the agency collected this

        21    personally identifiable information, why does it use it, what

        22    does -- why does it maintain it, why is it in the system, and

        23    the PIA for each of these systems goes into extraordinary detail

        24    about the collection purpose, purpose for which that information

        25    was collected.



                                           JA133
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         1               THE COURT:    Okay.    So that's why I look for collection

         2    purpose.

         3               It looks like the leading case on compatibility, the

         4    one that most courts cite, the Fourth Circuit has cited --

         5    although there's not a lot of Fourth Circuit law in routine

         6    use -- is the Britt case out of the Third Circuit.              Is that the

         7    case you're relying on?      I mean, this is Britt v. Naval

         8    Investigative Services, 886 F.2nd 554, and it's from 1989.                Is

         9    that the leading case on compatibility?

        10               MS. HU:     I think that's right, Your Honor.         That would

        11    be my memory, my recollection, from the briefing and from the

        12    legal research that was done here.

        13               THE COURT:    What is your argument on compatibility?

        14               MS. HU:     Our argument on compatibility, besides the

        15    fact that Defendants have not addressed it here, is that when

        16    you look at the privacy impact assessments, they do not align,

        17    the ways that it has been reported Defendants are using this

        18    information -- I'm sorry, that DOGE individuals and

        19    representatives are using this information, with access that has

        20    been granted to them by Defendants, does not align with the

        21    purposes that are set forth for why that information was

        22    collected and why it's maintained under each of the agencies and

        23    systems.

        24               So Your Honor, if I may give you an example of this,

        25    the health insurance data warehouse, the purpose for which that



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         1    information, that PII information is collected and maintained,

         2    is to provide internal agency reports regarding enrollment

         3    counts, demographic enrollment in health benefit plans, to

         4    assess broad effects of pharmacy service use and costs under the

         5    program, and to model effects of health benefit plan changes.

         6              None of these are explanations that have been advanced

         7    by Defendants for why these DOGE individuals or representatives

         8    are accessing that information, and all we have, frankly, is --

         9    from Mr. Hogan's declaration, this is an OPM system workplace

        10    reform, but he doesn't define workplace reform, he doesn't

        11    elaborate what workplace reform entails, so it's very hard to

        12    see how that has any compatibility with the very narrow purpose

        13    described by the agency itself in these privacy impact

        14    assessments for these individual systems.

        15              And I think this gets us back to where I started from,

        16    Your Honor, which is that even though Defendants have put in six

        17    declarations, critical factual questions are not addressed by

        18    those declarations.    I think the omissions are telling.     They

        19    have not articulated the connection, they have not argued a

        20    connection between the information, its purpose for its

        21    collection, and how it's compatible with the way it's being used

        22    now, and certainly, they have not identified to a routine use

        23    that is published that accommodates that access.

        24              THE COURT:   All right.     Let me -- give me one minute

        25    here.



                                          JA135
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         1               THE COURT REPORTER:      Counsel, could you please slow

         2    down?

         3               MS. HU:     Yes, I apologize.       You are not the first

         4    court reporter to tell me I speak too fast, and I suspect you

         5    will not be the last.

         6               THE COURT:    Well, you're not the first lawyer to speak

         7    too fast, so ...

         8               Okay.   If I were to grant a TRO, what would the relief

         9    look like to you?      Your proposed order, frankly, is way too

        10    broad.    What would the relief -- what would the appropriate

        11    relief be?

        12               MS. HU:     Your Honor, I think the appropriate relief

        13    here would be fashioned to address the irreparable harm of

        14    ongoing disclosure, in violation of the Privacy Act.             So that

        15    would be an order preventing further access to these systems by

        16    DOGE individuals or representatives for purposes that are not

        17    authorized by law, and that that would hold for 14 days, which

        18    is the maximum allowed under Federal Rule of Civil Procedure 65.

        19               THE COURT:    Well, help me understand one thing.         Would

        20    it be limiting access to the systems, and I would identify the

        21    systems, or would it be limiting access to your clients'

        22    personal information?

        23               So I would -- I think it's the latter; I think it's,

        24    your clients have alleged that their personal information is in

        25    these systems.     I don't know which systems it's in, if it's in



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         1    all of them, part of them, some of their information in some,

         2    some in others.   So it seems to me, if I grant any temporary

         3    relief, it would need to be limited to the plaintiffs before me

         4    and their personal information.       Do you disagree with that?

         5              MS. HU:     Your Honor, I don't disagree with that if

         6    that is your understanding of what you can craft.          I don't know

         7    how workable that is, frankly, for the government, right --

         8              THE COURT:    Is that my problem?

         9              MS. HU:     Well, Your Honor, I think if the choice is --

        10    if it's not -- if the remedy ordered is not workable, then it

        11    doesn't actually protect our clients' information, right, so

        12    that is why we made the ask that we did, which is to prohibit

        13    further access to these systems in the 14-day period that we

        14    take to get up to a preliminary injunction, where hopefully,

        15    there will have been additional fact development to help fashion

        16    an appropriately tailored preliminary injunction.

        17              But here, at this stage, I don't know that the

        18    government has given any indication that it could abide by an

        19    order that says, limit Defendants' -- or sorry, limit

        20    DOGE representatives' or DOGE individuals' access so that they

        21    cannot access the information belonging to Plaintiffs.

        22              THE COURT:    Well, it may be an effective shutdown of

        23    their operation, but I need to know what my relief should be,

        24    based on what your alleged injury is and the alleged violation.

        25              MS. HU:     Certainly, Your Honor.     I think here, an



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         1    order to the effect of limiting access to our plaintiffs'

         2    personally identifiable information is one way to fashion the

         3    order to address the harm.

         4              I think -- and again, it depends on Your Honor's

         5    ultimate decision regarding irreparable harm here, but we also

         6    think the risk, the material risk of disclosure of this

         7    information, because of the way the systems have been handled

         8    and the data within those systems have been handled by

         9    DOGE individuals and representatives, requires that that broader

        10    relief we are asking for, which is to prevent further access,

        11    when they use nongovernment devices to access information,

        12    for example.

        13              I don't know that there is a way to simply, in the

        14    process of accessing, somehow make it secure that only the

        15    plaintiffs' information is being accessed in a secure way but

        16    not everyone else's information.     I think we're talking here

        17    about real security risks that are -- that are broader than

        18    this, that encompass, obviously, the risk to specifically

        19    Plaintiffs from having their information disclosed but are, in

        20    some sense, not divorced and cannot be divorced from the systems

        21    themselves in their totality and Defendants' unfettered access

        22    to it.

        23              THE COURT:   Okay.   If I were to issue a TRO,

        24    Rule 65(c) requires me to consider whether a bond should be

        25    posted.   You never addressed that issue.     What is your position



                                         JA138
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         1    on that?

         2               MS. HU:     I think on that, Your Honor, we would defer

         3    to what the Court prefers in this instance.          We take no position

         4    on that.

         5               THE COURT:    All right.

         6               Okay.   I'll move on to the government now.

         7               MS. HU:     Thank you, Your Honor.

         8               THE COURT:    All right.

         9               Let me just check on our court reporter.

        10               Are you doing okay?      All right.    We might take a break

        11    in about 20 minutes or so, just to give you break, okay?

        12    All right.

        13               MS. HALL:    Thank you, Your Honor.

        14               THE COURT:    All right.     Good morning, Ms. Hall.

        15               MS. HALL:    Good morning.

        16               THE COURT:    How are you?

        17               MS. HALL:    I'm good; how are you?

        18               THE COURT:    Good.

        19               I have a lot of questions for you, Ms. Hall.

        20               MS. HALL:    I look forward to answering them.

        21               THE COURT:    Yes, very good.       Do you want to start?

        22               MS. HALL:    Yes, please, Your Honor.

        23               THE COURT:    Okay.

        24               MS. HALL:    Your Honor, the government requests that

        25    you deny Plaintiffs' motion for a temporary restraining order,



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         1    and as our brief lays out, there are many reasons that

         2    Your Honor could deny the order, but I'll start with two of

         3    them.     The first is that Plaintiffs lack standing here, and the

         4    second, relatedly, is that Plaintiffs have not demonstrated

         5    irreparable harm.       Either of those is independently sufficient

         6    to deny relief here.

         7                So if I may begin with standing, Your Honor.

         8                Plaintiffs have not alleged a cognizable Article III

         9    injury in fact.     As Your Honor identified in -- earlier in this

        10    hearing, TransUnion, I think, is very relevant here and requires

        11    that Plaintiffs identify an analogue in the common law, and the

        12    analogues that Plaintiffs have identified here simply are

        13    insufficient.

        14                Under TransUnion, courts are to look at both the type

        15    of harm and the factual scenario in which that harm arises.               And

        16    here, Plaintiffs identified intrusion upon seclusion or right to

        17    privacy as potential analogues, but in this situation, the

        18    intrusion upon seclusion privacy right, for example, in my

        19    understanding, their statement states that the disclosure at

        20    issue must be highly offensive to a reasonable man.              This is an

        21    objective standard.

        22                THE COURT:    Reasonable person, it says.

        23                MS. HALL:    Reasonable person.      I'm sorry, Your Honor.

        24    I may have been looking at an older version.

        25                But this is a -- this is an objective standard that



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         1    requires broader disclosure than has occurred here.           This is not

         2    something that covers disclosure within the government to

         3    authorize government employees in the course of their duties.

         4              THE COURT:   Hold on, hold on.      Let's just read it for

         5    the record so everyone has it.

         6              MS. HALL:    Yes.

         7              THE COURT:   I'm reading the Restatement (Second) of

         8    Torts -- I feel like I'm back in law school -- Section 652(b),

         9    and this is for -- this is intrusion upon seclusion.

        10              "One who intentionally intrudes, physically or

        11    otherwise, upon the solitude or seclusion of another, or his

        12    private affairs or concerns, is subject to liability to the

        13    other for invasion of his privacy if the intrusion would be

        14    highly offensive to a reasonable person."

        15              Why isn't that factually what we have here, assuming

        16    the plaintiffs' allegations are true?

        17              MS. HALL:    Well, Your Honor, I think that here, the

        18    plaintiffs seem to have conceded that the employees involved

        19    are, in fact, government employees, and so the only disclosures

        20    that have occurred are from one government agency to its own

        21    employees.   And so this is not, I think, the sort of example

        22    that their statement is referring to, where you have an

        23    invasion, a violation of an individual's privacy interest; it's

        24    simply individuals whose agency owns a system of data, accessing

        25    that system of data in the course of their job responsibilities.



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         1    This is not, in my view, something that the -- a reasonable

         2    person would find highly offensive.

         3              THE COURT:   But if they're unauthorized to view the

         4    information under the Privacy Act, why wouldn't that be highly

         5    offensive to a reasonable person?

         6              MS. HALL:    Well, Your Honor, because I think in most

         7    of these cases, any unauthorized access, without some actual

         8    concrete harm to the plaintiffs, would not be cognizable and

         9    would not be something that would ever result in anything at

        10    all, and so I think that in this circumstance, you know, most of

        11    the cases that are referring to this sort of injury are

        12    involving public disclosure or outside disclosure.

        13              THE COURT:   But Garey isn't.      That's a 2022

        14    Fourth Circuit case, Garey, G-A-R-E-Y, v. James S. Farrin, P.C.,

        15    35 F.4th 917.   In Garey, the Court found that the plaintiffs

        16    have alleged a legally cognizable privacy injury, and they cited

        17    Garey's second amended complaint, and it was -- in that

        18    complaint, it was alleged, each plaintiff sustained actual

        19    damages by having his or her privacy invaded by Defendants

        20    knowingly obtaining his or her name or address from a

        21    motor vehicle record for an impermissible purpose, in violation

        22    of law.

        23              So the legally cognizable privacy injury in Garey was

        24    the obtaining of personal information unlawfully.         Why isn't

        25    that what the plaintiffs are alleging here?



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         1              MS. HALL:    Your Honor, as I recall the facts of that

         2    case -- and apologies; I don't have it in front of me -- that

         3    was not within the -- that was not within a single entity, the

         4    disclosure and the accessing of the information.

         5              I believe -- if you'll give me just one moment to look

         6    at my notes.

         7              THE COURT:   So under your theory, when could a

         8    plaintiff or a person whose information is held by the

         9    government, when could they ever have a cause of action for

        10    injunctive relief if there's no dissemination outside the

        11    government?

        12              MS. HALL:    Well, Your Honor, I think the Privacy Act

        13    answers that question and does not provide an action for

        14    injunctive relief absent some kind of concrete harm.

        15              THE COURT:   Okay.    So we're not -- the cause of action

        16    here is not under the Privacy Act; it's under the APA, which

        17    does allow for injunctive relief.

        18              MS. HALL:    I understand that, Your Honor, and I think

        19    even under the APA, perhaps the plaintiffs could have a cause of

        20    action for public disclosure or disclosure outside of the

        21    government, but again, that is -- that is not the case here.

        22              THE COURT:   So you're saying the plaintiffs have no

        23    cause of action whatsoever to redress what they believe is

        24    DOGE unfettered access to their personal information?

        25              MS. HALL:    Your Honor, I -- as I understand it,



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         1    Plaintiffs are arguing that DOGE representatives, who are,

         2    in fact, agency employees, are accessing their data without a

         3    need to know that data, and that is their objection.           And it is

         4    our position that no, there would not be a cause of action to

         5    challenge the need to know.

         6               I think that inviting a cause of action and inviting

         7    standing in this situation would be inviting courts to

         8    superintend the executive's decisions over what its employees

         9    need to know in order to perform their job duties, and that's

        10    something that, under SUWA, the Norton v. South Utah case out of

        11    the Supreme Court --

        12               THE COURT:   I read that case.      It's completely off

        13    point.    That's a case in which the plaintiffs claim there was

        14    agency action when the agency failed to act, but the agency's

        15    failure to act was not a violation of a requirement to act.            So

        16    I read that case, I have no idea how it supports your position,

        17    but I'm happy to hear you try to convince me otherwise.

        18               MS. HALL:    Your Honor, I think that case is relevant

        19    because it discusses the principle that the APA is not -- was

        20    not envisioned in order to insert judicial review of day-to-day

        21    government operations, including --

        22               THE COURT:   So what are the --

        23               MS. HALL:    -- personnel decisions.

        24               THE COURT:   I'm sorry.     The court reporter hates it

        25    when I interrupt, and I apologize.



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         1               But under the plaintiffs' situation, if their

         2    allegations are true -- because that's what I have to assume

         3    right now, given the stage we are at -- it's the government's

         4    position that they have no legal resource recourse; is that

         5    correct?

         6               MS. HALL:    If the plaintiffs' allegations regarding --

         7    I think I'd like to limit their allegations to what I believe

         8    they're representing in court today, which is that these

         9    individuals are, in fact, employees.           I think the key is outside

        10    disclosure versus within government or within the agency

        11    disclosure, and I think that only a disclosure that was leaving

        12    the agency would be sufficiently analogous to the common law

        13    causes of action.      And so I think that's the key, and so the --

        14    I just want be very precise about the allegations that you're

        15    referring to.

        16               THE COURT:    All right; let me be more precise.        That's

        17    a good point, because we should be very precise.

        18               Assume the following allegations are true.

        19    Plaintiffs' personal information is maintained in databases

        20    within the three defendant agencies.           Unauthorized federal

        21    employees have unfettered access to that information.            That

        22    information has not yet been disseminated outside of the federal

        23    government.    Assume all of that's true.        Do Plaintiffs have any

        24    cause of action against the government for allowing unauthorized

        25    access by DOGE people to their information?



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         1                MS. HALL:    Your Honor, I think that depends on what

         2    Plaintiffs mean by DOGE people or DOGE representatives, and

         3    that's something that I think is not precisely defined in their

         4    order or in their briefing, so I think the answer to your

         5    question is going to depend in part on what with that means.

         6                THE COURT:   All right.     Well, let's assume we're

         7    talking about Mr. Hogan and Mr. Krause.         They both, according to

         8    your declarations, appear to be employees of their respective

         9    agencies.    Is that true?

        10                MS. HALL:    That's true, Your Honor.

        11                THE COURT:   Okay.    Let's assume those are the

        12    DOGE people I'm talking about.

        13                MS. HALL:    Your Honor, then -- yes, the answer to your

        14    question is yes, the government's position is that there is no

        15    cause of action under the APA to challenge the agency's decision

        16    to offer its own personnel access to data that the agency has

        17    determined are necessary for that employee to perform his

        18    functions.

        19                THE COURT:   Then what's the point of injunctive relief

        20    under the APA for a Privacy Act violation?

        21                MS. HALL:    Well, Your Honor, I'm not sure that there

        22    should be injunctive relief available under the APA for a

        23    Privacy Act violation, for the reasons we identified in our

        24    opposition.

        25                THE COURT:   Well, I know you're not sure, but the



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         1    Fourth Circuit is sure.

         2              MS. HALL:     Well, Your Honor, I think in Doe v. Chao,

         3    the Fourth Circuit, that footnote, Footnote 17, that Plaintiffs

         4    refer to in their reply -- I have it in front of me, if you'll

         5    give me just one --

         6              THE COURT:     Hold on.     I do, too; give me a minute.

         7              All right.     Footnote 17, Doe v. Chao, 435 F.3d 492

         8    (4th Cir. 2006).

         9              MS. HALL:     Your Honor, I would point the Court to the

        10    idea in this footnote that again, we're talking about a broad

        11    disclosure, and this is not within the government disclosure, as

        12    I understand it.      And this is a -- again, this is also a case

        13    involving attorneys' fees in a damages action.            So this is not a

        14    court holding of this case, this is not the Fourth Circuit, you

        15    know, using this footnote to decide the case, as I understand

        16    it.

        17              THE COURT:     Are there any other cases, perhaps in the

        18    D.C. Circuit, that sees a lot of these challenges, that have

        19    approved or not batted an eye at an APA action for injunctive

        20    relief for a Privacy Act violation?            Aren't there other cases

        21    that allow this?

        22              MS. HALL:     Not to my recollection, Your Honor.

        23              THE COURT:     So this --

        24              MS. HALL:     We identified in our briefing a few D.C.

        25    Circuit cases that noted the unavailability of injunctive relief



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         1    in this circumstance.

         2              THE COURT:    I think we can agree, there's no

         3    injunctive relief if you are bringing a Privacy Act -- a cause

         4    of action under the Privacy Act, correct?

         5              MS. HALL:    Correct.

         6              THE COURT:    But this is an action under the

         7    Administrative Procedures Act for injunctive relief.          And as I

         8    read Footnote 17 of this Fourth Circuit case, it authorizes

         9    injunctive relief for a government's violation of the

        10    Privacy Act as being appropriate and authorized by the APA.           I

        11    don't know how else to read that footnote.

        12              MS. HALL:    Your Honor, I think that the government's

        13    main point on this is that the facts in Doe v. Chao were quite

        14    different from these and involve a broad disclosure.

        15              THE COURT:    Okay, I understand.

        16              All right.    Anything else on standing?

        17              MS. HALL:    Your Honor, I would also just identify that

        18    the future harms that Plaintiffs identified, the risk of

        19    identity theft, the risk of records or systems of records being

        20    fed into outside systems and causing Plaintiffs, you know,

        21    innumerable harms that they identify in their briefing, is

        22    purely speculative and is not actual or imminent, as required

        23    under Supreme Court standing doctrine.

        24              THE COURT:    What do I do about all of the news

        25    articles that they have attached to their reply and also cited



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         1    in their complaint about possible feeding of this information

         2    into AI, accessing information through unsecure means?        What do

         3    I do with those news reports?

         4              MS. HALL:    Well, Your Honor, I think it's important

         5    that newspaper articles shouldn't be admitted for the truth of

         6    their contents, and most of these newspaper articles, notably, I

         7    think, are relying on anonymous sources.       So I think, while the

         8    Court may, you know, look at these articles for the fact that

         9    they exist and for, you know, perhaps why Plaintiffs have filed

        10    this suit, I don't think that they are admissible as

        11    representing the truth of what's going on.

        12              THE COURT:   Okay, that's fair; they are in an

        13    information vacuum, they don't have inside information.       You do,

        14    you're the government.    Has the government put any of the

        15    plaintiffs or any personal information, have any of these

        16    DOGE people put any of the personal information into an

        17    AI system?

        18              MS. HALL:    It is my understanding that to the extent

        19    any automation is occurring, it's all occurring consistent with

        20    all applicable law.

        21              THE COURT:   So the answer might be maybe, but if it

        22    is, it's subject to applicable law?

        23              MS. HALL:    That's correct, Your Honor.

        24              THE COURT:   Okay.

        25              Okay.   Anything else on standing?



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         1               MS. HALL:    No, Your Honor, nothing more on standing.

         2               THE COURT:    Okay, okay.

         3               All right.    I'd like to get into the exceptions, but

         4    before that, do you have anything to add on your position in

         5    your papers that a final agency action has not occurred?

         6               MS. HALL:    Your Honor, I think the other component of

         7    this is that the access involved doesn't alter the legal regime

         8    to which Plaintiffs are subject.        You know, a month ago, the

         9    plaintiffs had their -- their records, their PII, in various

        10    government systems that were accessible by -- I'm using

        11    hypothetical numbers, but say, 300 Education Department

        12    employees, and today, those systems may be subject -- may be

        13    accessible by 336 agency employees.            And I don't think that that

        14    is something that's really altered the legal rights of those --

        15    of those plaintiffs, Your Honor.

        16               THE COURT:    Well, what if those extra 36 that have

        17    been granted access since Inauguration Day, what if those 36 are

        18    not authorized to have access?        Why doesn't that -- why isn't

        19    that a decision from which legal consequences could flow or

        20    their rights and obligations could be determined?

        21               MS. HALL:    Well, Your Honor, just one quick factual

        22    point.    It's six employees, not 36 employees at the Department

        23    of Education.

        24               THE COURT:    You're correct; that's what Mr. Ramada's

        25    declaration said.      I apologize.    Let's -- thank you for that.



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         1               MS. HALL:    Thank you, Your Honor.

         2               As to the substance of your question, I don't think

         3    that that creates any legal consequences or legal rights,

         4    because those employees, to the extent that they are

         5    unauthorized, are still subject to all of the confidentiality

         6    requirements and all of the protections that Plaintiffs enjoy

         7    for their data within the government; they are not permitted to

         8    disclose anything outside of the agency without proper

         9    authorization, they are not permitted by law to do anything that

        10    the other employees are also not permitted to do.

        11               THE COURT:   All right.     So with respect to final

        12    agency action, what I'm hearing from you is that the second

        13    Bennett prong hasn't been met, but the first Bennett prong,

        14    which is, the action marks the consummation of the agency's

        15    decision process and is not of a merely tentative or

        16    interlocutory nature, that prong has been satisfied; is that

        17    correct?

        18               MS. HALL:    Well, Your Honor, I disagree with that, and

        19    I think that's because these decisions regarding data access can

        20    be fluid, and they frequently change based on the needs of these

        21    employees, and so just because one employee has access to a

        22    system of data today --

        23               THE COURT:   Speak a little more slowly, please.

        24               MS. HALL:    Thank you, Your Honor.

        25               THE COURT:   Thank you.



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         1                MS. HALL:    Just because an employee has access to a

         2    system of data today does not mean that that employee will be

         3    able to access that data in an unfettered way, as Plaintiffs

         4    allege, just as a result of the fact that the agency has

         5    permitted cabined access to a particular system in any

         6    particular situation.

         7                And so I think that according to Bennett's first

         8    prong, this really is more of an informal decision; it's not the

         9    consummation of agency decision-making on, you know -- as in the

        10    FOIA cases, for example, the FOIA disclosure decisions are

        11    pursuant to an entire statutory scheme that is designed to

        12    address public disclosure of documents held by the government.

        13                THE COURT:   Is that required in order to have a final

        14    agency action?

        15                MS. HALL:    A statutory scheme, Your Honor?        No, I

        16    don't think that there is required a statutory scheme, I don't

        17    think that's been recognized in the case law, but I think that

        18    the line between formality and informality is one that suggests

        19    that the cases that the plaintiffs are citing regarding FOIA

        20    disclosures are not cases that can be supportive here, because

        21    those cases do involve this formal statutory scheme where the

        22    task at hand at the agency is ultimately to make a disclosure

        23    decision.

        24                Here, the task at hand at the agency is to enable

        25    their personnel to do their jobs, and I think that renders these



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         1    decisions far more interlocutory, and tentative, and subject to

         2    revision than in the FOIA context, Your Honor.

         3              THE COURT:   Is there any plan on behalf of the

         4    agencies to limit the access that the DOGE teams at their

         5    respective agencies have to personal information?

         6              MS. HALL:    Your Honor, I think, as the declarations

         7    lay out, the access that provided is being continually assessed

         8    to make sure that these plain- -- or that the employees at the

         9    agencies do, in fact, need access, and so if an employee moves

        10    on to a different project that no longer requires access to

        11    these record systems, my understanding is that that access will

        12    be revoked.

        13              THE COURT:   Okay.    I'm ready to move on from final

        14    agency action if you are.

        15              MS. HALL:    Yes, Your Honor.

        16              THE COURT:   Okay, great.

        17              Let's talk about the exceptions.        Let's first start

        18    with need to know.

        19              MS. HALL:    Yes, Your Honor.

        20              THE COURT:   So I don't understand where I should look

        21    to determine what the duties are of, for instance,

        22    Thomas Krause, Gregory Hogan -- actually, Mr. Hogan identifies

        23    his duties in his declaration, so I take that back.

        24              Thomas Krause, or Adam Ramada, or the five other

        25    people working with Mr. Ramada at the Department of Education,



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         1    where do I find their duties?

         2                MS. HALL:    Your Honor, I think their duties are -- are

         3    found in several sources, one of which is the President's

         4    Executive Orders regarding the DOGE service, and I think that

         5    another is that these -- these individuals' declarations, which

         6    identify the tasks for which they were hired at, at these

         7    agencies.

         8                THE COURT:   Okay.    So the source of their duties are

         9    the Executive Orders regarding the DOGE service and their

        10    declarations.

        11                Okay.   Let's talk about the Executive Orders.      I have

        12    two of them in front of me, but I'd like to make sure I'm aware

        13    of the operative Executive Order, so I'm relying on you to tell

        14    me.

        15                MS. HALL:    Okay, Your Honor.

        16                THE COURT:   So the first one I have in my hand was

        17    signed on January 20th, 2025, and it's called, Establishing and

        18    Implementing the President's Department of Government

        19    Efficiency.     This is Executive Order 14158.       So that's one them,

        20    correct?

        21                MS. HALL:    Yes, Your Honor.

        22                THE COURT:   Okay.

        23                And then I have another one, issued on February 11th,

        24    2025, called Implementing the President's Department of

        25    Government Efficiency Workforce Optimization Initiative,



                                            JA154
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         1    Executive Order 14210.      That's second, right?

         2                MS. HALL:    Yes, Your Honor.

         3                THE COURT:   Are there any more?

         4                MS. HALL:    Not to my knowledge, Your Honor.

         5                THE COURT:   Okay, okay.

         6                All right.   So I look, according to you, to the

         7    Executive Orders and to the declarations of the DOGE people to

         8    determine what their duties are, right?

         9                MS. HALL:    Yes, Your Honor.      And I think that the --

        10    the duties of the -- I don't view the declarations as needing to

        11    be exhaustive as to these individuals' duties; I think that the

        12    broad purposes identified in the Executive Order can be and have

        13    been implemented in more specific ways for particular employees

        14    at the agencies.

        15                And that may be documented in -- that may be

        16    documented for some of them at, for example, in the

        17    Krause declaration, in the declarations, but I don't think that

        18    a person's -- a federal employee's full portfolio and job duties

        19    are always fully reflected in, for example, a document laying

        20    that out.    You know, when I was hired into the Department of

        21    Justice, I don't think that there was a document that layed out

        22    precisely every task that I would be performing, and I don't --

        23                THE COURT:   You were hired as a lawyer for the

        24    Department of Justice, correct?

        25                MS. HALL:    That's correct, Your Honor.



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         1                THE COURT:   I think people could -- we don't need a

         2    document to lay out what lawyers do.           This is so new, we

         3    don't -- I don't know what the DOGE people's purposes or tasks

         4    are, so I'm trying to figure that out.          The only information I

         5    have are these Executive Orders and the declarations.

         6                So let's turn to the Executive Orders.          Which part of

         7    the Executive Order do I look to, to help me understand what the

         8    duties of the DOGE team are?

         9                MS. HALL:    So your Honor, I would point you first to

        10    the January 20th Executive Order.

        11                THE COURT:   Okay.

        12                MS. HALL:    And give me one moment to find the

        13    language.

        14                So I would first point you to Section 1, which states

        15    that the Department of Government Efficiency will implement the

        16    President's DOGE agenda by modernizing federal technology and

        17    software to maximize governmental efficiency and productivity.

        18                I think that "maximizing governmental efficiency and

        19    productivity" is some of the key language here, and that's the

        20    ambit that these employees are being hired to implement at their

        21    particular agencies.

        22                THE COURT:   That couldn't be any more vague or broad,

        23    "to maximize governmental efficiency and productivity."

        24                MS. HALL:    Well, Your Honor, I think that it is a

        25    broad goal, and it's a sweeping goal, and it's one that the



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         1    President was elected in order to implement.        And I think that

         2    the broadness of the goal highlights the broadness of the duties

         3    that these individuals are tasked with, but it does not suggest

         4    that those cannot possibly be their tasks or that cannot

         5    possibly their duties.

         6              I think that the President is aiming to implement

         7    pretty sweeping changes in these agencies to ensure that waste,

         8    fraud, and abuse are being examined closely and reduced as much

         9    as possible.

        10              THE COURT:   I'm not questioning the President's agenda

        11    or the creation of DOGE; I'm a District Court judge trying to

        12    find out what the duties are of these individuals who have

        13    access to the personal information of the plaintiffs.         I'm

        14    looking to the only documents I have.        The document you pointed

        15    me to and the language you pointed me to is very broad.        That

        16    does not tell me what the duties are of these people.         So let's

        17    focus on their duties and not the President's agenda, okay?

        18              MS. HALL:    Yes, Your Honor.

        19              THE COURT:   All right.     What else in the order tells

        20    me what the duties of the DOGE people are?

        21              THE COURT REPORTER:     Counsel, could you please slow

        22    down?

        23              MS. HALL:    Yes, thank you.

        24              Your Honor, at the risk of being a little bit

        25    repetitive, Section 3, in the last sentence of Section 3 --



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         1              THE COURT:   Okay.

         2              MS. HALL:    -- the DOGE teams are responsible for

         3    advising agency heads on implementing the President's

         4    DOGE agenda.

         5              THE COURT:   Okay, hold on.        You're in Section 3.

         6    There's (a), (b), and (c).     Which one are you in?

         7              MS. HALL:    I'm sorry, Section (c), Your Honor.

         8              THE COURT:   Okay.

         9              "Agency heads shall ensure that the DOGE team leads

        10    coordinate their work with USDS and advise their respective

        11    agency heads on implementing the President's DOGE agenda."

        12              Okay.

        13              Okay.

        14              MS. HALL:    So I think the Executive Order -- you know,

        15    that's why I said I -- I risk being a little bit repetitive, but

        16    the specific task to the members of these teams is to advise

        17    agency heads on implementing that agenda, which I recognize is a

        18    broad one.

        19              THE COURT:   Okay, all right.

        20              All right.   Let's turn to Executive Order 2.        Is there

        21    anything in there that I should look to, to determine what are

        22    the DOGE people's duties?

        23              MS. HALL:    Let me just find it in my binder.

        24    Thank you, Your Honor.

        25              THE COURT:   Take your time.



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         1                MS. HALL:    Your Honor, I don't seem to have a copy

         2    here.     Do you mind if I check with cocounsel?

         3                THE COURT:   Of course.

         4                MS. HALL:    Thank you.

         5                THE COURT:   If you don't have a copy, I'm sure we can

         6    get you a copy.

         7                MS. HALL:    That would be great, Your Honor.

         8                THE COURT:   All right.

         9                MS. HALL:    I'm sorry, I don't have that in front of

        10    me.

        11                THE COURT:   Yeah.

        12                Why don't we -- why don't we do this.         Why don't we

        13    take about a 15-minute break, comfort break, give our

        14    court reporter a rest.      We can get you a copy of the

        15    Executive Order.

        16                And no surprise, my agenda, when we get back, is to

        17    continue our discussion of the need to know exception and then

        18    the routine use exception.

        19                All right.

        20                MS. HALL:    Thank you, Your Honor.      And apologies,

        21    again, for the --

        22                THE COURT:   No, we need a break anyway, so we'll get

        23    you a copy of that.

        24                We'll be back in about 15 minutes.

        25                MS. HALL:    Thank you, Your Honor.



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         1              THE COURTROOM DEPUTY:      All rise.    This Honorable Court

         2    now stands in recess.

         3         (Recess taken from 11:40 a.m. to 12:00 p.m.)

         4              THE COURTROOM DEPUTY:      All rise.    This Honorable Court

         5    new resumes in session.

         6              THE COURT:    Okay.   Please be seated.

         7              All right.    Ms. Hall.

         8              MS. HALL:    May I return to the podium?

         9              THE COURT:    Please, yes.

        10              MS. HALL:    Thank you, Your Honor.

        11              THE COURT:    Okay.   Hopefully, you have the second

        12    Executive Order in front of you, and just if you could direct me

        13    to the relevant parts.

        14              MS. HALL:    That's right, thank you.

        15              And thank you to your clerks for providing that.

        16              So I'll start with in the second Executive Order of

        17    February 11, 2025.    Again, I'll point you first to Section 1,

        18    which identifies eliminating waste, bloat, and insularity as one

        19    of the goals of the DOGE program.

        20              And I -- I'm sorry.     Sorry, your Honor.

        21              And then, I will also point you to Section 3, which

        22    identifies, in subsection (a) -- I'm sorry, subsection (b),

        23    Your Honor; my apologies.

        24              So each agency head shall develop a data-driven plan,

        25    in consultation with its DOGE team lead, to ensure new career



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         1    appointment hires are in highest need areas.

         2              And subsection 1, there, says that the hiring

         3    decisions shall be made in consultation with the agency's DOGE

         4    team lead.   And subsection 2 and 3 also identify related

         5    requirements, and I can read those for Your Honor if you'd like,

         6    but I'll just point you to them.

         7              THE COURT:   I have them.

         8              All right.

         9              MS. HALL:    Then, I would also point you to

        10    subsection (d), which identifies OPM as required to initiate a

        11    rule-making proposing to revise 5 C.F.R., Section 731.202(b) to

        12    include additional suitability criteria.

        13              And subsection (e), which also requires agency heads

        14    to submit a report that identifies any statutes that establish

        15    the agency or subcomponents as statutorily required --

        16              THE COURT:   Hold on; you have to read more slowly than

        17    that.

        18              MS. HALL:    Yes, Your Honor.

        19              THE COURT:   Go ahead.

        20              MS. HALL:    Subsection (e) says, Developing Agency

        21    Reorganization Plans, and in relevant part, it requires agency

        22    heads to submit to the director of the Office of Management and

        23    Budget a report that identifies statutes that establish

        24    statutorily required entities.

        25              THE COURT:   Okay.    What about section (c), called



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         1    Reductions in Force.   Is that another duty of a DOGE person?

         2              MS. HALL:    Your Honor, as I understand it -- again, it

         3    depends on what we're defining as a DOGE person, and I think

         4    that that's, you know, a little bit of a flexible term.       But

         5    you know, the -- section (c) obviously tasks agency heads with

         6    promptly undertaking preparations to initiate large-scale

         7    reductions in force consistent with applicable law.

         8              And you know, for example, at OPM, the agency head

         9    is -- at all of these agencies, actually, not -- I don't need to

        10    use an example.   The agency heads are being advised by,

        11    consistent with the first Executive Order, their DOGE teams.

        12    And so I think that when you read these together, certainly, you

        13    do have DOGE teams who, according to the -- the tasks of these

        14    Executive Orders, are going to be advising the agency heads as

        15    the agency heads prepare to execute subsection (c).

        16              THE COURT:   Okay.

        17              So I look to those Executive Orders, and I look to the

        18    declarations for the duties, correct?

        19              MS. HALL:    Yes, Your Honor, and I can walk through the

        20    relevant parts of the declarations.

        21              THE COURT:   All right, let's do that.

        22              MS. HALL:    Give me one moment to pull those up.

        23              THE COURT:   Okay.    You can just cite the paragraphs.

        24    I'm looking at the Krause declaration, ECF 27-1.

        25              MS. HALL:    Great.   I will begin there, Your Honor.



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         1              THE COURT:   All right.

         2              And if there are certain portions within the

         3    paragraph, let me know.

         4              MS. HALL:    Okay.

         5              So your Honor, in the Krause declaration, ECF 27-1,

         6    in -- at the end of -- at the beginning and the end of

         7    paragraph 1, Tom Krause identifies himself as employed as the

         8    senior adviser for technology and modernization, and he is also

         9    performing the duties of the fiscal assistant secretary.       And

        10    then, in subsequent paragraph 2, he explains that his role at

        11    Treasury was created to help effectuate the mission of the

        12    Department of Government Efficiency, seeks to maximize

        13    governmental efficiency and productivity.

        14              THE COURT:   He's doing all this while he's still the

        15    chief executive officer of Cloud Software Group?

        16              MS. HALL:    That's my understanding, Your Honor.

        17              THE COURT:   All right.

        18              MS. HALL:    And in paragraph -- at the end of

        19    paragraph 2, he particularly identifies, In this role, I am

        20    responsible, among other duties, for reducing and eliminating

        21    improper and fraudulent payments, waste, fraud, and abuse, and

        22    improving the accuracy of financial reporting.        To that end, I

        23    am focused on improving the controls processes and systems that

        24    facilitate payments and enable consolidated financial reporting.

        25              He also serves as the DOGE team lead for the Treasury



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         1    Department.

         2              The -- paragraph 3 of the same declaration discusses

         3    duties of Marko Elez, who is no longer employed at the

         4    Department, so I'm not sure if Your Honor wants me to walk

         5    through that.

         6              Thank you.

         7              In paragraph 4, Tom Krause also identifies that his

         8    role on the Treasury DOGE team is to find ways to use technology

         9    to make the Treasury Department more effective, more efficient,

        10    and more responsive to the policy goals of this administration.

        11              And paragraph 5, he identifies his role performing the

        12    duties of Fiscal Assistant Secretary, which means that he

        13    oversees the activities of the Bureau of the Fiscal Service,

        14    BFS, which manages the government's accounting, central payment

        15    systems, and public debt, among other tasks, and which serves as

        16    the central payment clearinghouse for all payments to and from

        17    federal agencies.

        18              In paragraph 7, 8, 9, Mr. Krause identifies particular

        19    GAO reports.

        20              THE COURT:   We just need -- I just need his duties,

        21    okay?

        22              MS. HALL:    So ... Your Honor, in paragraph 10 --

        23              THE COURT:   Okay.

        24              MS. HALL:    -- Mr. Krause specifically identifies BFS,

        25    the bureau which he leads as part of his duties here, as



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         1    well positioned to help agencies in the federal government

         2    holistically understand and take stock of the problems that GAO

         3    has reported on -- and those are the problems that I identified

         4    in paragraphs 7 through 9 -- and assist agencies in the

         5    government-wide mission to stop fraudulent and improper

         6    payments, including by enhancing our ability to help agencies

         7    identify payments that may potentially be directed to fraudulent

         8    accounts, payments to individuals or entities which may be

         9    barred from receiving government payments --

        10              THE COURT:   You're just speaking way too fast.

        11              MS. HALL:    I'm sorry, Your Honor.

        12              THE COURT:   When you're reading, you have to slow

        13    down.

        14              MS. HALL:    Yes, Your Honor.

        15              To help agencies identify payments that may be -- may

        16    potentially be directed to fraudulent accounts, payments to

        17    individuals or entities which may be barred from receiving

        18    government payments, payments that are potentially improperly

        19    sent to deceased individuals, may have a mismatch between payee

        20    and account data, or have other indicators of problems.

        21              The following paragraph, paragraph 11, specifically

        22    states that Mr. Krause is at Treasury to understand how BFS'

        23    end-to-end payment systems and financial report tools work,

        24    recommend ways to update and modernize those systems, to better

        25    identify potentially improper and fraudulent payments, and find



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         1    ways for BFS to assist federal agencies in responding to

         2    statutes, regulations, and Executive Orders that affect the

         3    government's payment authorities and spending priorities.

         4              In paragraph 12, Mr. Krause also identifies early work

         5    that he performed as soon as he arrived at the Treasury

         6    Department.   That work included initiating --

         7              THE COURT:   You don't need to read the whole thing.     I

         8    want to know, I'm marking in my notes --

         9              MS. HALL:    Sure.

        10              THE COURT:   -- so I've got it, okay?

        11              All right, keep going.

        12              MS. HALL:    Paragraph 13 also identifies some of

        13    Mr. Krause's responsibilities, so does paragraph 14,

        14    paragraph 15, and paragraph 17.

        15              THE COURT:   Mm-hmm.

        16              MS. HALL:    Paragraph 19.

        17              THE COURT:   So does 17 --

        18              MS. HALL:    Yes, Your Honor.

        19              THE COURT:   This says, "as part of the Treasury DOGE

        20    team's efforts to assist payer agencies in identifying payments

        21    that may have been improper under the President's

        22    Executive Orders."

        23              What payments were improper under an Executive Order,

        24    and what Executive Order are they talking about?

        25              MS. HALL:    Your Honor, I believe, in that sentence,



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         1    they are referring to Executive Orders.

         2              THE COURT:   All right.

         3              MS. HALL:    I don't have the particular names or

         4    numbers, but from the president's first week in office,

         5    identifying spending priorities.

         6              THE COURT:   Oh, and here, he identifies the

         7    Executive Order from January 20th, Reevaluating and Realigning

         8    United States Foreign Aid.     Under that order, the President

         9    required that agencies pause all foreign development assistance

        10    for assessment of programmatic efficiencies, inconsistency with

        11    the United States foreign policy.

        12              So Mr. -- part of Mr. Krause's duties at Treasury is

        13    to help pause foreign aid?

        14              MS. HALL:    Your Honor, yes, it's to help enforce

        15    compliance with the President's Executive Orders, including the

        16    Reevaluating and Realigning United States Foreign Aid order.

        17              THE COURT:   Okay, okay.

        18              All right.

        19              MS. HALL:    Paragraph 19 identifies Mr. Krause's

        20    engagement in the preedit process.

        21              THE COURT:   Mm-hmm.

        22              MS. HALL:    And with that, I can move on to the next

        23    declaration, if that's okay with Your Honor?

        24              THE COURT:   All right.     Mr. Ramada has two of them.

        25    Just --



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         1              MS. HALL:    I think Mr. Wenzler's declaration at

         2    Treasury is also relevant here, Your Honor, but I'm happy to

         3    move to Education if you would prefer.

         4              THE COURT:   Okay.    All right, talk to me about

         5    Mr. Wenzler's duties as a DOGE person.

         6              MS. HALL:    Mr. Wenzler is simply referring to

         7    Mr. Krause's duties and describing those in his declaration.

         8    Currently, Mr. Krause is the only DOGE team member at Treasury.

         9              THE COURT:   All right, okay.      I can review

        10    Mr. Wenzler's for that.

        11              All right.   So for Mr. Ramada, it looks like his

        12    duties are in paragraph 4 of his declaration.

        13              MS. HALL:    Just one moment while I pull it up,

        14    Your Honor.

        15              Yes.   Mr. Ramada, together with his DOGE team, fellow

        16    DOGE team members, are detailed -- are working at the Department

        17    of Education to, among other duties, assist the Department of

        18    Education with auditing contract, grant, and related programs

        19    for waste, fraud, and abuse, including an audit of the

        20    Department of Education's federal student loan portfolio, to

        21    ensure it is free from, among other things, fraud, duplication,

        22    and ineligible loan recipients.      He also is tasked with helping

        23    senior department leadership obtain access to accurate data and

        24    data analytics to inform their policy --

        25         (Reporter requesting clarification.)



                                          JA168
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         1               MS. HALL:    Obtain access to accurate data and data

         2    analytics to inform their policy decisions at the Department.

         3               THE COURT:   Okay.    And then, in the supplemental

         4    Ramada declaration.

         5               MS. HALL:    The supplemental declaration does not

         6    provide any more detail on the Education DOGE team's duties.

         7               THE COURT:   Well, I thought that 5 is a summary of

         8    what we just went over, and then it looks like 8 says, "The six

         9    of us have primarily worked to identify contracts and grants

        10    that are wasteful, abusive, or inconsistent with leadership's

        11    policy priorities."

        12               MS. HALL:    That's right, Your Honor.      I'm sorry; I

        13    missed that paragraph.

        14               THE COURT:   Okay.

        15               Okay.   And then we get to Mr. Hogan.       Or -- at OPM.

        16               MS. HALL:    Yes, Your Honor.

        17               THE COURT:   So I see his responsibilities he's laid

        18    out in paragraph 3, and it says that they are pursuant to

        19    statute.   He also refers to workforce reform in paragraphs 8 and

        20    9.

        21               MS. HALL:    That's right, Your Honor.

        22               And in paragraph 10, he also identifies that many

        23    OPM employees who are involved in these efforts -- who I believe

        24    might be considered DOGE representatives, in a capacious

        25    understanding of that term, called policymaking, legal, or other



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         1    similar positions.    So those individuals have disparate duties

         2    that are -- also fall under the umbrella of the President's

         3    Executive Orders and that exist pursuant to those individuals'

         4    appointments.

         5              THE COURT:   Okay.

         6              So we spent a lot of time -- I think it was important

         7    time -- talking about the DOGE team duties, so thank you for

         8    that.

         9              So now that we've identified the duties, why do they

        10    need to know everything?

        11              MS. HALL:    Well, Your Honor, I think the employees who

        12    are involved in this and who have -- who the plaintiffs complain

        13    of their access need to be able to access the systems of records

        14    involved in order to make assessments of how to better modernize

        15    and evaluate the systems and programs that are involved.

        16              THE COURT:   Okay.    So they need access to every piece

        17    of data in every system of record in all three agencies; yes or

        18    no?

        19              MS. HALL:    I don't think I can make a blanket

        20    statement as to every single individual.       As the declarations

        21    point out, different employees have different levels of access

        22    to different databases, and that access is tailored to their

        23    particular job responsibilities.

        24              THE COURT:   Okay.    Then let's focus on -- with my

        25    mind, to three big people, Mr. Krause, Mr. Ramada, and



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         1    Mr. Hogan.

         2              MS. HALL:    Okay.

         3              THE COURT:   From the three respective agencies.     In

         4    order to perform their duties, is it your position that they

         5    need access to every piece of personally identifying information

         6    in every system of record in their respective agency?

         7              MS. HALL:    My position is that -- so I'll start with

         8    Mr. Krause.   Mr. Krause, at Treasury, has what's called

         9    over-the-shoulder access to particular databases as outlined in

        10    his declaration, and I believe Mr. Gioeli's declaration as well,

        11    and it is the government's position that he does need access to

        12    all of the information in those systems in order to perform his

        13    duties and ensure that all of his duties are able to be

        14    performed properly.

        15              THE COURT:   Okay.    Why?

        16              MS. HALL:    Your Honor, because Mr. Krause is tasked

        17    with broad, sweeping reforms and reviews in a way that requires

        18    a broad, sweeping review of these systems in order to assess

        19    what kinds of issues and modernizations may be available and

        20    appropriate, and I think without access to those pieces of

        21    information and specifically those systems of records, which is

        22    the relevant level of analysis under the Privacy Act, he

        23    can't make those assessments of how to improve efficiency, how

        24    to ensure that there are not fraudulent payments going out the

        25    door, how to make sure that government resources are not wasted



                                          JA171
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         1    on inefficient systems or improper payments.

         2              THE COURT:    Do the systems of records that he has

         3    access to include people's Social Security numbers?

         4              MS. HALL:    That is my understanding, yes.

         5              THE COURT:    Does he need access to anyone's

         6    Social Security number to perform his duties?

         7              MS. HALL:    That is my understanding, yes, is that he

         8    needs access to the systems of records that contain

         9    Social Security numbers, in part because matching those

        10    Social Security numbers can help to eliminate fraud.

        11              THE COURT:    So he's going line by line and looking at

        12    Social Security numbers and matching or finding un-matching

        13    Social Security numbers?

        14              MS. HALL:    Your Honor, I'm not sure precisely how he's

        15    performing these tasks, so I can't make a representation on that

        16    point.

        17              THE COURT:    Do these systems of records, are they able

        18    to redact things like Social Security numbers, dates of birth,

        19    bank account numbers?

        20              MS. HALL:    I don't know, Your Honor.

        21              THE COURT:    You don't know?

        22              MS. HALL:    I don't know, Your Honor.

        23              THE COURT:    Plaintiffs' counsel told me that she

        24    thought it was possible, but you don't know.

        25              MS. HALL:    I don't -- I can't make a representation on



                                          JA172
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         1    that point at this time.

         2              THE COURT:     Okay.

         3              Let's switch to Mr. Ramada.

         4              MS. HALL:     Yes, Your Honor.

         5              THE COURT:     Does he need full access to all personally

         6    identifying information in the systems of record at the

         7    Department of Education to perform his duties?

         8              MS. HALL:     Yes, Your Honor, it is my understanding

         9    that he does need access to the system of records that he has

        10    been granted access to in order to perform the duties that we

        11    identified from his declaration.

        12              THE COURT:     Why?

        13              MS. HALL:     Your Honor, I think that's for somewhat

        14    similar reasons.      He's trying to identify waste, he's trying to

        15    identify fraud, and without access to these systems and the

        16    information contained within those systems, he is not able to

        17    properly make the assessments that he's tasked with doing under

        18    the Executive Orders and the direction of his agency head.

        19              THE COURT:     That's a pretty vague answer.          I

        20    understand; you're in a tough spot.

        21              Does Mr. Ramada need access to, for instance,

        22    Social Security number, dates of birth, income?

        23              MS. HALL:     Your Honor, my understanding is that he

        24    does, and that's in part because part of his portfolio is

        25    assessing the student loan system to ensure that student loans



                                            JA173
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         1    are being handled in a way that is efficient and to advise on

         2    policymaking regarding student loans.        And so information like

         3    the income of people and how that may be related to their

         4    ability to repay student loans could be relevant to that

         5    policymaking advice.

         6              THE COURT:   So when I've looked at the cases that

         7    analyze the need to know exception, the information that the

         8    government has provided to the Court is much more specific than

         9    what you've offered me.    You know, we're talking at a very high

        10    generalized level.    I mean, like -- Bigelow is very specific

        11    about what was disclosed, whether or not there was a need to

        12    know the person's personnel file, and perhaps the reason these

        13    cases are so specific is because there's -- they usually involve

        14    either the disclosure of a telephone number, a Social Security

        15    number, perhaps one document, perhaps a whole file.

        16              None of them involve this massive access to personally

        17    identifying information that we have here.        So what am I

        18    supposed to do about that?     I've got the reasons you're offering

        19    me, which are very vague and not that specific, and I've got

        20    cases that require me to get into the specifics.         There's a gap.

        21              MS. HALL:    Well, Your Honor, I think that this case is

        22    different from those cases for a few reasons.        One is that, as

        23    you identified, those cases involve a particular plaintiff's

        24    particular piece of information and allegations that the -- at

        25    least in some of those cases that I have seen, that the access



                                          JA174
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         1    to the information was for personal purposes rather than

         2    professional purposes.

         3              And I don't think we really have an allegation like

         4    that here.   I think the allegation is that the reason -- the

         5    purposes for which the relevant employees are accessing the data

         6    is improper because the plaintiffs have identified it as

         7    improper for a variety of policy reasons but not that the -- the

         8    purposes that they are pursuing are personal to them or,

         9    you know, something that's outside the ambit of their government

        10    responsibilities.

        11              THE COURT:   I'm a little confused; I thought in

        12    Bigelow, there was a member of the military whose supervisor --

        13    is that the right case?    Yeah, whose supervisor suspected him of

        14    perhaps espionage or being a traitor because he seemed to

        15    disappear when he was traveling to foreign countries.         So

        16    because of the supervisor's suspicion, he asked for the person's

        17    personnel file, and the D.C. Circuit said that was okay.

        18              MS. HALL:    Yes, Your Honor, and the distinction that I

        19    was referring to was referencing other cases than Bigelow.              That

        20    one, I think, is a -- I can address that as well.

        21              THE COURT:   Okay.

        22              MS. HALL:    And again, I think that that case involves

        23    much more particular reasons, because again, it is a very

        24    particular factual circumstance involving one particular

        25    individual's --



                                          JA175
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         1                THE COURT:   Well, exactly, but we don't have one

         2    particular record, or one file; we have -- I don't even know how

         3    many.     The plaintiffs represent about two million people, so

         4    presumably, we have 2 million files.           What do I do about that?

         5                MS. HALL:    Well, Your Honor, I think that speaks to

         6    the breadth of this case and the fact that the plaintiffs are

         7    bringing a pretty novel challenge to government employees'

         8    access to systems of records, not access to particular records,

         9    that are identified because of the plaintiff.           And there really

        10    isn't any particularized injury to Plaintiffs for the reasons

        11    that we've discussed previously.

        12                THE COURT:   But this is -- this is of the government's

        13    making; it's the government who authorized this global access to

        14    the DOGE team.     So they're just responding to an action the

        15    government did.

        16                MS. HALL:    Yes, Your Honor, the government has given

        17    individual employees of the government access to particular

        18    systems in accordance with their job duties.           And I -- to my

        19    knowledge -- I have not seen a case that challenges access to a

        20    big system of data in accordance with the job duties, and

        21    I think that that is -- is not something that suggests that

        22    granting access is unusual; it -- I don't think the plaintiffs

        23    can contest that employees within these agencies have access to

        24    these systems of data.      There are non-DOGE employees who have

        25    access to these systems of data, and the plaintiffs do not



                                            JA176
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         1    contest those employees' duties require access to those systems.

         2              And I think that in that particular circumstance --

         3    you know, as I mentioned, I don't know of a case that has the

         4    government particularly identifying the specific duties of

         5    employees who are not DOGE-affiliated who have access to systems

         6    of data, but I think that the proof that the government would

         7    need to offer for -- for a system of data is just fundamentally

         8    different from a particular piece of data that's being pulled

         9    out of the database related to one particular person.

        10              I think that's a very different circumstance, and

        11    I think that that's part of the reason that our case looks a

        12    little bit different, Your Honor.

        13              THE COURT:   All right.     Isn't that your job, to do

        14    that?

        15              MS. HALL:    Well, Your Honor, I think that, critically,

        16    the burden here lies with the plaintiffs, and particularly when

        17    it comes to an extraordinary form of relief, like a TRO, it's

        18    the plaintiffs' responsibility to show that they are likely to

        19    succeed on the merits, that they are likely to suffer

        20    irreparable harm, and that the balance of the equities and the

        21    public interest lie in their favor.          And --

        22              THE COURT:   Slow down, slow down, okay?

        23              MS. HALL:    Yes, Your Honor.

        24              THE COURT:   No, you're right, it is the plaintiffs'

        25    burden on all of those counts, I completely agree, but what I



                                          JA177
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         1    was asking is, isn't it your responsibility for the government

         2    to identify why, with specificity -- at least a certain level of

         3    specificity, why the DOGE team needs access to all of this

         4    information?

         5               MS. HALL:    Well, Your Honor, I think we have

         6    identified, with some specificity, the need for these employees

         7    to have access to data, and specifically systems of data rather

         8    than, you know -- I'm not suggesting that, you know, if some

         9    individual -- if the DOGE team were pulling one individual's

        10    particular piece of data and then using that for some other

        11    purpose from their job responsibilities, you know, I think that

        12    would be a very different circumstance.

        13               THE COURT:   I just don't know enough about the systems

        14    that they are accessing to know if the PII can be segregated or

        15    redacted in order to allow them to form perform their duties,

        16    and what I'm hearing from you is, you don't know either,

        17    correct?

        18               MS. HALL:    Your Honor, that's correct, I don't know

        19    how the redaction would work and how access to the systems would

        20    work, but I would also mention that the plaintiffs don't seem to

        21    have any kind of distinction between different types of PII, or

        22    they don't seem to object specifically to Social Security

        23    numbers, for example, while permitting access to income.

        24               And I think, again, it's the plaintiffs' burden to

        25    establish that there is a violation and that the relief that



                                           JA178
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         1    they're requesting is sufficiently tailored.

         2              THE COURT:   All right.

         3              All right.   Is there anything else on need to know

         4    before we move on to routine use?

         5              MS. HALL:    Your Honor, I would just point out --

         6              THE COURT:   Excuse me one moment.

         7              Just give me one moment.

         8              MS. HALL:    Yes, Your Honor.

         9              THE COURT:   I'm drowning in papers here.

        10              MS. HALL:    I understand.

        11              THE COURT:   Before you move on to routine use, are you

        12    familiar with a case, Parks v. IRS?          It's a 1980 case from the

        13    Tenth Circuit.

        14              MS. HALL:    Your Honor, I don't recall it offhand, but

        15    if you wouldn't mind refreshing my memory as to the facts, I'd

        16    be happy to discuss it.

        17              THE COURT:   We have copies of it for you; my law clerk

        18    will hand one to you and to opposing counsel.

        19              This is a case that was brought by an IRS employee

        20    against the IRS, and the IRS employee complained that he was

        21    called by other IRS employees and was asked to buy savings

        22    bonds, and the request was because President Nixon had issued an

        23    Executive Order asking for people to encourage their people to

        24    buy savings bonds, and the Tenth Circuit found that the

        25    Executive Order charged the committee to formulate a plan of



                                          JA179
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         1    organization and sales promotion of the savings bond program.

         2              Even though this may have been a worthy effort, it

         3    does not justify the use of information derived from the

         4    personnel files of employees, particularly in view of the

         5    subsequent passage of the Privacy Act.       In short, the

         6    Executive Order, which was at odds with the stated legislative

         7    purpose of the Privacy Act, does not license the defendants to

         8    violate the Privacy Act, and it would not be grounds for

         9    justifying dismissal of the plaintiff's complaint.

        10              I know I'm springing this on you now, it's not

        11    completely fair, but it's a case that we found, and it seems

        12    somewhat relevant to me.

        13              MS. HALL:    Well, Your Honor, if you'll give me just

        14    one moment to situate myself with the opinion.

        15              THE COURT:   Sure.

        16              MS. HALL:    Well, Your Honor, first, I would mention

        17    that this case appears to have been decided on a motion to

        18    dismiss, where the Court was properly assuming the facts in the

        19    plaintiff's complaint was true, which is, of course, as

        20    Your Honor knows, a different standard of review than for a

        21    temporary restraining order or any kind of injunctive relief.

        22              So in keeping with that, the Court identified -- and

        23    I'm at page 681 of the Federal Reporter citations, which is the

        24    Westlaw page 4, and it identifies a particular allegation that

        25    disclosure of savings bond information was not needed by agency



                                          JA180
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         1    officials and employees in the regular performance of their

         2    work.

         3               And so I think that in that situation, it seems like

         4    the Court was in part relying on the motion to dismiss standard

         5    and the fact that it was alleged that it was not necessary.

         6               And furthermore, it appears that the Executive Order

         7    at issue established an interdepartmental committee for the

         8    voluntary payroll savings plan, which consisted of the heads of

         9    all federal executive branch agencies, and the order charged the

        10    committee with formulating a plan to promote the savings bond

        11    program.

        12               I think that's pretty different from the case that we

        13    have here, where the Executive Order does not only apply to

        14    directing the action of agency heads, it also directs the action

        15    of the particular employees who are involved in this case, and

        16    for those reasons, I think this case is quite different from the

        17    one we have here.

        18               THE COURT:   Okay.

        19               Let's talk about routine use.       Before we get into the

        20    details of that exception, Plaintiffs' counsel mentioned

        21    something about a log for routine use; you might need ask her

        22    follow-up questions about that.       I'm not familiar with that at

        23    all.    Are you?

        24               MS. HALL:    I am not, Your Honor.      I did not see

        25    anything about the logs in Plaintiffs' briefing, and so I'm not



                                           JA181
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         1    familiar with any requirement like that.

         2                THE COURT:   Okay, all right.

         3                MS. HALL:    On routine use, Your Honor, I think the

         4    first point that I'll make is that the government's position is

         5    that we don't need to reach routine use at all, because the

         6    individuals involved are employees, and routine use is used to

         7    cover disclosures outside the agency.          So I think that this

         8    is -- so long as Plaintiffs have conceded that these individuals

         9    are employees at the relevant agencies, we don't need to reach

        10    routine use at all.

        11                THE COURT:   Because they're not sharing outside the

        12    agencies.

        13                MS. HALL:    Correct.

        14                THE COURT:   So from your position, these DOGE people

        15    are employees of their respective agencies, correct?

        16                MS. HALL:    Correct.

        17                THE COURT:   And therefore, you are not relying on

        18    routine use; is that correct?

        19                MS. HALL:    Yes, Your Honor.      The routine use exception

        20    is an argument to the extent that these individuals whose access

        21    the plaintiffs complain of are not actually employees of the

        22    respective agencies.

        23                THE COURT:   So from your perspective, if this case

        24    ever went to trial or got, you know, to a dispositive motion,

        25    you would be invoking the need to know exception.



                                            JA182
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         1              MS. HALL:    Your Honor, we might invoke the routine use

         2    exception as an alternative.

         3              THE COURT:   Understood, but --

         4              MS. HALL:    Yes, Your Honor.

         5              THE COURT:   -- if the facts prove that these were

         6    employees, you would be relying on the need to know exception.

         7              MS. HALL:    Yes, Your Honor.

         8              THE COURT:   Okay.

         9              All right.   Well, listen, let's just -- let's talk

        10    about it since you're here, and I'll ask the plaintiff some

        11    follow-up questions.

        12              I didn't see any discussion of compatibility.       Did you

        13    not address that because you didn't think the routine use

        14    exception applies or because you don't have any good arguments

        15    on compatibility?

        16              MS. HALL:    Your Honor, it was because we don't believe

        17    that the routine use exception applies here.

        18              THE COURT:   All right.     Do you have any arguments on

        19    compatibility that you want to share with me?

        20              MS. HALL:    So Your Honor, I don't have the PIAs in

        21    front of me, so to the extent that analyzing the text of those

        22    is particularly important on compatibility, I'm not prepared to

        23    make specific representations about the PIAs.

        24              But Your Honor, I think that when the government is

        25    collecting a lot of this data, part of the reason that the



                                          JA183
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         1    government is collecting data is to ensure that the programs

         2    that the data is used to facilitate are free of fraud and are

         3    used legitimately.    And so you know, for example, when the IRS

         4    collects information related to your tax returns, I think part

         5    of that is in order to facilitate the payment and refund of

         6    taxes, but it's also in order to ensure that the tax laws are

         7    being complied with and that all of the forms involved are being

         8    filled out free of fraud.

         9              And so I think that in part, that the purposes for

        10    which the information is collected may be a little bit broader

        11    than Plaintiffs are identifying, and you know, the purposes are

        12    both to facilitate a program and to facilitate that program in a

        13    way that that ensures compliance with that program's particular

        14    strictures.

        15              THE COURT:   Okay.    So for routine use, the government

        16    has to identify the routine use, which needs to be published in

        17    the Federal Register, and they are published in the form of

        18    these SORNs that we've talked about.         So for Treasury, I just

        19    want to make sure I understand all of the SORNs that identify

        20    the routine use that you believe is relevant here and I know

        21    what they are.

        22              So for Treasury, it's -- what you've identified -- I'm

        23    looking at page 27, I believe, of your opposition brief?

        24              MS. HALL:    Yes, Your Honor.

        25              THE COURT:   All right.



                                          JA184
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         1              So the systems of record notice or the SORN for

         2    Treasury is -- is this for the purpose of identifying,

         3    preventing, or recouping improper payments to an applicant for

         4    or a recipient of federal funds?

         5              MS. HALL:    Yes, Your Honor.

         6              THE COURT:   Okay.    So do you understand the phrase

         7    "identifying, preventing, or recouping improper payments" to

         8    cover the use described in Mr. Krause's affidavit?

         9              MS. HALL:    Yes, Your Honor, I think it covers many of

        10    the purposes that Mr. Krause identifies.

        11              THE COURT:   All right.     How is that purpose or use

        12    compatible with the reason this information was collected?

        13              MS. HALL:    Your Honor, I -- I, again, am not familiar

        14    with the specifics of the PIAs in these cases -- in these

        15    particular systems, but I think that identifying, preventing, or

        16    recouping improper payments is directly related to the provision

        17    of payments and the grant programs or other programs that might

        18    be involved in the provision of those payments.

        19              I think that it's sort of two sides of one coin, as I

        20    just identified, that when the government is collecting

        21    information in order to provide a payment, it is also collecting

        22    information in order to provide that payment in a way that is

        23    free of fraud or improper payments.

        24              THE COURT:   Well, those are two things.        Fraud is

        25    something that the recipient of the money has done in order to



                                          JA185
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         1    illegally obtain it.

         2                Improper payment, who determines if it's improper?       Is

         3    it improper pursuant to a presidential policy?

         4                MS. HALL:    I think it could be, Your Honor, but

         5    I think more commonly -- and this is identified, I believe, in

         6    the Krause declaration.      There's -- one of the Treasury

         7    declarations has a footnote about this.

         8                THE COURT:   It's Footnote 2 in the Krause declaration;

         9    I see it.

        10                MS. HALL:    Thank you, Your Honor.

        11                THE COURT:   Okay.

        12                All right, so that's the SORN for Treasury.

        13                With respect to Education, I see one SORN called

        14    Common Origination Disbursement System and another one for

        15    National Student Loan Data System, correct?

        16                MS. HALL:    That's right, Your Honor.

        17                THE COURT:   And it looks like, in your paper, you've

        18    referred to another one.      I was talking to Plaintiffs' counsel

        19    about this, she was unfamiliar with it, but it's -- do you have

        20    a third?

        21                MS. HALL:    So I have -- unfortunately, in my papers --

        22    if you'll give me one moment, Your Honor, I think I can give you

        23    a little more clarity.

        24                Sorry for the delay.

        25                THE COURT:   Okay, that's all right.



                                            JA186
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         1                We looked at the portion of the Federal Register, and

         2    it looks like it refers to the Future Act Systems?

         3                MS. HALL:    Okay, FAS.    I --

         4                THE COURT:   FAS, great.

         5                I don't know; is that right?

         6                MS. HALL:    I believe so.

         7                THE COURT:   So I don't -- I guess there are several.

         8    Do you know which one, which provision of that SORN?

         9                MS. HALL:    I don't have --

        10                THE COURT:   All right.

        11                MS. HALL:    I just have the pin cites in front of me;

        12    I'm sorry.

        13                THE COURT:   And those pin cites are what?

        14                MS. HALL:    They're on page 27 of the brief, and

        15    that's --

        16                THE COURT:   All right.     That's what didn't match up

        17    with what we saw, so -- okay, all right.

        18                You also cite to what appears to be a proposed rule

        19    implementing the Privacy Act, not a SORN?         That's 73 Federal

        20    Register 117.     What -- why did you cite that?

        21                MS. HALL:    Your Honor, I don't recall the particular

        22    premise for that citation; I'm sorry.

        23                THE COURT:   Okay, all right.

        24                Mr. Ramada in his supplemental declaration says that

        25    he's been identifying contracts and grants that are wasteful,



                                            JA187
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         1    abusive, or inconsistent with the leadership's policy

         2    priorities.

         3              Which SORN covers his identifying contracts and grants

         4    that are inconsistent with the leadership's policy or

         5    priorities?

         6              MS. HALL:    Well, Your Honor, I think that the SORN

         7    permitting disclosure for government researchers and policy

         8    analysts would cover that, and in that capacity, you know, as

         9    the plaintiffs noted in their argument, there is no allegation

        10    that the DOGE employees involved disclosed anything to outside

        11    governmental researchers and policy analysts, but as we've

        12    discussed, this would apply to these individuals only if they

        13    are in fact outside of the Education Department, which because

        14    they're detailees, they are not.

        15              But to the extent that we are looking at routine use

        16    for that reason, I think Mr. Ramada is, in part, operating as a

        17    policy analyst and a researcher to advise the leadership of the

        18    Department of Education.

        19              THE COURT:   Okay, all right.

        20              Okay.   And for OPM, you cite one SORN.          It's the

        21    General Personnel Records, I guess.          It covers only the system

        22    with the name General Personnel Records.         So my question is, is

        23    that the only SORN, and is that the only system that has been

        24    accessed by the DOGE team at OPM?

        25              MS. HALL:    Your Honor, I am not certain of the answer



                                          JA188
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         1    to that question.

         2              THE COURT:   So it had two parts; let me break it down.

         3              Is this the only SORN that you are citing to support

         4    your position that the disclosures to DOGE OPM is within the

         5    routine use exception?

         6              MS. HALL:    For purposes of this TRO, yes.

         7              THE COURT:   Okay, okay.

         8              The second question was, are the DOGE people at OPM

         9    accessing records that are not in the General Personnel Records?

        10              MS. HALL:    Your Honor, I'm not certain whether -- so

        11    the DOGE personnel, according to the Hogan declaration, I

        12    believe, are accessing ...

        13              THE COURT:   Let's look at the Hogan declaration.

        14              MS. HALL:    Some of them are accessing EOPF and EHRI,

        15    and it is my understanding that the SORN that we cited covers

        16    those systems.

        17              THE COURT:   What is that based on?       I don't see that

        18    in the SORN; I see General Personnel Records.        Maybe the records

        19    you just cited are a subset, but I don't know that.

        20              MS. HALL:    That is my understanding, Your Honor, but

        21    if you'd like for the government to submit a letter confirming

        22    whether that is the case, we can do that.

        23              THE COURT:   For instance, there's a system named

        24    Employee Performance File System Records, there's a system named

        25    Records of Adverse Actions, Performance-Based Reductions in



                                          JA189
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         1    Grades and Removal Actions, and Terminations of Probationers.

         2    Do the -- does the DOGE team have access to those two systems?

         3              MS. HALL:    Your Honor, my understanding is that the

         4    only way that the DOGE team -- and with OPM, I'd like to clarify

         5    that it is a little bit different, because as the Hogan

         6    declaration explains, OPM is in some capacity -- you know, the

         7    entire agency is really working on these DOGE EOs and

         8    implementing the President's directives, so I want to be very

         9    careful about distinguishing between individual -- I'm sure

        10    there are individuals at OPM who have access to those records,

        11    and I think in some capacity, everyone at OPM is involved in

        12    implementing the President's Executive Orders.

        13              So I can't make a representation that no one who is

        14    doing anything on the Executive Orders has access to those

        15    systems, but it's my understanding that the individuals the

        16    plaintiffs seem to be objecting to have -- only a few of them

        17    have access to EOPF and EHRI, and that's in paragraph 11 of the

        18    Hogan declaration.

        19              THE COURT:   Well, paragraph 11 just says that

        20    Mr. Hogan removed access to those two systems with respect to

        21    three engineers.

        22              MS. HALL:    Your Honor, if I may direct your attention

        23    to the first sentence of that paragraph, it says, "For systems

        24    engineers who require access to sensitive systems, such as EOPF

        25    and EHRI," so that -- that's where I'm getting the idea that we



                                          JA190
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         1    have engineers who require access to those systems and who have

         2    access to those systems.

         3              THE COURT:   Okay, all right.

         4              So one of the issues that the plaintiffs point out

         5    with this particular SORN is that the disclosure of the

         6    information with personal identifiers in the EHRI is for use in

         7    computer matching, and the statute defines computer matching,

         8    requires a computer matching agreement, shall not be effective

         9    until 30 days after it's made.

        10              Is there a computer matching agreement?

        11              MS. HALL:    Your Honor, I'm not aware of a computer

        12    matching agreement with what would presumably be the USDS.           I

        13    will -- Plaintiffs have suggested that a matching agreement

        14    could not possibly be in place.      I will say that the

        15    United States Digital Service, which is the office that

        16    United States DOGE Service has renamed, did exist more than

        17    30 days ago, but I am not aware of a computer matching agreement

        18    with USDS.   And Plaintiffs have not identified what other agency

        19    would need a computer matching agreement, again, because I think

        20    these individuals are in fact employees of their home agencies.

        21              Or -- I'm sorry, Your Honor; I'd like to correct what

        22    I just said.   When I say "home agencies," I mean the agencies

        23    that are named in the complaint.

        24              THE COURT:   All right, okay.      Okay.

        25              So let's talk about irreparable harm.         It's related to



                                          JA191
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         1    standing.    We've talked about standing.       I know it's your

         2    position that there's no standing.

         3                Let me just clarify one thing about your position on

         4    standing.    So earlier, I believe you said, the plaintiffs have

         5    no cause of action if their personal information kept in a

         6    federal government database is shared from one employee to

         7    another, regardless of whether there's -- the access is

         8    authorized; is that right?

         9                MS. HALL:    That's right, Your Honor.

        10                THE COURT:   Okay.    So does that mean if, you know,

        11    someone pays their taxes, files their taxes with the IRS, that

        12    someone from Immigration can call someone at IRS and say, I'd

        13    like information about so-and-so for purposes of investigating

        14    whether they're in the country lawfully -- so that's information

        15    being shared between two government agencies -- would that be

        16    unactionable?

        17                MS. HALL:    Your Honor, I don't think that that is

        18    analogous to the facts in this case, because it's all within one

        19    agency, so I don't think that --

        20                THE COURT:   Okay, let's do it with one agency.

        21    Let's say I applied to be a lawyer at the Department of Justice.

        22    There might be a few of us in here who have done that before.

        23    And you know, I got -- let's say I got the job.           Let's also say

        24    that the FBI at some point wanted to investigate me for reasons

        25    unrelated to my job application and in fact unrelated to my



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         1    employment.   The FBI is within the Department of Justice.       Could

         2    the FBI get interagency information from HR at DOJ about me?

         3              MS. HALL:    I -- your Honor, I don't know whether there

         4    is some other cause of action that might preclude that, or other

         5    regulations that might preclude that, separate from those that

         6    are at issue in this case, but I think under the Privacy Act

         7    alone, that would be an intra-agency disclosure, and if the --

         8    if the Department of Justice made the determination that access

         9    was proper, then that would be an -- and the disclosure alone,

        10    without the harm of an investigation, without the concrete harms

        11    that would attend from the FBI having access, those are separate

        12    harms from the disclosure itself.      So I think without any

        13    additional harms occurring --

        14              THE COURT:   So if I heard that that had happened, and

        15    before any harm happened to me, I rushed into court and asked a

        16    Court to prevent that, prevent continued disclosure, I'd be out

        17    of luck, I'd have no cause of action?

        18              MS. HALL:    I think that's right, Your Honor, and

        19    I think that follows from TransUnion, and TransUnion is -- on

        20    the facts of that case, it was possible that at any time, there

        21    could have been disclosure that would cause concrete harm, but

        22    there had not actually been the kind of public disclosure that

        23    would cause that harm.    And because the harm had not yet

        24    occurred, the concrete harm had not yet occurred, the plaintiffs

        25    lacked standing even though they were alleging informational



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         1    injuries.

         2                THE COURT:     Okay.    Let me ... and so tell me again

         3    your position on irreparable harm.           Let's assume that I believe

         4    there is standing.       Let's assume I believe there is a common law

         5    analogue and that it's invasion of privacy or intrusion upon

         6    seclusion.     Why isn't there irreparable harm?

         7                MS. HALL:     Well, Your Honor, I don't think that that

         8    is an irreparable injury, and I think it's particularly not so

         9    with regard to the limited duration of a TRO while the Court,

        10    you know, takes time to consider a motion for preliminary

        11    injunction, where it could consider, you know, a fuller record,

        12    and that's a very high standard at the TRO phase for --

        13                THE COURT:     It is.

        14                Why isn't ongoing, unlawful access to personally

        15    identifying information irreparable harm?

        16                MS. HALL:     Your Honor, I think, because the -- the

        17    case law on irreparable harm is -- requires -- you know, must be

        18    certain and great, must be actual and imminent, and I don't

        19    think that that is causing -- we don't have any certain, great,

        20    actual, imminent harm that cannot be redressed by later revoking

        21    access from those individuals.

        22                THE COURT:     So currently, if what the plaintiffs are

        23    alleging is true, there is an ongoing invasion of their privacy

        24    by DOGE members.        Why isn't that harm irreparable?          Why

        25    shouldn't an injunction be issued to stop that until we



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         1    determine whether or not their access is lawful?

         2              MS. HALL:    Your Honor -- well, for -- on the first

         3    point, I think that first, the plaintiffs are not entitled to an

         4    injunction or a temporary restraining order simply because they

         5    have established irreparable harm; that's not sufficient on its

         6    own.   And so if the Court is unsure whether there has in fact

         7    been a violation, then I don't think that irreparable harm

         8    regardless could get you over the finish line there.

         9              And secondly, on that, I think, again, if -- if the

        10    Court is not sure that -- or if the Court is not willing to find

        11    that the plaintiffs will likely succeed on the merits and in

        12    fact that access is unauthorized, then -- without that, then

        13    they are suffering no harm at all from these individuals having

        14    access.   And that's because if the Court doesn't find that they

        15    are likely to succeed, then the -- the -- excuse me,

        16    Your Honor -- then the access is, in fact, authorized, and

        17    there's no harm at all.

        18              THE COURT:   I understand completely, they have to

        19    establish a likelihood of success on the merits.         Assume they

        20    have done that.

        21              Take a minute to read your -- your friend --

        22              MS. HALL:    Thank you, Your Honor.

        23              THE COURT:   You phoned in some help.

        24              MS. HALL:    Thank you, Your Honor.

        25              I would continue also and say as well that in the



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         1    context of the Privacy Act specifically, there are damages

         2    remedies available, and so I think that, you know, by virtue of

         3    the statutory scheme that Congress has enacted, there is

         4    actually a remedy available in the form of damages under the

         5    Privacy Act or for an unauthorized disclosure that causes harm.

         6              THE COURT:   Okay.

         7              If I were to grant a temporary restraining order --

         8    and I know you vehemently oppose it; I understand that.       I

         9    understand it's the plaintiffs' burden.       I understand that

        10    relief is extraordinary.    I don't know what I am going to do,

        11    but I have to ask you.    If I issue a temporary restraining

        12    order, what do you propose would be the proper scope of the

        13    order?

        14              MS. HALL:    Your Honor, I think that any order in this

        15    case would need to be very narrowly tailored, so I'll point you

        16    to the plaintiffs' proposed order and identify some issues that

        17    we have identified with that.

        18              One is that the order refers to Department of

        19    Government Efficiency representatives, and as I've identified

        20    throughout this argument, I think that that's a very vague term,

        21    and it's not one that -- I think we would probably end up coming

        22    back to Your Honor and asking for clarification if you entered

        23    an order with that broad of a scope, particularly with respect

        24    to the Office of Personnel Management, where, as I identified,

        25    you know, in some sense, the entire agency is implementing the



                                          JA196
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         1    President's Executive Orders and operating in some sense as

         2    representatives of the Department of Government Efficiency in

         3    that regard.

         4              So I think that -- we would request that any relief

         5    that Your Honor orders be carefully tailored to the particular

         6    individuals that Your Honor believes are inappropriately

         7    accessing data, rather than a broad, sweeping term like "DOGE

         8    representatives."

         9              And -- one moment, Your Honor.         Sorry; I'm just taking

        10    a look at my notes.

        11              I think as well, Your Honor, any relief should be

        12    carefully tailored to the parties here and the parties -- the

        13    plaintiffs specifically, and also to whatever particular

        14    irreparable harm Your Honor identified to justify the order, so

        15    that that harm could be mitigated during the pendency of this

        16    action.

        17              THE COURT:   So if I tailored it to the plaintiffs,

        18    what I heard from the plaintiffs' side is, that would be

        19    unworkable for enforcement reasons.          You know better than we do.

        20    You've asked me, if I do this, to tailor it to the plaintiffs'

        21    personally identifying information.          By my back-of-the-envelope

        22    count, that's over two million people.         Would you be able to do

        23    that?

        24              MS. HALL:    Your Honor, I am not an expert on the

        25    systems involved or how these particular redactions or



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         1    restrictions could work, but if -- I think the relief available

         2    needs to be tailored to the parties in order to comply with the

         3    rules of procedure and Your Honor's jurisdiction, and if the

         4    order is properly restricted to the plaintiffs, then the

         5    government would have the opportunity to assess what options

         6    there are to make those redactions or make those restrictions.

         7    And we would ask that the plaintiffs endeavor to work with the

         8    government in order to identify the actual members and the

         9    people involved.

        10              THE COURT:   All right.     The second paragraph of the

        11    proposed order says, "Defendants are ordered to retrieve and

        12    destroy any personally identifiable information or confidential

        13    information retrieved from the systems of records that are

        14    currently in the possession of any DOGE representatives or

        15    persons who received such information from DOGE."

        16              What is your position on this?

        17              MS. HALL:    Your Honor, I think that to retrieve and

        18    destroy would be very burdensome on the government, to go back

        19    and try to unwind anything that has occurred so far.          And

        20    I think that in the -- particularly the language that says "any

        21    documents created by DOGE representatives from such

        22    information," those, in particular, would not actually -- might

        23    not contain any protected information, and so I don't think

        24    there's any reason that documents that have been derived from

        25    systems of records shouldn't be available to the defendants as



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         1    they're making policy choices or decisions about ways to

         2    modernize their systems.

         3                So I think that any relief here needs to be limited to

         4    actual PII and not documents that, you know, stemmed from

         5    systems that once contained PII.

         6                I would also identify subparagraph 2, "Persons who

         7    received such information from DOGE representatives."          Again,

         8    I think that's quite broad and, you know, could encompass career

         9    staff that have access to these systems anyway, it could

        10    encompass the leadership of these agencies who should not be

        11    enjoined from having access to their own systems, so I think,

        12    again, that's part of the tailoring concern that the government

        13    has, is that these -- this proposed order includes really broad

        14    language.

        15                And I'd also, if you don't mind, Your Honor, point you

        16    back to that first paragraph, where the plaintiffs identified

        17    any Treasury Department, Office of Personnel Management, or

        18    Departments of Education systems of records.         I think that's,

        19    again, broad, and it's broader than the particular systems of

        20    records that the plaintiffs have identified in their pleadings

        21    and their briefing.

        22                THE COURT:   Well, if I tailored it to the plaintiffs'

        23    information, I wouldn't need to identify the system; it would

        24    just be wherever it is, it would be incumbent upon you to

        25    determine what system it's in, correct?



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         1              MS. HALL:    Your Honor, I'm not sure -- I think that

         2    the -- there are two components of tailoring here; there's the

         3    idea of tailoring it to Plaintiffs' PII, and that's, you know,

         4    necessary in order to keep the TRO contained to the parties to

         5    this suit.    And then, I think there's a second question of

         6    tailoring, which is just proper tailoring of an injunction to

         7    the subject of the suit, and that, I think, would -- is the part

         8    that would require limiting it to the systems that Plaintiffs

         9    have actually identified and that the parties have been able to

        10    brief here.

        11              THE COURT:   All right.

        12              Okay.   One last question -- well, I can't promise it's

        13    the last question, but I am winding down.

        14              I agree with you that using the term "Department of

        15    Government Efficiency representatives" is vague and broad.            I

        16    don't exactly know what that means.          I could guess, but I really

        17    don't know what that means, and if I issue this order and the

        18    government is implementing it, you would probably say, well,

        19    what does that mean?

        20              MS. HALL:    Yes, Your Honor.

        21              THE COURT:   Can you think of a better way to phrase

        22    it, that wouldn't confuse you?

        23              MS. HALL:    Your Honor, I think that we have identified

        24    particular employees in our declarations, and so to the

        25    extent -- you know, at Treasury, that's Tom Krause, since



                                          JA200
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         1    Marko Elez has departed the Department.

         2                THE COURT:   All right.     So at Treasury, it's

         3    Tom Krause.     He indicates he was hiring more people, but I don't

         4    know if that's happened.

         5                MS. HALL:    And then at Education, we have Adam Ramada

         6    and the five individuals that he particularly identifies in his

         7    declaration.

         8                I think in the -- I'm sorry, Your Honor.            At

         9    Education, again, this would depend on the nature of the

        10    violation that Your Honor found and the nature of the harm that

        11    Your Honor found, but my understanding is that at Education,

        12    while there are -- there are multiple employees who are simply

        13    Education Department employees, who are detailed from other

        14    agencies.    And so there are only two individuals, Mr. Ramada and

        15    one other individual, who are from USD- -- detailed from USDS,

        16    and so Your Honor might confine relief to those individuals.

        17                THE COURT:   All right, at OPM.

        18                MS. HALL:    At OPM, I think it's much more difficult,

        19    candidly, and I think that in that circumstance, if Your Honor

        20    were to enjoin anyone affiliated with the DOGE project, that

        21    would be overbroad, and I -- I don't think that it would be

        22    proper, given the nature of that particular agency.

        23                THE COURT:   All right.     I need -- you have two

        24    options; you can either say, I can't give you an answer, Judge,

        25    and then leave me to fashion it if I decide that I want to grant



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         1    the TRO, or you can help me, to make your life easier, if I

         2    issue a TRO.

         3              Is it people who are working on the DOGE mission, who

         4    are principally working on the DOGE mission?

         5              MS. HALL:    Your Honor, I think, perhaps, it could be

         6    individuals who are both principally working on the DOGE mission

         7    and who are accessing those records for tasks related to the

         8    DOGE mission, so that it would not encompass individuals who may

         9    have access to those for other purposes while they also are

        10    involved in executing the DOGE mission in their other

        11    capacities.

        12              THE COURT:   Thank you for that.

        13              MS. HALL:    Yes, Your Honor.

        14              THE COURT:   Is there anything else before I hear

        15    briefly from the plaintiffs?     It's 1:15, and I've got to give my

        16    staff a lunch break.

        17              MS. HALL:    Your Honor, just two brief points.     One is,

        18    we would also request, on relief, that relief be limited to the

        19    individual members, the individual plaintiffs who are named in

        20    the complaint rather than all members of the organizations,

        21    because they only have standing to the extent that they're

        22    members to.

        23              And then, secondly, we -- the government would request

        24    bond in this case.

        25              THE COURT:   Okay.    What's your request for bond?



                                          JA202
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         1                MS. HALL:    Your Honor, we would defer to the amount

         2    that Your Honor finds appropriate, but I think we would request

         3    something -- a substantial number in order to account for the

         4    scope of relief that Your Honor might enter.

         5                THE COURT:   I have no idea what that is.

         6    Judge Engelmayer set the bond at $10,000; is that substantial?

         7                MS. HALL:    Your Honor, that would be substantial.

         8                THE COURT:   All right.     So before we talked about

         9    bond, you said any relief, if I grant it, you want only as to

        10    the six individuals that are plaintiffs and not the over

        11    two million members of the various organizations that are

        12    plaintiffs?

        13                MS. HALL:    Yes, Your Honor, and I think that's because

        14    the plaintiffs have not proven organizational standing in this

        15    case.

        16                THE COURT:   So sometimes I mix them up; you'll have to

        17    help me.    I thought they were proceeding under associational

        18    standing.

        19                MS. HALL:    If you don't mind me just checking my

        20    papers.

        21                THE COURT:   Please, yeah.

        22                MS. HALL:    Thank you, Your Honor.

        23                Your Honor, that's correct; they -- I found the part

        24    in their briefing, and it is associational standing; you're

        25    right.



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         1              THE COURT:   Okay.    So does that change your position?

         2              MS. HALL:    I'm sorry?

         3              THE COURT:   Does that change your position?

         4              MS. HALL:    I would no longer say that they have not

         5    established organizational standing.         They have -- seem not to

         6    have attempted to.

         7              I think the key is that this is -- this is not a class

         8    action.   This is not -- so the injunction I don't think could

         9    run against all members of these organizations without them

        10    trying to identify a class and with some particularity.

        11              THE COURT:   So then why wouldn't the answer be to

        12    fashion a TRO, if I grant one, that enjoins the DOGE people that

        13    have submitted the declarations and then the people that I

        14    identify, perhaps along the lines that you've suggested, from

        15    accessing any PII?    That makes it much easier, rather than

        16    saying just the plaintiffs.

        17              MS. HALL:    Your Honor, I don't think that that would

        18    be commensurate with the alleged violation.

        19              THE COURT:   All right.     So then it would be up to the

        20    government to get all 2 million names and figure out a way where

        21    you're blocking access to those persons' information, right?

        22              MS. HALL:    If that was Your Honor's order, yes.

        23              THE COURT:   Okay, all right.       Is there anything else?

        24              MS. HALL:    No, Your Honor.

        25              THE COURT:   Thank you very much, Ms. Hall.



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         1               MS. HALL:    Thank you.

         2               THE COURT:    All right.     Ms. Hu, I don't know how much

         3    time you want in rebuttal, but either we take a lunch break and

         4    return at 2:00, or you can be brief.

         5               MS. HU:     Your Honor, I think I can try to be brief.

         6               THE COURT:    All right.     I'm going to hold you to that.

         7               MS. HU:     Thank you.

         8               A couple housekeeping matters.        I think earlier,

         9    Your Honor had asked what to do about the news reports, and my

        10    friend on the other side said that those news reports cannot be

        11    used for the truth of the matter asserted, as they are hearsay.

        12    That is contra authority from the Fourth Circuit that is

        13    binding.

        14               I direct Your Honor's attention to G.G. ex rel. Grimm

        15    v. Gloucester County School Board, 822 F.3d 709, specifically on

        16    page 725, and there, the Fourth Circuit held, "Because

        17    preliminary injunction proceedings," and obviously TROs, "are

        18    informal ones designed to prevent irreparable harm before a

        19    later trial, governed by the full rigor of usual evidentiary

        20    standards, District Courts may look to, and indeed, in

        21    appropriate circumstances, rely on hearsay or other inadmissible

        22    evidence when deciding whether a preliminary injunction is

        23    warranted."

        24               THE COURT:    Okay.

        25               MS. HU:     And there are a number of District of



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         1    Maryland decisions that cite that, four newspapers as well.

         2                THE COURT:    All right.

         3                MS. HU:     On -- I believe Your Honor had asked about my

         4    earlier comments on the fact that information and PII can be

         5    redacted.    I direct Your Honor's attention to the Financial

         6    Management System.      The privacy impact assessment for that

         7    system expressly says that "masked PII is used for testing when

         8    required.    PII is masked in all non-production environments," so

         9    that is protected from access, "by staff who do not have the

        10    appropriate access roles.       PII elements other than name are

        11    masked by replacing the elements with 'dummy'" -- quotation

        12    marks -- "'dummy' data; e.g., identifying numbers are replaced

        13    with 99999."

        14                THE COURT:    Okay.

        15                MS. HU:     I believe Your Honor had earlier also asked

        16    about the routine use log.        That can be found in 552a(c),

        17    Accounting of Certain Disclosures.

        18                THE COURT:    A-A-C?

        19                MS. HU:     Sorry, I skipped a number.      552a, that's the

        20    section of the Code, and then subsection (c), which is

        21    Accounting of Certain Disclosures.

        22                And it states, "Each agency, with respect to each

        23    system of records under its control, shall, except for the need

        24    to know exception, keep an accurate accounting of the date,

        25    nature, and purpose of each disclosure of a record to any person



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         1    or to another agency made under subsection (b) of this section

         2    which has the routine use exception."

         3              THE COURT:    All right.     So the government's position

         4    is that these DOGE team members are accessing the information

         5    within the agency where they are working, and so therefore, the

         6    routine use exception does not apply.         What is your position on

         7    that?

         8              MS. HU:     My position on that is that that's fine, but

         9    they need to fit under a different exception, then.

        10              THE COURT:    So the need to know.

        11              MS. HU:     The need to know exception.      And I think -- I

        12    do disagree, I think, with the government's position that

        13    somehow disclosures within an agency is meaningfully different

        14    from disclosures between agencies.        The Privacy Act has a scheme

        15    that encompasses with the need to know requirement, and it

        16    limits access even within an agency to these records maintained

        17    by the agency unless there is a demonstrated need to know.

        18              And I thought the discussion Your Honor had with my

        19    friend on the other side about the need to know here and the

        20    duties at issue here was very illuminating, because I think what

        21    it boiled down to, the government's position seems to be that

        22    the more sweeping the level of disclosure, the less specificity

        23    you need to articulate the duties or to articulate the need to

        24    access that data.

        25              THE COURT:    Well, I don't know that she said that.



                                           JA207
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         1              MS. HU:     But I think that that --

         2              THE COURT:    It's just more -- it's just more

         3    challenging, given the magnitude of the access.

         4              MS. HU:     That's correct, Your Honor, but I think this

         5    exemplifies the unprecedented nature of the disclosures they

         6    have given, right, and I think under these circumstances, where

         7    the grant of access is so broad, and we know from some of these

         8    declarations, the grant of access exceeds those given to

         9    auditors, that there really needs to be a close scrutinization

        10    of the connection between all of this information, and the

        11    duties, and the need for that information for these employees,

        12    and I do not believe that the government provided that.

        13              I think I would also add, what I understood the

        14    government to be saying was, well, it's Plaintiffs' burden; it's

        15    Plaintiffs' burden to prove all of this, it's Plaintiffs' burden

        16    for the order to name the specific systems that the Court should

        17    prevent or prohibit access to.       And I think that that is a

        18    little Kafkaesque, because, of course, the reason why we can't

        19    name all of the systems is because the government has not been

        20    transparent about them.     Even in the declarations that

        21    Your Honor painstakingly went through with the government, there

        22    was not information on the full range of systems that currently,

        23    these DOGE individuals and representatives have access to.

        24              The sentence that I believe my friend on the other

        25    side pointed you to said "such as," systems such as, as



                                           JA208
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         1    exemplars.   That suggests, of course, that that is not the

         2    exclusive list of systems.

         3              THE COURT:    All right.     So let's talk about a proposed

         4    order.

         5              I think, if I issue this TRO, I think the government's

         6    correct, it has to be tailored to the plaintiffs, and I also

         7    think that just saying "Department of Government Efficiency

         8    representatives" is too broad.       Do you have any suggestions?

         9              MS. HU:     Certainly, Your Honor.     I think the reason

        10    why we use that language in the proposed order is because there

        11    is a great deal of uncertainty about the individuals.          Again,

        12    much of that information has not been forthcoming.

        13              Now we have these declarations that have identified at

        14    least the number of individuals within Education, for example,

        15    or Treasury, but I also think that what my friend on the other

        16    side suggested as a narrowing, more precise language at

        17    capturing the individuals we are concerned about here, I think

        18    we would agree with that; I think the language that she used is,

        19    people who are preliminary working on DOGE initiatives and

        20    access the data contained within these systems to support those

        21    initiatives.   I think that that would be an appropriate

        22    narrowing of the order that we proposed.

        23              THE COURT:    I was very impressed with her ability to

        24    come up with that so quickly; that was excellent.          I mean that.

        25              Your second paragraph, it just seems unworkable.



                                           JA209
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         1                MS. HU:     Your Honor, I think that second paragraph

         2    intended to parallel the order that Judge Engelmayer issued.             So

         3    to the extent that Your Honor is not inclined to issue that

         4    relief, I would just ask that Your Honor fashion something that

         5    addresses any potential workarounds.

         6                What we were really trying to avoid is that to the

         7    extent these DOGE individuals or representatives, which I will

         8    use the shorthand here, created copies of the datasets, they

         9    should not be permitted to continue accessing those copies to do

        10    the work.    In other words, they should not be able to work

        11    around the Court's order on a technicality.           That is what the

        12    second provision was intended to address.          We are fine with a

        13    much narrower framing of that, but that is the animating concern

        14    from Plaintiffs.

        15                THE COURT:    Okay.    Is there anything else?

        16                MS. HU:     Your Honor, unless there's anything further,

        17    we rest on our papers and our argument today.

        18                THE COURT:    Let me look at my notes and check with my

        19    law clerks.

        20                Let me ask you this.       I mean, I think this would be

        21    also for Ms. Hall, but if I do issue a TRO, it lasts 14 days.

        22    What next?

        23                MS. HU:     Your Honor, I think, next, Plaintiffs would

        24    request a preliminary injunction hearing.          We would propose that

        25    there be limited discovery in connection with that hearing,



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         1    limited to Defendants' decisions to grant access to the

         2    individuals at issue here, and so that would be -- in ordinary

         3    cases, there would be an administrative record.

         4               Here, we understand that the government has asserted,

         5    in other proceedings, there is no administrative record, so it

         6    would be the emails or communications around the decision to

         7    grant access and the scope and extent of that access to the

         8    systems.   We propose that the government would provide that to

         9    us on Monday, and then we would be given three days --

        10               THE COURT:    This coming Monday?

        11               MS. HU:     Correct, Your Honor.     Or if that's not

        12    feasible -- we're sort working around Your Honor's schedule,

        13    recognizing there's a 14-day expiration limit on that TRO, which

        14    could be extended once by an additional 14 days for good cause

        15    shown.

        16               But the general, broad-stroke proposal would be for

        17    limited discovery, followed by some amount of time for us to put

        18    in -- and it can be three days -- for us to put in our

        19    preliminary injunction motion, three days for the government to

        20    respond to that preliminary injunction motion, two days for us

        21    to put in the reply, and then we would reconvene at a time that

        22    is convenient for Your Honor's calendar for that hearing, during

        23    which I think we would ask that some witnesses be made available

        24    for questioning.

        25               THE COURT:    All right, thank you.



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         1              Thank you very much.       You can have a seat.

         2              MS. HU:     Thank you.

         3              THE COURT:    Thank you.

         4              Ms. Hall.

         5              MS. HALL:    Your Honor, as to that schedule, that

         6    timeline for discovery would be I think impossible for the

         7    government to comply with.      To get the kind of discovery that

         8    Plaintiffs are requesting by next Monday would impose a severe

         9    hardship on the government, and I'm not sure that we would be

        10    able to comply with that timeline.       So if Your Honor were to

        11    order discovery, then we would request more time for that to

        12    occur.

        13              In the alternative, we do request that Your Honor, in

        14    keeping with a -- we had a footnote in our brief --

        15         (Reporter requesting clarification.)

        16              MS. HALL:    I'm sorry -- in keeping with a footnote

        17    that we had in our brief, our opposition brief, convert the

        18    motion to a TRO into a motion for a preliminary injunction and

        19    instead just issue a preliminary injunction in this case.

        20              THE COURT:    All right, thank you for that.

        21              MS. HALL:    Thank you, Your Honor.

        22              THE COURT:    Ms. Hu, what's your position on that?

        23              MS. HU:     Your Honor, our position on the preliminary

        24    injunction is that part of Defendants' argument here is that not

        25    sufficient evidence has been elucidated to date to support our



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         1    request for relief or to show a likelihood of success on the

         2    merits.   If they're willing to drop that objection on grounds of

         3    lack of evidence, then we have no objection to the TRO being

         4    converted into a preliminary injunction.

         5                What we are concerned may happen is that if the

         6    conversion is done on this evidentiary record, perhaps an appeal

         7    might be sought, and I don't think we would want to be in that

         8    position.

         9                THE COURT:    Well, what I just heard from the

        10    government is, they don't need any additional evidence in order

        11    to oppose a preliminary injunction.             You're saying, you want

        12    more evidence to beef up your preliminary injunction, to protect

        13    it on appeal?

        14                MS. HU:     Your Honor, I think, though -- perhaps I was

        15    imprecise in my phrasing.       What I'm trying to say here is that

        16    Defendants have argued that Plaintiffs have not come forward

        17    with sufficient evidence, and if they convert this TRO into a

        18    preliminary injunction, depriving us of the ability to develop

        19    that evidence and then renew that argument on appeal, we think

        20    that that would be unfair to us; that is our concern.

        21                THE COURT:    Thank you.     That was -- you said that the

        22    first time, and you said it even better the second time.            I got

        23    it.   I should have gotten it the first time.

        24                MS. HU:     Thank you, Your Honor.

        25                THE COURT:    Thank you.



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         1              Ms. Hall, what's your response?

         2              MS. HALL:    Your Honor, we would -- we are not going to

         3    drop our contention that the plaintiffs have failed to satisfy

         4    their burden, and so that idea from Plaintiffs, we will not be

         5    omitting that if we were to appeal a preliminary injunction.

         6              THE COURT:   So how could I then turn -- if I did

         7    this -- again, I'm not there, okay, but if I turn their

         8    TRO motion into a preliminary injunction motion, as you've

         9    requested, and I were to perhaps grant that, would you then

        10    appeal to the Fourth Circuit and say, one of the reasons either

        11    the Court erred or the plaintiffs didn't meet their burden was,

        12    there wasn't enough evidence?

        13              MS. HALL:    Yes, Your Honor, we would.

        14              THE COURT:   Okay, all right.

        15              MS. HALL:    Your Honor, we would also advance purely

        16    legal grounds, so we would have multiple grounds in our own

        17    appeal.

        18              THE COURT:   If you're willing to waive any argument

        19    that the record hasn't been developed sufficiently, I'd consider

        20    your request to turn it into a PI, if I were headed towards a

        21    TRO.   Are you willing to do that?

        22              MS. HALL:    Your Honor, may the government get back to

        23    you on that later today?

        24              THE COURT:   Yes, that would be helpful.

        25              MS. HALL:    Thank you, Your Honor.



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         1              THE COURT:     All right.

         2              All right, just give me one moment.

         3              All right.     I want to thank the lawyers; you've done

         4    an excellent job in your written submissions and in your oral

         5    arguments today.      These are very important issues, very

         6    fascinating for a law nerd like me, and so thank you very much.

         7              I will rule as soon as I can.

         8              Okay, thank you.

         9              MS. HALL:     Thank you, Your Honor.

        10              THE COURTROOM DEPUTY:         All rise.       This Honorable Court

        11    now stands adjourned.     Thank you.

        12         (The proceedings were adjourned at 1:34 p.m.)

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         1                     CERTIFICATE OF OFFICIAL REPORTER

         2         I, Patricia Klepp, Registered Merit Reporter, in and for

         3    the United States District Court for the District of Maryland,

         4    do hereby certify, pursuant to 28 U.S.C. § 753, that the

         5    foregoing is a true and correct transcript of the

         6    stenographically-reported proceedings held in the above-entitled

         7    matter and the transcript page format is in conformance with the

         8    regulations of the Judicial Conference of the United States.

         9                              Dated this 23rd day of February, 2025.

        10

        11
                                        ______________/s/______________________
        12                              PATRICIA KLEPP, RMR
                                        Official Court Reporter
        13

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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND

        AMERICAN FEDERATION OF                           *
        TEACHERS, et al.,
                                                         *
               Plaintiffs,
                                                         *
        v.                                                           Civ. No. DLB-25-0430
                                                         *
        SCOTT BESSENT, et al.,
                                                         *
               Defendants.
                                                         *

               MEMORANDUM OPINION AND TEMPORARY RESTRAINING ORDER

               This lawsuit is one of several filed by plaintiffs who seek to enjoin federal government

        agencies from disclosing records with their sensitive personal information to government

        personnel affiliated with the newly established Department of Government Efficiency (“DOGE”).

               The plaintiffs in this suit are unions and membership organizations representing current

        and former federal employees and federal student aid recipients and six military veterans who have

        received federal benefits or student loans. In their amended complaint, filed on February 12, 2025,

        the plaintiffs assert claims under the Administrative Procedure Act, 5 U.S.C. § 551 et seq. (“APA”)

        against the U.S. Department of the Treasury (“Treasury”); the U.S. Department of Education

        (“Education”); the U.S. Office of Personnel Management (“OPM”); Scott Bessent, the Secretary

        of the Treasury; Charles Ezell, the Acting Director of OPM; and Denise L. Carter, the Acting

        Secretary of Education (collectively, “the government”). ECF 13. The plaintiffs allege that the

        agencies unlawfully granted access to records that contain their personally identifiable information

        (“PII”) to personnel implementing the President’s Executive Orders on the DOGE agenda.

               The plaintiffs have moved for a temporary restraining order to enjoin the government from

        granting access to record systems with their sensitive personal information to individuals who are




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        implementing the President’s DOGE agenda. ECF 14 & 14-1. The government filed an opposition,

        ECF 27, and the plaintiffs replied, ECF 28. The Court held a hearing on February 19, 2025.

                Upon consideration of the amended complaint, the TRO briefing, the limited record

        evidence, oral argument, and the recent decisions of other courts in similar cases, the Court finds

        that the plaintiffs have met their burden for the extraordinary relief they seek. The TRO is granted

        in part and denied in part. 1




        1
          Other courts recently have denied TROs in similar cases. See Mem. Op. & Order, Am. Fed. of
        Labor of Indus. Orgs. v. Dep’t of Labor, No. 1:25-cv-339 (D.D.C. Feb. 14, 2025) (Bates, J.)
        (denying TRO against the U.S. Department of Labor, the U.S. Department of Health and Human
        Services, the Consumer Financial Protection Bureau, the U.S. DOGE Service, and the U.S. DOGE
        Service Temporary Organization because plaintiffs did not establish likelihood of success on the
        merits); Mem. Op. & Order, Univ. of Cal. Student Ass’n v. Carter, 1:25-cv-354 (D.D.C. Feb. 17,
        2025) (Moss, J.) (denying TRO against Education and Acting Secretary of Education because
        plaintiffs did not establish irreparable harm); Mem. Op. & Order, EPIC v. OPM, No. 1:25-cv-255
        (E.D. Va. Feb. 21, 2025) (Alston, J.) (denying TRO against OPM, Treasury, and agency heads
        because plaintiffs did not establish irreparable harm). One court has granted a TRO and a
        preliminary injunction. On February 21, 2025, a district judge in the Southern District of New
        York granted a preliminary injunction that effectively gives the plaintiffs in this case the relief they
        seek against Treasury. See Op. & Order, New York v. Trump, 1:25-cv-01144 (S.D.N.Y. Feb. 21,
        2025) (Vargas, J.). The court ordered, in part:

                [T]he United States Department of the Treasury and the Secretary of the Treasury
                are restrained from granting access to any Treasury Department payment record,
                payment systems, or any other data systems maintained by the Treasury
                Department containing personally identifiable information and/or confidential
                financial information of payees to any employee, officer or contractor employed or
                affiliated with the United States DOGE Service, DOGE, or the DOGE Team
                established at the Treasury Department, pending further Order of this Court.

        Id. at 63. The scope of the preliminary injunction includes Treasury records with the plaintiffs’
        PII. Thus, the plaintiffs cannot establish that they will be irreparably harmed if this Court does not
        grant a TRO against Treasury. For this reason, their motion for a TRO against Treasury and
        Secretary Bessent is denied.


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        I.     Background

               A. DOGE Executive Orders

               On January 20, 2025, President Donald J. Trump signed an Executive Order called

        “Establishing and Implementing the President’s ‘Department of Government Efficiency.’” Exec.

        Order No. 14,158, 90 Fed. Reg. 8441 (Jan. 29, 2025) (“DOGE Executive Order”). The DOGE

        Executive Order established the Department of Government Efficiency “to implement the

        President’s DOGE Agenda, by modernizing Federal technology and software to maximize

        governmental efficiency and productivity.” Id. § 1. The order renames the United States Digital

        Service as the United States DOGE Service (“USDS”) and establishes “the U.S. DOGE Service

        Temporary Organization” to be “dedicated to advancing the President’s 18-month DOGE agenda.”

        Id. § 3(a), (b). It directs each agency head to establish “a DOGE Team of at least four employees,

        which may include Special Government Employees, hired or assigned within thirty days of the

        date of this Order.” Id. § 3(c). “Each DOGE Team will typically include one DOGE Team Lead,

        one engineer, one human resources specialist, and one attorney.” Id. DOGE Team Leads will

        “coordinate their work with USDS and advise their respective Agency Heads on implementing the

        President’s DOGE Agenda.” Id.

               The DOGE Executive Order directs the USDS Administrator to “commence a Software

        Modernization Initiative to improve the quality and efficiency of government-wide software,

        network infrastructure, and information technology (IT) systems,” which includes “work[ing] with

        Agency Heads to promote inter-operability between agency networks and systems, ensure data

        integrity, and facilitate responsible data collection and synchronization.” Id. § 4(a). The DOGE

        Executive Order commands agency heads to “take all necessary steps, in coordination with the

        USDS Administrator and to the maximum extent consistent with law, to ensure USDS has full and




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        prompt access to all unclassified agency records, software systems, and IT systems.” Id. § 4(b). It

        also directs that “USDS shall adhere to rigorous data protection standards.” Id.

               On February 11, 2025, President Trump signed an Executive Order called “Implementing

        the President’s ‘Department of Government Efficiency’ Workforce Optimization Initiative.” Exec.

        Order No. 14,210, 90 Fed. Reg. 9669 (Feb. 14, 2025) (“Workforce Executive Order”). The

        Workforce Executive Order “commences a critical transformation of the Federal bureaucracy.” Id.

        § 1. It proclaims that the Trump “Administration will empower American families, workers,

        taxpayers, and our system of Government itself” by “eliminating waste, bloat, and insularity.” Id.

        In a section titled “Reforming the Federal Workforce to Maximize Efficiency and Productivity,”

        the Order directs: (a) the Office of Management and Budget (“OMB”) to submit a plan to reduce

        the size of the federal government workforce; (b) agency heads to “develop a data-driven plan, in

        consultation with its DOGE Team Lead, to ensure new career appointment hires are in highest-

        need areas”; (c) agency heads to prepare “to initiate large-scale reductions in force”; (d) OPM to

        revise regulations on fitness and suitability criteria; (e) agency heads to submit to OMB “a report

        that identifies any statutes that establish the agency . . . as statutorily required entities” and

        discusses “whether the agency . . . should be eliminated or consolidated”; and (f) the USDS

        Administrator, within 240 days of the Order, to “submit a report to the President regarding

        implementation of this order.” See id. § 3.

               B. Agency Defendants

                   1. Education

               Education manages the federal student loan system. ECF 13, ¶ 94. Within this system, the

        Federal Student Aid Office maintains the National Student Loan Data System (“NSLDS”), the

        Common Origination and Disbursement System (“CODS”), the FUTURE Act System (“FAS”),




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        and the Financial Management System (“FMS”). See id. ¶¶ 95, 98, 100, 102. These systems house

        records that contain PII of individuals who either apply for or receive federal student aid, such as

        Social Security numbers and taxpayer identification numbers, names and addresses, dates of birth,

        email addresses, income and asset information, tax information, marital status, demographic

        information including citizenship status, and family members’ personal and financial information.

        Id. ¶¶ 95–102; see also, e.g., 87 Fed. Reg. 57,873, 57,878 (2022) (listing categories of records in

        the NSLDS); 88 Fed. Reg. 41,942, 41,947 (2023) (listing categories of records in the CODS); 88

        Fed. Reg. 42200, 42222 (2023) (listing categories of records in FAS).

               The DOGE affiliates at Education include Adam Ramada, a USDS employee detailed to

        Education, and five other “DOGE-affiliated individuals” who “play the principal role in helping

        to advance the mission of President Trump’s Executive Order 14,158.” ECF 27-6, ¶¶ 1–2 (A.

        Ramada Supp. Decl.). 2 These individuals are “assist[ing] the Department of Education with

        auditing contract, grant, and related programs for waste, fraud, and abuse, including an audit of

        the Department of Education’s federal student loan portfolio to ensure it is free from, among other

        things, fraud, duplication, and ineligible loan recipients.” ECF 27-5, ¶ 4 (A. Ramada Decl.). They

        also “help senior Department leadership obtain access to accurate data and data analytics to inform

        their policy decisions at the Department.” Id. ¶ 4. These individuals “primarily worked to identify

        contracts and grants that are wasteful, abusive, or inconsistent with leadership’s policy priorities.”




        2
          The Court uses the term “DOGE affiliates” throughout the opinion to refer to the personnel at
        Education and OPM who are working on the DOGE agenda and have been granted access to
        records containing PII. At Education, this includes Adam Ramada and the “DOGE-affiliated
        individuals” granted such access as described in Ramada’s supplemental declaration. See ECF 27-
        6, ¶ 7. At OPM, this includes Greg Hogan, the agency’s Chief Information Officer, and OPM
        personnel who are principally working on the President’s DOGE agenda and accessing OPM’s
        records for the principal purpose of implementing the President’s DOGE agenda.


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        ECF 27-6, ¶ 8; see also ECF 27, at 9 (“All six [Education DOGE affiliates] work to audit contract,

        grant and related programs for waste, fraud and abuse.”).

               DOGE affiliates at Education “have been granted access to Department information

        technology and data systems.” ECF 27-6, ¶ 7. This includes records that Education maintains in

        its operation of federal student loan programs. See also ECF 27-5, ¶ 9 (“The relevant employees

        require access to Department of Education information technology and data systems related to

        student loan programs in order to audit those programs for waste, fraud, and abuse.”); see also

        ECF 27, at 26 (describing how “Executive Order 14,158 provides that these individuals have a

        need to know ‘all unclassified agency records, software systems, and IT systems’ to perform their

        duties” and that “Education personnel need to access such records in order to audit student loan

        programs for waste, fraud, and abuse” (quoting Exec. Order 14,158, § 4)). DOGE affiliates at

        Education are also expected to access tax-related information maintained by Education in the

        future. ECF 27-5, ¶ 11.

                     2. OPM

               OPM acts as the “chief human resources agency and personnel policy manager for the

        Federal Government.” ECF 13, ¶ 71 (quoting “About Us,” OPM, https://www.opm.gov/about-us

        (last visited Feb. 23, 2025)). OPM maintains a host of records about federal government personnel,

        including human resource and payroll data, application and hiring systems for federal jobs, and

        health benefits for federal employees. Id. ¶ 72. For example, OPM maintains the electronic Official

        Personnel Folder (“eOPF”), which contains digital versions of federal employees’ personnel files

        that cover their entire period of federal civilian service. See OPM, Privacy Impact Assessment for

        Electronic    Official    Personnel    Folder    System     (eOPF)      1   (Oct.    28,    2020),

        https://www.opm.gov/information-management/privacy-policy/privacy-policy/eopf-pia.pdf. The




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        eOPF contains current and former federal employees’ PII such as Social Security numbers, bank

        account numbers, names and addresses, dates of birth, health and life insurance policy numbers,

        civil and criminal history information, and personnel actions such as promotions and suspensions.

        Id. at 5. OPM also maintains the Enterprise Human Resources Integration Data Warehouse

        (“EHRI”), which contains PII as well. See ECF 13, ¶¶ 81–82.

               The DOGE affiliates at OPM include Greg Hogan, the Chief Information Officer (“CIO”)

        of OPM. See ECF 27-8, ¶ 4 (G. Hogan Decl.). As CIO of the agency, Hogan’s statutory

        responsibilities include development and management of OPM’s information technology and

        resources. See 40 U.S.C. § 11315. Hogan can grant or revoke access to record systems including

        eOPF and EHRI. See ECF 33-1, ¶ 12 (G. Hogan Supp. Decl.). Additional personnel at OPM have

        been granted access to OPM’s record systems to “contribute[] to facilitating the President’s

        initiatives related to workplace reform.” ECF 33-1, ¶¶ 6, 8, 13–14; see also ECF 27, at 10

        (explaining that at least some individuals at OPM who are working to implement the President’s

        directives have access to “OPM records systems”). Other than Hogan, there are five “key systems

        engineers” working at OPM on these efforts. ECF 33-1, ¶ 13. None of these five individuals has

        access to EHRI, “though that could change if their duties require access in the future.” See id. ¶¶

        11–12. Hogan periodically reviews access to these systems. Id. ¶ 12. In early February, he directed

        his team to remove access to eOPF and EHRI “for three engineers whose job duties do not require

        prospective access.” Id.

               C. The Plaintiffs

               The organizational plaintiffs are: American Federation of Teachers (“AFT”), International

        Association of Machinists and Aerospace Workers (“IAM”), International Federation of

        Professional and Technical Engineers (“IFPTE”), National Active and Retired Federal Employees




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        Association (“NARFE”), and National Federation of Federal Employees (“NFFE”). ECF 13,

        ¶¶ 18–21. AFT represents over 1.8 million people employed in the teaching and nursing

        professions. Id. ¶ 18. IAM and its affiliate organization NFFE represent more than 100,000 federal

        workers, veterans, and veterans’ groups. Id. ¶ 20. IFPTE represents approximately 34,000 federal

        employees, most of whom work in shipyards for the Department of Defense. Id. ¶ 21. Other IFPTE

        members include nuclear submarine engineers, scientists and researchers at NASA, administrative

        law judges at the Social Security Administration, nuclear engineers at the Tennessee Valley

        Authority, and employees at the Environmental Protection Agency. Id. NARFE represents

        approximately 128,000 current former federal employees and spousal annuitants. Id. ¶ 19. The

        members of the plaintiff organizations have records with their PII housed within Education, OPM,

        and/or Treasury. Id. ¶¶ 18–21.

               The individual plaintiffs are Jason Cain, Kristofer Goldsmith, Clifford Grambo, Thomas

        Fant, Donald Martinez, and Christopher Purdy. Id. ¶¶ 22–27. Cain, a U.S. Army veteran, receives

        veterans’ disability benefits and previously received GI bill benefits, student loans, and a VA home

        loan from the federal government. Id. ¶ 22. Goldsmith, a U.S Army veteran, receives veterans’

        disability benefits and previously received federal student loans. Id. ¶ 23. Grambo, a U.S. Navy

        veteran, receives veterans’ disability benefits and a military pension. Id. ¶ 24. Fant, a veteran of

        the U.S. Coast Guard, receives veterans’ disability benefits. Id. ¶ 25. Martinez, a U.S. Army

        veteran, receives veterans’ benefits, Social Security Disability Insurance/Medicare, and Combat

        Related Special Compensation. Id. ¶ 26. Martinez previously worked for the Federal Emergency

        Management Agency and received federal student loans. Id. Purdy, a veteran of the Army National

        Guard, receives veterans’ disability benefits and previously received federal student loans. Id. ¶




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        27. The individual plaintiffs have records with their PII housed in OPM, Education, and/or

        Treasury. Id. ¶¶ 22–27.

               The plaintiffs allege that pursuant to the DOGE Executive Order and the Workforce

        Executive Order, Treasury, Education, and OPM have given DOGE affiliates unrestricted access

        to their PII and other sensitive personal information. Id. ¶¶ 61, 76, 77, 78, 84, 85, 103, 104, 108.

        None of the plaintiffs or the members of the plaintiffs’ organizations requested disclosure or

        provided express written consent to the disclosure of their records and information to DOGE

        affiliates. Id. ¶¶ 62, 87, 109. And none of the DOGE affiliates needs to know their personal

        information to perform their duties. Id. ¶¶ 64, 65, 89, 113–16. The plaintiffs allege that the

        “continued and ongoing disclosure of their records to DOGE affiliates constitutes a violation of

        the Privacy Act, for which no exception applies.” Id. ¶ 87. The purportedly unlawful disclosures

        to DOGE affiliates have caused the plaintiffs “major stress and anxiety, as they do not know who

        their data has been or will be shared with, whether these disclosures have made them vulnerable

        to further privacy breaches, and how it may be weaponized against them.” Id. ¶ 140.

               The plaintiffs assert three violations of the APA. First, the agencies’ actions violate the

        Privacy Act. Id. ¶¶ 145–51. Second, the agencies acted arbitrarily and capriciously when they

        failed to consider the requirements of the Privacy Act and failed to engage in reasoned decision-

        making when they granted DOGE affiliates sweeping access to their systems of records containing

        sensitive and personal data. Id. ¶¶ 152–56. Finally, the agencies violated their non-discretionary

        duties to protect records from unauthorized disclosure. Id. ¶¶ 157–59.




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        II.     Discussion

                A. Jurisdiction

                Before the Court considers the TRO motion, the Court must assure itself that the plaintiffs

        have standing and that it may review the agency actions.

                    1. Standing

                Article III of the Constitution extends the “judicial Power” of the federal courts only to

        “Cases” or “Controversies.” U.S. Const. art. III, § 2, cl. 1; see TransUnion LLC v. Ramirez, 594

        U.S. 413, 423 (2021). There is a case or controversy only if the plaintiff has standing to assert their

        claim. TransUnion, 594 U.S. at 423. To establish standing, a plaintiff must show “(1) that he

        suffered an injury in fact that is concrete, particularized, and actual or imminent; (2) that the injury

        is fairly traceable to the challenged action of the defendant; and (3) that the injury would likely be

        redressed by judicial relief.” Fernandez v. RentGrow, Inc., 116 F.4th 288, 294 (4th Cir. 2024)

        (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). “An organization . . . can assert

        standing either in its own right or as a representative of its members.” S. Walk at Broadlands

        Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 182 (4th Cir. 2013).

                Here, the organizational plaintiffs assert standing as representatives of their members. See

        ECF 14-9, ¶¶ 6–11; ECF 14-10, ¶¶ 10–15; ECF 14-11, ¶¶ 5–10; ECF 14-12, ¶¶ 8–13. An

        organization pleads “representational standing” by “alleg[ing] that ‘(1) its own members would

        have standing to sue in their own right; (2) the interests the organization seeks to protect are

        germane to the organization’s purpose; and (3) neither the claim nor the relief sought requires the

        participation of individual members in the lawsuit.’” S. Walk at Broadlands, 713 F.3d at 184

        (quoting Md. Highways Contractors Ass’n, Inc. v. Maryland, 933 F.2d 1246, 1251 (4th Cir. 1991)).




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               The individual plaintiffs and the members of the organizational plaintiffs allege their injury

        is the unauthorized access to their sensitive personal information. 3 The plaintiffs assert that

        granting DOGE affiliates access to their sensitive personal information invades their privacy and

        increases their risk of identity theft. The government argues that the plaintiffs have not alleged an

        injury in fact because their personal information has not been publicly disclosed and, without

        public disclosure, an alleged violation of the Privacy Act does not satisfy the injury-in-fact

        requirement. 4 The Court finds that the plaintiffs have alleged an injury in fact. 5

               In TransUnion LLC v. Ramirez, the Supreme Court explained “[w]hat makes a harm

        concrete for purposes of Article III.” 594 U.S.at 424. To determine whether the concrete-harm

        requirement has been met, “courts should assess whether the alleged injury to the plaintiff has a

        ‘close relationship’ to a harm ‘traditionally’ recognized as providing a basis for a lawsuit in

        American courts.” Id. (quoting Spokeo v. Robins, 578 U.S. 330, 341 (2016)). “That inquiry asks

        whether plaintiffs have identified a close historical or common-law analogue for their asserted

        injury.” Id. The inquiry “does not require an exact duplicate in American history and tradition.”

        Id. Traditional tangible harms include physical and monetary harms. Id. at 425. Intangible harms

        also can be concrete. Id. They include injuries such as “reputational harms, disclosure of private

        information, and intrusion upon seclusion.” Id.; accord Krakauer v. Dish Network, L.L.C., 925




        3
          For convenience, and in consideration of the organizational plaintiffs’ role as representatives of
        their members, the Court uses “plaintiffs” to refer to the individual plaintiffs and the members of
        the organizational plaintiffs.
        4
         The government does not argue that the organizational plaintiffs cannot meet the second and third
        requirements for organizational standing. See ECF 27, at 16–17.
        5
          The Court “assumes the merits of a dispute will be resolved in favor of the party invoking our
        jurisdiction in assessing standing.” See Equity In Athletics, Inc. v. Dep’t of Educ., 639 F.3d 91, 99
        (4th Cir. 2011).


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        F.3d 643, 653 (4th Cir. 2019) (“Intrusions upon personal privacy were recognized in tort law and

        redressable through private litigation.”).

                In the wake of TransUnion, the Fourth Circuit affirmed that invasion of privacy constitutes

        a cognizable injury for Article III standing. In Garey v. James S. Farrin, P.C., the plaintiffs alleged

        violations of the Driver’s Privacy Protection Act (“DPPA”) after lawyers obtained car accident

        reports from state law enforcement and private data brokers and mailed unsolicited attorney

        advertisements to drivers involved in crashes. 35 F.4th 917, 920 (4th Cir. 2022). The DPPA

        provides a cause of action against “[a] person who knowingly obtains, discloses or uses personal

        information, from a motor vehicle record.” Id. (quoting 18 U.S.C. § 2724(a)). The plaintiffs alleged

        that they “sustained actual damages by having [their] privacy invaded by Defendants’ knowingly

        obtaining [their] name[s] and address[es] from motor vehicle record[s] for an impermissible

        purpose in violation of law.” Id. (quoting second am. compl.). These allegations of merely

        obtaining names and addresses satisfied the injury-in-fact requirement because “injuries to

        personal privacy have long been ‘recognized in tort law and redressable through private

        litigation.’” See id. at 921–22 (quoting Krakauer, 925 F.3d at 653). By pleading a violation of a

        statute “aimed squarely at ‘the right of the plaintiff . . . to be let alone,’” the plaintiffs had “alleged

        a legally cognizable injury.” See id. (cleaned up) (quoting William L. Prosser, Privacy, 48 Calif.

        L. Rev. 383, 389 (1960)); see also Restatement (Second) of Torts § 652A (“One who invades the

        right of privacy of another is subject to liability for the resulting harm to the interests of the other.”).

                The plaintiffs allege that they are experiencing an ongoing invasion of privacy. This alleged

        harm resembles the common law tort of intrusion upon seclusion, a type of invasion of privacy.

        “The right of privacy is invaded by,” among other things, “unreasonable intrusion upon the

        seclusion of another.” Restatement (Second) Torts § 652A. The Second Restatement of Torts




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        defines “intrusion upon seclusion” as follows: “intentional[] intru[sion], physically or otherwise,

        upon the solitude or seclusion of another or his private affairs or concerns, . . . if the intrusion

        would be highly offensive to a reasonable person.” Id. § 652B; see Krakauer, 925 F.3d at 653

        (quoting § 652B).

                The plaintiffs allege that Education and OPM have granted DOGE affiliates unauthorized

        access to their sensitive personal information. The information includes bank account numbers;

        Social Security numbers; dates of birth; physical and email addresses; disability status; income

        and asset information; marital status; demographic information; employment records such as

        performance appraisals and personnel actions; and information about family members, such as

        their financial status, dates of birth, and addresses. The DOGE affiliates who have been granted

        unauthorized access to the plaintiffs’ records at OPM and Education could use the information

        available to them to create a comprehensive picture of the plaintiffs’ familial, professional, or

        financial affairs. See Dep’t of Just. v. Reporters Comm. for Freedom of Press, 489 U.S. 749, 764

        (1989) (recognizing “the distinction, in terms of personal privacy, between scattered disclosure of

        the bits of information contained in a rap sheet and revelation of the rap sheet as a whole”). The

        unauthorized disclosure of this massive amount of personal information can be considered an

        “unwanted intrusion into the home that marks intrusion upon seclusion.” See O’Leary v.

        TrustedID, Inc., 60 F.4th 240, 246 (4th Cir. 2023). The plaintiffs have alleged a harm similar to an

        “intru[sion] . . . upon the solitude or seclusion of another or his private affairs or concerns” that is

        “highly offensive to a reasonable person.” Restatement (Second) Torts § 652B. Thus, the plaintiffs

        have alleged an injury in fact.

                The government argues that the plaintiffs are not experiencing an injury akin to intrusion

        upon seclusion because access to their personal information has been granted only to other




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        government employees, not to the public. But the tort does not require public disclosure of personal

        information. Intrusion upon seclusion, unlike the tort of public disclosure of private information,

        “does not depend upon any publicity given to the person whose interest is invaded or to his affairs.”

        Restatement (Second) Torts, § 652B, cmt. a. The disclosure to unauthorized government

        employees suffices. Indeed, Congress passed the Privacy Act “in light of the government’s

        ‘increasing use of computers and sophisticated information technology,’ which ‘greatly magnified

        the harm to individual privacy that can occur from any collection, maintenance, use, or

        dissemination of personal information.’” Tankersley v. Almand, 837 F.3d 390, 395 (4th Cir. 2016)

        (quoting the Privacy Act of 1974, Pub. L. No. 93-579, § 2(a)(2), 88 Stat. 1896). The Act was meant

        “to protect the privacy of individuals identified in information systems maintained by Federal

        agencies” by “regulat[ing] the collection, maintenance, use, and dissemination of information by

        such agencies.” Doe v. Chao (“Chao I”), 540 U.S. 614, 618 (2004) (quoting Pub. L. No. 93-579,

        § 2(a)(5), 88 Stat. 1896). The Privacy Act’s purposes included “prevent[ing] the kind of illegal,

        unwise, overbroad, investigation and record surveillance of law abiding citizens produced in recent

        years from actions of some overzealous investigators, and the curiosity of some government

        administrators, or the wrongful disclosure and use, in some cases, of personal files held by Federal

        agencies.” Doe v.DiGenova, 779 F.2d 74, 84 (D.C. Cir. 1985) (quoting S. Rep. No. 1183, 93d

        Cong., 2d Sess. 1 (1974)). The legislative history of the law’s enactment reveals Congress’s

        concerns that “every detail of our personal lives can be assembled instantly for use by a single

        bureaucrat or institution” and that “a bureaucrat in Washington or Chicago or Los Angeles can use

        his organization’s computer facilities to assemble a complete dossier of all known information

        about an individual.” See Danielle Keats Citron, A More Perfect Privacy, 104 B.U. L. Rev. 1073,




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        1078 (2024) (first quoting 120 Cong. Rec. 36,917 (1974) (statement of Sen. Goldwater); and then

        quoting 120 Cong. Rec. 36,917 (statement of Sen. Percy)).

               The plaintiffs have a privacy interest in restricting access to their personal information to

        government employees properly authorized to access it. Cf. Krakauer, 925 F.3d at 653 (finding a

        cognizable injury for violation of a privacy statute after “[l]ooking both to Congress’s judgment

        and historical practice” to recognize that “[i]n enacting § 227(c)(5) of the [Telephone Consumer

        Protection Act], Congress responded to the harms of actual people by creating a cause of action

        that protects their particular and concrete privacy interests”). Education and OPM possess a

        significant amount of detailed information about the plaintiffs’ lives. To say that the plaintiffs

        suffer no cognizable injury when their personal information is improperly disclosed to government

        employees would nullify their interest in preventing unlawful government intrusion into their

        private affairs. The unauthorized disclosure of the plaintiffs’ sensitive personal information is an

        injury in fact. See Parks v. U.S. IRS, 618 F.2d 677, 683 (10th Cir. 1980) (finding plaintiffs had

        standing to bring a Privacy Act action for intra-agency disclosure because “[t]he plaintiffs are the

        objects or the subjects of the disclosure and the allegation is that they suffered a personal

        invasion”). The plaintiffs adequately allege standing to pursue their APA claims against the

        government. 6




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          The plaintiffs argue they have suffered another injury in fact: the risk of identity theft. To
        establish standing based on the risk of identity theft, the plaintiffs must show that “their contention
        of an enhanced risk of future identity theft” is more than “speculative.” See Beck v. McDonald,
        848 F.3d 262, 274 (4th Cir. 2017). Because the Court finds that the unauthorized disclosure of
        sensitive personal information is a concrete injury, it need not decide whether the risk of identity
        theft also is a concrete injury.



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                   2. Judicial Reviewability

               The APA allows for judicial review of “final agency action for which there is no other

        adequate remedy in a court.” 5 U.S.C. § 704. The government argues there is no final agency action

        and that the plaintiffs have an adequate remedy under the Privacy Act.

                       a. Final Agency Action

               Agency action is “final” when two conditions are met: (1) “the action must mark the

        ‘consummation’ of the agency’s decisionmaking process—it must not be of a merely tentative or

        interlocutory nature,” and (2) “the action must be one by which ‘rights or obligations have been

        determined,’ or from which ‘legal consequences will flow.’” Bennett v. Spear, 520 U.S. 154, 177–

        78 (1997) (quoting Chicago & S. Air Lines, Inc. v. Waterman S.S. Corp., 333 U.S. 103, 113 (1948);

        and then quoting Port of Boston Marine Terminal Ass’n v. Rederiaktiebolaget Transatl., 400 U.S.

        62, 71 (1970)); see Biden v. Texas, 597 U.S. 785, 808 (2022) (quoting Bennett, 520 U.S. at 178).

               In Venetian Casino Resort, L.L.C. v. EEOC, the D.C. Circuit concluded that an agency’s

        decision to permit its employees to disclose confidential information without notice was a final

        agency action. 530 F.3d 925, 930–31 (D.C. Cir. 2008). There, a company operating a hotel and

        casino (“Venetian”) filed suit against the EEOC. Id. at 930–31. Venetian asserted the EEOC

        violated the APA through a policy that allowed EEOC “employees to disclose an employer’s

        confidential information to potential . . . plaintiffs without first notifying the employer that its

        information [would] be disclosed.” Id. The EEOC argued that Venetian could not bring an APA

        claim because the challenged policy appeared in its compliance manual, which was not a final

        agency action. Id. at 931. According to the D.C. Circuit, EEOC’s “argument [was] misdirected”

        because the final agency action at issue was not the manual but rather “the decision of the

        Commission to adopt a policy of disclosing confidential information without notice.” Id. The court




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        determined that “the agency took final action by adopting the policy” and that action was subject

        to judicial review. Id. Ultimately, the Venetian Court found that “[a]dopting a policy of permitting

        employees to disclose confidential information without notice is surely a ‘consummation of the

        agency’s decisionmaking process’” and ‘one by which [the submitter’s] rights [and the agency’s]

        obligations have been determined.’” Id. at 931 (quoting Bennett, 520 U.S. at 178). The D.C. Circuit

        remanded the case for entry of “an injunction prohibiting the [EEOC] from disclosing Venetian’s

        confidential information pursuant to its current disclosure policy.” Id. at 927.

               Here, as in Venetian, the decisions to grant DOGE affiliates access to agency record

        systems were final agency actions. Education and OPM granted DOGE affiliates access to systems

        that contain records with the plaintiffs’ PII. See ECF 27-5, ¶¶ 8–9 (A. Ramada Decl.); ECF 27-6,

        ¶ 7 (A. Ramada Supp. Decl.); ECF 27-7, ¶¶ 4, 6–9 (T. Flagg Decl.); ECF 27-8, ¶¶ 10–12 (G. Hogan

        Decl.); ECF 33-1, ¶¶ 11–13 (G. Hogan Supp. Decl.). The decision to grant access was neither

        tentative nor interlocutory in nature. It was “the ‘consummation of the agenc[ies’] decisionmaking

        process.” See Bennett, 520 U.S. at 177–78 (quoting Chicago & S. Air Lines, 333 U.S. at 113).

        There was nothing further for the agencies to do to formalize the decisions. No written decision

        was required to finalize the actions. See Bhd. of Locomotive Eng’rs & Trainmen v. Fed. R.R.

        Admin., 972 F.3d 83, 100 (D.C. Cir. 2020) (“[T]he absence of a written memorialization by the

        agency does not defeat finality. . . . Agency action generally need not be committed to writing to

        be final and judicially reviewable.” (citing Venetian, 530 F.3d at 930–31)); Garcia v. Unknown

        Parties, No. 23-468-TUC-CKJ, 2024 WL 1619370, at *6 (D. Ariz. Apr. 15, 2024) (noting “district

        courts have recognized that a final and judicially reviewable agency action need not be in writing”)

        (collecting cases). And, while the agencies have the authority to revoke or restrict the access, that

        authority does not make their decisions tentative. The agencies decided that DOGE affiliates could




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        access their record systems, and DOGE affiliates did so. The agency actions marked the

        consummation of their decisionmaking process.

               And here, as in Venetian, Education and OPM “[a]dopt[ed] a policy of permitting . . .

        disclos[ure]” that determines the plaintiffs’ legal rights and the agencies’ legal obligations. See

        Venetian, 530 F.3d at 931. The Privacy Act prohibits disclosure of the records at issue “except

        pursuant to a written request by, or with the prior written consent of, the individual to whom the

        record pertains,” unless the disclosure falls within an enumerated exception. See 5 U.S.C. §

        552a(b). The agencies have determined that, to comply with the Privacy Act, they do not need the

        plaintiffs’ written authorization to disclose their records to DOGE affiliates. Thus, OPM and

        Education made determinations about the plaintiffs’ rights to protect their personal information

        and the agencies’ legal obligations under the Privacy Act.

               The agency decisions to grant DOGE affiliates access to the plaintiffs’ personal

        information are final agency actions.

                       b. No Adequate Remedy

               The government argues that the plaintiffs cannot seek relief under the APA because they

        have an adequate remedy available under the Privacy Act. They do not. The Privacy Act provides

        a cause of action for damages when an agency improperly discloses records; it does not provide a

        cause of action for injunctive relief in these circumstances. See Doe v. Chao (“Chao II”), 435 F.3d

        492, 504 (4th Cir. 2006). Thus, the plaintiffs do not have an available remedy under the Privacy

        Act. Instead, they can only bring an action under the APA for injunctive relief. See id. at 504–05

        & n.17 (recognizing that while injunctive relief is not authorized by the Privacy Act for

        unauthorized disclosure of records, “we do not read these cases to stand for the proposition that

        the Government may not be enjoined from violating the Privacy Act by disclosing personal




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        records,” and “injunctive relief for a Government’s violation of the Act will instead be appropriate

        and authorized by the APA,” which “empower[s] courts to ‘hold unlawful and set aside agency

        action . . . found to be . . . not in accordance with the law’”) (quoting 5 U.S.C. § 706(2)); see also

        Radack v. U.S. Dep’t of Just., 402 F. Supp. 2d 99, 104 (D.D.C. 2005) (“Because Radack seeks

        declaratory and injunctive relief in addition to damages, the Privacy Act does not provide an

        ‘adequate remedy.’”); cf. Doe v. Stephens, 851 F.2d 1457, 1466 (D.C. Cir. 1988) (noting case

        involving unauthorized disclosure claims under the Veterans’ Records Statute, which incorporates

        the Privacy Act, “clearly is a case of agency action ‘not in accordance with law’” (quoting 5 U.S.C.

        § 706(2))).

               The plaintiffs challenge a “final agency action for which there is no other adequate remedy

        in a court.” See 5 U.S.C. § 704. Therefore, the APA allows for judicial review of their claims.

               B. Temporary Restraining Order

               “The standard for a temporary restraining order is the same as a preliminary injunction.”

        Maages Auditorium v. Prince George’s County, 4 F. Supp. 3d 752, 760 n.1 (D. Md. 2014), aff’d,

        681 F. App’x 256 (4th Cir. 2017). The party seeking the temporary restraining order must establish

        (1) that they are likely to succeed on the merits; (2) that they are likely to suffer irreparable harm

        if preliminary relief is not granted; (3) that the balance of equities favors them; and (4) that an

        injunction is in the public interest. See Frazier v. Prince George’s County, 86 F.4th 537, 543 (4th

        Cir. 2023) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).

                      1. Likelihood of Success on the Merits

               The plaintiffs have shown a likelihood of success on the merits of their APA claim that

        Education and OPM took final agency actions “not in accordance with law.” 5 U.S.C. § 706(2)(A).




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        Specifically, the plaintiffs have shown that Education and OPM likely violated the Privacy Act by

        disclosing their personal information to DOGE affiliates without their consent. 7

               The Privacy Act prohibits agencies from “disclos[ing] any record which is contained in a

        system of records by any means of communication to any person, or to another agency, except

        pursuant to a written request by, or with the prior written consent of, the individual to whom the

        record pertains.” 5 U.S.C. § 552a(b). The Privacy Act defines a “record” as “any item, collection,

        or grouping of information about an individual that is maintained by an agency, including but not

        limited to, his education, financial transactions, medical history, and criminal or employment

        history and that contains his name, or the identifying number, symbol, or other identifying

        particular assigned to the individual, such as a finger or voice print or a photograph.” Id.




        7
          The plaintiffs also have shown that they likely have standing. They “must support each element
        of standing ‘with the manner and degree of evidence required at the successive stages of the
        litigation.’” Murthy v. Missouri, 603 U.S. 43, 58 (2024) (quoting Lujan, 504 U.S. at 561). At this
        stage, they “must make a ‘clear showing’ that [they are] ‘likely’ to establish each element of
        standing.” Id. (quoting Winter, 555 U.S. at 22). The plaintiffs have shown that records stored with
        OPM and Education contain their sensitive personal information. See ECF 14-3, ¶¶ 7–10 (J. Cain
        Decl.), ¶¶ 7–10; ECF 14-5, ¶¶ 6–9 (K. Goldsmith Decl.); ECF 14-7, ¶¶ 5–10 (D. Martinez Decl.);
        ECF 14-8, ¶¶ 6–9 (C. Purdy Decl.); ECF 14-9, ¶¶ 6–11 (S. Tammello Decl.); ECF 14–10, ¶¶ 10–
        14 (B. Bryant Decl.); ECF 14-11, ¶¶ 5–9 (W. Shackelford Decl.); ECF 14-12, ¶¶ 8–13 (M. Biggs
        Decl.). And they also have shown a likelihood that the government improperly granted DOGE
        affiliates access to the systems that house these records. In consequence, they have made a clear
        showing that they likely have suffered a concrete harm and that they likely have standing.


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        § 552a(a)(4). The plaintiffs did not request or consent to disclosure of their records to DOGE

        affiliates. 8

                 There are several exceptions to the Act’s bar on disclosure. See id. § 552a(b)(1)–(13). Of

        relevance here is the so-called “need-to-know” exception. Under that exception, disclosure of

        records is permitted “to those officers and employees of the agency which maintains the record

        who have a need for the record in the performance of their duties.” Id. § 552a(b)(1). To fall within

        this exception, the disclosure must be within the agency that maintains the record, see In re Sealed

        Case, 551 F.3d 1047, 1051 (D.C. Cir. 2009), and the recipient must “examine[] the record in

        connection with the performance of duties assigned to him . . . in order to perform those duties

        properly,” Bigelow v. Dep’t of Def., 217 F.3d 875, 877 (D.C. Cir. 2000).

                 The government insists, and the Court assumes for purposes of the TRO motion, that the

        DOGE affiliates are employees of Education and OPM and that the disclosure of the plaintiffs’




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          The Privacy Act does not define “disclosure,” but agencies have interpreted the term to include
        granting access to records. See OMB Guidelines, 40 Fed. Reg. 28948, 28953 (July 9, 1975) (“A
        disclosure may be either the transfer of a record or the granting of access to a record.”); 5 C.F.R.
        § 297.102 (“Disclosure means providing personal review of a record, or a copy thereof, to someone
        other than the data subject or the data subject’s authorized representative, parent, or legal
        guardian[.]”). Likewise, courts have construed the term “liberally to include not only the physical
        disclosure of the records, but also the accessing of private records.” See Wilkerson v. Shinseki, 606
        F.3d 1256, 1268 (10th Cir. 2010); Tolbert-Smith v. Chu, 714 F. Supp. 2d 37, 43 (D.D.C. 2010)
        (reading “disclosure” to include “plac[ing] records . . . on a server accessible by other federal
        employees and members of the public”); cf. Wilborn v. Dep’t of Health & Human Servs., 49 F.3d
        597, 600–01 (9th Cir. 1995) (“[T]he Privacy Act, if it is to be given any force and effect, must be
        interpreted in a way that does not ‘go[] against the spirit’ of the Act” (quoting MacPherson v. IRS,
        803 F.2d 479, 481 (9th Cir. 1986)), abrogated on other grounds by Chao I, 540 U.S. 614. Even
        courts that have required more than mere transmission of records have suggested that disclosure
        occurs when “information has been exposed in a way that would facilitate easy, imminent access.”
        See In re Sci. Applications Int’l Corp. (SAIC) Backup Tape Data Theft Litig., 45 F. Supp. 3d 14,
        29 (D.D.C. 2014).


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        records is within the agency that maintains the records. The question, then, is whether the DOGE

        affiliates “have a need for the record in the performance of their duties.” 5 U.S.C. § 552a(b)(1). 9

                         a. Education

                 Currently, there are six DOGE affiliates working at Education: Adam Ramada and five

        others who have not been identified by name.

                 Ramada is a USDS employee detailed to Education. He and the five “DOGE-affiliated

        individuals” who work with him at Education “play the principal role in helping to advance the

        mission of President Trump’s Executive Order 14,158.” ECF 27-6, ¶¶ 2, 7. Ramada’s duties

        include “assist[ing] the Department of Education with auditing contract, grant, and related

        programs for waste, fraud, and abuse, including an audit of the Department of Education’s federal

        student loan portfolio to ensure it is free from, among other things, fraud, duplication, and

        ineligible loan recipients.” ECF 27-5, ¶ 4. DOGE affiliates at Education “help senior Department

        leadership obtain access to accurate data and data analytics to inform their policy decisions at the

        Department.” ECF 27-6, ¶ 5. Ramada and the five other DOGE affiliates have “primarily worked




        9
            The government’s explanation of the DOGE affiliates’ need for the records is:

                 [T]hose employees have a “need to know” under the statute. Executive Order
                 14,158 provides that these individuals have a need to know “all unclassified agency
                 records, software systems, and IT systems” to perform their duties. 90 Fed. Reg.
                 8441, § 4 (emphasis added). Indeed . . . the OPM personnel need to access such
                 records to execute their direction to implement workplace reform, Hogan Decl.
                 ¶¶ 6, 8, and the Department of Education personnel need to access such records in
                 order to audit student loan programs for waste, fraud, and abuse, Ramada Decl. ¶ 9.
                 Cf. Feb. 14, 2025 Order, Am. Fed. of Labor of Indus. Orgs. v. Dep’t of Labor, No.
                 1:25-cv-339, at 3-4, 8 (D.D.C. Feb. 14, 2025) (Bates, J.).

        ECF 27, at 26–27; see also id. at 23 (“What is more, they need access to large datasets (including
        material that may be covered by the Privacy Act) to carry out their Presidentially-directed
        functions.”).


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        to identify contracts and grants that are wasteful, abusive, or inconsistent with leadership’s policy

        priorities.” Id. ¶ 8.

                Ramada and his DOGE colleagues “have been granted access to Department information

        technology and data systems.” Id. ¶¶ 2, 7. These systems of records contain many of the plaintiffs’

        PII, including marital status, income and asset information, Social Security numbers, taxpayer

        identification numbers, dates of birth, demographic information (such as citizenship status), and

        some similar information about family members. See, e.g., 87 Fed. Reg. 57,873, 57,878 (2022)

        (listing categories of records in NSLDS). The government says DOGE affiliates at Education need

        access to all this information “in order to audit student loan programs for waste, fraud, and abuse.”

        ECF 27, at 26 (citing ECF 27-5, ¶ 9 (same)). Ramada states that DOGE affiliates will access tax-

        related information in Education’s systems of record in the future “with appropriate authorization

        and for purposes consistent with applicable law, such as conducting analyses to estimate costs

        related to student loan repayment plans, awards, or debt discharges.” ECF 27-5, ¶ 11. But neither

        Ramada nor the government explain why he and the DOGE affiliates at Education need such

        comprehensive, sweeping access to the plaintiffs’ records to audit student loan programs for waste,

        fraud, and abuse or to conduct cost-estimate analyses. 10

                There appears to be no precedent with similar facts. In other Privacy Act cases where the

        need-to-know exception is invoked, the dispute typically involves the alleged unauthorized

        disclosure of one record. This case involves the alleged unauthorized disclosure of millions of

        records. Even under existing precedent, this appears to be unlawful. “[P]ermitting agency-wide



        10
          Notably, for at least one of the Education systems of record, most PII can be masked with
        “dummy” data. See Dep’t of Educ., Privacy Impact Assessment for the Financial Management
        System (FMS) 21 (May 29, 2024), https://www.ed.gov/sites/ed/files/notices/pia/fsa-financ-manag-
        syst.pdf.



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        distribution under § 552a(b)(1) without any showing of why each employee needed to receive the

        information would allow the exception to swallow the rule.” Dick v. Holder, 67 F. Supp. 3d 167,

        178 (D.D.C. 2014); see also Walker v. Gambrell, 647 F. Supp. 2d 529, 538 n.4 (D. Md. 2009)

        (disclosure of an employee’s miscarriage did not fall within the need-to-know exception because

        “it is difficult to see how knowledge with such specificity was necessary”). At this stage, the record

        does not indicate that DOGE affiliates at Education need access to the plaintiffs’ PII to perform

        their jobs. 11

                It may be that, with additional time, the government can explain why granting such broad

        access to the plaintiffs’ personal information is necessary for DOGE affiliates at Education to do

        their jobs, but for now, the record before the Court indicates they do not have a need for these

        records in the performance of their duties. Compare Parks, 618 F.2d at 681 (rejecting argument

        that employee needed to know protected information to fulfill duties pursuant to President Nixon’s

        executive order creating committee of agency heads to promote savings bond program because the

        executive “order, which was at odds with the stated legislative purpose of the Privacy Act, d[id]

        not license the defendants to violate the Privacy Act”), with Pippinger v. Rubin, 129 F.3d 519, 530

        (10th Cir. 1997) (concluding staff members needed to know Pippinger’s identity to “decide

        whether and how to discipline Pippinger” and “knowledge of Pippinger’s identity allowed . . . staff


        11
          Courts have found the need-to-know exception applies when there is an explanation for why the
        employee needed access to the protected information to perform their job duties. See, e.g., Howard
        v. Marsh, 785 F.2d 645, 648 (8th Cir. 1986) (attorney and personnel specialist gathering
        information about a discrimination complaint against the agency needed complainant’s
        employment records to respond to the complaint); Covert v. Harrington, 876 F.2d 751, 752–54
        (9th Cir. 1989) (Inspector General’s agents needed employees’ personnel security files after
        receiving allegations that they were falsifying their permanent residences to obtain a per diem);
        Dinh Tran v. Dep’t of Treasury, 351 F. Supp. 3d 130, 137–39 (D.D.C. 2019), aff’d per curiam,
        798 F. App’x 649 (D.C. Cir. 2020) (employees evaluating a detail request needed to know
        information in the requestor’s performance appraisal to evaluate her skillset and suitability for the
        detail).



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        members to put the investigation in context, and might potentially have enabled them to connect

        the information about Pippinger’s alleged misconduct with other data already know[n] to them”),

        and Bigelow, 217 F.3d at 877 (finding Department of Defense employee’s immediate supervisor

        “had a need to examine [his subordinate’s personnel file] in view of the doubts that had been raised

        in his mind about” his subordinate’s “access to the country’s top secrets”). 12

               The plaintiffs have shown a likelihood of success on the merits of their claim that

        Education’s disclosure of their records to DOGE affiliates does not fall within the need-to-know

        exception and thus violates the Privacy Act.

                       b. OPM

               At OPM, the DOGE affiliates outnumber their counterparts at Education. OPM DOGE

        affiliates include Greg Hogan, the CIO, and numerous OPM employees who have been granted

        access to OPM’s systems of records to “contribute[] to facilitating the President’s initiatives related

        to workplace reform, including the deferred resignation program that closed on February 12.” ECF

        33-1, ¶¶ 6, 8, 13–14; ECF 27, at 10.

               Hogan’s duties are defined by statute. See 40 U.S.C § 11315. The CIO of an executive

        agency, including OPM, is generally responsible for, among other things, “developing,

        maintaining, and facilitating the implementation of a sound, secure, and integrated information

        technology architecture for the executive agency” and “promoting the effective and efficient

        design and operation of all major information resources management processes for the executive

        agency, including improvements to work processes of the executive agency.” See id.

        § 11315(b)(2)–(3). This statute also dictates that the CIO’s “primary duty” is “information


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          At argument, the Court asked government counsel whether any of the systems of records allow
        for the redaction of PII or whether any of the DOGE affiliates at the agencies were viewing
        redacted records. Counsel did not know.



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        resources management”; that the CIO “monitors the performance of information technology

        programs of the agency, evaluates the performance of those programs on the basis of the applicable

        performance measurements, and advises the head of the agency regarding whether to continue,

        modify, or terminate a program or project”; and that the CIO “assesses the requirements

        established for agency personnel regarding knowledge and skill in information resources

        management and the adequacy of those requirements for facilitating the achievement of the

        performance goals established for information resources management.” Id. § 11315(c); see also

        id. (specifying that the duties defined in 5 U.S.C. § 11315(c) apply to agencies listed in 31 U.S.C.

        § 901(b)); 31 U.S.C. § 901(b)(2)(E) (listing OPM).

               In his declarations, Hogan cites to his statutory duties and his responsibilities to develop

        and maintain OPM’s information technology and information resource infrastructure, to advise

        agency leadership on the management and acquisition of information technology resources, and to

        strategically plan information resources management. See ECF 27-8, ¶ 3; ECF 33-1, ¶ 3. Hogan

        has access to OPM’s systems of records, including eOPF and EHRI. See ECF 27, at 10–11. These

        systems house records with many of the plaintiffs’ PII, such as Social Security numbers, dates of

        birth, health and life insurance policy numbers, security clearances, civil and criminal histories,

        education records, employment histories, and notices of personnel actions. See eOPF Privacy

        Impact Assessment 5–6.

               Hogan’s duties as CIO appear to support the level of access he has been granted to OPM’s

        records. In fact, the CIO is listed as the eOPF “system owner.” See id. at 3. On the current record,

        Hogan’s broad access to OPM’s records appears to be “in connection with the performance of

        duties assigned to him” and necessary “in order to perform those duties properly.” See Bigelow,

        217 F.3d at 877.




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                Other DOGE affiliates at OPM are not similarly situated. The duties of the numerous other

        OPM employees who “have contributed to facilitating the President’s initiatives related to

        workforce reform” are unclear from the current record. See ECF 27-8, ¶ 8. The government says

        their duties are to implement the Workforce Executive Order. At the February 19 hearing, the

        government directed the Court to the Workforce Executive Order’s purpose of “restor[ing]

        accountability,” “eliminating waste, bloat, and insularity” in the “Federal bureaucracy,” and

        creating a plan “to reduce the size of the Federal Government’s workforce through efficiency

        improvements and attrition”; the Order’s instructions for agencies to develop “a data-driven plan,

        in consultation with its DOGE Team Lead, to ensure new career appointment hires are in highest-

        need areas” and to consult with DOGE team leads when filing vacancies and making new

        appointment hiring decisions; its requirement for DOGE team leads to prepare monthly agency

        hiring reports; the initiation of “large-scale reductions in force”; its requirement that OPM initiate

        rulemaking to revise 5 C.F.R. § 731.202(b) to include new suitability criteria; and its charge for

        agency heads to identify “statutorily required entities” within their respective agencies. See id. §§

        1, 3.

                None of these workplace reform measures appears to require an OPM employee to access

        records with the sensitive personal information of current and formal federal employees. Yet some

        OPM personnel who are implementing the directives in the Workforce Executive Order apparently

        have access to “sensitive OPM records systems” that contain this information, which includes the

        PII of some plaintiffs. See ECF 33-1, ¶ 12. ECF 27, at 10; ECF 27-8, ¶¶ 6, 8, 12. The government

        never explains why OPM personnel need access to these sensitive records to implement the

        workplace reform measures in the Workforce Executive Order. See Walker, 647 F. Supp. 2d at

        538 n.4 (“Defendant has failed to describe how knowledge of such information would affect the




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        ability of any of these employees to perform their specific duties.”); cf. Vargas v. Reno, No. 99-

        2725, slip op. at 13 (W.D. Tenn. Mar. 31, 2000) (denying government’s summary judgment motion

        on Privacy Act claim of unlawful intra-agency disclosure to an agency investigator where

        “[d]efendants ha[d] not submitted evidence that Vargas had potentially violated any law or

        regulation or that Vargas’s records were relevant or necessary to [the] investigation”).

               Hogan, OPM’s CIO, does not offer any explanation either. Hogan reports that some

        measures are in place to limit access to some OPM employees who are participating in the

        workplace reform efforts. See ECF 33-1, ¶ 10. He says that some OPM personnel “do not require

        access to sensitive OPM data systems.” Id. Hogan also indicates that certain “OPM data systems

        containing personally identifiable information . . . . require authentication for internal access.”13

        Id. ¶ 11. He says that “[s]ystems requiring authentication are designed to default to no access, and

        access is granted on a least-privilege or need-to-know basis by the System Owner and relevant

        Authorizing Official.” Id. Hogan assures that “OPM regularly reviews access permissions” for

        “systems engineers who require access to sensitive OPM data systems . . . to ensure that they are

        appropriately limited.” Id. He also says that, in early February, he directed his “team to remove

        access to eOPF and EHRI for three engineers whose job duties do not require prospective access.”

        Id. ¶ 12. And Hogan explains that five “key systems engineers” do not have “access to EHRI,

        though that could change if their duties require access in the future.” Id. ¶ 13. Although Hogan

        explains generally that access to personal information is limited at times, he does not explain why

        those OPM employees who do have access to these systems of record for the principal purpose of




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          These data systems include eOPF, EHRI, USAJOBS, USA Staffing, USA Performance, and
        Health Insurance, which houses Federal Employees Health Benefits (“FEHB”) and Postal Service
        Health Benefits (“PSHB”) data. See ECF 33-1, ¶ 11.



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        implementing the Workforce Executive Order need to access these records to perform their jobs.

        Hogan also does not identify which OPM employees working on the DOGE workplace reform

        measures have been granted access to the OPM records systems with sensitive information. And

        he does not explain the criteria for determining who needs access to this information to fulfill their

        job duties. Thus, even with Hogan’s assurances, the current record does not show that DOGE

        affiliates at OPM have a need for the plaintiffs’ PII in the performance of their duties.

               The plaintiffs have shown a likelihood of success on the merits of their claim that OPM’s

        disclosure of their records to DOGE affiliates (other than Hogan) does not fall within the need-to-

        know exception and thus violates the Privacy Act. 14

               The plaintiffs have shown a likelihood of success on the merits of their APA claim that

        Education and OPM have taken a final agency action “not in accordance with law.” 5 U.S.C.

        § 706(2)(A). 15

                   2. Irreparable Harm

                “To establish irreparable harm, the movant must make a ‘clear showing’ that it will suffer

        harm that is ‘neither remote nor speculative, but actual and imminent’” and that the harm “‘cannot


        14
           The government identified another potentially relevant Privacy Act exception that permits
        disclosure “for a routine use,” which is defined as “the use of such record for a purpose which is
        compatible with the purpose for which it was collected.” 5 U.S.C. § 552a(a)(7), (b)(3). See ECF
        27, at 27. However, the government represented to the Court at the hearing that the agencies are
        not relying on the routine use exception unless the Court determines that DOGE affiliates are not
        Education or OPM employees. Because the Court assumes (but does not decide) that the DOGE
        affiliates are employees of the agencies that disclosed the information to them, the Court need not
        address whether the “routine use” exception might apply to the inter-agency disclosure of
        information. See 5 U.S.C. § 552a(a)(7), (b)(3).
        15
           The plaintiffs have raised two other APA claims against the government: that the agencies acted
        arbitrarily and capriciously and in excess of their statutory authority. Because the Court finds that
        the plaintiffs have shown a likelihood of success on the merits of their APA claim that Education
        and OPM acted “not in accordance with law,” 5 U.S.C. § 706(2), it need not consider the plaintiffs’
        likelihood of success on the remaining APA claims.



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        be fully rectified by the final judgment after trial.’” Mountain Valley Pipeline, LLC v. 6.56 Acres

        of Land, Owned by Sandra Townes Powell, 915 F.3d 197, 216 (4th Cir. 2019) (first quoting Direx

        Israel, Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991); and then quoting

        Stuller, Inc. v. Steak N Shake Enters., 695 F.3d 676, 680 (7th Cir. 2012)).

               The plaintiffs have made a clear showing that they are likely to suffer irreparable harm

        without injunctive relief. DOGE affiliates have been granted access to systems of record that

        contain some of the plaintiffs’ most sensitive data—Social Security numbers, dates of birth, home

        addresses, income and assets, citizenship status, and disability status—and their access to this trove

        of personal information is ongoing. There is no reason to believe their access to this information

        will end anytime soon because the government believes their access is appropriate. See ECF 27-1,

        at 23 (articulating the government’s position that “[t]he Privacy Act therefore expressly allows

        disclosure of information protected under that statute in the circumstances of this case”).

               This continuing, unauthorized disclosure of the plaintiffs’ sensitive personal information

        to DOGE affiliates is irreparable harm that money damages cannot rectify. See, e.g., Norman-

        Bloodsaw v. Lawrence Berkeley Lab’y, 135 F.3d 1260, 1275 (9th Cir. 1998) (finding “the retention

        of [the plaintiff’s] undisputedly intimate medical information [without consent] . . . would

        constitute a continuing ‘irreparable injury’ for purposes of equitable relief”); Roberts v. Austin,

        632 F.2d 1202, 1213 (5th Cir. 1980) (finding irreparable harm from state agency’s unauthorized

        release of food stamp recipients’ files to state’s attorney because “the [Food Stamp] Act and

        accompanying regulations give recipients statutory protection from disclosure of confidential

        information” and “[a]s such, recipients possess a legitimate expectation that the information will

        be kept confidential”); In re Meta Pixel Healthcare Litig., 647 F. Supp. 3d 778, 802 (N.D. Cal.

        2022) (“The invasion of privacy triggered by the Pixel’s allegedly ongoing disclosure of plaintiffs’




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        medical information is precisely the kind of intangible injury that cannot be remedied by

        damages.”); Haw. Psychiatric Soc. v. Ariyoshi, 481 F. Supp. 1028, 1038 (D. Haw. 1979) (finding

        irreparable injury because “[t]he disclosure of the highly personal information contained in a

        psychiatrist’s files to government personnel is itself a harm that is both substantial and

        irreversible”).

                    3. Balance of the Equities and the Public Interest

                The balance of the equities and the public interest “merge when the Government is the

        opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). To balance the equities, the Court

        considers “the relative harms to the [plaintiffs and defendants], as well as the interests of the public

        at large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305 (1991)

        (Scalia, J., in chambers) (quoting Rostker v. Goldberg, 448 U.S. 1306, 1308 (1980) (Brennan, J.,

        in chambers)). These factors weigh in favor of a temporary restraining order.

                The plaintiffs have shown that Education and OPM likely violated the APA by granting

        DOGE affiliates sweeping access to their sensitive personal information in defiance of the Privacy

        Act. “There is generally no public interest in the perpetuation of unlawful agency action.” League

        of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). And “[t]here is a strong public interest

        in curing the effects of the government’s unlawful acts[.]” CACI, Inc. – Federal v. U.S. Navy, 674

        F. Supp. 3d 257, 279 (E.D. Va. 2023). Preventing the unauthorized disclosure of the plaintiffs’

        personal information is in the public interest.

                The government argues that preliminary injunctive relief would harm the public interest

        because it would “limit[] the President’s ability to effectuate the policy choices the American

        people elected him to pursue by limiting his advisors and other employees’ ability to access

        information necessary to inform that policy.” ECF 27, at 28. The temporary injunction in this case

        does not prevent the President from effectuating the administration’s policies. It prevents the


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        disclosure of the plaintiffs’ sensitive personal information to DOGE affiliates who, on the current

        record, do not have a need to know the information to perform their duties.

               The balance of the equities and the public interest favor temporary injunctive relief.

               The plaintiffs have established they are entitled to a temporary restraining order.

               C. Scope of the Injunction

               Injunctive relief grants “full relief needed to remedy the injury to the prevailing party,” but

        “it should not go beyond the extent of the established violation.” Hayes v. N. State Law

        Enforcement Officers Ass’n, 10 F.3d 207, 217 (4th Cir. 1993). “Whenever the extraordinary writ

        of injunction is granted, it should be tailored to restrain no more than what is reasonably required

        to accomplish its ends.” S.C. Dep’t of Wildlife & Marine Res. v. Marsh, 866 F.2d 97, 100 (4th Cir.

        1989) (quoting Consol. Coal Co. v. Disabled Miners, 442 F.2d 1261, 1267 (4th Cir. 1971)).

               For the foregoing reasons, it is hereby ORDERED, pursuant Rule 65(b) of the Federal

        Rules of Civil Procedure, at 8:00 a.m. on this 24th day of February, 2025:

               1.      The plaintiffs’ motion for a temporary restraining order, ECF 14, is GRANTED in

                       part and DENIED in part as follows:

                       a.      The U.S. Department of Education; Denise L. Carter, the Acting Secretary

                               of Education; and their officers, agents, servants, employees, and attorneys

                               are ENJOINED from disclosing the personally identifiable information of

                               the plaintiffs and the members of the plaintiff organizations to any DOGE

                               affiliates, including Adam Ramada and the five other individuals primarily

                               working on the DOGE agenda at the Department of Education, until March

                               10, 2025 at 8:00 a.m.;




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                   b.     The Office of Personnel Management; Charles Ezell, the Acting Director of

                          OPM; and their officers, agents, servants, employees, and attorneys are

                          ENJOINED from disclosing the personally identifiable information of the

                          plaintiffs and the members of the plaintiff organizations to any OPM

                          employee working principally on the DOGE agenda who has been granted

                          access to OPM records for the principal purpose of implementing the DOGE

                          agenda (other than OPM Chief Information Officer Greg Hogan), until

                          March 10, 2025 at 8:00 a.m.; and

                   c.     The plaintiffs’ motion is DENIED as to the U.S. Department of the Treasury

                          and Scott Bessent, the Secretary of the Treasury;

              2.   The plaintiffs shall post security in the amount of $10,000 by February 28, 2025;

              3.   The parties shall meet and confer to discuss a schedule for the production of the

                   administrative record, any request for limited discovery, and a briefing schedule for

                   a preliminary injunction motion and shall file a joint status report on these matters

                   by 5:00 p.m. on February 25, 2025; and

              4.   The Court will conduct a conference call to discuss the information in the joint

                   status report on February 26, 2025, at 11:00 a.m. (chambers will circulate call-in

                   information to counsel and a public access line will be posted on the Court’s

                   website).




                                                                 Deborah L. Boardman
                                                                 United States District Judge




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                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MARYLAND


        AMERICAN FEDERATION OF
        TEACHERS, et al.,

                                  Plaintiffs,
                                                                Case No. 8:25-cv-430-DLB
                          v.

        SCOTT BESSENT, et al.,

                                  Defendants.



                               NOTICE OF FILING OF ADMINISTRATIVE RECORDS

                   Defendants in the above-captioned action file this notice of the filing of the redacted

        Administrative Records of the Office of Personnel Management, the U.S. Department of the

        Treasury, and the U.S. Department of Education regarding the granting of access to systems

        maintained by the respective agencies to employees implementing Executive Order 14,158.

        Certifications of completeness of the Administrative Record of the three agencies accompany this

        filing.1


        Dated: March 7, 2025                           Respectfully submitted,

                                                           YAAKOV M. ROTH
                                                           Acting Assistant Attorney General
                                                           Civil Division, Federal Programs Branch

                                                           ELIZABETH J. SHAPIRO
                                                           Deputy Branch Director
                                                           Civil Division, Federal Programs Branch


                 Notwithstanding the Court’s order to file an administrative record in this case, Defendants
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        maintain that the Amended Complaint does not challenge any final agency action and reserve their
        right to argue in further proceedings in this case, including in any subsequent appeal, that the
        Administrative Procedure Act does not provide for review.



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                                                 Emily.Hall@usdoj.gov

                                                 /s/ Bradley P. Humphreys
                                                 BRADLEY P. HUMPHREYS
                                                 Senior Trial Counsel
                                                 Civil Division, Federal Programs Branch
                                                 United States Department of Justice
                                                 1100 L Street NW
                                                 Washington, DC 20005
                                                 Telephone: (202) 305-0878
                                                 Bradley.Humphreys@usdoj.gov

                                                 Kelly O. Hayes
                                                 Interim U.S. Attorney

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                                                 USDC Md Bar No. 23000
                                                 Assistant United States Attorney
                                                 36 S. Charles St., 4th Floor
                                                 Baltimore, Maryland 21201
                                                 Tel: (410) 209-4813
                                                 Fax: (410) 962-2310
                                                 Ariana.Arnold@usdoj.gov

                                                 Attorneys for Defendants




                                             2

                                          JA251
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                                       CERTIFICATE OF SERVICE

                I certify that on March 7, 2025, I electronically filed the foregoing and the accompanying

         attachments, and thereby caused a copy to be served on counsel of record.


                                                               /s/ Bradley P. Humphreys
                                                               BRADLEY P. HUMPHREYS




                                                   JA252
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                                     Exhibit 1




                                         JA253
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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND


        AMERICAN FEDERATION OF
        TEACHERS, et al.,

                                Plaintiffs,
                                                                Case No. 8:25-cv-430-DLB
                         v.

        SCOTT BESSENT, et al.,

                                Defendants.



                              CERTIFICATION OF ADMINISTRATIVE RECORD

                  I, Gregory J. Hogan, am currently employed as the Chief Information Officer for the Office

        of Personnel Management. I am familiar with the claims asserted against OPM in the above-

        captioned action regarding the granting of access to data systems to employees implementing

        Executive Order 14,158.

                  I hereby certify, to the best of my knowledge, that the accompanying administrative record

        is complete and contains all non-deliberative documents and materials directly or indirectly

        considered regarding the OPM actions challenged in this case.1 Among these documents and

        materials, OPM has duly evaluated all predecisional documents before excluding them from the

        record.




                 Notwithstanding the Court’s order to file an administrative record in this case, Defendants
                  1

        maintain that the Amended Complaint does not challenge any final agency action and reserve their
        right to argue in further proceedings in this case, including in any subsequent appeal, that the
        Administrative Procedure Act does not provide for review.



                                                      JA254
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               In accordance with 28 U.S.C. § 1746, I hereby certify and declare under penalty of perjury

        that the foregoing is true and correct to the best of my knowledge, information, and belief.




                                                     Gregory J. Hogan




                                                         2

                                                    JA255
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          1   Gregory Hogan SF-61                                 OPM-000001
          2   Gregory Hogan SF-50                                 OPM-000002 – OPM-000003
          3   Gregory Hogan SF-50                                 OPM-000004 – OPM-000005
          4   OPM-2 Employee SF-61                                OPM-000006
          5   OPM-2 Employee Acceptance of Uncompensated          OPM-000007
              Services
          6   OPM-2 Employee SF-50                                OPM-000008 – OPM-000009
          7   OPM-3 Employee SF-61                                OPM-000010
          8   OPM-3 Employee SF-50                                OPM-000011
          9   OPM-3 Employee Acceptance of Uncompensated          OPM-000012
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         10   OPM-3 Employee Memorandum of Understanding          OPM-000013
         11   OPM-4 Employee SF-61                                OPM-000014
         12   OPM-4 Employee Acceptance of Uncompensated          OPM-000015
              Services
         13   OPM-5 Employee SF-61                                OPM-000016
         14   OPM-5 Employee SF-50                                OPM-000017 – OPM-000018
         15   OPM-5 Employee SF-50                                OPM-000019 – OPM-000020
         16   OPM-6 Employee SF-61                                OPM-000021
         17   OPM-6 Employee SF-50                                OPM-000022
         18   Email chain, “Getting DoGE Engineers access”        OPM-000023 – OPM-000029
         19   Email chain, “Account Creation Audit”               OPM-000030 – OPM-0000052
         20   Attachment, “Internal User Access Audit”            OPM-000053 – OPM-000054
         21   Office of Personnel Management, Privacy Act of      OPM-000055 – OPM-000056
              1974; System of Records, 88 Fed. Reg. 56,058
              (Aug. 17, 2023)
         22   Office of Personnel Management, Privacy Act of      OPM-000057 – OPM-000062
              1974: Update Existing Systems of Records, 77 Fed.
              Reg. 73,694 (Dec. 11, 2012)
         23   OPM/GOVT-2, Employee Performance File System        OPM-000063 – OPM-000067
              Records
         24   Office of Personnel Management, Privacy Act of      OPM-000068 –OPM-000069
              1974; System of Records, 86 Fed. Reg. 68,291
              (Dec. 1, 2021)
         25   Office of Personnel Management, Privacy Act of      OPM-000070 – OPM-000074
              1974: Update and Amend System of Records, 79
              Fed. Reg. 16,834 (Mar. 26, 2014)




                                               JA256
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                                                     JA257                             OPM-000001
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                                                     JA258                             OPM-000002
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                                                     JA259                             OPM-000003
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                                                     JA260                             OPM-000004
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                                                     JA261                             OPM-000005
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                                         JA262                         OPM-000006
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                                                      JA265                            OPM-000009
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                                         JA266                         OPM-000010
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                                                      JA267                            OPM-000011
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                                         JA268                         OPM-000012
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                                                      JA272                            OPM-000016
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                                                      JA273                            OPM-000017
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                                                      JA274                            OPM-000018
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                                                      JA276                            OPM-000020
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                                                      JA278                            OPM-000022
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        From:             Hogan, Greg
        To:               Foster, Ozie L.; Price, MC
        Cc:               Ezell, Charles E.
        Subject:          Re: Getting DoGE Engineers access
        Date:             Sunday, February 16, 2025 6:52:09 PM



       Thank you, that was the info I was looking for.

       Greg


       From: Foster, Ozie L. <          @opm.gov>
       Sent: Sunday, February 16, 2025 6:39 PM
       To: Hogan, Greg <            @opm.gov>; Price, MC <               @opm.gov>
       Cc: Ezell, Charles E. <         @opm.gov>
       Subject: Re: Getting DoGE Engineers access

       You’re welcome, Greg. Your account was never created. If you do need an account we can get
       you setup Tuesday AM.

       The only 3 accounts created were for OPM-4 , OPM-2 , and OPM-6 for eOPF and EHRI.

       Danielle’s file below was updated with user names, system names and dates. You will see
       where their accounts were added and removed + many other updates associated with OPM
       Data systems.

           Account Creation Audit.xlsx


       Thank you,

       Ozie Foster
       Supervisory IT Specialist
       U.S. Office of Personnel Management
       OCIO, Federal Information Technology Business Solutions
       (478) 213-
                   @opm.gov
       OPM.gov

       Follow us on LinkedIn | Twitter | YouTube



       From: Hogan, Greg <            @opm.gov>
       Sent: Sunday, February 16, 2025 5:43 PM
       To: Foster, Ozie L. <         @opm.gov>; Price, MC <                  @opm.gov>
       Cc: Ezell, Charles E. <         @opm.gov>
       Subject: Re: Getting DoGE Engineers access




                                                                 JA279                   OPM-000023
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         Thank you for the quick response!

         Can you give me the list of people who did have access and we revoked their access?

         Also, can you tell me if I have access?

         Greg


         From: Foster, Ozie L. <          @opm.gov>
         Sent: Sunday, February 16, 2025 4:48 PM
         To: Hogan, Greg <            @opm.gov>; Price, MC            @opm.gov>
         Cc: Ezell, Charles E.           @opm.gov>
         Subject: Re: Getting DoGE Engineers access

         Yes. All access is disabled/removed, verified users never logged in for EHRI and eOPF.

         Thank you,


         Ozie Foster
         Supervisory IT Specialist
         U.S. Office of Personnel Management
         OCIO, Federal Information Technology Business Solutions
         (478) 213-
         Ozie.Foster@opm.gov
         OPM.gov

         Follow us on LinkedIn | Twitter | YouTube



         From: Hogan, Greg <            @opm.gov>
         Sent: Sunday, February 16, 2025 4:26:22 PM
         To: Price, MC <           @opm.gov>; Foster, Ozie L.          @opm.gov>
         Cc: Ezell, Charles E.           @opm.gov>
         Subject: Re: Getting DoGE Engineers access

         Did we follow up on OPM-5 , OPM-3 , and OPM-4 ? Sorry if I missed it.

         Greg


         From: Price, MC <             @opm.gov>
         Sent: Thursday, February 6, 2025 10:28 PM
         To: Foster, Ozie L. <         @opm.gov>


                                                     JA280                              OPM-000024
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         Cc: Hogan, Greg <           @opm.gov>; Ezell, Charles E. <          @opm.gov>
         Subject: Re: Getting DoGE Engineers access

         Thx Ozie!!



               On Feb 6, 2025, at 10:04 PM, Foster, Ozie L.              @opm.gov> wrote:



               Good evening, everyone
               OPM-6 and OPM-2 accounts have been disabled for both EHRI DW [on prem]
               and eOPF [on prem Oracle & Azure SQL]. Also OPS verification that accounts
               were never used.

               I will verify account status for OPM-5 , OPM-3 , and OPM-4 in the AM but I’m sure
               it’s the same of unused.

               Thank you,

               Ozie Foster
               Supervisory IT Specialist
               U.S. Office of Personnel Management
               OCIO, Business Applications Services
               (478)
                           @opm.gov
               OPM.gov


               <Image.png>

               Follow us on LinkedIn | Twitter | YouTube



               From: Price, MC               @opm.gov>
               Sent: Thursday, February 6, 2025 7:44 PM
               To: Hogan, Greg              @opm.gov>
               Cc: Ezell, Charles E. <         @opm.gov>; Foster, Ozie L.
                             @opm.gov>
               Subject: Re: Getting DoGE Engineers access

               +Ozie

               Greg,
               OPM-6 and OPM-2 had access to eOPF/eHRI but never logged in. OPM-4 never
               completed the process to get access.


                                                      JA281                               OPM-000025
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             Ozie will get them removed tomorrow morning.

             Thx, MC


                  On Feb 6, 2025, at 6:10 PM, Hogan, Greg <                     @opm.gov>
                  wrote:



                  MC:

                  I will get back to you tomorrow on your list below. In the mean
                  time, we have never needed access to ERHI/eOPF so if any
                  access was granted there it can be removed immediately, and
                  your DBAs can have their access back immediately, too.

                  Greg


                  From: Price, MC <             @opm.gov>
                  Sent: Thursday, February 6, 2025 5:33 PM
                  To: Hogan, Greg <            @opm.gov>
                  Cc: Ezell, Charles E.           @opm.gov>
                  Subject: RE: Getting DoGE Engineers access

                  I will check, however, I believe the folks listed below have full Production
                  access to OPM.gov, USAJOBS, USA Staffing and USA Performance, to our
                  Azure landing zones, and to Akamai portal.

                  Do you want to remove them? And if so, do you want to return our OCIO
                  folks to their original permissions?

                  MC


                  From: Hogan, Greg               @opm.gov>
                  Sent: Thursday, February 6, 2025 5:27 PM
                  To: Price, MC             @opm.gov>
                  Cc: Ezell, Charles E. <         @opm.gov>
                  Subject: Re: Getting DoGE Engineers access

                  Can someone share with me what access is still set up that was
                  in response to the below email chain?




                                                   JA282                                         OPM-000026
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                  Based on the below email chain, it looks like this is the list of
                  people that may have been granted access to certain systems:

                   OPM-6 @opm.gov
                    OPM-2 @opm.gov
                    OPM-4   @opm.gov
                   OPM-5 @opm.gov
                   OPM-3 @opm.gov

                  I want to start unwinding peoples access if it is currently
                  unnecessary.

                  Greg


                  From: Ezell, Charles E. <         @opm.gov>
                  Sent: Monday, January 27, 2025 5:29 PM
                  To: ScalesOLD, Amanda <                @opm.gov>; Rajpal, Nikhil
                  <Nikhil.Rajpal@opm.gov>; Hogan, Greg <           @opm.gov>; Bjelde,
                  Brian <            @opm.gov>
                  Subject: Fw: Getting DoGE Engineers access

                  Apologies I should’ve copied you all on this when I sent it.

                  .ce

                  Chuck Ezell
                  Acting Director

                  U.S. Office of Personnel Management
                  o: (478)
                  c: (478)
                             @OPM.gov
                  OPM.gov



                  From: Ezell, Charles E. <          @opm.gov>
                  Sent: Monday, January 27, 2025 5:03 PM
                  To: Price, MC <           @opm.gov>
                  Subject: Re: Getting DoGE Engineers access

                  Yep, I understand. They won’t have a lot of time to go through a lot of
                  presentations on what the systems are and what the program officers feel
                  about the programs, etc. You understand…. Bu it there is an architecture
                  level engineering perspective that could be shared that might be helpful if


                                                   JA283                                        OPM-000027
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                  it could be done at some point.

                   OPM-6 @opm.gov
                    OPM-2 @opm.gov
                    OPM-4 @opm.gov


                  .ce

                  Chuck Ezell
                  Acting Director

                  U.S. Office of Personnel Management
                  o: (478)
                  c: (478)
                             @OPM.gov
                  OPM.gov



                  From: Price, MC <            @opm.gov>
                  Sent: Monday, January 27, 2025 4:32:04 PM
                  To: Ezell, Charles E.           @opm.gov>
                  Subject: RE: Getting DoGE Engineers access

                  Sure, just send me a list of names and we’ll give them access and
                  hook them up with the folks that can give them the deep
                  dive/documentation on the Apps.

                  I’m assuming these engineers have GFE/PIVs or will get them soon?

                  One note, some of the HI systems we simply host and do not have the
                  dev access….those devs live in HI.

                  MC

                  From: Ezell, Charles E. <            @opm.gov>
                  Sent: Monday, January 27, 2025 4:20 PM
                  To: Price, MC <            @opm.gov>
                  Subject: Getting DoGE Engineers access

                  MC,

                  We are rapidly ramping up some engineers here. To accomplish
                  this goal, these engineers need the following items urgently,
                  starting with a short list of all the systems OPM operates and
                  manages.



                                                    JA284                               OPM-000028
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                  Right now we don’t have immediate plans to change anything but
                  if we need to we might need to move quickly.

                  For each computer system, (whewe need:

                  • Code read and write permissions
                  • Deploy ability Octopus deploy
                  • Monitoring dashboards (e.g. displaying success rates, volume of
                      traffic)
                  • Documentation (e.g. test and deploy instructions, system
                      diagrams)
                  • The on-call rotation for the system
                  • Names of all engineers deeply familiar with the system
                  • Names of all product/project managers deeply familiar with the
                      system
                  • Ability to access the system as a regular user (e.g. hiring
                      manager and onboarding user for USA Staffing)
                  • Ability to access the system as an admin user
                  Prioritize USA Staffing, USAJOBS, and EHRI.

                  Again we don’t have any immediate plans for new engineers to
                  make direct changes to any of these systems.

                  I’ll get you the list of Engineers but I think OPM-5 and OPM-3
                  have already been setup with some access.

                  Thank you


                  .ce

                  Chuck Ezell
                  Acting Director

                  U.S. Office of Personnel Management
                  o: (478)
                  c: (478)
                             @OPM.gov
                  OPM.gov




                                                JA285                                 OPM-000029
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                   Account Creation Audit Between 1/20/25 - 2/12/2025

                   Employee Name               Account Username
                      OPM-3

                      OPM-3

                      OPM-3



               O
                      OPM-3

                      OPM-3

                      OPM-3




                        OPM-2




                      OPM-3

                      OPM-3




                                         JA286                          OPM-000030
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                                         JA287                         OPM-000031
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                      OPM-4




                      OPM-4




                      OPM-4


             O
                      OPM-4



                      OPM-4




                                         JA288                         OPM-000032
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                                         JA289                         OPM-000033
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                                         JA290                         OPM-000034
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                   OPM-2




                   OPM-2




                   OPM-2




                   OPM-2




                   OPM-2

                   OPM-2

                   OPM-2




                                         JA291                         OPM-000035
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                                         JA293                         OPM-000037
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     System Name                                                         Date Created
     APP.mcn Domain                                                      1/20/20253:46:12 PM
     Azure DevOps                                                                         1/21/2025
     CLD.mcn Domain                                                      1/20/20253:38:26 PM
     OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
     Az.cio.entraID.PowerBIAdmin)                                                        1/20/2025
     USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                              1/20/2025
     Web Admin                                                                           1/20/2025




     GitHub Enterprise                                                                   1/28/2025


     GitHub Enterprise                                                                   1/20/2025
     USA Performance - U.S. Office of Personnel Management                               1/20/2025




                                                     JA294                          OPM-000038
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 298 of 582
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                                         JA295                         OPM-000039
USCA4 Appeal: 25-1282   Doc: 39-1               Filed: 04/14/2025 Pg: 299 of 582
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     USA Performance - U.S. Office of Personnel Management                                        1/28/2025




     CLD.mcn Domain                                                                1/28/202511:39:49 AM


     OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
     / USADATA]                                                                                   1/28/2025
     OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
     Az.cio.entraID.PowerBIAdmin)                                                                 1/28/2025

     OPM Data : Electronic Official Personnel Folder (eOPF) - DEV/TST/QA/TRN/PRD                  1/28/2025


                                                     JA296                                   OPM-000040
USCA4 Appeal: 25-1282   Doc: 39-1              Filed: 04/14/2025 Pg: 300 of 582
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     OPM Data : Enterprise Human Resources Integration (EHRI) - Dev/TST/QA/PRD                  1/28/2025
     USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                     1/28/2025
     Web Admin                                                                                  1/28/2025




     APP.mcn Domain                                                            1/20/20253:44:47 PM
     CLD.mcn Domain                                                            1/20/20253:35:33 PM
     OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
     / USADATA]                                                                                1/28/2025
     OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
     Az.cio.entraID.PowerBIAdmin)                                                              1/20/2025
     USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                    1/20/2025
     Web Admin                                                                                 1/20/2025
     APP.mcn Domain                                                            1/20/20253:45:12 PM
     Azure DevOps                                                                               1/27/2025




     CLD.mcn Domain                                                              1/20/20253:36:46 PM

     ITSP Project Intake app                                                                    1/27/2025
     ITSP Project Intake app                                                                     2/6/2025


                                                    JA297                                  OPM-000041
USCA4 Appeal: 25-1282   Doc: 39-1                Filed: 04/14/2025 Pg: 301 of 582
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 OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
 / USADATA]                                                                                   1/28/2025
 OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
 Az.cio.entraID.PowerBIAdmin)                                                                 1/20/2025
 USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                       1/20/2025
 Web Admin                                                                                    1/20/2025
 GitHub Enterprise                                                                            1/20/2025
 USA Performance - U.S. Office of Personnel Management                                        1/20/2025




 GitHub Enterprise                                                                            1/20/2025
 USA Performance - U.S. Office of Personnel Management                                        1/20/2025




 Agency Talent Portal                                                                          1/31/2025
 CLD.mcn Domain                                                                1/28/202511:39:00 AM


 OD Reports : New Hire Daily Tracker Power BI - USADATA                                       1/31/2025
 OPM Data : Azure Databricks Admin + NP / PRD Azure Subscriptions [OPMData
 / USADATA]                                                                                   1/28/2025
 OPM Data : Connect Platform (Az.opm.entraID.efficiencyorg.admin +
 Az.cio.entraID.PowerBIAdmin)                                                                 1/28/2025

 OPM Data : Electronic Official Personnel Folder (eOPF) - DEV/TST/QA/TRN/PRD                  1/28/2025

 OPM Data : Enterprise Human Resources Integration (EHRI) - Dev/TST/QA/PRD                    1/28/2025
 USA Staffing Core + Admin Portal - DEV/TST/STG/TRN/PRD                                       1/28/2025
 Web Admin                                                                                    1/28/2025




 Azure DevOps                                                                                  1/29/2025

 USA Performance - U.S. Office of Personnel Management                                        1/28/2025


 CLD.mcn Domain                                                                1/28/202511:39:25 AM



                                                       JA298                                   OPM-000042
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 302 of 582
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                                         JA299                         OPM-000043
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                                         JA300                         OPM-000044
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                                         JA301                         OPM-000045
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                          Date Removed Admin Access   Login Yes/No




                                          JA302                        OPM-000046
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 306 of 582
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                                         JA303                         OPM-000047
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 307 of 582
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                                         2/6/2025




                                         JA304                         OPM-000048
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 308 of 582
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                                         2/6/2025




                                         JA305                         OPM-000049
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 309 of 582
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                                         2/6/2025

                                         2/6/2025




                                         JA306                         OPM-000050
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 310 of 582
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                                         2/6/2025




                                         2/6/2025




                                         JA307                         OPM-000051
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 311 of 582
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                                         JA308                         OPM-000052
USCA4 Appeal: 25-1282   Doc: 39-1                     Filed: 04/14/2025 Pg: 312 of 582
           Case 8:25-cv-00430-DLB                   Document 51-1 Filed 03/07/25 Page 57 of 78


         From:             Pinto, Delon G. F.
         To:               Rowell, Danielle R
         Cc:               Hogan, Greg; Saunders, James L; Muetzel, James
         Subject:          RE: Internal User Access Audit
         Date:             Tuesday, February 18, 2025 4:00:37 PM
         Attachments:      image002.png
                           image003.png


         Good afternoon,

         I’m confirming that FLTCIP and FSAFEDS do not have internal OPM user accounts. Let me know if you
         need anything else.

         Best,
         Delon

         From: Rowell, Danielle R <              @opm.gov>
         Sent: Tuesday, February 18, 2025 1:01 PM
         To: CISO        @opm.gov>
         Cc: Hogan, Greg <             @opm.gov>; Saunders, James L                    @opm.gov>; OCIO-
         Leadership                   @opm.gov>
         Subject: RE: Internal User Access Audit

         Good Afternoon,

         Thank you for responding to the initial audit call. In addition to the original ask, we’re asking
         that you please provide the Cybersecurity Division with evidence of the system account
         approvals for all internal OPM user accounts created since 1/20/2025 until 2/12/25 (Please
         use list of already identified users). As the System Owner responsible for approving OPM
         information system access, please provide the formal approval artifact for all internal OPM
         accounts created during this timeframe.” All responses are due by 2/20/2025.

         Example Artifacts:
           1. Email request from user and approval.
           2. Email request to helpdesk with approval from supervisor.
           3. Azure access packages approvals.
           4. Other.



           Account Creation Artifacts


         Thanks!

         Danielle Rowell
         OPM.gov




                                                             JA309                             OPM-000053
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           Case 8:25-cv-00430-DLB                 Document 51-1 Filed 03/07/25 Page 58 of 78



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        From: Rowell, Danielle R
        Sent: Wednesday, February 12, 2025 4:27 PM
        To: CISO       @opm.gov>
        Cc: Hogan, Greg <             @opm.gov>; Saunders, James L <             @opm.gov>; OCIO-
        Leadership                   @opm.gov>
        Subject: Internal User Access Audit
        Importance: High

        Good Evening,

        As requested by the OPM CIO, the Cybersecurity Division is conducting a review of all internal
        OPM user accounts created between 1/20/2025 and 2/12/25 As the System Owner
        responsible for approving access to an OPM information system, please provide the following
        information. All responses are due by 2/17/25.

        Account Creation Audit

               Employee Name
               Account Username
               System Name
               Date Created

        Please provide questions to           @opm.gov.

        Thanks!

        Danielle Rowell
        Acting Chief Information Security Officer, Cybersecurity Division

        U.S. Office of Personnel Management
        Office of the Chief Information Officer
        c: 202-
        o: 202-
                       @opm.gov
        OPM.gov




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        Isaiah 41:10




                                                        JA310                             OPM-000054
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                                         JA311                         OPM-000055
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                                 Federal Register / Vol. 88, No. 158 / Thursday, August 17, 2023 / Notices                              56059

      update the description of the System         access the records within this system,       HISTORY:
      Location for accuracy.                       such a request must be honored.                OPM/GOVT–1, ‘‘General Personnel
        OPM has provided a report of this                                                       Records’’, 77 FR 73694 (December 11,
      modified system of records to the            SYSTEM MANAGER(S):                           2012), 80 FR 74815 (November 30,
      Committee on Oversight and                     a. Executive Director, Human Capital       2015), 76 FR 32997 (June 7, 2011), 71 FR
      Government Reform of the House of            Data Management and Modernization,           35342 (June 19, 2006), 65 FR 24732
      Representatives, the Committee on            U.S. Office of Personnel Management,         (April 27, 2000), and 61 FR 36919 (July
      Homeland Security and Governmental           1900 E Street NW, Washington, DC             15, 1996).
      Affairs of the Senate, and the Office of     20415; Associate Director, Employee          [FR Doc. 2023–17651 Filed 8–16–23; 8:45 am]
      Management and Budget (OMB),                 Services, U.S. Office of Personnel           BILLING CODE 6325–67–P
      pursuant to 5 U.S.C. 552a(r) and OMB         Management, 1900 E Street NW,
      Circular A–108, ‘‘Federal Agency             Washington, DC 20415.
      Responsibilities for Review, Reporting,        b. For current Federal employees,          POSTAL REGULATORY COMMISSION
      and Publication under the Privacy Act,’’     OPM has delegated to the employing
      dated December 23, 2016. This modified                                                    [Docket Nos. MC2023–220 and CP2023–224;
                                                   agency the Privacy Act responsibilities      MC2023–221 and CP2023–225; MC2023–223
      system will be included in OPM’s             concerning access, amendment, and
      inventory of records systems.                                                             and CP2023–226; MC2023–224 and CP2023–
                                                   disclosure of the records within this        227]
      Office of Personnel Management.              system notice.
      Kayyonne Marston,                            *     *    *     *     *                     New Postal Products
      Federal Register Liaison.                                                                 AGENCY: Postal Regulatory Commission.
                                                   ROUTINE USES OF RECORDS MAINTAINED IN THE
      SYSTEM NAME AND NUMBER:                      SYSTEM, INCLUDING CATEGORIES OF USERS AND    ACTION: Notice.
       General Personnel Records, OPM/             PURPOSES OF SUCH USES:
                                                                                                SUMMARY: The Commission is noticing a
      GOVT–1.                                      *     *     *     *     *                    recent Postal Service filing for the
                                                     s. To disclose to another Federal          Commission’s consideration concerning
      SECURITY CLASSIFICATION:
                                                   agency, by the agency maintaining the        a negotiated service agreement. This
        Unclassified.                              records or by OPM, for research or           notice informs the public of the filing,
      SYSTEM LOCATION:                             analytical purposes, including to locate     invites public comment, and takes other
                                                   individuals for personnel research or        administrative steps.
         Records on current Federal employees
                                                   survey response, to produce summary          DATES: Comments are due: August 21,
      are located within the employing
                                                   descriptive statistics, or to conduct        2023.
      agency. Records maintained in paper
                                                   analytical studies in support of the
      may also be located at OPM or with                                                        ADDRESSES: Submit comments
                                                   function for which the records are
      personnel officers, or at other                                                           electronically via the Commission’s
                                                   collected and maintained, or for related
      designated offices of local installations                                                 Filing Online system at http://
                                                   workforce studies; provided that the
      of the department or agency that                                                          www.prc.gov. Those who cannot submit
                                                   disclosure is made pursuant to a written
      employs the individual. When agencies                                                     comments electronically should contact
                                                   agreement that clearly outlines the
      determine that duplicates of these                                                        the person identified in the FOR FURTHER
                                                   relevant authorities, limits the
      records need to be located in a second                                                    INFORMATION CONTACT section by
                                                   disclosure only to those records that are
      office, e.g., an administrative office                                                    telephone for advice on filing
                                                   necessary for a clearly documented
      closer to where the employee actually                                                     alternatives.
                                                   purpose, and limits the use of the
      works, such copies are covered by this                                                    FOR FURTHER INFORMATION CONTACT:
                                                   records for that purpose.
      system of records. Some agencies have                                                     David A. Trissell, General Counsel, at
      employed the electronic Official             *     *     *     *     *
                                                                                                202–789–6820.
      Personnel Folder (eOPF) information            hh. To other Federal agencies, such as
                                                                                                SUPPLEMENTARY INFORMATION:
      technology system to store their records     the Social Security Administration, the
      electronically. Although stored in eOPF,     Department of Education, and the             Table of Contents
      agencies are still responsible for the       Department of Health and Human
                                                                                                I. Introduction
      maintenance of their records. In             Services, and to non-Federal entities,       II. Docketed Proceeding(s)
      addition, certain data elements from the     relevant information with personal
      eOPF are collected and maintained in         identifiers of Federal civilian employees    I. Introduction
      OPM’s Enterprise Human Resource              whose records are contained in the              The Commission gives notice that the
      Integration (EHRI) system.                   EHRI to authorized Federal agencies and      Postal Service filed request(s) for the
         Former Federal employees’ paper           non-Federal entities for use in a            Commission to consider matters related
      Official Personnel Folders (OPFs) are        computer matching program, as defined        to negotiated service agreement(s). The
      located at the National Personnel            in 5 U.S.C. 552a(a)(8), to help eliminate    request(s) may propose the addition or
      Records Center, National Archives and        waste, fraud, and abuse in                   removal of a negotiated service
      Records Administration, in Valmeyer,         Governmental programs; to help               agreement from the Market Dominant or
      Illinois. Former Federal employees’          identify individuals who are potentially     the Competitive product list, or the
      electronic Official Personnel Folders        in violation of civil or criminal law or     modification of an existing product
      (eOPF) are located in the eOPF system        regulation; to collect debts and             currently appearing on the Market
      at OPM.                                      overpayments owed to Federal, State, or      Dominant or the Competitive product
         Note 1—The records in this system         local governments and their                  list.
      are records of the OPM and must be           components; and to identify individuals         Section II identifies the docket
      provided to those OPM employees who          as Federal civilian employees when           number(s) associated with each Postal
      have an official need or use for those       relevant to their receiving a benefit from   Service request, the title of each Postal
      records. Therefore, if an employing          the matching partner.                        Service request, the request’s acceptance
      agency is asked by an OPM employee to        *     *     *     *     *                    date, and the authority cited by the




                                                                JA312                                                OPM-000056
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                                         JA313                         OPM-000057
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      CATEGORIES OF INDIVIDUALS COVERED BY THE     advancement (e.g., an administrative          closer to where the employee works
      SYSTEM:                                      intern program).                              (e.g., in an administrative office or
        Current and former Federal                    g. Records contained in the Enterprise     supervisors work folder) and still be
      employees as defined in 5 U.S.C. 2105.       Human Resource Integration (EHRI) and         covered by this system. In addition, a
        (Volunteers, grantees, and contract        Central Personnel Data File (CPDF)            working file that a supervisor or other
      employees on whom the agency                 maintained by OPM and exact                   agency official is using that is derived
      maintains records may also be covered        substantive representations in agency         from OPM/GOVT–1 is covered by this
      by this system).                             manual or automated personnel                 system notice. This system also includes
                                                   information systems. These data               working files derived from this notice
      CATEGORIES OF RECORDS IN THE SYSTEM:         elements include many of the above            that management is using in its
         All categories of records may include     records along with disability, race/          personnel management capacity.
      identifying information, such as             ethnicity, national origin, pay, and             k. Records relating to designations for
      name(s), date of birth, home address,        performance information from other            lump sum death benefits.
      mailing address, social security number,     OPM and agency systems of records. A             l. Records relating to classified
      and home telephone. This system              definitive list of EHRI and CPDF data         information nondisclosure agreements.
      includes, but is not limited to, contents    elements is contained in OPM’s                   m. Records relating to the Thrift
      of the OPF as specified in OPM’s             Operating Manuals, The Guide to               Savings Plan (TSP) concerning the
      Operating Manual, ‘‘The Guide to             Central Personnel Data File Reporting         starting, changing, or stopping of
      Personnel Recordkeeping’’ and OPM’s          Requirements and The Guide to                 contributions to the TSP as well as how
      ‘‘Guide to Data Standards.’’ Records in      Personnel Data Standards.                     the individual wants the investments to
      this system include:                            h. Records on the SES maintained by        be made in the various TSP Funds.
         a. Records reflecting work experience,    agencies for use in making decisions             Note 6—CPDF and EHRI data system’s
      education level achieved, and                affecting incumbents of these positions,      Central Employee Record (CER) are part
      specialized education or training            e.g., relating to sabbatical leave            of OPM/GOVT–1 system of records.
      obtained outside of Federal service.         programs, reassignments, and details,         CPDF and CER are highly reliable
         b. Records reflecting Federal service     that are perhaps unique to the SES and        sources of statistical data on the
      and documenting work experience and          that may be filed in the employee’s OPF.      workforce of the Federal government.
      specialized education received while         These records may also serve as the           However, the accuracy and
      employed. Such records contain               basis for reports submitted to OPM for        completeness of each data element
                                                   implementing OPM’s oversight                  within the individual records that
      information about past and present
                                                   responsibilities concerning the SES.          comprise the aggregate files are not
      positions held; grades; salaries; duty
                                                      i. Records on an employee’s activities     guaranteed, and should not be used as
      station locations; and notices of all        on behalf of the recognized labor
      personnel actions, such as                                                                 the sole tool or as a substitute for the
                                                   organization representing agency              OPF in making personnel
      appointments, transfers, reassignments,      employees, including accounting of
      details, promotions, demotions,                                                            determinations or decisions concerning
                                                   official time spent and documentation         individuals.
      reductions-in-force, resignations,           in support of per diem and travel
      separations, suspensions, OPM approval                                                        Note 7—The eOPF Application within
                                                   expenses.                                     EHRI may contain documents and
      of disability retirement applications,          Note 4—Alternatively, such records
      retirement, and removals.                                                                  information beyond the scope and
                                                   may be retained by an agency payroll          requirements of the OPF as documented
         c. Records on participation in the        office and thus be subject to the
      Federal Employees’ Group Life                                                              in OPM’s Guide to Personnel
                                                   agency’s internal Privacy Act system for      Recordkeeping. Those documents and
      Insurance Program and Federal                payroll records. The OPM/GOVT–1
      Employees Health Benefits Program.                                                         information in the eOPF Application
                                                   system does not cover general agency          that are beyond the scope of the
         d. Records relating to an                 payroll records.
      Intergovernmental Personnel Act                                                            documented requirements are not
                                                      j. To the extent that the records listed
      assignment or Federal-private sector                                                       considered part of the OPF or OPM/
                                                   here are also maintained in an agency
      exchange program.                                                                          GOVT–1,
                                                   electronic personnel or microform
         Note 2—Some of these records may                                                           n. Records maintained in accordance
                                                   records system, those versions of these
      also become part of the OPM/                                                               with E.O. 13490, section 4(e), January
                                                   records are considered to be covered by
      CENTRAL–5, Intergovernmental                                                               21, 2009. These records include the
                                                   this system notice. Any additional
      Personnel Act Assignment Record                                                            ethics pledges and all pledge waiver
                                                   copies of these records (excluding
      system.                                                                                    certifications with respect thereto.
                                                   performance ratings of record and
         e. Records relating to participation in   conduct-related documents maintained          AUTHORITY FOR MAINTENANCE OF THE SYSTEM
      an agency Federal Executive or Senior        by first line supervisors and managers        INCLUDES THE FOLLOWING WITH ANY REVISIONS
      Executive Service (SES) Candidate            covered by the OPM/GOVT–2 system)             OR AMENDMENTS:
      Development Program.                         maintained by agencies at remote field/         5 U.S.C. 1302, 2951, 3301, 3372, 4118,
         Note 3—Some of these records may          administrative offices from where the         8347, and Executive Orders 9397, as
      also become part of the OPM/Central-10       original records exist are considered         amended by 13478, 9830, and 12107.
      Federal Executive Institute Program          part of this system.                            Purposes:
      Participant Records and OPM/                    Note 5—It is not the intent of OPM to        The OPF, which may exist in various
      CENTRAL–13 Executive Personnel               limit this system of records only to          approved media, and other general
      Records systems.                             those records physically within the           personnel records files, is the official
         f. Records relating to Government-        OPF. Records may be filed in other            repository of the records, reports of
      sponsored training or participation in an    folders located in offices other than         personnel actions, and the
      agency’s Upward Mobility Program or          where the OPF is located. Further, as         documentation required in connection
      other personnel program designed to          indicated in the records location             with these actions affected during an
      broaden an employee’s work                   section, some of these records may be         employee’s Federal service. The
      experiences and for purposes of              duplicated for maintenance at a site          personnel action reports and other




                                                                JA314                                              OPM-000058
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      documents, some of which are filed in        analytical study or audit of benefits         employee, issue a security clearance,
      the OPF, give legal force and effect to      being paid under such programs.               conduct a security or suitability
      personnel transactions and establish            e. To disclose information necessary       investigation of an individual, classify
      employee rights and benefits under           to the Office of Federal Employees            jobs, let a contract, or issue a license,
      pertinent laws and regulations               Group Life Insurance to verify election,      grant, or other benefits.
      governing Federal employment.                declination, waiver of regular and/or            Note 9—When copies of records
         These files and records are               optional life insurance coverage, or          become part of an investigative process,
      maintained by OPM and agencies in            eligibility for payment of a claim for life   those copies become subject to that
      accordance with OPM regulations and          insurance, or to TSP to verify election       systems’ notice covering the
      instructions. They provide the basic         change and designation of beneficiary.        investigative process i.e., if during an
      source of factual data about a person’s         f. To disclose, to health insurance        investigation, the OPM Federal
      Federal employment while in the              carriers contracting with OPM to              Investigative Services Division makes
      service and after his or her separation.     provide a health benefits plan under the      copies of records contained in an
      Records in this system have various          Federal Employees Health Benefits             Official Personnel Folder; those
      uses by agency personnel offices,            Program, information necessary to             documents become part of OPM
      including screening qualifications of        identify enrollment in a plan, to verify      Central—9 Personnel Investigation
      employees; determining status,               eligibility for payment of a claim for        Records system of records and are
      eligibility, and employee’s rights and       health benefits, or to carry out the          subject to that systems’ routine uses.
      benefits under pertinent laws and            coordination or audit of benefit                 m. To disclose to a Federal agency in
      regulations governing Federal                provisions of such contracts.                 the executive, legislative, or judicial
      employment; computing length of                 g. To disclose information to a            branch of Government, in response to its
      service; and other information needed to     Federal, State, or local agency for           request, or at the initiation of the agency
      provide personnel services. These            determination of an individual’s              maintaining the records, information in
      records may also be used to locate           entitlement to benefits in connection         connection with the hiring of an
      individuals for personnel research.          with Federal Housing Administration           employee, the issuance of a security
                                                   programs.                                     clearance or determination concerning
      ROUTINE USES OF RECORDS MAINTAINED IN THE       h. To consider and select employees
                                                                                                 eligibility to hold a sensitive position,
      SYSTEMS, INCLUDING CATEGORIES OF USERS AND   for incentive awards and other honors
                                                                                                 the conducting of an investigation for
      THE PURPOSES OF SUCH USES:                   and to publicize those granted. This
                                                                                                 purposes of a credentialing, national
         These records and information in          may include disclosure to other public
                                                                                                 security, fitness, or suitability
      these records may be used—                   and private organizations, including
                                                                                                 adjudication concerning an individual,
         a. To disclose information to             news media, which grant or publicize
                                                                                                 the classifying or designation of jobs,
      Government training facilities (Federal,     employee recognition.
                                                                                                 the letting of a contract, the issuance of
      State, and local) and to non-Government         i. To consider employees for
                                                                                                 a license, grant, or other benefit by the
      training facilities (private vendors of      recognition through quality-step
                                                                                                 requesting agency, or the lawful
      training courses or programs, private        increases and to publicize those granted.
                                                                                                 statutory, administrative, or
      schools, etc.) for training purposes.        This may include disclosure to other
                                                                                                 investigative purpose of the agency to
                                                   public and private organizations,
         b. To disclose information to                                                           the extent that the information is
                                                   including news media, which grant or
      education institutions on appointment                                                      relevant and necessary to the requesting
                                                   publicize employee recognition.
      of a recent graduate to a position in the       j. To disclose information to officials    agency’s decision.
      Federal service, and to provide college      of labor organizations recognized under          n. To disclose information to the
      and university officials with                5 U.S.C. chapter 71 when relevant and         Office of Management and Budget at any
      information about their students             necessary to their duties of exclusive        stage in the legislative coordination and
      working in the Student Career                representation concerning personnel           clearance process in connection with
      Experience Program, Volunteer Service,       policies, practices, and matters affecting    private relief legislation as set forth in
      or other similar programs necessary to a     working conditions.                           OMB Circular No. A–19.
      student’s obtaining credit for the              Note 8—Home addresses will be                 o. To provide information to a
      experience gained.                           released from this system only when           congressional office from the record of
         c. To disclose information to officials   there are no adequate, alternative            an individual in response to an inquiry
      of foreign governments for clearance         sources available for this information.       from that congressional office made at
      before a Federal employee is assigned to        k. To disclose pertinent information       the request of the individual.
      that country.                                to the appropriate Federal, State, or            p. To disclose information to another
         d. To disclose information to the         local agency responsible for                  Federal agency, to a court, or a party in
      Department of Labor, Department of           investigating, prosecuting, enforcing, or     litigation before a court or in an
      Veterans Affairs, Social Security            implementing a statute, rule, regulation,     administrative proceeding being
      Administration, Department of Defense,       or order, when the disclosing agency          conducted by a Federal agency, when
      or any other Federal agencies that have      becomes aware of an indication of a           the Government is a party to the judicial
      special civilian employee retirement         violation or potential violation of civil     or administrative proceeding.
      programs; or to a national, State, county,   or criminal law or regulation.                   q. To disclose information to the
      municipal, or other publicly recognized         l. To disclose information to any          Department of Justice, or in a
      charitable or income security                source from which additional                  proceeding before a court, adjudicative
      administration agency (e.g., State           information is requested (to the extent       body, or other administrative body
      unemployment compensation agencies),         necessary to identify the individual,         before which the agency is authorized to
      when necessary to adjudicate a claim         inform the source of the purpose(s) of        appear, when:
      under the retirement, insurance,             the request, and to identify the type of         1. The agency, or any component
      unemployment, or health benefits             information requested), when necessary        thereof; or
      programs of the OPM or an agency cited       to obtain information relevant to an             2. Any employee of the agency in his
      above, or to an agency to conduct an         agency decision to hire or retain an          or her official capacity; or




                                                                JA315                                              OPM-000059
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         3. Any employee of the agency in his       address and other relevant information         (2) Civil service status;
      or her individual capacity where the          on those individuals who it reasonably         (3) Length of service in the agency
      Department of Justice or the agency has       believed might have contracted an           and the Government; and
      agreed to represent the employee; or          illness or might have been exposed to or       (4) When separated, the date and
         4. The United States, when the agency      suffered from a health hazard while         nature of action as shown on the
      determines that litigation is likely to       employed in the Federal workforce.          Notification of Personnel Action—
      affect the agency or any of its                  y. To disclose specific civil service    Standard Form 50 (or authorized
      components, is a party to litigation or       employment information required under       exception).
      has an interest in such litigation, and       law by the Department of Defense on            ee. To disclose information on
      the use of such records by the                individuals identified as members of the    employees of Federal health care
      Department of Justice or the agency is        Ready Reserve to assure continuous          facilities to private sector (i.e., other
      deemed by the agency to be relevant and       mobilization readiness of Ready Reserve     than Federal, State, or local government)
      necessary to the litigation provided,         units and members, and to identify          agencies, boards, or commissions (e.g.,
      however, that in each case it has been        demographic characteristics of civil        the Joint Commission on Accreditation
      determined that the disclosure is             service retirees for national emergency     of Hospitals). Such disclosures will be
      compatible with the purpose for which         mobilization purposes.                      made only when the disclosing agency
      the records were collected.                      z. To disclose information to the        determines that it is in the
         r. By the National Archives and            Department of Defense, National             Government’s best interest (e.g., to
      Records Administration in records             Oceanic and Atmospheric                     comply with law, rule, or regulation, to
      management inspections and its role as        Administration, U.S. Public Health          assist in the recruiting of staff in the
      Archivist.                                    Service, Department of Veterans Affairs,    community where the facility operates
         s. By the agency maintaining the           and the U.S. Coast Guard needed to          to obtain accreditation or other approval
      records or by the OPM to locate               effect any adjustments in retired or        rating, or to avoid any adverse publicity
      individuals for personnel research or         retained pay required by the dual           that may result from public criticism of
      survey response, and in the production        compensation provisions of section          the facility’s failure to obtain such
      of summary descriptive statistics and         5532 of title 5, United States Code.        approval). Disclosure is to be made only
      analytical studies in support of the             aa. To disclose information to the       to the extent that the information
      function for which the records are            Merit Systems Protection Board or the       disclosed is relevant and necessary for
      collected and maintained, or for related      Office of the Special Counsel in            that purpose.
      workforce studies. While published            connection with appeals, special studies       ff. To disclose information to any
      statistics and studies do not contain         of the civil service and other merit        member of an agency’s Performance
      individual identifiers, in some               systems, review of OPM rules and            Review Board, Executive Resources
      instances, the selection of elements of       regulations, investigation of alleged or    Board, or other panel when the member
      data included in the study may be             possible prohibited personnel practices,    is not an official of the employing
      structured in such a way as to make the       and such other functions promulgated        agency; information would then be used
      data individually identifiable by             in 5 U.S.C. chapter 12, or as may be        for approving or recommending
      inference.                                    authorized by law.                          selection of candidates for executive
         t. To provide an official of another          bb. To disclose information to the       development or SES candidate
      Federal agency information needed in          Equal Employment Opportunity                programs, issuing a performance rating
      the performance of official duties            Commission when requested in                of record, issuing performance awards,
      related to reconciling or reconstructing      connection with investigations of           nominating for meritorious or
      data files, in support of the functions for   alleged or possible discrimination          distinguished executive ranks, or
      which the records were collected and          practices in the Federal sector,            removal, reduction-in-grade, or other
      maintained.                                   examination of Federal affirmative          personnel actions based on
         u. When an individual to whom a            employment programs, compliance by          performance.
      record pertains is mentally incompetent       Federal agencies with the Uniform              gg. To disclose, either to the Federal
      or under other legal disability, to           Guidelines on Employee Selection            Acquisition Institute (FAI) or its agent,
      provide information in the individual’s       Procedures, or other functions vested in    information about Federal employees in
      record to any person who is responsible       the Commission.                             procurement occupations and other
      for the care of the individual, to the           cc. To disclose information to the       occupations whose incumbents spend
      extent necessary to assure payment of         Federal Labor Relations Authority           the predominant amount of their work
      benefits to which the individual is           (including its General Counsel) when        hours on procurement tasks; provided
      entitled.                                     requested in connection with                that the information shall be used only
         v. To disclose to the agency-appointed     investigation and resolution of             for such purposes and under such
      representative of an employee all             allegations of unfair labor practices, in   conditions as prescribed by the notice of
      notices, determinations, decisions, or        connection with the resolution of           the Federal Acquisition Personnel
      other written communications issued to        exceptions to arbitrator’s awards when a    Information System as published in the
      the employee in connection with an            question of material fact is raised, to     Federal Register of February 7, 1980 (45
      examination ordered by the agency             investigate representation petitions and    FR 8399).
      under fitness-for-duty examination            to conduct or supervise representation         hh. To disclose relevant information
      procedures.                                   elections, and in connection with           with personal identifiers of Federal
         w. To disclose, in response to a           matters before the Federal Service          civilian employees whose records are
      request for discovery or for appearance       Impasses Panel.                             contained in the EHRI to authorized
      of a witness, information that is relevant       dd. To disclose to prospective non-      Federal agencies and non-Federal
      to the subject matter involved in a           Federal employers, the following            entities for use in computer matching.
      pending judicial or administrative            information about a specifically            The matches will be performed to help
      proceeding.                                   identified current or former Federal        eliminate waste, fraud, and abuse in
         x. To disclose to a requesting agency,     employee:                                   Governmental programs; to help
      organization, or individual the home             (1) Tenure of employment;                identify individuals who are potentially




                                                                JA316                                            OPM-000060
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      in violation of civil or criminal law or      System, or Federal Offset System for use      guidance from the National Institute of
      regulation; and to collect debts and          in locating individuals, verifying social     Standards and Technology.
      overpayments owed to Federal, State, or       security numbers, or identifying their
                                                                                                  RETENTION AND DISPOSAL:
      local governments and their                   incomes sources to establish paternity,
      components. The information disclosed         establish, or modify orders of support           The OPF is maintained for the period
      may include, but is not limited to, the       and for enforcement action.                   of the employee’s service in the agency
      name, social security number, date of           nn. To disclose records on former           and is then, if in a paper format,
      birth, sex, annualized salary rate,           Panama Canal Commission employees             transferred to the National Personnel
      service computation date of basic active      to the Republic of Panama for use in          Records Center for storage or, as
      service, veteran’s preference, retirement     employment matters.                           appropriate, to the next employing
      status, occupational series, health plan        oo. To disclose to appropriate Federal      Federal agency. If the OPF is maintained
      code, position occupied, work schedule        officials pertinent workforce                 in an electronic format, the transfer and
      (full time, part time, or intermittent),      information for use in national or            storage is in accordance with the OPM
      agency identifier, geographic location        homeland security emergency/disaster          approved electronic system. Other
      (duty station location), standard             response.                                     records are either retained at the agency
      metropolitan service area, special              pp. To disclose on public and               for various lengths of time in
      program identifier, and submitting            internally-accessible Federal                 accordance with the National Archives
      office number of Federal employees.           Government Web sites, and to otherwise        and Records Administration records
         ii. To disclose information to Federal,    disclose to any person, including other       schedules or destroyed when they have
      State, local, and professional licensing      departments and agencies, the signed          served their purpose or when the
      boards, Boards of Medical Examiners, or       ethics pledges and pledge waiver              employee leaves the agency. The
      to the Federation of State Medical            certifications issued under E.O. 13490 of     transfer occurs within 90 days of the
      Boards or a similar non-government            January 21, 2009, Ethics Commitments          individuals’ separation. In the case of
      entity which maintains records                by Executive Branch Personnel.                administrative need, a retired employee,
      concerning individuals’ employment              qq. To disclose foreign language            or an employee who dies in service, the
      histories or concerning the issuance,         proficiencies to Federal agencies in          OPF is sent within 120 days.
      retention or revocation of licenses,          support of the National Preparedness          Destruction of the OPF is in accordance
      certifications or registration necessary to   Goal and the Presidential Policy              with General Records Schedule-1 (GRS–
      practice an occupation, profession or         Directive 8 (PPD–8).                          1) or GRS 20.
      specialty, to obtain information relevant       rr. To disclose information to the             Records contained within the CPDF
      to an Agency decision concerning the          Centers for Medicare and Medicaid             and EHRI (and in agency’s automated
      hiring, retention, or termination of an       (CMS) to assist in determining whether        personnel records) may be retained
      employee or to inform a Federal agency        individuals are eligible for programs         indefinitely as a basis for longitudinal
      or licensing boards or the appropriate        under the Patient Protection and              work history statistical studies. After the
      non-government entities about the             Affordable Care Act (PPACA).                  disposition date in GRS–1 or GRS 20,
      health care practices of a terminated,                                                      such records should not be used in
      resigned or retired health care employee      POLICIES AND PRACTICES OF STORING,
                                                                                                  making decisions concerning
      whose professional health care activity       RETRIEVING, SAFEGUARDING, AND RETAINING AND
                                                    DISPOSING OF RECORDS IN THE SYSTEM:
                                                                                                  employees.
      so significantly failed to conform to
      generally accepted standards of               STORAGE:                                      SYSTEM MANAGER AND ADDRESS:
      professional medical practice as to raise       These records are maintained in file          a. Manager, OCIO/RM, U.S. Office of
      reasonable concern for the health and         folders, on lists and forms, microfilm or     Personnel Management, 1900 E Street
      safety of patients in the private sector or   microfiche, and in computer                   NW., Washington, DC 20415.
      from another Federal agency.                  processable storage media such as               b. For current Federal employees,
         jj. To disclose information to             personnel system databases, PDF forms         OPM has delegated to the employing
      contractors, grantees, or volunteers          and data warehouse systems.                   agency the Privacy Act responsibilities
      performing or working on a contract,                                                        concerning access, amendment, and
      service, grant, cooperative agreement, or     RETRIEVABILITY:                               disclosure of the records within this
      job for the Federal Government.                 These records are retrieved by various      system notice.
         kk. To disclose information to a           combinations of name, agency, birth
      Federal, State, or local governmental                                                       NOTIFICATION PROCEDURE:
                                                    date, social security number, or
      entity or agency (or its agent) when          identification number of the individual         Individuals wishing to inquire
      necessary to locate individuals who are       on whom they are maintained.                  whether this system of records contains
      owed money or property either by a                                                          information about them should contact
      Federal, State, or local agency, or by a      SAFEGUARDS:                                   the appropriate OPM or employing
      financial or similar institution.               Paper or microfiche/microfilmed             agency office, as follows:
         ll. To disclose to a spouse or             records are located in locked metal file        a. Current Federal employees should
      dependent child (or court-appointed           cabinets or in secured rooms with             contact the Personnel Officer or other
      guardian thereof) of a Federal employee       access limited to those personnel whose       responsible official (as designated by the
      enrolled in the Federal Employees             official duties require access. Access to     employing agency), of the local agency
      Health Benefits Program, upon request,        computerized records is limited,              installation at which employed
      whether the employee has changed from         through use of user logins and                regarding records in this system.
      a self-and-family to a self-only health       passwords, access codes, and entry logs,        b. Former Federal employees who
      benefits enrollment.                          to those whose official duties require        want access to their Official Personnel
         mm. To disclose information to the         access. Computerized records systems          Folders (OPF) should contact the
      Office of Child Support Enforcement,          are consistent with the requirements of       National Personnel Records Center
      Administration for Children and               the Federal Information Security              (Civilian), 111 Winnebago Street, St.
      Families, Department of Health and            Management Act (Pub. L. 107–296), and         Louis, Missouri 63118, regarding the
      Human Services, Federal Parent Locator        associated OMB policies, standards and        records in this system. For other records




                                                                  JA317                                             OPM-000061
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      covered by the system notice,              accordance with Code of Federal                        Operators 1 (MC2010–34) product on
      individuals should contact their former    Regulations Part 293, and OPM’s                        the competitive product list. Notice at 1.
      employing agency. Individuals must         Operating Manual, ‘‘The Guide to
                                                                                                        II. Contents of Filing
      furnish the following information for      Personnel Recordkeeping.’’
      their records to be located and            [FR Doc. 2012–29777 Filed 12–10–12; 8:45 am]              The Postal Service’s filing consists of
      identified:                                BILLING CODE 6325–45–P                                 the Notice, a public Excel file
        a. Full name.                                                                                   containing redacted financial
        b. Date of birth.                                                                               workpapers, and four attachments.
        c. Social security number.               POSTAL REGULATORY COMMISSION                           Attachment 1 is a redacted copy of the
        d. Last employing agency (including                                                             Agreement. Id. at 3. Attachment 2 is the
                                                 [Docket No. CP2013–24; Order No. 1566]                 certified statement required by 39 CFR
      duty station) and approximate date(s) of
      the employment (for former Federal                                                                3015.5(c)(2). Id. Attachment 3 is a
                                                 International Mail Contract                            redacted copy of the Governors’
      employees).
        e. Signature.                            AGENCY: Postal Regulatory Commission.                  Decision No. 10–3. Id. Attachment 4 is
                                                 ACTION: Notice.
                                                                                                        an application for non-public treatment
      RECORD ACCESS PROCEDURE:                                                                          of unredacted material. Id. The
        Individuals wishing to request access    SUMMARY: The Commission is noticing a                  Agreement’s intended effective date is
      to their records should contact the        recent Postal Service filing concerning                January 1, 2013. Id. at 4.
      appropriate OPM or agency office, as       an additional inbound competitive                         The rates for inbound Air CP and
      specified in the Notification Procedure    Multi-Service Agreements with Foreign                  EMS included in the Agreement are to
      section. Individuals must furnish the      Postal Operators 1 negotiated service                  remain in effect for 2 years after the
      following information for their records    agreement with Royal PostNL BV. This                   Agreement’s effective date, unless
      to be located and identified:              notice informs the public of the filing,               terminated sooner. Id. The Postal
        a. Full name(s).                         invites public comment, and takes other                Service further notes that a TNT
        b. Date of birth.                        administrative steps.                                  Agreement, in accordance with Article
        c. Social security number.                                                                      22 of the TNT Agreement, automatically
                                                 DATES: Comments are due: December
        d. Last employing agency (including                                                             renewed on October 1, 2012, but
                                                 14, 2012.                                              pursuant to paragraph 3 of Article 22 of
      duty station) and approximate date(s) of
                                                 ADDRESSES: Submit comments                             the PostNL Agreement, the TNT
      employment (for former Federal
      employees).                                electronically via the Commission’s                    Agreement is to expire the day prior to
        e. Signature.                            Filing Online system at http://                        the effective date of the PostNL
        Individuals requesting access must       www.prc.gov. Those who cannot submit                   Agreement, if an effective date for the
      also comply with the Office’s Privacy      comments electronically should contact                 PostNL agreement is established. Id. at
      Act regulations on verification of         the person identified in the FOR FURTHER               3 n.5.
                                                 INFORMATION CONTACT section by                            The Postal Service reviews the
      identity and access to records (5 CFR
      part 297).                                 telephone for advice on filing                         regulatory history of the Inbound
                                                 alternatives.                                          Competitive Multi-Service Agreements
      CONTESTING RECORD PROCEDURE:
                                                 FOR FURTHER INFORMATION CONTACT:                       with Foreign Operators 1 product and
        Current employees wishing to request     Stephen L. Sharfman, General Counsel,                  identifies the TNT Agreement (approved
      amendment of their records should          at 202–789–6820.                                       in Docket No. CP2010–95) as the
      contact their current agency. Former                                                              baseline agreement for purposes of
                                                 SUPPLEMENTARY INFORMATION:
      employees should contact the system                                                               determining the functional equivalence
      manager. Individuals must furnish the      Table of Contents                                      of the instant Agreement.3 Id. at 2. It
      following information for their records                                                           asserts that the instant Agreement fits
                                                 I. Introduction
      to be located and identified.              II. Contents of Filing
                                                                                                        within applicable Mail Classification
        a. Full name(s).                         III. Commission Action                                 Schedule language and addresses
        b. Date of birth.                        IV. Ordering Paragraphs                                functional equivalency with the
        c. Social security number.                                                                      baseline agreement, including similarity
                                                 I. Introduction                                        of cost characteristics. Id. at 3–7. The
        d. Last employing agency (including
      duty station) and approximate date(s) of     On December 4, 2012, the Postal                      Postal Service also identifies differences
      employment (for former Federal             Service filed a notice, pursuant to 39                 between the two contracts, such as the
      employees).                                CFR 3015.5, stating that it has entered                addition of several articles, revisions to
        e. Signature.                            into an additional negotiated service                  existing articles, and new annexes, but
        Individuals requesting amendment         agreement (Agreement) with the                         asserts that these differences do not
      must also comply with the Office’s         Netherlands’ foreign postal operator                   detract from a finding of functional
      Privacy Act regulations on verification    Royal PostNL BV (PostNL).1 The Postal                  equivalency. Id. at 5–7.
      of identity and amendment of records (5    Service seeks to have the inbound                      III. Commission Action
      CFR part 297).                             portion of the Agreement, which
                                                 concerns delivery of inbound Air CP 2                     Notice of establishment of docket. The
      RECORD SOURCE CATEGORIES:
                                                 and EMS in the United States, included                 Commission establishes Docket No.
         Information in this system of records   within the Inbound Competitive Multi-                  CP2013–24 for consideration of matters
      is provided by—                            Service Agreements with Foreign Postal                   3 The Postal Service identifies Governors’
         a. The individual on whom the record
                                                                                                        Decision No. 10–3 as the enabling Governors’
      is maintained.                               1 Notice of United States Postal Service of Filing
                                                                                                        Decision. Id. at 5. The status of the TNT Agreement
         b. Educational institutions.            Functionally Equivalent Inbound Competitive            as the baseline agreement was confirmed in Docket
         c. Agency officials and other           Multi-Service Agreement with a Foreign Postal          No. CP2011–69, Order No. 840, Order Concerning
                                                 Operator, December 4, 2012 (Notice).                   an Additional Inbound Competitive Multi-Service
      individuals or entities.                     2 ‘‘CP’’ is an abbreviation used to identify or      Agreements with Foreign Postal Operators 1
         d. Other sources of information         reference international parcel post (from the French   Negotiated Service Agreement, September 7, 2011.
      maintained in an employee’s OPF, in        phrase colis postaux, ‘‘postal package’’).             See id. at 2.




                                                                 JA318                                                        OPM-000062
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       OPM/GOVT–2
       System Name:
       Employee Performance File System Records.
       System Location:
       Records maintained in this system may be located as follows:
       a. In an Employee Performance File (EPF) maintained in the agency office responsible for maintenance of the employee's
       Official Personnel Folder (OPF) or other agency-designated office. This includes those instances where the agency uses an
       envelope within the OPF in lieu of a separate EPF folder.
       b. In the EPF of Senior Executive Service (SES) appointees where the agency elects to have the file maintained by the
       Performance Review Boards required by 5 U.S.C. 4314(c)(1), or the administrative office supporting the Board.
       c. In any supervisor/manager's work folder maintained in the office by the employee's immediate supervisor/manager or,
       where agencies have determined that records management is better served, in such folders maintained for
       supervisors/managers in a central administrative office.
       d. In an agency's electronic personnel records system.
       e. In an agency microformed EPF.
       Note 1:
       Originals or copies of records covered by this system may be located in more than one location, but if they become part of
       an agency internal system (e.g., administrative or negotiated grievance file), those copies then would be subject to the
       agency's internal Privacy Act implementation guidance regarding their use within the agency's system.
       Note 2:
       The records in this system are ‘owned’ by the Office of Personnel Management (OPM) and should be provided to those
       Office employees who have an official need or use for those records. Therefore, if an employing agency is asked by an
       OPM employee for access to the records within this system, such a request should be honored.
       Categories of Individuals Covered by the System:
       Current and former Federal employees (including SES appointees).
       Categories of Records in the System:
       Records in this system, wherever they are maintained, may include any or all of the following:
       a. Annual summary performance ratings of record issued under employee appraisal systems and any document that
       indicates that the rating is being challenged under administrative procedures (e.g., when the employee files a grievance on
       the rating received).
       b. A document (either the summary rating form itself or a form affixed to it) that identifies the job elements and the
       standards for those elements upon which the rating is based.
       c. Supporting documentation for employee ratings of records, as required by agency rating systems or implementing
       instructions, and which may be filed physically with the rating of record (e.g., productivity and quality control records,
       records of employee counseling, individual development plans, or other such records as specified in agency issuances) and
       maintained, for example in a work folder by supervisors/managers at the work site.
       d. Records on SES appraisals generated by Performance Review Boards, including statements of witnesses and transcripts
       of hearings.
       e. Written recommendations for awards, removals, demotions, denials of within-grade increases, reassignments, training,
       pay increases, cash bonuses, or other performance-based actions (e.g., nominations of SES employees for Meritorious or
       Distinguished Executive), including supporting documentation.
       f. Statements made (letter on or appended to the performance rating document) by the employee (e.g., a statement of
       disagreement with the rating or recommendation), in accordance with agency performance plans and implementing
       instructions, regarding a rating given and any recommendations made based on them.
       Note 3:




                                                                 JA319                                              OPM-000063
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       When a recommendation by a supervisor/manager or a statement made by the employee regarding the rating issued (or a
       copy) becomes part of another Governmentwide system or internal agency file (e.g., an SF 52 when the action is effected
       or when documents or statements of disagreement are placed in a grievance file), that document then becomes subject to
       that system's notice and appropriate OPM or employing agency Privacy Act requirements, respectively, for the system of
       records covering that file.
       g. Records created by Executive Resource Boards regarding performance of an individual in an executive development
       program.
       h. Records concerning performance during the supervisory or managerial probationary period, the SES appointment
       probationary period, or the employee's initial period of probation after appointment.
       i. Notices of commendations, recommendations for training, such as an Individual Development Plan, and advice and
       counseling records that are based on work performance.
       j. Copies of supervisory ratings used in considering employees for promotion or other position changes originated in
       conjunction with agency merit promotion programs when specifically authorized for retention in the EPF or work folder.
       k. Performance-related material that may be maintained in the work folder to assist the supervisor/manager in accurately
       assessing employee performance. Such material may include transcripts of employment and training history,
       documentation of special licenses, certificates, or authorizations necessary in the performance of the employee duties, and
       other such records that agencies determine to be appropriate for retention in the work folder.
       l. Standard Form 7B cards. (While the use of the SF 7B Card system was cancelled effective December 31, 1992, this
       system notice will cover any of those cards still in existence.)
       Note 4:
       To the extent that performance records covered by this system are maintained in either an EPF, supervisor/manager work
       folder, or an agency's electronic or microform record system, they are considered covered under this system of records.
       Further, when copies of records filed in the employee's OPF are maintained as general records related to performance
       (item k above), those records are to be considered as being covered by this system and not the OPM/GOVT–1 system.
       This notice does not cover these records (or copies) when they become part of a grievance file or a 5 CFR parts 432, 752,
       or 754 file (documents maintained in these files are covered by the OPM/GOVT–3 system of records, while grievance
       records are covered under an agency-specific system), or when they become part of an appeal or discrimination complaint
       file as such documents are considered to be part of either the system of appeal records under the control of the Merit
       Systems Protection Board (MSPB) or discrimination complaints files under the control of the Equal Employment
       Opportunity Commission (EEOC).
       When an agency retains copies of records from this system in another system of records, not covered by this or another
       OPM, MSPB, or EEOC Government-wide system notice, the agency is solely responsible for responding to any Privacy
       Act issues raised concerning these documents.
       The Office has adopted a position that when supervisors/managers retain personal "supervisory" notes, i.e., information on
       employees that the agency exercises no control and does not require or specifically describe in its performance system,
       which remain solely for the personal use of the author and are not provided to any other person, and which are retained or
       discarded at the author's sole discretion, such notes are not subject to the Privacy Act and are, therefore, not considered
       part of this system. Should an agency choose to adopt a position that such notes are subject to the Act, that agency is solely
       responsible for dealing with Privacy Act matters, including the requisite system notice, concerning them.
       Authority for Maintenance of the System:
       Sections 1104, 3321, 4305, and 5405 of title 5, U.S. Code, and Executive Order 12107.
       Purpose:
       These records are maintained to ensure that all appropriate records on an employee's performance are retained and are
       available (1) To agency officials having a need for the information; (2) to employees; (3) to support actions based on the
       records; (4) for use by the OPM in connection with its personnel management evaluation role in the executive branch; and
       (5) to identify individuals for personnel research.
       Routine Uses of Records Maintained in the System, Including Categories of Users and the Purpose of Such Uses:
       a. To disclose information to the Merit Systems Protection Board or the Office of Special Counsel in connection with
       appeals, special studies of the civil service and other merit systems, review of Office rules and regulations, investigations




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       of alleged or possible prohibited personnel practices, and other functions as promulgated in 5 U.S.C. chapter 12, or for
       such other functions as may be authorized by law.
       b. To disclose information to the EEOC when requested in connection with investigations into alleged or possible
       discrimination practices in the Federal sector, examination of Federal Affirmative Action programs, compliance by
       Federal agencies with the Uniform Guidelines on Employee Selection Procedures, or other functions vested in the
       Commission.
       c. To disclose information to the Federal Labor Relations Authority (including its General Counsel) when requested in
       connection with the investigation and resolution of allegations of unfair labor practices, in connection with the resolution
       of exceptions to arbitrator's awards where a question of material fact is raised, and matters before the Federal Service
       Impasses Panel.
       d. To consider and select employees for incentive awards, quality-step increases, merit increases and performance awards,
       or other pay bonuses, and other honors and to publicize those granted. This may include disclosure to public and private
       organizations, including news media, which grant or publicize employee awards or honors.
       e. To disclose information to an arbitrator to resolve disputes under a negotiated grievance procedure or to officials of
       labor organizations recognized under 5 U.S.C. chapter 71 when relevant and necessary to their duties of exclusive
       representation.
       f. To disclose to an agency in the executive, legislative, or judicial branch, or to the District of Columbia's government in
       response to its request, or at the initiation of the agency maintaining the records, information in connection with hiring or
       retaining of an employee; issuing a security clearance; conducting a security or suitability investigation of an individual;
       classifying jobs; letting a contract; issuing a license, grant, or other benefits by the requesting agency; or the lawful
       statutory, administrative, or investigative purposes of the agency to the extent that the information is relevant and
       necessary to the decision on the matter.
       g. To disclose, in response to a request for discovery or for appearance of a witness, information that is relevant to the
       subject matter involved in a pending judicial or administrative proceeding.
       h. To disclose information to a congressional office from the record or an individual in response to an inquiry from that
       congressional office made at the request of the individual.
       i. To disclose information to another Federal agency, to a court, or a party in litigation before a court or in an
       administrative proceeding being conducted by a Federal agency, when the Government is a party to the judicial or
       administrative proceeding.
       j. To disclose information to the Department of Justice, or in a proceeding before a court, adjudicative body, or other
       administrative body before which the agency is authorized to appear, when:
       1. The agency, or any component thereof; or
       2. Any employee of the agency in his or her official capacity; or
       3. Any employee of the agency in his or her individual capacity where the Department of Justice or the agency has agreed
       to represent the employee; or
       4. The United States, when the agency determines that litigation is likely to affect the agency or any of its components, is a
       party to litigation or has an interest in such litigation, and the use of such records by the Department of Justice or the
       agency is deemed by the agency to be relevant and necessary to the litigation, provided, however, that in each case it has
       been determined that the disclosure is compatible with the purpose for which the records were collected.
       k. By the National Archives and Records Administration in records management inspections and its role as Archivist.
       l. By the OPM or employing agency to locate individuals for personnel research or survey response and in producing
       summary descriptive statistics and analytical studies to support the function for which the records are collected and
       maintained, or for related workforce studies. While published statistics and studies do not contain individual identifiers, in
       some instances the selection of elements of data included in the study may be structured in such a way as to make the data
       individually identifiable by inference.
       m. To disclose pertinent information to the appropriate Federal, State, or local government agency responsible for
       investigating, prosecuting, enforcing, or implementing a statute, rule, regulation, or order, where the agency maintaining
       the record becomes aware of an indication of a violation or potential violation of civil or criminal law or regulation.




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       n. To disclose information to any member of an agency's Performance Review Board or other board or panel when the
       member is not an official of the employing agency. The information would then be used for approving or recommending
       performance awards, nominating for meritorious and distinguished executive ranks, and removal, reduction-in-grade, and
       other personnel actions based on performance.
       o. To disclose to Federal, State, local, and professional licensing boards or Boards of Medical Examiners, when such
       records reflect on the qualifications of individuals seeking to be licensed.
       p. To disclose to contractors, grantees, or volunteers performing or working on a contract, service, grant, cooperative
       agreement, or job for the Federal Government.
       q. To disclose records on former Panama Canal Commission employees to the Republic of Panama for use in employment
       matters.
       Policies and Practices for Storing, Retrieving, Safeguarding, Retaining and Disposing of Records in the System:
       Storage:
       Records are maintained in file folders, envelopes, and on magnetic tapes, disks, microfilm, or microfiche.
       Retrievability:
       Records are retrieved by the name and social security number of the individual on whom they are maintained.
       Safeguards:
       Records are maintained in file folders or envelopes, on electronic media, magnetic tape, disks, or microforms and are
       stored in locked desks, metal filing cabinets, or in a secured room with access limited to those whose official duties require
       access. Additional safeguarding procedures include the use of sign-out sheets and restrictions on the number of employees
       able to access electronic records through use of access codes and logs.
       Retention and Disposal:
       Records on former non-SES employees will generally be retained no longer than 1 year after the employee leaves his or
       her employing agency. Records on former SES employees may be retained up to 5 years under 5 U.S.C. 4314.
       a. Summary performance appraisals (and related records as the agency prescribes) on SES appointees are retained for 5
       years and ratings of record on other employees for 4 years, except as shown in paragraph b. below, and are disposed of by
       shredding, burning, erasing of disks, or in accordance with agency procedures regarding destruction of personnel records,
       including giving them to the individual. When a non-SES employee transfers to another agency or leaves Federal
       employment, ratings of record and subsequent ratings (4 years old or less) are to be filed on the temporary side of the OPF
       and forwarded with the OPF.
       b. Ratings of unacceptable performance and related documents, pursuant to 5 U.S.C. 4303(d), are destroyed after the
       employee completes 1 year of acceptable performance from the date of the proposed removal or reduction-in-grade notice.
       (Destruction to be no later than 30 days after the year is up.)
       c. When a career appointee in the SES accepts a Presidential appointment pursuant to 5 U.S.C. 3392(c), the employee's
       performance folder remains active so long as the employee remains employed under the Presidential appointment and
       elects to have certain provisions of 5 U.S.C. relating to the Service apply.
       d. When an incumbent of the SES transfers to another position in the Service, ratings and plans 5 years old or less shall be
       forwarded to the gaining agency with the individual's OPF.
       e. Some performance-related records (e.g., documents maintained to assist rating officials in appraising performance or
       recommending remedial actions or to show that the employee is currently licensed or certified) may be destroyed after 1
       year.
       f. Where any of these documents are needed in connection with administrative or negotiated grievance procedures, or
       quasi-judicial or judicial proceedings, they may be retained as needed beyond the retention schedules identified above.
       g. Generally, agencies retain records on former employees for no longer than 1 year after the employee leaves.
       Note 5:
       When an agency retains an electronic or microform version of any of the above documents, retention of such records
       longer than shown is permitted (except for those records subject to 5 U.S.C. 4303(d)) for agency use or for historical or




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       statistical analysis, but only so long as the record is not used in a determination directly affecting the individual about
       whom the record pertains (after the manual record has been or should have been destroyed).
       System Manager(s) and Address:
       a. Deputy Associate Director, Center for HR Systems Requirements and Strategies, Room 6H31, U.S. Office of Personnel
       Management, 1900 E Street, NW., Washington, DC 20415.
       b. For current Federal employees, OPM has delegated to the employing agency the Privacy Act responsibilities concerning
       access, amendment, and disclosure of the record within this system notice.
       Notification Procedure:
       Individuals wishing to inquire whether this system contains information about them should contact their servicing
       personnel office, supervisor/manager, Performance Review Board office, or other agency designated office maintaining
       their performance-related records where they are or were employed. Individuals must furnish the following information for
       their records to be located and identified:
       a. Full name(s).
       b. Social Security number.
       c. Position occupied and unit where employed.
       Records Access Procedure:
       Individuals wishing access to their records should contact the appropriate office indicated in the Notification Procedure
       section where they are or were employed. Individuals must furnish the following information for their records to be
       located and identified:
       a. Full name(s).
       b. Social security number.
       c. Position occupied and unit where employed.
       Individuals requesting access to records must also comply with the OPM's Privacy Act regulations on verification of
       identity and access to records (5 CFR part 297).
       Contesting Record Procedure:
       Individuals wishing to request amendment to their records should contact the appropriate office indicated in the
       Notification Procedure section where they are or were employed. Individuals must furnish the following information for
       their records to be located and identified:
       a. Full name(s).
       b. Social security number.
       c. Position occupied and unit where employed.
       Individuals requesting amendment must also comply with the OPM's Privacy Act regulations on verification of identity
       and amendment of records (5 CFR part 297).
       Records Source Categories:
       Records in this system are obtained from:
       a. Supervisors/managers.
       b. Performance Review Boards.
       c. Executive Resource Boards.
       d. Other individuals or agency officials.
       e. Other agency records.
       f. The individual to whom the records pertain.




                                                                  JA323                                                OPM-000067
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      Government Reform of the House of              SECURITIES AND EXCHANGE                       liquidation were paid by the applicant.
      Representatives, the Committee on              COMMISSION                                    Applicant also has retained $7,836,833
      Homeland Security and Governmental                                                           for the purpose of paying outstanding
                                                     [Investment Company Act Release No.
      Affairs of the Senate, and the Office of       34426]
                                                                                                   payments to service providers.
      Management and Budget (OMB),                                                                    Filing Dates: The application was
      pursuant to 5 U.S.C. 552a(r) and OMB           Notice of Applications for                    filed on July 21, 2021, and amended on
      Circular A–108, ‘‘Federal Agency               Deregistration Under Section 8(f) of the      November 15, 2021.
      Responsibilities for Review, Reporting,        Investment Company Act of 1940                   Applicant’s Address: andrew.morris@
      and Publication under the Privacy Act,’’                                                     feim.com.
                                                     November 26, 2021.
      dated December 23, 2016. This modified                                                       Gabelli Go Anywhere Trust [File No.
                                                        The following is a notice of
      system of records will be included in                                                        811–23035]
                                                     applications for deregistration under
      OPM’s inventory of record systems.                                                              Summary: Applicant, a closed-end
                                                     section 8(f) of the Investment Company
      Alexys Stanley,                                Act of 1940 for the month of November         investment company, seeks an order
      Regulatory Affairs Analyst.                    2021. A copy of each application may be       declaring that it has ceased to be an
                                                     obtained via the Commission’s website         investment company. On October 28,
      SYSTEM NAME AND NUMBER:                        by searching for the file number, or for      2021, applicant made liquidating
                                                     an applicant using the Company name           distributions to its shareholders based
        Recruiting, Examining, and Placement         box, at http://www.sec.gov/search/            on net asset value. Expenses of $21,170
      Records, OPM/GOVT–5.                           search.htm or by calling (202) 551–           incurred in connection with the
                                                     8090. An order granting each                  liquidation were paid by the applicant.
      SECURITY CLASSIFICATION:                       application will be issued unless the         Applicant also has retained $221,497 for
          Unclassified.                              SEC orders a hearing. Interested persons      the purpose of paying outstanding
                                                     may request a hearing on any                  expenses.
      SYSTEM LOCATION:                               application by emailing the SEC’s                Filing Date: The application was filed
                                                     Secretary at Secretarys-Office@sec.gov        on November 10, 2021.
        Human Resources Solutions, Office of         and serving the relevant applicant with          Applicant’s Address:
      Personnel Management, 1900 E Street            a copy of the request by email, if an         Thomas.DeCapo@skadden.com.
      NW, Washington, DC 20415, has                  email address is listed for the relevant
      government-wide responsibility for the                                                       Sound Point Floating Rate 2023 Target
                                                     applicant below, or personally or by          Term Fund [File No. 811–23119]
      records in this system of records.             mail, if a physical address is listed for
      Individual agencies have responsibility        the relevant applicant below. Hearing            Summary: Applicant, a closed-end
      for the records pertaining to their            requests should be received by the SEC        investment company, seeks an order
      applicants.                                    by 5:30 p.m. on December 21, 2021, and        declaring that it has ceased to be an
                                                     should be accompanied by proof of             investment company. Applicant has
      SYSTEM MANAGER(S):                             service on applicants, in the form of an      never made a public offering of its
                                                     affidavit or, for lawyers, a certificate of   securities and does not propose to make
        Associate Director, Human Resources
                                                     service. Pursuant to Rule 0–5 under the       a public offering or engage in business
      Solutions, U.S. Office of Personnel                                                          of any kind.
      Management, 1900 E Street NW, Room             Act, hearing requests should state the
                                                     nature of the writer’s interest, any facts       Filing Dates: The application was
      6H31, Washington, DC 20415.                                                                  filed on August 3, 2021, and amended
                                                     bearing upon the desirability of a
                                                     hearing on the matter, the reason for the     on October 29, 2021.
      CATEGORIES OF RECORDS IN THE SYSTEM:
                                                     request, and the issues contested.               Applicant’s Address: wruberti@
      *     *     *      *    *                      Persons who wish to be notified of a          soundpointcap.com, mana.behbin@
        m. Records collected or generated in         hearing may request notification by           morganlewis.com.
      the process of onboarding an applicant         writing to the Commission’s Secretary at         For the Commission, by the Division of
      selected to fill a vacant position, to         Secretarys-Office@sec.gov.                    Investment Management, pursuant to
      include, for example, vaccination              ADDRESSES: The Commission:                    delegated authority.
      records, proof of citizenship, and             Secretarys-Office@sec.gov.                    J. Matthew DeLesDernier,
      agency-specific documentation                  FOR FURTHER INFORMATION CONTACT:              Assistant Secretary.
      necessary for the onboarding process.          Shawn Davis, Assistant Director, at           [FR Doc. 2021–26137 Filed 11–30–21; 8:45 am]
      *     *     *      *    *                      (202) 551–6413 or Chief Counsel’s             BILLING CODE 8011–01–P
                                                     Office at (202) 551–6821; SEC, Division
      HISTORY:                                       of Investment Management, Chief
                                                     Counsel’s Office, 100 F Street NE,            DEPARTMENT OF STATE
         61 FR 36919 (July 15, 1996); 65 FR          Washington, DC 20549–8010.
      24731 (April 27, 2000); 71 FR 35341                                                          [Public Notice: 11598]
      (June 19, 2006); 79 FR 16834 (March 26,        First Eagle Senior Loan Fund [File No.
      2014); 80 FR 74815 (November 30,               811–22874]                                    Designation of Sanaullah Ghafari,
      2015).                                                                                       Sultan Aziz Azam, and Maulawi Rajab
                                                       Summary: Applicant, a closed-end            as Specially Designated Global
      [FR Doc. 2021–26086 Filed 11–30–21; 8:45 am]   investment company, seeks an order            Terrorists
      BILLING CODE 6325–43–P                         declaring that it has ceased to be an
                                                     investment company. On July 16, 2021,           Acting under the authority of and in
                                                     and September 17, 2021, applicant             accordance with section 1(a)(ii)(B) of
                                                     made liquidating distributions to its         E.O. 13224 of September 23, 2001, as
                                                     shareholders based on net asset value.        amended by E.O. 13268 of July 2, 2002,
                                                     Expenses of approximately $872,000            E.O. 13284 of January 23, 2003, and E.O.
                                                     incurred in connection with the               13886 of September 9, 2019, I hereby




                                                                  JA325                                                OPM-000069
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                                         JA326                         OPM-000070
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      publish in the Federal Register notice of    including name, date of birth, Social         requirements, decisions on superior
      the existence and character, as well as      Security Number, and home address.            qualification appointments, temporary
      any new use or intended new use of           These records pertain to assembled and        appointments outside a register, and
      records maintained by the agency. 5          unassembled examining procedures and          employee status determinations.
      U.S.C. 552a(e)(4) and (11).                  contain information on both competitive       Authority for making decisions on many
      DATES: These changes will become             examinations and on certain                   of these actions has also been delegated
      effective without further notice on May      noncompetitive actions, such as               to agencies. The records retained by the
      5, 2014, unless we receive comments          determinations of time-in-grade               Office on such actions and copies of
      that result in a contrary determination.     restriction waivers, waiver of                such files retained by the agency
                                                   qualification requirement                     submitting the request to the Office,
      ADDRESSES: Send written comments to
                                                   determinations, and variations in             along with records that agencies
      the Director, Integrated Hiring
                                                   regulatory requirements in individual         maintain as a result of the Office’s
      Solutions, Office of the Chief
                                                   cases.                                        delegations of authorities, are
      Information Officer, U.S. Office of             This system includes such records as:
      Personnel Management, 1900 E Street                                                        considered part of this system of
                                                      a. Applications for employment that        records.
      NW., Room 44690, Washington, DC              contain information on work and                 h. Records retained to support
      20415.                                       education, military service, convictions      Schedule A appointments of severely
      FOR FURTHER INFORMATION CONTACT: Paul        for offenses against the law, military        physically handicapped individuals,
      Craven, Director, Integrated Hiring          service, and indications of specialized       retained both by the Office and agencies
      Solutions, paul.craven@opm.gov.              training or receipt of awards or honors.      acting under the Office delegated
      SUPPLEMENTARY INFORMATION: The Office        These records may also include copies         authorities, are part of this system.
      of Personnel Management’s (OPM)              of correspondence between the                   i. Agency applicant supply file
      system of record notices subject to the      applicant and the Office or agency.           systems (when the agency retains
      Privacy Act of 1974 (5 U.S.C. 552a), as         b. Results of written exams and            applications, resumes, and other related
      amended, have been published in the          indications of how information in the         records for hard-to-fill or unique
      Federal Register. The proposed changes       application was rated. These records          positions, for future consideration),
      consist of the deletion of an OPM office     also contain information on the ranking       along with any pre-employment
      from the System Locations, and the           of an applicant, his or her placement on      vouchers obtained in connection with
      designation of a replacement for the         a list of eligibles, what certificates        an agency’s processing of an
      existing System Manager. Both changes        applicant’s names appeared on, an             application, are included in this system.
      reflect the results of an OPM re-            agency’s request for Office approval of         j. Records derived from the Office-
      organization that eliminated the             the agency’s objection to an eligible’s       developed or agency-developed
      position previously named as System          qualifications and the Office’s decision      assessment center exercises.
      Manager and the office previously            in the matter, an agency’s request for          k. Case files related to medical
      named in the Locations listing.              Office approval for the agency to pass        suitability determinations and appeals.
                                                   over an eligible and the Office’s               l. Records related to an applicant’s
      U.S. Office of Personnel Management.         decision in the matter, and an agency’s       examination for use of illegal drugs
      Katherine Archuleta,                         decision to object/pass over an eligible      under provisions of Executive Order
      Director.                                    when the agency has authority to make         12564. Such records may be retained by
                                                   such decisions under agreement with           the agency (e.g., evidence of confirmed
      OPM/GOVT–5
                                                   the Office.                                   positive test results) or by a contractor
      SYSTEM NAME:                                    c. Records regarding the Office’s final    laboratory (e.g., the record of the testing
        Recruiting, Examining, and Placement       decision on an agency’s decision to           of an applicant, whether negative, or
      Records.                                     object/pass over an eligible for              confirmed or unconfirmed positive test
                                                   suitability or medical reasons or when        result).
      SYSTEM LOCATION:                             the objection/pass over decision applies
                                                   to a compensable preference eligible          NOTE 1:
        Office of Personnel Management,
      1900 E Street NW., Washington, DC            with 30 percent or more disability.             Only Routine Use ‘p’ identified for
      20415, OPM regional and area offices;        (Does not include a rating of ineligibility   this system of records is applicable to
      and personnel or other designated            for employment because of a confirmed         records relating to drug testing under
      offices of Federal agencies that are         positive test result under Executive          Executive Order 12564. Further, such
      authorized to make appointments and to       Order 12564.)                                 records shall be disclosed only to a very
      act for the Office by delegated authority.      d. Responses to and results of             limited number of officials within the
                                                   approved personality or similar tests         agency, generally only to the agency
      CATEGORIES OF INDIVIDUALS COVERED BY THE     administered by the Office or agency.         Medical Review Official (MRO), the
      SYSTEM:                                         e. Records relating to rating appeals      administrator of the agency Employee
        a. Persons who have applied to the         filed with the Office or agency.              Assistance Program, and any
      Office or agencies for Federal                  f. Registration sheets, control cards,     supervisory or management official
      employment and current and former            and related documents regarding               within the employee’s agency having
      Federal employees submitting                 Federal employees requesting                  authority to take the adverse personnel
      applications for other positions in the      placement assistance in view of pending       action against the employee.
      Federal service.                             or realized displacement because of
                                                   reduction in force, transfer or               NOTE 2:
        b. Applicants for Federal employment
      believed or found to be unsuitable for       discontinuance of function, or                  OPM does not intend that records
      employment on medical grounds.               reorganization.                               created by agencies in connection with
                                                      g. Records concerning non-                 the agency’s Merit Promotion Plan
      CATEGORIES OF RECORDS IN THE SYSTEM:         competitive action cases referred to the      program be included in the term
        In general, all records in this system     Office for decision. These files include      ‘Applicant Supply File’ as used within
      contain identifying information              such records as waiver of time-in-grade       this notice. It is OPM’s position that




                                                                JA327                                              OPM-000071
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      Merit Promotion Plan records are not a      to Federal agencies for consideration for        1. The agency, or any component
      system of records within the meaning of     employment, transfer, reassignment,           thereof; or
      the Privacy Act as such records are         reinstatement, or promotion.                     2. Any employee of the agency in his
      usually filed by a vacancy                     b. With the permission of the              or her official capacity; or
      announcement number or some other           applicant, to refer applicants to State          3. Any employee of the agency in his
      key that is not a unique personnel          and local governments, congressional          or her individual capacity where the
      identifier. Agencies may choose to          offices, international organizations, and     Department of Justice or the agency has
      consider such records as within the         other public offices for employment           agreed to represent the employee; or
      meaning of a system of records as used      consideration.                                   4. The United States, when the agency
      in the Privacy Act, but if they do so,         c. To disclose pertinent information to    determines that litigation is likely to
      they are solely responsible for             the appropriate Federal, State, or local      affect the agency or any of its
      implementing Privacy Act requirements,      agency responsible for investigating,         components, is a party to litigation or
      including establishment and notice of a     prosecuting, enforcing, or implementing       has an interest in such litigation, and
      system of records pertaining to such        a statute, rule, regulation, or order,        the use of such records by the
      records.                                    when the disclosing agency becomes            Department of Justice or the agency is
                                                  aware of an indication of a violation or      deemed by the agency to be relevant and
      NOTE 3:                                     potential violation of civil or criminal
        To the extent that an agency utilizes                                                   necessary to the litigation, provided,
                                                  law or regulation.                            however, that in each case it has been
      an automated medium in connection              d. To disclose information to any
      with maintenance of records in this                                                       determined that the disclosure is
                                                  source from which additional
      system, the automated versions of these                                                   compatible with the purpose for which
                                                  information is requested (to the extent
      records are considered covered by this                                                    the records were collected.
                                                  necessary to identify the individual,
      system of records.                                                                           j. By the National Archives and
                                                  inform the source of the purposes of the
                                                                                                Records Administration in records
      AUTHORITY FOR MAINTENANCE OF THE SYSTEM:
                                                  request, and to identify the type of
                                                                                                management inspections and its role as
                                                  information requested), when necessary
        5 U.S.C. 1302, 3109, 3301, 3302, 3304,                                                  Archivist.
                                                  to obtain information relevant to an
      3305, 3306, 3307, 309, 3313, 3317, 3318,                                                     k. By the agency maintaining the
                                                  agency decision concerning hiring or
      3319, 3326, 4103, 4723, 5532, and 5533,                                                   records or by the Office to locate
                                                  retaining an employee, issuing a
      and Executive Order 9397.                                                                 individuals for personnel research or
                                                  security clearance, conducting a
                                                                                                survey response or in producing
      PURPOSE(S):                                 security or suitability investigation of an
                                                                                                summary descriptive statistics and
         The records are used in considering      individual, classifying positions, letting
                                                                                                analytical studies in support of the
      individuals who have applied for            a contract, or issuing a license, grant or
                                                                                                function for which the records are
      positions in the Federal service by         other benefit.
                                                     e. To disclose information to a Federal    collected and maintained, or for related
      making determinations of qualifications
                                                  agency, in response to its request, in        workforce studies. While published
      including medical qualifications, for
                                                  connection with hiring or retaining an        statistics and studies do not contain
      positions applied for, and to rate and
                                                  employee, issuing a security clearance,       individual identifiers, in some instances
      rank applicants applying for the same or
                                                  conducting a security or suitability          the selection of elements of data
      similar positions. They are also used to
                                                  investigation of an individual,               included in the study may be structured
      refer candidates to Federal agencies for
                                                  classifying positions, letting a contract,    in such a way as to make the data
      employment consideration, including
                                                  or issuing a license, grant, or other         individually identifiable by inference.
      appointment, transfer, reinstatement,
      reassignment, or promotion. Records         benefit by the requesting agency, to the         l. To disclose information to the Merit
      derived from the Office-developed or        extent that the information is relevant       Systems Protection Board or the Office
      agency-developed assessment center          and necessary to the requesting agency’s      of the Special Counsel in connection
      exercises may be used to determine          decision in the matter.                       with appeals, special studies of the civil
      training needs of participants. These          f. To disclose information to the          service and other merit systems, review
      records may also be used to locate          Office of Management and Budget at any        of Office rules and rules and
      individuals for personnel research.         stage in the legislative coordination and     regulations, investigations of alleged or
                                                  clearance process in connection with          possible prohibited personnel practices,
      ROUTINE USES OF RECORDS MAINTAINED IN THE
                                                  private relief legislation as set forth in    and such other functions; e.g., as
      SYSTEM, INCLUDING CATEGORIES OF USERS AND                                                 prescribed in 5 U.S.C. chapter 12, or as
      THE PURPOSE OF SUCH USES:
                                                  OMB Circular No. A–19.
                                                     g. To provide information to a             may be authorized by law.
      NOTE 4:                                     congressional office from the record of          m. To disclose information to the
        With the exception of Routine Use ‘p,’    an individual in response to an inquiry       Equal Employment Opportunity
      none of the Other Routine Uses              from that congressional office made at        Commission when requested in
      identified for this system of records are   the request of that individual.               connection with investigations into
      applicable to records relating to drug         h. To disclose information to another      alleged or possible discrimination
      testing under Executive Order 12564.        Federal agency, to a court, or a party in     practices in the Federal sector,
      Further, such records shall be disclosed    litigation before a court or in an            examination of Federal affirmative
      only to a very limited number of            administrative proceeding being               employment programs, compliance by
      officials within that agency, generally     conducted by a Federal agency, when           Federal agencies with the Uniform
      only to the agency Medical Review           the Government is a party to a judicial       Guidelines or Employee Selection
      Officer (MRO), the administrator of the     or administrative proceeding.                 Procedures, or other functions vested in
      agency’s Employee Assistance Program,          i. To disclose information to the          the Commission.
      and the management official                 Department of Justice, or in a                   n. To disclose information to the
      empowered to recommend or take              proceeding before a court, adjudicative       Federal Labor Relations Authority or its
      adverse action affecting the individual.    body, or other administrative body            General Counsel when requested in
        a. To refer applicants, including         before which the agency is authorized to      connection with investigations of
      current and former Federal employees        appear, when:                                 allegations of unfair labor practices or




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      matters before the Federal Service            few months to 5 years, e.g., applicant        regulations on verification of identity
      Impasses Panel.                               records that are part of medical              and access to records (5 CFR part 297).
        o. To disclose, in response to a            determination case files or medical
                                                                                                  CONTESTING RECORD PROCEDURE:
      request for discovery or for an               suitability appeal files are retained for 3
      appearance of a witness, information          years from completion of action on the           Specific materials in this system have
      that is relevant to the subject matter        case. Most records are retained for a         been exempted from Privacy Act
      involved in a pending judicial or             period of 1 to 2 years. Some records,         provisions at 5 U.S.C. 552a(d), regarding
      administrative proceeding.                    such as individual applications, become       amendment of records. The section of
        p. To disclose the results of a drug test   part of the person’s permanent official       this notice titled ‘Systems Exempted
      of a Federal employee pursuant to an          records when hired, while some records        from Certain Provisions of the Act’
      order of a court of competent                 (e.g., non-competitive action case files),    indicates the kinds of material
      jurisdiction where required by the            are retained for 5 years. Some records        exempted and the reasons for exempting
      United States Government to defend            are destroyed by shredding or burning         them from amendment. An individual
      against any challenge against any             while magnetic tapes or disks are             may contact the agency or the Office
      adverse personnel action.                     erased.                                       where the application is filed at any
        q. To disclose information to Federal,                                                    time to update qualifications, education,
      State, local, and professional licensing      SYSTEM MANAGER(S) AND ADDRESS:                experience, or other data maintained in
      boards, Boards of Medical Examiners, or         Director, Integrated Hiring Solutions,      the system.
      to the Federation of State Medical            Office of the Chief Information Officer,         Such regular administrative updating
      Boards or a similar non-government            U.S. Office of Personnel Management,          of records should not be requested
      entity which maintains records                1900 E Street NW., Room 44690,                under the provisions of the Privacy Act.
      concerning the issuance, retention, or        Washington, DC 20415.                         However, individuals wishing to request
      revocation of licenses, certifications, or                                                  amendment of other records under the
                                                    NOTIFICATION PROCEDURE:
      registration necessary to practice an                                                       provisions of the Privacy Act should
      occupation, profession, or specialty, in        Individuals wishing to inquire              contact the agency or the OPM where
      order to obtain information relevant to       whether this system of records contains       the application was made or the
      an agency decision concerning the             information about them should contact         examination was taken. Individuals
      hiring, retention, or termination of an       the agency or OPM where application           must provide the following information
      employee or to inform a Federal agency        was made or examination was taken.            for their records to be located and
      or licensing board or the appropriate         Individuals must provide the following        identified:
      non-government entity about the health        information for their records to be              a. Name.
      care practice of a terminated, resigned,      located and identified:                          b. Date of birth.
      or retired health care employee whose           a. Name.                                       c. Social Security Number.
      professional health care activity so            b. Date of birth.                              d. Identification number (if known).
                                                      c. Social Security Number.                     e. Approximate date of record.
      significantly failed to conform to
                                                      d. Identification number (if known).           f. Title of examination or
      generally accepted standards of                 e. Approximate date of record.
      professional medical practice as to raise                                                   announcement with which concerned.
                                                      f. Title of examination or                     g. Geographic area in which
      reasonable concern for the health and         announcement with which concerned.
      safety of patients in the private sector or                                                 consideration was requested.
                                                      g. Geographic area in which                    Individuals requesting amendment
      from another Federal agency.                  consideration was requested.
        r. To disclose information to                                                             must also comply with the OPM’s
      contractors, grantees, or volunteers          RECORD ACCESS PROCEDURE:                      Privacy Act regulations on verification
      performing or working on a contract,                                                        of identity and amendment of records (5
                                                       Specific materials in this system have
      service, grant, cooperative agreement, or                                                   CFR part 297).
                                                    been exempted from Privacy Act
      job for the Federal Government.               provisions at 5 U.S.C. (c)(3) and (d),        NOTE 5:

      POLICIES AND PRACTICES FOR STORING,
                                                    regarding access to records.                    In responding to an inquiry or a
      RETRIEVING, SAFEGUARDING, RETAINING AND
                                                       The section of this notice titled          request for access or amendment,
      DISPOSING OF RECORDS IN THE SYSTEM:           ‘‘Systems Exempted from Certain               resource specialists may contact the
                                                    Provisions of the Act’’ indicates the         OPM’s area office that provides
      STORAGE:
                                                    kind of material exempted and the             examining and rating assistance for help
        Records are maintained on magnetic          reasons for exempting them from access.
      tapes, disk, punched cards, microfiche,                                                     in processing the request.
                                                    Individuals wishing to request access to
      cards, lists, and forms.                      their non-exempt records should contact       RECORD SOURCE CATEGORIES:

      RETRIEVABILITY:                               the agency or the OPM where                     Information in this system of records
        Records are retrieved by the name,          application was made or examination           comes from the individual to whom it
      date of birth, social security number,        was taken. Individuals must provide the       applies or is derived from information
      and/or identification number assigned         following information for their records       the individual supplied, reports from
      to the individual on whom they are            to be located and identified:                 medical personnel on physical
      maintained.                                      a. Name.                                   qualifications, results of examinations
                                                       b. Date of birth.                          that are made known to applicants,
      SAFEGUARDS:                                      c. Social Security Number.                 agencies, and OPM records, and
        Records are maintained in a secured            d. Identification number (if known).       vouchers supplied by references or
      area or automated media with access              e. Approximate date of record.             other sources that the applicant lists or
      limited to authorized personnel whose            f. Title of examination or                 that are developed.
      duties require access.                        announcement with which concerned.
                                                       g. Geographic area in which                SYSTEMS EXEMPTED FROM CERTAIN PROVISIONS
      RETENTION AND DISPOSAL:                       consideration was requested.                  OF THE ACT:
        Records in this system are retained for        Individuals requesting access must          This system contains investigative
      varying lengths of time, ranging from a       also comply with the OPM’s Privacy Act        materials that are used solely to




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      determine the appropriateness of a            n. Test answer sheets.                      under Section 12 of the Exchange Act
      request for approval of an objection to     [FR Doc. 2014–06593 Filed 3–25–14; 8:45 am]   (15 U.S.C. 78l) (which offer, if
      an eligible’s qualifications for Federal    BILLING CODE 6325–39–P
                                                                                                consummated, would cause that person
      civilian employment or vouchers                                                           to own over 5% of that class of the
      received during the processing of an                                                      securities) must file a Schedule TO. The
      application. The Privacy Act, at 5 U.S.C.                                                 purpose of Schedule TO is to improve
                                                  POSTAL SERVICE
      552a(k)(5), permits an agency to exempt                                                   communications between public
      such investigative material from certain    Board of Governors; Sunshine Act              companies and investors before
      provisions of the Act, to the extent that   Meeting                                       companies file registration statements
      release of the material to the individual                                                 involving tender offer statements. This
      whom the information is about would—        DATES AND TIMES: April 8, 2014, at 9:00       information is made available to the
        a. Reveal the identity of a source who    a.m.                                          public. The information provided on
      furnished information to the                PLACE: Washington, DC.                        Schedule TO is mandatory. Schedule
      Government under an express promise                                                       TO takes approximately 43.5 hours per
                                                  STATUS: Closed.
      (granted on or after September 27, 1975)                                                  response and is filed by approximately
      that the identity of the source would be    MATTERS TO BE CONSIDERED:                     820 issuers annually. We estimate that
      held in confidence; or                      Tuesday, April 8, 2014 at 9:00 a.m.           50% of the 43.5 hours per response
        b. Reveal the identity of a source who,                                                 (21.75 hours) is prepared by the issuer
      prior to September 27, 1975, furnished        1. Strategic Issues.                        for an annual reporting burden of 17,835
      information to the Government under an        2. Financial Matters.                       hours (21.75 hours per response × 820
      implied promise that the identity of the      3. Pricing.                                 responses).
      source would be held in confidence.           4. Personnel Matters and                      An agency may not conduct or
        This system contains testing and          Compensation Issues.                          sponsor, and a person is not required to
      examination materials used solely to          5. Governors’ Executive Session—            respond to, a collection of information
      determine individual qualifications for     Discussion of prior agenda items and          unless it displays a currently valid
      appointment or promotion in the             Board Governance.                             control number.
      Federal service. The Privacy Act, at 5      CONTACT PERSON FOR MORE INFORMATION:            The public may view the background
      U.S.C. 552a(k)(6), permits an agency to     Julie S. Moore, Secretary of the Board,       documentation for this information
      exempt all such testing or examination      U.S. Postal Service, 475 L’Enfant Plaza       collection at the following Web site,
      material and information from certain       SW., Washington, DC 20260–1000.               www.reginfo.gov . Comments should be
      provisions of the Act, when disclosure      Telephone (202) 268–4800.                     directed to: (i) Desk Officer for the
      of the material would compromise the        Julie S. Moore,
                                                                                                Securities and Exchange Commission,
      objectivity or fairness of the testing or                                                 Office of Information and Regulatory
                                                  Secretary.
      examination process. OPM has claimed                                                      Affairs, Office of Management and
                                                  [FR Doc. 2014–06862 Filed 3–24–14; 4:15 pm]
      exemptions from the requirements of 5                                                     Budget, Room 10102, New Executive
      U.S.C. 552a(d), which relate to access to   BILLING CODE 7710–12–P                        Office Building, Washington, DC 20503,
      and amendment of records.                                                                 or by sending an email to: Shagufta_
        The specific material exempted                                                          Ahmed@omb.eop.gov; and (ii) Thomas
      include, but are not limited to, the        SECURITIES AND EXCHANGE                       Bayer, Director/Chief Information
      following                                   COMMISSION                                    Officer, Securities and Exchange
        a. Answer keys.                                                                         Commission, c/o Remi Pavlik-Simon,
        b. Assessment center exercises.           [OMB Control No. 3235–0515, SEC File No.
                                                  270–456]                                      100 F Street NE., Washington, DC 20549
        c. Assessment center exercise reports.                                                  or send an email to: PRA_Mailbox@
        d. Assessor guidance material.            Submission for OMB Review;                    sec.gov. Comments must be submitted to
        e. Assessment center observation          Comment Request                               OMB within 30 days of this notice.
      reports.
        f. Assessment center summary                                                              Dated: March 20, 2014.
                                                  Upon Written Request Copies Available
      reports.                                     From: Securities and Exchange                Kevin M. O’Neill,
        g. Other applicant appraisal methods,      Commission, Office of Investor               Deputy Secretary.
      such as performance tests, work samples      Education and Advocacy,                      [FR Doc. 2014–06609 Filed 3–25–14; 8:45 am]
      and simulations, miniature training and      Washington, DC 20549–0213.                   BILLING CODE 8011–01–P
      evaluation exercises, structured            Extension:
      interviews, and their associated              Schedule TO.
      evaluation guides and reports.                                                            SECURITIES AND EXCHANGE
        h. Item analyses and similar data that       Notice is hereby given that, pursuant      COMMISSION
      contain test keys and item response         to the Paperwork Reduction Act of 1995
      data.                                       (44 U.S.C. 3501 et seq.), the Securities      Submission for OMB Review;
        i. Ratings given for validating           and Exchange Commission                       Comment Request
      examinations.                               (‘‘Commission’’) has submitted to the
                                                  Office of Management and Budget the           Upon Written Request, Copies Available
        j. Rating schedules, including                                                           From: Securities and Exchange
      crediting plans and scoring formulas for    request for extension of the previously
                                                  approved collection of information             Commission, Office of Investor
      other selection procedures.                                                                Education and Advocacy,
        k. Rating sheets.                         discussed below.
                                                     Schedule TO (17 CFR 240.14d–100)            Washington, DC 20549–0213.
        l. Test booklets, including the written
      instructions for their preparation and      must be filed by a reporting company          Extension:
      automated versions of tests and related     that makes a tender offer for its own           Rule 15b6–1 and Form BDW, SEC File No.
      selection materials and their complete      securities. Also, persons other than the          270–17, OMB Control No. 3235–0018.
      documentation.                              reporting company making a tender               Notice is hereby given that, pursuant
        m. Test item files.                       offer for equity securities registered        to the Paperwork Reduction Act of 1995




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                                    Exhibit 2




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         From:           Katz, Daniel
         To:             Garber, Matthew; Gribben, Timothy E.; Miskell, Renata
         Cc:             Krause, Tom; Froman, Eric; Pilkerton, Christopher
         Subject:        Fiscal Assistant Secretary
         Date:           Friday, February 7, 2025 8:38:40 AM


         Hi Team-

         I wanted to let you know that Secretary Bessent has delegated the duties of the Fiscal Assistant
         Secretary to Tom Krause. As you know, Tom brings more than 20 years of experience leading,
         building and positioning software and technology companies for value and long-term success.
         Mr. Krause previously served as an executive officer of Broadcom Inc., both as Chief
         Financial Officer and most recently responsible for forming and leading the Broadcom
         Software Group as President. He began his career in technology with Robertson Stephens and
         Technology Crossover Ventures followed by business and corporate development leadership
         roles in the semiconductor industry. Tom is a graduate of Princeton University, where he
         majored in Economics.

         The Secretary is excited about the decades of executive leadership that Tom brings to the role,
         as well as his deep expertise in building and managing complex organizations across multiple
         sectors. I know that Tom is very much looking forward to working with all of you and
         appreciates all of your efforts to advance Treasury’s mission. Tom will be in touch with you
         shortly to share his vision and action plan for the organization.

         I want to express thanks and appreciation to Matt for his leadership of the Office of the Fiscal
         Assistant Secretary over the last two and a half weeks. He will resume his role as Deputy
         Assistant Secretary for Fiscal Operations & Policy, and will continue to be an essential leader
         for the Department. I would also appreciate if you could communicate Tom’s new duties out
         to your teams.

         Best, Dan




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                                         JA338
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           Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 9 of 215




                                         JA339
USCA4 Appeal: 25-1282  Doc: 39-1                                                       Filed: 04/14/2025 Pg: 343 of 582
          Case 8:25-cv-00430-DLB                                                     Document 51-2 Filed 03/07/25 Page 10 of 215
Standard Form 50
Rev 7/91
U.S. Office of Personnel Management                                 NOTIFICATION OF PERSONNEL ACTION
FPM Supp. 296-33, Subch. 4
 1. Name (Last, First, Middle)                                                                                 2. Social Security Number                    3. Date of Birth                4. Effective Date
 ELEZ, MARKO                                                                                                                                                                                01-21-2025
 FIRST ACTION                                                                                                  SECOND ACTION
 5-A. Code           5-B. Nature of Action                                                                     6-A. Code            6-B. Nature of Action
 171                 EXC APPT NTE 05/20/25
 5-C. Code           5-D. Legal Authority                                                                      6-C. Code            6-D. Legal Authority
 Y9K                 SCH C 213.3302 (A)
 5-E. Code           5-F. Legal Authority                                                                      6-E. Code            6-F. Legal Authority

 7. FROM: Position Title and Number                                                                            15. TO: Position Title and Number
                                                                                                               SPECIAL ADVISOR (IT&M)
                                                                                                               66893097 C00424

 8. Pay Plan 9. Occ. Code 10. Grade or Level   11. Step or Rate   12. Total Salary           13. Pay Basis     16. Pay Plan   17. Occ. Code 18. Grade or Level   19. Step or Rate   20. Total Salary             21. Pay Basis
                                                                    .00                                        GS               0301          11                  01                 $84,601.00                   PA
 12A. Basic Pay             12B. Locality Adj.            12C. Adj. Basic Pay        12D. Other Pay            20A. Basic Pay              20B. Locality Adj.            20C. Adj. Basic Pay           20D. Other Pay
 .00                        .00                           .00                         .00                      $63,163.00                  $21,438.00                    $84,601.00                    .00
 14. Name and Location of Position's Organization                                                              22. Name and Location of Position's Organization
                                                                                                               DEPARTMENTAL OFFICES
                                                                                                               OFFICE OF THE CHIEF OF STAFF



                                                                                                               TR 910300000000000000                  PP 01 2025
 EMPLOYEE DATA
 23. Veterans Preference                                                                                       24. Tenure                                   25. Agency Use          26. Veterans Preference for RIF
          1 - None                3 - 10 Point/Disability           5 - 10 Point/Other                                 0 - None      2 - Conditional
          2 - 5 Point             4 - 10 Point/Compensable          6 - 10 Point/Compensable/30%                       1 - Permanent 3 - Indefinite
   1                                                                                                             0                                                                           YES             X      NO
 27. FEGLI                                                                                                     28. Annuitant Indicator                                              29. Pay Rate Determinant
 A0        INELIGIBLE-EXCLUDED BY LAW OR REG                                                                    9        NOT APPLICABLE                                              0
 30. Retirement Plan                                    31. Service Comp. Date (Leave)                         32. Work Schedule                                                    33. Part-Time Hours Per Biweekly
                                                        01-21-2025                                              F        FULL TIME                                                           Pay Period

 POSITION DATA
 34. Position Occupied                                              35. FLSA Category                          36. Appropriation Code                                               37. Bargaining Unit Status
       1 - Competitive Service 3 - SES General                               E - Exempt
       2 - Excepted Service    4 - SES Career Reserved                       N - Nonexempt
 2                                                                  E                                                                                                               8888
 38. Duty Station Code                                            39. Duty Station      (City-County-State or Overseas Location)
 11-0010-001                                                                            WASHINGTON DIST OF COLUMBIA DC
 40. Agency Data                     41.                                     42.                         43.                                  44.


 45. Remarks
 INDIVIDUAL APPOINTMENTS UNDER THIS AUTHORITY MAY BE MADE FOR 120 DAYS
 WITH ONE EXTENSION OF AN ADDITIONAL 120 DAYS.
 EXCEPTED APPOINTMENT NOT TO EXCEED 05/20/2025.
 POSITION IS AT THE FULL PERFORMANCE LEVEL OR BAND.
 APPOINTMENT AFFIDAVIT EXECUTED 01/21/2025.
 REASON FOR TEMPORARY APPOINTMENT: ADMINISTRATIVE NEED.
 OPF MAINTAINED BY BUREAU OF THE FISCAL SERVICE, 200 THIRD STREET
 PARKERSBURG, WV 26106
 CREDITABLE MILITARY SERVICE: 00YRS. 00MOS.
 PREVIOUS RETIREMENT COVERAGE: NEVER COVERED.




 46. Employing Department or Agency                                                                            50. Signature/Authentication and Title of Approving Official
 DEPARTMENT OF THE TREASURY                                                                                    ELECTRONICALLY SIGNED BY:
 47. Agency Code              48. Personnel Office ID               49. Approval Date                          MICHAEL J. WENZLER
 TR 91                        2731                                  01-23-2025                                 HUMAN RESOURCES OFFICER
                                                                                                                                                      Editions Prior to 7/91 Are Not Usable After 6/30/93
                                                                                                                                                                                  NSN 7540-01-333-6236
                                                                           1 - Employee Copy - Keep for Future Reference

                                                                                                  JA340                                   25-cv-00430_DMD_UST_0004
USCA4 Appeal: 25-1282  Doc: 39-1    Filed: 04/14/2025    Pg: 344 of 582
          Case 8:25-cv-00430-DLBNOTICE  TO51-2
                                  Document   EMPLOYEE
                                                   Filed 03/07/25 Page 11 of 215
   This is your copy of the official notice of a personnel action. Keep it with your records because it could be used to
                      make employment, pay, and qualifications decisions about you in the future.

 The Action                                                                        Block 31 - Service Computation Date (Leave)
 - Blocks 5-B and 6-B describe the personnel action(s) that occurred.              - Shows when your Federal service began unless you have prior creditable
 - Blocks 15-22 show the position and organization to which you are assigned.      service. If so, this date is constructed to include your total years, months and
                                                                                   days of prior creditable civilian and military service.
                                                                                   - Full-time employees with fewer than 3 years of service earn 4 hours of
 Pay                                                                               annual leave each pay period; those with 3 or more years but less than 15
 - When the personnel action is an award or bonus, block 20 shows the              years earn 6 hours each pay period; and those with 15 or more years earn 8
 amount of that one-time cash payment. When the action is not an award or          hours each pay period
 bonus, block 12 shows your former total annual salary, and block 20 shows         - Your earnings and leave statement or your time and attendance card will
 your new total annual salary (block 20C plus 20D). The amounts in blocks 12       show the rate at which you earn leave and your current unused leave
 and 20 do not include any one-time cash payments (such as performance             balance.
 awards and recruitment or relocation bonuses) or payments that may vary
 from one pay period to the next (such as overtime pay), or other forms of
 premium pay.                                                                      Block 32 - Work Schedule
 - Block 20A is the scheduled amount for your grade and step, including any        - Your work schedule is established by your supervisor.
 special salary rate you receive. It does not include any locality-based pay.      - A full-time employee works on a prearranged scheduled tour of duty that is
 This rate of pay serves as the basis for determining your rate of pay upon        usually 40 hours per week. A part-time employee has a prearranged
 promotion, change to a lower grade, or reassignment, and is used for pay          scheduled tour of duty that is usually between 16 and 32 hours per week. An
 retention purposes.                                                               intermittent employee has no prearranged scheduled tour of duty and works
 - Block 20B is the annual dollar amount of your Interim Geographic Adjust-        when needed.
 ment or, beginning in 1994, your locality-based comparability payment.            - Full-time and part-time employees whose appointments are for 90 days or
 - Block 20C is your Adjusted Basic Pay, the total of blocks 20A and 20B. It       more are usually eligible to earn annual leave; intermittent employees are
 servers as the basis for computing your retirement benefits, life insurance,      not.
 premium pay, and severance pay.                                                   - Seasonal employees work on an annually recurring basis for periods of less
 - Block 20D is the total dollar amount of any Retention Allowances, Super-        than 12 months each year; they may have a full-time, a part-time, or an
 visory Differentials, and Staffing Differentials that are listed in the remarks   intermittent schedule during their work season.
 block. These payments are made in the same manner as basic pay, but are           - On-call employees work during periods of heavy workload and are in pay
 not a part of basic pay for any purposes.                                         status for a t least 6 months of each year; they may have either a full-time
                                                                                   or a part-time schedule when they are in pay status.
 Block 24 - Tenure
 - Identifies the nature of your appointment and is used to determine your         Block 33 - Part-time Hours Per Biweekly Pay Period
 rights during a reduction in force (RIF). Tenure groups are explained in more     - Indicates the number of hours a part-time employees is scheduled to work
 detail in subchapter 26 of FPM Supplement 296-33 and RIF is explained in          during a two-week pay period.
 FPM Supplement 351-1; both should be available for review in your personnel
 office.
                                                                                   Block 34 - Position Occupied
                                                                                   - Identifies the employment system under which you are serving - the
 Block 26 - Veterans Preference for RIF                                            Competitive Service, the Excepted service, or the Senior Executive
 - Indicates whether you have preference for reduction-in-force purposes.          Service (SES).
                                                                                   - The employment system determines your eligibility to move to other jobs in
 Block 30 - Retirement Plan                                                        the Federal service, your rights in disciplinary and adverse actions, and
 - FICA             -Social Security System                                        your eligibility for reemployment if you leave Federal service.
 - CS               -Civil Service Retirement System
 - CS-Spec          -Civil Service Retirement System for law enforcement           Block 35 - FLSA Category
                     and firefighter personnel                                     - Exempt employees are not covered by the minimum wage and overtime
 - FS               -Foreign Service Retirement and Disability System              law (the Fair Labor Standards Act); nonexempt employees are covered.
 -FERS              -Federal Employees' Retirement System
 -FERS
                                                                                   Block 37 - Bargaining Unit Status
  Reserve
                                                                                   - Identifies a bargaining unit to which you belong; whether or not you are
  Tech              -Federal Employees' Retirement System for National
                                                                                   actually a member of a labor organization. Code "7777" indicates you are
                     Guard Reserve Technicians
                                                                                   eligible but not in a bargaining unit; code "8888" indicates you are ineligible
 -FERS
                                                                                   for inclusion in a bargaining unit.
  ATC               -Federal Employees' Retirement System for Air Traffic
                     Controllers
 -FERS                                                                             Blocks 38 and 39 - Duty Station
  Spec              -Federal Employees' Retirement System for law                  - Identifies the city, county and state or the overseas location, where you
                     enforcement and firefighter personnel                         actually work.
 -FSPS              -Foreign Service Pension System
                                                                 OTHER INFORMATION
 - If your appointment entitles you to elect health benefits or life insurance,    your dues withheld from your salary.
 and you have not been provided materials explaining the programs available        - If you have questions or need more information about your rights and
 and the enrollment forms, contact your personnel specialist.                      benefits, ask your supervisor or your personnel office.
 -Your personnel specialist will also tell you if your position is covered by an   - Definitions for any coded data in Blocks 1-24, 27-39 and 45-50 may be
 agreement between an employee organization (union) and agency. If you are         found in Federal Personnel Manual Supplement 292-1.
 eligible to and elect to join an employee organization, you can elect to have
         It is your responsibility to read all the information on the front of this notice and tell your personnel office
                                                immediately if there is an error in it.

                                                                           JA341                         25-cv-00430_DMD_UST_0005
                        Case 8:25-cv-00430-DLB   Document 51-2   Filed 03/07/25   Page 12 of 215
Pg: 345 of 582
Filed: 04/14/2025
Doc: 39-1
USCA4 Appeal: 25-1282




                                                      JA342              25-cv-00430_DMD_UST_0006
                                                                            USCA4 Appeal: 25-1282
Case 8:25-cv-00430-DLB   Document 51-2   Filed 03/07/25   Page 13 of 215




                                                                            Doc: 39-1
                                                                            Filed: 04/14/2025
                                                                            Pg: 346 of 582




                              JA343              25-cv-00430_DMD_UST_0007
                        Case 8:25-cv-00430-DLB   Document 51-2   Filed 03/07/25   Page 14 of 215
Pg: 347 of 582
Filed: 04/14/2025
Doc: 39-1
USCA4 Appeal: 25-1282




                                                      JA344              25-cv-00430_DMD_UST_0008
                                                                            USCA4 Appeal: 25-1282
Case 8:25-cv-00430-DLB   Document 51-2   Filed 03/07/25   Page 15 of 215




                                                                            Doc: 39-1
                                                                            Filed: 04/14/2025
                                                                            Pg: 348 of 582




                              JA345              25-cv-00430_DMD_UST_0009
                        Case 8:25-cv-00430-DLB   Document 51-2   Filed 03/07/25   Page 16 of 215
Pg: 349 of 582
Filed: 04/14/2025
Doc: 39-1
USCA4 Appeal: 25-1282




                                                      JA346                       25-cv-00430_DMD_UST_0010
                                                                                     USCA4 Appeal: 25-1282
Case 8:25-cv-00430-DLB   Document 51-2   Filed 03/07/25   Page 17 of 215




                                                                                     Doc: 39-1
                                                                                     Filed: 04/14/2025
                                                                                     Pg: 350 of 582




                              JA347                       25-cv-00430_DMD_UST_0011
                        Case 8:25-cv-00430-DLB   Document 51-2   Filed 03/07/25   Page 18 of 215
Pg: 351 of 582
Filed: 04/14/2025
Doc: 39-1
USCA4 Appeal: 25-1282




                                                      JA348                       25-cv-00430_DMD_UST_0012
                                                                            USCA4 Appeal: 25-1282
Case 8:25-cv-00430-DLB   Document 51-2   Filed 03/07/25   Page 19 of 215




                                                                            Doc: 39-1
                                                                            Filed: 04/14/2025
                                                                            Pg: 352 of 582




                              JA349              25-cv-00430_DMD_UST_0013
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 353 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 20 of 215




                                        JA350
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 354 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 21 of 215




                                        JA351
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 355 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 22 of 215




                                        JA352
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 356 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 23 of 215




                                        JA353
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 357 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 24 of 215




                                        JA354
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 358 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 25 of 215




                                        JA355
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 359 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 26 of 215




                                        JA356
USCA4 Appeal: 25-1282  Doc: 39-1             Filed: 04/14/2025 Pg: 360 of 582
          Case 8:25-cv-00430-DLB           Document 51-2 Filed 03/07/25 Page 27 of 215



       Senior Advisor (Technology and Modernization) to the Chief of Staff
       FLSA: Exempt
       GS-15

       The Senior Advisor for Technology and Modernization shall work closely with the Chief of
       Staff, the Under Secretary for Domestic Finance, and the Office of Fiscal Assistant Secretary and
       Fiscal Service to lead on the development, execution, and management of the information
       technology and technological modernization efforts and programs for the Department of the
       Treasury and the internal management of the Department and its bureaus – including the Bureau
       of the Fiscal Service (see additional detail below) – as it relates to technology.

       The incumbent requires access to Special Sensitive/SCI information in the execution of his
       duties and Special Sensitive security clearance in order to work on matters related to Department
       of the Treasury critical infrastructure.

       The Senior Advisor will work very closely with the Office of Fiscal Assistant Secretary and
       Fiscal Service – and in particular the Office of the Commissioner – to execute Fiscal’s mission of
       promoting the financial integrity and operational efficiency of the federal government through
       exceptional accounting, financing, collections, payments, and shared services. The Senior
       Advisor shall focus on key issues for Fiscal, including but not limited to (1) Operational
       Resiliency; (2) Advancing Governmentwide Payment Integrity; (3) Critical Modernization
       Programs; (4) Improving the Payment Experience; and (5) TreasuryDirect User Credential Costs.
       The Senior Advisor shall work closely with key internal, external, and interagency stakeholders
       to execute Fiscal’s mission.

       III. SUPERVISION AND GUIDANCE

       Reports to the Chief of Staff who provides general direction. The Chief of Staff defines the role
       of the Senior Advisor for IT and Modernization, delegates sufficient authority to permit
       enactment of this role, communicates relevant policy information, and evaluates performance in
       terms of effectiveness in the attainment of objectives.




                                                   JA357                 25-cv-00430_DMD_UST_0021
USCA4 Appeal: 25-1282  Doc: 39-1    Filed: 04/14/2025  Pg: 361 of 582
          Case 8:25-cv-00430-DLB Position
                                  DocumentDescription
                                            51-2 Filed 03/07/25 Page 28 of 215
   Official Title
   Special Advisor (IT&M)
   Organizational Title

   PD #                                 Date Classified          As of
   C00424                               01/15/2025               01/15/2025
   Pay Plan                             Series                   Grade                Target Grade
   GS                                   0301                     11                   11
   Manager Level                        Bargaining Unit Code     FLSA                 LEO Position
   8-All Other Positions                8888                     Exempt
   Medical Check Required               Position Sensitivity     Cyber Code
   No                                   4N-Special Sensitive     Primary: 000 1st: 000 2nd: 000
                                         Sub-Agency/POI Combinations
   91 - 2731
                                                Career Ladder PD(s)


                                                Major Duties
   Special Advisor (Information Technology and Modernization)          FLSA: Exempt

   GS-301-11



   I. INTRODUCTION



   The primary purpose of this position is to serve in a close and confidential capacity to the Chief of Staff's
   Senior Advisor for Information Technology and Modernization. The Special Advisor is responsible for advising
   the Chief of Staff's Senior Advisor for Information Technology and Modernization on engineering, software,
   hardware, systems, and other technology matters.



   The incumbent of this position requested for Schedule C exception will not be able to adequately perform
   his/her duties without being privy to the critical information technology hardware and software infrastructure of
   Treasury Department. The incumbent will be exposed to conversations, dialogues, and other kinds of
   sensitive information, some of which concern controversial and sensitive issues. The incumbent performs a
   variety of confidential assignments requiring analysis and evaluation of programs and activities of importance
   to the Senior Advisor for Information Technology and Modernization. Consequently, the incumbent is
   required to be familiar with the policies of the Administration and to maintain the confidentiality of all
   materials. The working relationship between the incumbent and the Chief of Staff and the Chief of Staff's
   Senior Advisor for Information Technology and Modernization is of a confidential nature required by Schedule
   C exception. The incumbent requires access to Special Sensitive/SCI information in the execution of his
   duties and Special Sensitive security clearance in order to work on matters related to Department of the
   Treasury critical infrastructure.



   II.DUTIES AND RESPONSILITIES




                                                            1
                                                      JA358                 25-cv-00430_DMD_UST_0022
USCA4 Appeal: 25-1282       Doc: 39-1           Filed: 04/14/2025        Pg: 362 of 582
   Conducts special and confidential studies Document
             Case 8:25-cv-00430-DLB          on a variety 51-2
                                                          of strategies
                                                                   Filedand issues related
                                                                         03/07/25     Pageto29
                                                                                             Treasury's
                                                                                               of 215
    information technology. Reviews and furnishes the Chief of Staff's Senior Advisor for Information Technology
    and Modernization with recommendations regarding Treasury's critical software infrastructure.



    Identifies, analyzes, and makes recommendations to strengthen Treasury's hardware and software.



    The Special Advisor shall work closely with the engineers in the Bureau of Fiscal Service on Information
    Technology matters to execute Fiscal's mission of promoting the financial integrity and operational efficiency
    of the federal government through exceptional accounting, financing, collections, payments, and shared
    services. The Special Advisor shall assist on key issues for Fiscal, including but not limited to (1) Operational
    Resiliency; (2) Advancing Governmentwide Payment Integrity; (3) Critical Modernization Programs; (4)
    Improving the Payment Experience; and (5) TreasuryDirect User Credential Costs.



    III. SUPERVISION AND GUIDANCE RECEIVED



    The incumbent reports to the Chief of Staff's Senior Advisor for Information Technology and Modernization.
    Instructions given with assignments are general and indicate objectives to be attained. The incumbent
    determines ways to attain desired results. Analyses and reports must be comprehensive and sound enough
    to require minimal review before completion. Completed work is reviewed to ensure adherence to the
    modernization and information technology objectives of the Treasury Department.




                                                             2
                                                       JA359                  25-cv-00430_DMD_UST_0023
USCA4 Appeal: 25-1282  Doc: 39-1                               Filed: 04/14/2025 Pg: 363 of 582
          Case 8:25-cv-00430-DLB                             Document 51-2 Filed 03/07/25 Page 30 of 215

                              APPOINTMENT AFFIDAVITS

           Senior Advisor (Technology and Modernization)                                            01/23/2025
           (Position to which Appointed)                                                           (Date Appointed)




           Treasury, Departmental Offices             Office of the Chief of Staff               Washington, DC, United States
           (Department or Agency)                     (Bureau or Division)                        (Place of Employment)




          I,    Thomas Harry Krause, Jr                                                        , do solemnly swear (or affirm) that--

          A. OATH OF OFFICE
          I will support and defend the Constitution of the United States against all enemies, foreign and domestic;
          that I will bear true faith and allegiance to the same; that I take this obligation freely, without any mental
          reservation or purpose of evasion; and that I will well and faithfully discharge the duties of the office on
          which I am about to enter. So help me God.
          B. AFFIDAVIT AS TO STRIKING AGAINST THE FEDERAL GOVERNMENT
          I am not participating in any strike against the Government of the United States or any agency thereof,
          and I will not so participate while an employee of the Government of the United States or any agency
          thereof.
          C. AFFIDAVIT AS TO THE PURCHASE AND SALE OF OFFICE
          I have not, nor has anyone acting in my behalf, given, transferred, promised or paid any consideration for
          or in expectation or hope of receiving assistance in securing this appointment.




                                                                             Electronically Signed by Thomas H Krause Jr
                                                                                                  (Signature of Appointee)




          Subscribed and sworn (or affirmed) before me this                          day of                                          , 2

          at
                                  (City)                                             (State)



                                                                                                          (Signature of Officer)
                                 (SEAL)

          Commission expires
           (If by a Notary Public, the date of his/her Commission should be shown)                         (Title)

          Note - If the appointee objects to the form of the oath on religious grounds, certain modifications may be permitted pursuant to the
          Religious Freedom Restoration Act. Please contact your agency's legal counsel for advice.




                                                                                                                             Standard Form 61

                                                                         JA360
  U.S. Office of Personnel Management                                                                                        Revised August 2002
  The Guide to Processing Personnel Actions                                                      NSN 7540-00-634-4015        Previous editions not usable
                                                          EOD:TR91 USA Staffing                      25-cv-00430_DMD_UST_0024
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 364 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 31 of 215




                                        JA361            25-cv-00430_DMD_UST_0025
USCA4 Appeal: 25-1282  Doc: 39-1                     Filed: 04/14/2025 Pg: 365 of 582
          Case 8:25-cv-00430-DLB                   Document 51-2 Filed 03/07/25 Page 32 of 215


         From:           Security Support
         To:             Elez, Marko
         Cc:             Security Support
         Subject:        Interim Approval | Elez, Marko | P4P Entry date: January 21st, 2025
         Date:           Wednesday, January 22, 2025 9:53:09 AM
         Attachments:    Initial Collateral Security Training.pdf


        Good morning, Marko,

        You have been approved for an Interim Secret clearance.

        Please have review the attached Initial Security Training PowerPoint presentation. Also review the
        SEAD 3 presentation and the SEAD 3 Interactive Module links to the Security Executive Agent
        Directive 3 (SEAD 3) reporting requirements provided above. A frequently asked questions section is
        provided here.

        Once finished, please “reply all” to this email stating you have successfully reviewed the
        presentation and links.

        Please provide a day and time you will be available to come to Main Treasury, Room B-16
        (basement) to sign your Standard Form (SF) 312, Classified Nondisclosure Agreement.


        Very Respectfully,

        Justin R. Schwartz
        Security Specialist
        U.S. Department of the Treasury | Office of Intelligence & Analysis
        Desk:                | Cell:                 | VoIP

        Your new Security & Counterintelligence portal is available for use!

        https://treasury.servicenowservices.com/sentry




                                                              JA362                            25-cv-00430_DMD_UST_0026
USCA4 Appeal: 25-1282  Doc: 39-1                    Filed: 04/14/2025 Pg: 366 of 582
          Case 8:25-cv-00430-DLB                  Document 51-2 Filed 03/07/25 Page 33 of 215


         From:          Personnel Security Team
         To:            Iraheta, Oscar; Satcher, Eva
         Cc:            SecurityPrograms; Security Support; Mencl, Kari; Dague, Jaimie
         Subject:       Interim Approval to EOD [Elez, Marko, Federal Employee, Initial-New Hire]
         Date:          Sunday, January 19, 2025 1:35:12 PM




        Greetings,

        Marko Elez has been granted interim approval to Enter On Duty (EOD) into a 4N - Special
        Sensitive position. Final approval is contingent on a completed background investigation and a
        favorable adjudication.

        If a collateral security briefing is required, Marko Elez will be contacted by
                          @treasury.gov once the EOD date is established to schedule the briefing.

        Thank you,

        Office of Security Programs
        Office of Intelligence and Analysis
        U.S. Department of the Treasury



        Unsubscribe | Notification Preferences
        Ref:MSG5492798_p2hkRQklRuFRxGY3QmlW




                                                             JA363                          25-cv-00430_DMD_UST_0027
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 367 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 34 of 215




                                        JA364
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 368 of 582
          Case 8:25-cv-00430-DLB   Document 51-2 Filed 03/07/25 Page 35 of 215




                                        JA365
USCA4 Appeal: 25-1282  Doc: 39-1                        Filed: 04/14/2025 Pg: 369 of 582
          Case 8:25-cv-00430-DLB                      Document 51-2 Filed 03/07/25 Page 36 of 215


         From:
         To:                 Marko Elez
         Cc:                 David J. Ambrose
         Subject:            Rules of Behavior
         Date:               Wednesday, February 5, 2025 6:10:15 PM
         Attachments:        Fiscal Service Security RoB Internal 2025-01-27.pdf


        Marko,
        In issuing you the fiscal laptop we missed having you sign the Fiscal Service rules of behavior. Could
        you sign this and return this back to us.
        Very Respectfully,

        Deputy Assistant Commissioner, Enterprise IT Operations
        Information & Security Services
        Bureau of the Fiscal Service
        Desk
        Cell :




                                                                 JA366             25-cv-00430_DMD_UST_0030
USCA4 Appeal: 25-1282  Doc: 39-1             Filed: 04/14/2025 Pg: 370 of 582
          Case 8:25-cv-00430-DLB           Document 51-2 Filed 03/07/25 Page 37 of 215
          Fiscal Service                                              Security Rules of Behavior
          January 27, 2025

          SUBJECT:
          The Bureau of the Fiscal Service (Fiscal Service) Security Rules of Behavior (Rules of
          Behavior)

          PURPOSE:
          The Rules of Behavior define responsibilities and procedures for the secure use of Fiscal
          Service data, equipment, information technology (IT) systems, and facilities. By reading
          and signing the Rules of Behavior, Users (defined below) acknowledge their responsibility
          for complying with the Rules of Behavior.

          SCOPE:
          The Rules of Behavior apply to Users (not public users) who access or maintain any Fiscal
          Service data, equipment, IT systems, or facilities, regardless of location (e.g., whether
          you are at your regular duty station or a remote work location). Users are individuals
          who have access to Fiscal Service data, equipment, IT systems or facilities for the
          purpose of performing work on behalf of Fiscal Service. Examples of Users include, but
          are not limited to, Fiscal Service employees and employees of contractors, sub-
          contractors, and agents. At Fiscal Service’s discretion, certain individuals who have
          access to Fiscal Service data, equipment, IT systems, or facilities may not be considered
          Users under this definition and as such may not be required to sign these Rules of
          Behavior. In addition to the rules and requirements contained within this document,
          Users should note that other federal laws and regulations apply when accessing Fiscal
          Service resources (e.g., licensing agreements and copyright laws), but are considered
          outside the scope of this document.

          Users SHALL:

             Follow these rules regarding Fiscal Service facilities:
                     Use facilities properly and follow laws, regulations, and policies governing the
                     use and entrance to such facilities.
                     Do not threaten any person or organization.
                     Do not commit acts of violence against any person, organization, equipment,
                     or facility.
                     Do not bring prohibited items (e.g., weapons) into a Fiscal Service facility.
                     Do not use another person’s access credential to enter a Fiscal Service
                     facility or secured room.

             Follow these rules regarding Fiscal Service data, equipment, and IT systems:
                     Use Fiscal Service data, equipment, and IT systems properly and follow laws,
                     regulations, and policies governing the use of such resources (Base Line
                     Security Requirements, (BLSRs), Treasury Information Technology Security
                     Program (TD-P 85-01), the Treasury Security Manual (TD-P 15-71), and Fiscal
                     Service Policies).
                     Protect Fiscal Service data, equipment and IT systems from loss, theft,
                     damage, and unauthorized use or disclosure.
                     Secure mobile media (paper and digital) based on the sensitivity of the
                     information contained.
                     Use appropriate sensitivity markings on mobile media (paper and digital).
                     Promptly report any known or suspected security breaches or threats,
                     including lost, stolen, or improper/suspicious use of Fiscal Service data,
                     equipment, IT systems, or facilities to the IT Service Desk at 304-480-7777.
                     Do not attempt to circumvent any security or privacy controls.
                     Logoff, lock, or secure workstation/laptop to prevent unauthorized access to
                     Fiscal Service IT systems or services.


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                                                  JA367                  25-cv-00430_DMD_UST_0031
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          Fiscal Service                                              Security Rules of Behavior
          January 27, 2025

                     Do not read, alter, insert, copy, or delete any Fiscal Service data except in
                     accordance with assigned job responsibilities, guidance, policies, or
                     regulations. The ability to access data does not equate to the authority to
                     access data. In particular, Users must not browse or search Fiscal Service
                     data except in the performance of authorized duties.
                     Do not reveal any data processed or stored by Fiscal Service except as
                     required by job responsibilities and within established procedures.
                     Do not remotely access Fiscal Service IT systems unless authorized to do so,
                     such as an approved telework agreement authorizing remote access over the
                     bureau’s VPN software.
                     Do not transport or use Fiscal Service data or equipment outside of the United
                     States or US Territories without written approval from the CSO or CISO.
                     Do not connect Fiscal Service equipment to or access a Fiscal Service IT
                     system from a foreign network without written approval from the CSO or
                     CISO.
                     Do not install or use unauthorized software or cloud services on Fiscal Service
                     equipment.
                     Take reasonable precautions to prevent unauthorized individuals from viewing
                     screen contents or printed documents.
                     Do not open e-mail attachments, or click links, from unknown or suspicious
                     sources.
                     Be responsible for all activities associated with your assigned user IDs,
                     passwords, access tokens, identification badges, Personal Identity Verification
                     (PIV) cards, or other official identification device or method used to gain
                     access to Fiscal Service data, equipment, IT systems, or facilities.
                     Protect passwords and other access credentials from improper disclosure.
                     Do not share passwords with anyone else or use another person’s password or
                     other access credential such as, but not limited to, someone else’s PIV card.
                     Use only equipment and software provided by Fiscal Service or that has been
                     approved for use by Fiscal Service’s CIO or designee to conduct Fiscal Service
                     business.
                     Provide non-work contact information to the bureau to facilitate emergency
                     communications.
                     Comply with Fiscal Service social media policy, including restrictions on
                     publishing Fiscal Service information to social media and public websites.



          ACCEPTANCE:
          I have read the Fiscal Service Security Rules of Behavior and fully understand the
          security requirements. I further understand that violation of these rules may be grounds
          for legal and/or administrative action by the Fiscal Service and may result in actions up to
          and including disciplinary action, termination of access, termination of employment,
          contract termination, and/or prosecution under federal law.



          User’s Name: _________________________________ (printed)


          User’s Signature: ______________                              (signature)


          Date: ______________________


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                                                   JA368                 25-cv-00430_DMD_UST_0032
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                                        JA369            25-cv-00430_DMD_UST_0033
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 373 of 582
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                                        JA370
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                                        JA371
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                                        JA372            25-cv-00430_DMD_UST_0036
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 376 of 582
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                                        JA373
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 377 of 582
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                                        JA374            25-cv-00430_DMD_UST_0038
USCA4 Appeal: 25-1282  Doc: 39-1                    Filed: 04/14/2025 Pg: 378 of 582
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         From:          Personnel Security Team
         To:            Iraheta, Oscar;             @gmail.com; Satcher, Eva
         Cc:            SecurityPrograms; Security Support; Mencl, Kari; Dague, Jaimie; Macey, Christopher
         Subject:       Final Adjudication Approval [Krause, Thomas, Federal Employee, Initial-New Hire]
         Date:          Tuesday, January 21, 2025 12:00:27 PM




        Greetings,

        Your background investigation has been favorably adjudicated for 4N - Special Sensitive/4 -
        SCI Intel Community Directive 704 pursuant to the Department of the Treasury Security
        Manual, Treasury Directive P 15-71, Chapter II, Personnel Security Investigations for Federal
        Employees, Contractors, Subcontractors, Experts, Consultants and Paid / Unpaid Interns.

        On 01-21-2025, you were found eligible for employment by the Department of the Treasury.
        Should you require additional security briefings, you will be contacted by
                       @treasury.gov, otherwise there is no further action required on your part.

        Thank you,

        Office of Security Programs
        Office of Intelligence and Analysis
        U.S. Department of the Treasury



        Unsubscribe | Notification Preferences
        Ref:MSG5499350_MSU2SCm0vLSskInPT1Hl




                                                             JA375                          25-cv-00430_DMD_UST_0039
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                                        JA376            25-cv-00430_DMD_UST_0040
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 380 of 582
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                                        JA377
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                                        JA378            25-cv-00430_DMD_UST_0042
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 382 of 582
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                                        JA379
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                                        JA380            25-cv-00430_DMD_UST_0044
USCA4 Appeal: 25-1282  Doc: 39-1                    Filed: 04/14/2025 Pg: 384 of 582
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                                           DEPARTMENT OF THE TREASURY
                                                       WASHINGTON, D.C.




       To:               Tom Krause
                                   @gmail.com

       From:

       Date:             1/10/25

       Subject:          Potential Hire Vetting Checklist1


       Please respond to the questions below. Indent your response as a sub-bullet or change the text
       color to signal your response.

             1. Do you (as applicable, or your spouse, minor child, or general partner) hold significant
                financial investments in the financial services industry (e.g., J.P. Morgan Chase common
                stock or stock in a sector fund concentrating in the financial industry); or in the software
                sector? Also, do you (as applicable, or your spouse, minor child, or general partner) hold
                investments in companies that contract with the government?
                    o If yes, is there a willingness/ability to divest if necessary

                Attached is a list of my equity holdings based on GICS classifications for Financials
                (includes banks, capital markets firms, consumer finance, insurance, and asset managers),
                Software, and Aerospace & Defense (which is the closest approximation among the
                GICS classifications for “companies that contract with the government”). I would be
                willing and able to divest any of these holdings if necessary.

                I also have a      commitment as a Limited Partner (LP) in GTM Fund, a software
                venture capital fund, but have no control or discretion over it. It would be a challenge to
                divest myself of that commitment.

                Finally, I have stock options in my current employer, Cloud Software Group
                (www.cloud.com), which sells products to commercial and government users.

                Note that these investments are held by me directly or in trust where I am either grantor,
                trustee, or beneficiary.

             2. Do you currently hold any investments that restrict your ability to divest of the holding
                (e.g., hedge funds, private equity holdings, stock options, other plans that do not allow
                divestiture or trust arrangements that cannot be exited)?


                1
                   PLEASE NOTE: This checklist contains broad parameters that may be used as one helpful tool in an
       initial vetting process. If a potential candidate answers “yes” to any of these questions, it does NOT necessarily
       mean they have unalterable conflicts and cannot be hired to work for Treasury. It only means that an ethics official
       should be consulted concerning the possibility of a conflict.




                                                            JA381                     25-cv-00430_DMD_UST_0045
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             In addition to GTM Fund and my stock options in Cloud Software Group described
             above, I am a minority shareholder or LP – with no control or discretion – in the
             following private investments which would also be challenging to divest:

             Private Equity
                 •        commitment to Vista Capital Solution Fund LP (Private Credit Fund)
                 •           investment in KKR Private Equity Conglomerate LLC (Private Equity)
             Private Credit
                 •           investment in Blackstone Private Credit (Private Credit Fund)
                 •           investment in Apollo Debt Solutions (Private Credit Fund)
             Private Real Estate
                 •          investment in Blackstone Private Real Estate Investment Trust
                 •          commitment to Bridge Workforce and Affordable Housing II
                 •          investment in Starwood Private Real Estate Investment Trust
             Hedge Funds
                 •          investment in Millennium
                 •          investment in Schonfeld Fundamental Equity
                 •           investment in The Children’s Investment Fund

             Note that these investments are held by me directly or in trust where I am either grantor,
             trustee, or beneficiary.

          3. Do you (or your spouse or minor child) currently own or are you invested in any financial
             business or business that you would be unable or unwilling to divest?

             See responses above.

          4. Were you employed by or a consultant to a financial services entity the past year?

             I have a consulting contract with Elliott Investment Management – an alternative
             investment manager – to provide advice regarding software/technology investments.

          5. Does your current employment, or did your employment within the last year, result in the
             representation of any financial services firms?

             No

          6. (If applicable) Does your spouse and/or dependent child work for a financial institution; a
             financial services firm; or represent clients who do?

             No




                                                  JA382
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                                                                        25-cv-00430_DMD_UST_0046
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          7. Does any other member of your household (adult children, significant other, and
             housemates) work for a company in the financial sector or represent clients in the
             financial sector (e.g., as a lawyer or accountant for J.P. Morgan Chase)?

             No

          8. Do any close relatives work for a company that contracts with the financial sector or
             represent clients in the financial sector?

             No

          9. Are you currently seeking a business, contractual, or other financial relationship (other
             than a routine commercial transaction) with an entity in the financial sector?

             No

          10. Are you currently the party to any book contract or teaching or speaking agreement?

             No

          11. Are you an active participant in any organization that has significant involvement with
              the financial sector?

             No

          12. Are you a member of the board of directors of any organization?

             Yes. In addition to being CEO of Cloud Software Group, I am a member of the
             company’s board of directors.




                                                  JA383
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                                                                         25-cv-00430_DMD_UST_0047
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                                        JA384
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                                        JA385
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                                                    25-cv-00430_DMD_UST_0050
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                                                    25-cv-00430_DMD_UST_0052
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                                        JA389            25-cv-00430_DMD_UST_0053
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                                        JA391            25-cv-00430_DMD_UST_0055
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                                        JA392
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                US Department of the Treasury | Fiscal Service | Payment Process Engagement Plan
                January 24, 2025

       Fiscal Service is supporting the USDS/DOGE team during their 4–6-week engagement to
       understand payment processes and opportunities to advance payment integrity and fraud
       reduction goals.

       Given the Fiscal Service’s authorities and role in enabling federal government ﬁnancial operations,
       we must engage in a way that is secure and minimizes the likelihood of disruptions to ensure daily
       operations occur seamlessly. This is especially critical for those operations that support the
       facilitation of the 2025 tax season and the Debt Issuance Suspension Period. Disruptive impacts to
       technical operations, especially to payment systems such as the Payment Automation Manager
       (PAM) and Secure Payment System (SPS), could have catastrophic consequences that can range
       from debilitating U.S. economic security (and necessitating increases to the debt ceiling and
       defaults on U.S. Government ﬁnancial obligations), endangering U.S. interests abroad, jeopardizing
       the delivery of lifeline payments to millions of constituents, and delaying or denying access to
       thousands of federal agency assets which would all erode public conﬁdence. As such, ensuring
       operational excellence and resiliency remains the top priority for the Fiscal Service.

       So that we can streamline communication, ensure clarity and alignment, and achieve the most
       optimal outcome for all parties, we have outlined our expectations for the duration of this
       engagement below.


       ENGAGEMENT SCOPE
          Objective: Gain insight on money-in/money-out through the Fiscal Service payment systems
          while identifying efficiencies in the overall payment ﬂow

          Timeframe: 4-6 weeks

          Focus Area: Payment Processing, to include Payment Automation Manager (PAM), Secure
          Payment System (SPS), and Automated Standard Application for Payments (ASAP)

          Deliverable: Report to the Secretary of the Treasury outlining recommendations for greater
          efficiencies and potential improvements to the existing payment processes and associated
          technology and policies in support of payment integrity and fraud prevention.

          Key Points of Contact:
          •   Treasury Department: Matt Garber, PDO Fiscal Assistant Secretary
          •   Bureau of the Fiscal Service: Joe Gioeli, Deputy Commissioner for Transformation and
              Modernization


       ENGAGEMENT PROCESS
          •   Central Management and Coordination with Treasury: Matt Garber will serve as the
              Departmental executive point of contact to provide policy insights, and oversight/guidance
              of the Fiscal Service engagement. Joe Gioeli will serve as the main point of contact for
              information related to Fiscal Service systems, organizational structure, and business
              processes. Together, they will ensure Fiscal Service is being responsive within the bounds



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                                                   JA393                  25-cv-00430_DMD_UST_0057
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               US Department of the Treasury | Fiscal Service | Payment Process Engagement Plan
               January 24, 2025

              of the law, Treasury policy, and Fiscal Service security protocols. All requests will be
              prioritized, actioned as quickly as feasible, and centrally managed and tracked accordingly.
              Preferably, requests should be sent via email to joseph.gioeli@ﬁscal.treasury.gov.

          •   Status Meetings: A meeting cadence will be established for the duration of the effort for a
              minimum of at least once per week and will include Tom Krause, Matt Garber, Joe Gioeli and
              other relevant stakeholder parties to ensure requests are being addressed. Additionally, a
              daily standup will be established between Tom Krause and Joe Gioeli to ensure alignment
              on the prioritization of activities, share status, and to discuss mitigation of any challenges
              that arise. The frequency of this meeting series can be adjusted based on need.

          •   Access to and Management of Pertinent Artifacts: Access will be granted to pertinent
              artifacts via a shared folder hosted on the Treasury Enterprise Content Manager (ECM) and
              permissioned to only necessary individuals. Proper handling of artifacts consistent with
              their labelling is required. Code will be shared and controlled via an alternate method.

          •   Access to and Management of In Scope Systems and Data: Fiscal Service will provision
              and issue the designated technical team member with a Fiscal Service laptop (i.e.,
              government furnished equipment (GFE)) during Day 1 (i.e., January 28) of the Week 2 Site
              Visit to Kansas City. This will accelerate your ability to obtain access to the in-scope
              systems and code repositories you are seeking while also providing the Fiscal Service with a
              greater level of assurance that our risk posture is being managed in accordance with our
              established security protocols and existing control architecture.

          •   Adherence to Fiscal Service Security Control Requirements: To adhere to the Fiscal
              Service’s established security protocols and existing control architecture, below are our
              required actions (including those already completed as of 1/24/2025).
               1) Vetting: Fiscal Service conﬁrmed with the Treasury Department Security office the (2)
                  individuals requesting access have been properly vetted with signed Nondisclosure
                  Agreements (NDAs) and conﬁrmed their access to Treasury and Fiscal Service
                  information.
               2) Use of FS GFE: USDS/DOGE conﬁrmed that only (1) individual (i.e., the designated
                  technical team member) requires access to Fiscal Service systems and data at this
                  time. This designated individual will be provisioned to a Fiscal Service provided
                  workstation. The Fiscal Service GFE must be connected to the Fiscal Service VPN
                  network at all times while work is performed with this engagement.
               3) Data Handling: Fiscal Service will provide USDS/DOGE safeguarding and handling
                  instructions of Fiscal Service data for the duration of this engagement. USDS/DOGE
                  conﬁrmed Fiscal Service data will not leave the workstation during this engagement
                  and will only be reviewed by cleared and authorized Treasury personnel.
               4) System Access: USDS/DOGE will be provided access to in scope payment systems
                  source code via a secure code repository. USDS/DOGE will be provided Development
                  access to the in scope payment systems. Any recommended changes to the
                  payments source code will be appropriately tested by security and change
                  management controls per Fiscal Service processes and procedures.




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                                                    JA394                  25-cv-00430_DMD_UST_0058
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                                        JA395
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       Preliminary Work Plan for IT Accesses

       GAO has found inconsistent reporting, lack of traceability, and need for improved controls with the
       Treasury’s Cash Accounting Reporting System (CARS). (Link and summary below.) Mandating agencies
       (via Certifying Officers – COs) to use TAS / BETC for all payments at the time of payment certification as
       well as requiring COs to provide a short plain English reason why the payment is being requested would
       dramatically:

       1) improve financial reporting auditability, accuracy and transparency
       2) reduce the risk of improper payments
       3) ensure all payments are supported by an appropriation, receipt, or other fund account

       For background, TAS (Treasury Account Symbol) / BETC (Business Event Type Code) (Account Symbol
       (also known as the Treasury Account Symbol or TAS) | TFX: Treasury Financial Experience) is used to
       classify financial transactions across all federal government agencies and is the backbone for CARS
       (Central Accounting Reporting System) Central Accounting Reporting System. Today, Treasury has three
       primary payments systems (PAM, ASAP, ITS.gov) that support payments on behalf of ~250 agencies.
       These payment systems (as well all other payment systems not managed by Treasury) feed into CARS.
       PAM is the most widely used. Within PAM, there are two types of payments (Type A and Type B). Type A
       is for high value, low volume and typically uses Fedwire. Type B is lower value, higher volume payments
       and typically uses ACH. We understand (but have not verified) that COs are required to input the TAS /
       BETC for every payment except for Type B payments in PAM. As a result, a significant percentage of
       payments are re-classified by agency CFO organizations in CARS well AFTER payments have been
       certified and processed. In fact, CARS operators use “default” accounts because they cannot tie many of
       the payments that BFS processes to an appropriation, receipt, or other fund account at the time of the
       payment.

       System access as well as on-going discussions with subject matter experts are critical to understanding
       and verifying how these payment and accounting systems work. Without this, common sense
       recommendations such as this one as well as detailed plans to implement these recommendations are
       not possible. My discussions with both the disbursement team in Kansas City as well as the CARS team in
       Parkersburg, WV suggest this mandate would be widely welcomed by the operating teams at BFS. I
       would also submit that OMB and the White House would strongly support this mandate. The mandate
       would require a code change to PAM whereby a submitted payment file would be sent back to the CO
       prior to processing if the TAS/BETC and the reason for payment are not filled out. Based on initial
       discussions with the PAM technical team (from the FED KC office), this is a very modest code change and
       can be executed quickly.




                                                       JA396                   25-cv-00430_DMD_UST_0060
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         From:           Katz, Daniel
         To:             Garber, Matthew; Krause, Tom; York, John; Pilkerton, Christopher; Froman, Eric; Sonfield, Brian; Briskin,
                         Michael; Sessions, William; Arcadi, Antony; Gioeli III, Joseph; Elez, Marko; Robinson, Vona S.
         Cc:             Marko Elez; Cheng, Lillian L.
         Subject:        RE: IT Check In Follow Up
         Date:           Monday, February 3, 2025 6:42:53 PM


        Great, thanks for the update Matt.

        Dan Katz
        M:

        From: Garber, Matthew <Matthew.Garber2@treasury.gov>
        Sent: Monday, February 3, 2025 4:18 PM
        To: Katz, Daniel <Daniel.Katz@treasury.gov>; Krause, Tom <Thomas.Krause@treasury.gov>; York,
        John <John.York@treasury.gov>; Pilkerton, Christopher <Christopher.Pilkerton@treasury.gov>;
        Froman, Eric <Eric.Froman@treasury.gov>; Sonfield, Brian <Brian.Sonfield@treasury.gov>; Briskin,
        Michael <Michael.Briskin@treasury.gov>; Sessions, William <William.Sessions@treasury.gov>;
        Arcadi, Antony <Tony.arcadi@Treasury.gov>; Gioeli III, Joseph <joseph.gioeli@fiscal.treasury.gov>;
        Elez, Marko <Marko.Elez@treasury.gov>; Robinson, Vona S. <Susan.Robinson@fiscal.treasury.gov>
        Cc: Marko Elez <marko.elez@fiscal.treasury.gov>; Cheng, Lillian L. <lillian.cheng@fiscal.treasury.gov>
        Subject: IT Check In Follow Up

        Thanks everyone for getting together this afternoon. Attached is the spreadsheet we reviewed with
        the access levels updated based on our conversation.

        For the items that Fiscal can implement independently we will get moving immediately, and Marko
        should see read-only soon.

        For the items the Fed needs to implement we’re working with the lawyers on the language now.
        Good conversations with our counterparts, so I do not currently expect any issues, although it may
        be tomorrow before it’s finalized.

        Thanks,

        Matt




                                                               JA397                           25-cv-00430_DMD_UST_0061
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                                                                                                           RECOMMENDED CHANGE(S) TO CURRENT (FEB 1)                        MITIGATION(S) AND/OR ADDITIONAL
                                                                                                                                                                                                                            Implementor
            SYSTEM      ORIGINAL ACCESS REQUEST                ACCESS GRANTED AS OF FEB. 1                 ACCESS LEVELS                                                   CONTROL(S)
                                                               Full access in cordoned off (i.e., not                                                                      Requires joint deployment for all environments
                        PAM Source Code                                                                    No recommended change
                                                               production) repository                                                                                      with the Fiscal Service/Federal Reserve          Completed
                                                                                                           Read-only access in production with specific time windows to
                        PAM Production Database                                                                                                                            Implement and adhere to Fiscal Service's
                                                               Read-only access in production              avoid production outages (would jointly work database
                        Administrator                                                                                                                                      recommended change
                                                                                                           changes through lower environments).                                                                             Fiscal Service
               PAM
                                                                                                                                                                           Implement and adhere to Fiscal Service's
                        PAM Production Developer               None                                        Revisit with Disbursing and Debt Management (DDM)
                                                                                                                                                                           recommended change                               N/A
                                                               None (approvals in process: submitted                                                                       Implement and adhere to Fiscal Service's
                        PAM Production Driver                                                              Grant Read-Only access
                                                               required forms to DDM)                                                                                      recommended change                               Fiscal Service
                        Access to PAM file system              Read-only access                            No recommended change                                                                                            Fiscal Service
                                                               Full access in cordoned off (i.e., not                                                                      Requires joint deployment for all environments
                        SPS Source Code                                                                    No recommended change
                                                               production) repository                                                                                      with the Fiscal Service/Federal Reserve          Completed
                                                                                                           Read-only access in production with specific time windows to
                                                                                                                                                                           Implement and adhere to Fiscal Service's
               SPS      SPS Production Database Administrator Read-only access in production               avoid production outages (would jointly work database
                                                                                                                                                                           recommended change
                                                                                                           changes through lower environments).                                                                             Fiscal Service
                        SPS Production Administrator (UI       None (approvals in process: submitted       ISS will work with the SPS team to detemine appropriate level   Implement and adhere to Fiscal Service's
                        SPSAdmin)                              required forms to DDM)                      of access (e.g., read-only)                                     recommended change(s)                            Fiscal Service
                                                               Full access in cordoned off (i.e., not                                                                      Requires joint deployment for all environments
                        ASAP Source Code                                                                   No recommended change
                                                               production) repository                                                                                      with the Fiscal Service/Federal Reserve          Completed
               ASAP                                                                                        Read-only access in production with specific time windows to
                                                                                                                                                                           Implement and adhere to Fiscal Service's
                        ASAP Database Administrator            None                                        avoid production outages (would jointly work database
                                                                                                                                                                           recommended change(s)
                                                                                                           changes through lower environments).                                                                             Federal Reserve
                                                                                                           Read-only access in production with specific time windows to
                                                               None (approvals in process: submitted                                                                       Implement and adhere to Fiscal Service's
                        CARS Database Administrator                                                        avoid production outages (would jointly work database
               CARS                                            request for Read-Only to Federal Reserve)                                                                   recommended change(s)
                                                                                                           changes through lower environments).                                                                             Federal Reserve
                        CARS SysAdmin                          Will need to better understand objective    Revisit with Fiscal Accounting                                  Consider CARS Auditor Role                       Fiscal Service
                        ITS.gov Operator                       None                                        Revisit with Disbursing and Debt Management (DDM)               Identifying more appropriate read-only role      Fiscal Service
                                                                                                           Read-only access in production with specific time windows to
              ITS.gov                                                                                                                                                      Implement and adhere to Fiscal Service's
                        ITS.gov Database Administrator         None                                        avoid production outages (would jointly work database
                                                                                                                                                                           recommended change
                                                                                                           changes through lower environments).                                                                             Federal Reserve




                                                                                                                         JA398                                                                                           25-cv-00430_DMD_UST_0062
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         From:            Matthew.Garber2@treasury.gov
         To:              Timothy E. Gribben
         Cc:              Matthew J. Miller; Susan Robinson; Lillian Cheng; Joseph Gioeli III; Nathaniel Reboja
         Subject:         Confirmation to Proceed
         Date:            Sunday, January 26, 2025 5:42:08 PM


                                          This message was sent securely using Zix®


        Tim,

        Please consider this note your approval/direction to move forward with the process outlined below.

        Thanks to the DDM and ISS teams for actioning against the request over the weekend.

        Matt

        From: Katz, Daniel <Daniel.Katz@treasury.gov>
        Sent: Sunday, January 26, 2025 6:34 PM
        To: Garber, Matthew <Matthew.Garber2@treasury.gov>

        Thanks Matt for actioning this so quickly. The below process looks good and appropriate to me.




        Appreciate the work over the weekend as well.

        Dan Katz


        From: Garber, Matthew <Matthew.Garber2@treasury.gov>
        Sent: Sunday, January 26, 2025 4:31:02 PM
        To: Katz, Daniel <Daniel.Katz@treasury.gov>

        Dan,

        We’ve successfully set up the technical and process adjustments at Fiscal to support this request
        within the appropriate bounds. A reminder of the process we discussed and will execute against
        beginning Monday:

                Fiscal will intercept USAID payments files prior to ingestion into our PAM/SPS systems (this
                is in place now and can begin immediately)
                        We developed a process to intercept the file, and additional flags to ensure we catch all
                        USAID payment requests through our systems
                        Fiscal will manually pull an unredacted and unmodified copy to share with State
                        officials
                        Individual ITS payment requests will be flagged and shared for review as needed


                                                                JA399                           25-cv-00430_DMD_UST_0063
USCA4 Appeal: 25-1282  Doc: 39-1                Filed: 04/14/2025 Pg: 403 of 582
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                      NOTE: Fiscal will not provide any preliminary review or determination on the payments,
                      and will not edit or modify the file at any point in this process
               Fiscal will deliver the USAID payment file to the designated State officials for review
                      Fiscal has set up a secure portal where the designated officials will be able to access
                      the files (this will have encryption and MFA, and has completed third party pen testing)
                      We developed a user guide and instructions to support State officials in using the portal
                              We can provide additional technical support as needed
                      We will deliver the file once-a-day according to the normal USAID payment schedule
               State officials will review and provide a determination to Fiscal on whether or not to
               release the file into our normal payment processes
                      We will provide a template for State officials to provide the determination back to
                      Fiscal
                      Files that are determined by State as able to move forward will be released by Fiscal
                      into PAM/SPS or ITS systems
                      Files that are determined by State as unable to move forward will be returned to USAID
                      for correction
                              State will work directly with USAID to provide any necessary corrections prior to
                              resubmission.
               Payment files that are cleared by State and released into our normal payment processes
               will continue to be certified by USAID certifying officers prior to payment


        While we will begin intercepting the USAID files prior to ingestion immediately on Monday, we will
        not transmit files to State until we receive confirmation from the appropriate security officers
        (likely in the CIO office) that:
                       the individuals at State accessing and reviewing the information have the appropriate
                       clearances, etc
                       the necessary data security methods are in place at State and those standards have
                       been communicated and agreed to by the individuals accessing the files
                       NOTE: We are still working to connect with the appropriate IT/Security/Technical
                       individuals at State, which we believe will happen as soon as Monday morning.

        Additional note:
               As mentioned, these files are mixed and contain a variety of payments. We recommend State
               ensures they can review these files and provide a determination same-day to avoid any
               unintended downstream issues.


        Please confirm we are still good to execute this plan beginning Monday. Happy to hop on a call if
        needed.

        Thanks,

        Matt




                                                      JA400                   25-cv-00430_DMD_UST_0064
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 404 of 582
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                                        JA401            25-cv-00430_DMD_UST_0065
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 405 of 582
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                                        JA402
USCA4 Appeal: 25-1282  Doc: 39-1     Filed: 04/14/2025 Pg: 406 of 582
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                                        JA403
USCA4 Appeal: 25-1282  Doc: 39-1                Filed: 04/14/2025 Pg: 407 of 582
          Case 8:25-cv-00430-DLB              Document 51-2 Filed 03/07/25 Page 74 of 215

        To: Katz, Daniel <Daniel.Katz@treasury.gov>; Sonfield, Brian <Brian.Sonfield@treasury.gov>
        Cc: Krause, Tom <Thomas.Krause@treasury.gov>; Pilkerton, Christopher
        <Christopher.Pilkerton@treasury.gov>
        Subject: Re: 4 Additional Accounts Identified for State Review
        We’re still assuming that the paying agencies would give us the relevant instructions before they
        certify the payment, right? That is, this would be part of the early stages of the payment process?

        From: Katz, Daniel <Daniel.Katz@treasury.gov>
        Sent: Wednesday, January 29, 2025 6:39:18 PM
        To: Froman, Eric <Eric.Froman@treasury.gov>; Sonfield, Brian <Brian.Sonfield@treasury.gov>
        Cc: Krause, Tom <Thomas.Krause@treasury.gov>; Pilkerton, Christopher
        <Christopher.Pilkerton@treasury.gov>
        Subject: FW: 4 Additional Accounts Identified for State Review
        Hi Eric and Brian –
        See below from Tom. He is proposing to utilize the same process we have put together with the
        State Department with respect to USAID payments that may be implicated by the Foreign Aid EO for
        four additional accounts, as explained below.

        Thank you.
        Dan Katz
        M:
        From: Krause, Tom <Thomas.Krause@treasury.gov>
        Sent: Wednesday, January 29, 2025 6:17 PM
        To: Katz, Daniel <Daniel.Katz@treasury.gov>
        Subject: 4 Additional Accounts Identified for State Review
        Dan –
        There are 4 additional accounts where I would like to implement the same process we used for
        USAID here at BFS. These four have been identified as being subject to the foreign aid EO. In these 4
        cases, we would send any payment requests across our three main systems to our State designee(s)
        for sign off before putting through for processing. This will ensure we are not making payments that
        directly violate the EO. I would like Secretary Bessent’s go ahead to proceed on these four. I can call
        with additional info.
        Regards,
        Tom

        Millennium Challenge Corporation (About MCC)
        Agency ID:
        TAS:
        HHS – Refugee and Entrant Assistance, Admin for Children and Families (2 subaccounts in HHS)
        Agency ID:
        TAS:
        HHS – Gifts and Donations Office of Refugee Resettlement, Admin for Children and Families
        Agency ID:
        TAS:




                                                      JA404                   25-cv-00430_DMD_UST_0068
USCA4 Appeal: 25-1282  Doc: 39-1              Filed: 04/14/2025 Pg: 408 of 582
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                                                  85 FR 11776
                              Vol. 85, No. 039, Thursday, February 27, 2020
                                                    Notices
    Reporter
    85 FR 11776 *
         Federal Register     >        2020       >        February      >        Thursday, February 27, 2020
    >      Notices        >       Bureau of the Fiscal Service, Department of the Treasury.


    Title: Privacy Act of 1974; System of Records
    Action:                   Notice of Systems of Records.

    Agency

                     Bureau of the Fiscal Service, Department of the Treasury.

    Synopsis


    SUMMARY: In accordance with the requirements of the Privacy Act of 1974, the
    Department of the Treasury, Bureau of the Fiscal Service is publishing its inventory of Privacy
    Act systems of records.

    Text

     [*11776]
    SUPPLEMENTARY INFORMATION:

    In accordance with the Privacy Act of 1974, 5 U.S.C. 552a, and the Office of Management
    and Budget (OMB), Circular No. A-108, the Department of the Treasury, Bureau of the Fiscal
    Service has completed a review of its Privacy Act systems of records notices to identify
    changes that will more accurately describe these records and is publishing an inventory of
    them.
    On October 7, 2012, the Secretary of the Treasury issued Treasury Order 136-01, establishing
    within the Department of the Treasury (“Department”) the Bureau of the Fiscal Service
    (“Fiscal Service”). The new bureau consolidated the bureaus formerly known as the Financial
    Management Service (“FMS”) and the Bureau of the Public Debt (“BPD”). Treasury Order
    136-01 was published in the Federal Register on May 24, 2013 (78 FR 31629). Fiscal Service


                                                    JA405
                                                  Thomas Borton           25-cv-00430_DMD_UST_0069
USCA4 Appeal: 25-1282  Doc: 39-1                              Filed: 04/14/2025 Pg: 409 of 582
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                                                               85 FR 11776, *11776

    is consolidating both legacy bureau's systems of records into a new set of SORNs under the
    Fiscal Service name.1
    In some instances, FMS and BPD's SORNs have been renumbered. In other cases, parts of
    the legacy bureaus' SORNs were combined into one or more SORNs. No SORN was
    rescinded in its entirety.
    Fiscal Service's SORNs are derived as follows:
    Systems of records notice .001 (Administrative Records) is derived from FMS system of
    records notice .001 (Administrative Records) and BPD system of records notice .001 (Human
    Resources and Administrative Records).
    System of records notice .002 (Payment Records) is derived from FMS system of records
    notice .002 (Payment Records—Treasury/FMS).
    System of records notice .003 (Claims and Inquiry Records on Treasury Checks, and
    International Claimants) is derived from FMS system of records notice .003 (Claims and
    Inquiry Records on Treasury Checks, and International Claimants).
    System of records notice .004 (Education and Training Records) is derived from BPD system
    of records notice .001 (Human Resources and Administrative Records) and FMS system of
    records notice .004 (Education and Training Records).
    System of records notice .005 (Fiscal Service Personnel Records) is derived from BPD system
    of records notice .001 (Human Resources and Administrative Records) and FMS system of
    records notice .005 (FMS Personnel Records).
    System of records notice .006 (Employee Assistance Records) is derived from BPD system of
    records notice .005 (Employee Assistance Records).
    System of records notice .007 (Direct Deposit Enrollment Records) is derived from FMS
    system of records notice .006 (Direct Deposit Enrollment Records).
    System of records notice .008 (Mailing List Records) is derived from FMS system of records
    notice .008 (Mailing List Records—Treasury/FMS).
    System of records notice .009 (Delegations and Designations of Authority for Disbursing
    Functions) is derived from FMS system of records notice .010 (Records of Accountable
    Offices' Authority with Treasury).


    1             BPD last published its systems of records in their entirety on August 17, 2011, at 76 FR 51128. FMS last published its systems of
    records in their entirety on October 15, 2012, at 77 FR 62602. Since consolidation, Fiscal Service published two additional systems of records: (1)
    Do Not Pay Payment Verification Records, published on December 9, 2013, at 78 FR 73923; and (2) OneVoice Customer Relationship
    Management, published on September 19, 2014, at 79 FR 56433.

                                                                      JA406                          25-cv-00430_DMD_UST_0070
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    System of records notice .010 (Pre-complaint Counseling and Complaint Activities) is derived
    from FMS system of records notice .012 (Pre-Complaint Counseling and Complaint
    Activities).
    System of records notice .011 (Gifts to the United States) is derived from FMS system of
    records notice .013 (Gifts to the United States).
    System of records notice .012 (Debt Collection Operations System) is derived from FMS
    system of records notice .014 (Debt Collection Operations System).
    System of records notice .013 (Collections Records) is derived from FMS system of records
    notice .017 (Collections Records).
    System of records notice .014 (United States Securities and Access) is derived from BPD
    systems of records notices .002 (United States Savings-Type Securities), .003 (United States
    Securities (Other than Savings-Type Securities)), and .008 (Retail Treasury Securities Access
    Application).
    System of records notice .015 (Physical Access Control System) is derived from BPD system
    of records notice .004 (Controlled Access Security System).
    System of records notice .016 (Health Unit Records) is derived from BPD system of records
    notice .006 (Health Service Program Records).
    System of records notice .017 (Do Not Pay Payment Verification Records) is derived from
    Fiscal Service system of records notice .023 (Do Not Pay Payment Verification Records—
    Department of the Treasury/Bureau of the Fiscal Service).
    System of records notice .018 (OneVoice Customer Relationship Management) is derived
    from Fiscal Service system of records notice .024 (OneVoice Customer Relationship
    Management—Department of the Treasury/Bureau of the Fiscal Service).
    System of records notice .019 (Gifts to Reduce the Public Debt) is derived from BPD system
    of records notice .007 (Gifts to Reduce the Public Debt).
    System of records notice .020 (U.S. Treasury Securities Fraud Information System) is derived
    from BPD system of records notice .009 (U.S. Treasury Securities Fraud Information System).
    Fiscal Service is adding one routine use to all of the systems of records to share information
    with other federal agencies or federal entities as required by OMB Memorandum 17-12,
    “Preparing for and Responding to a Breach of Personally Identifiable Information,” dated
    January 3, 2017, to assist Treasury/Fiscal Service in responding to a suspected or confirmed
    breach or prevent, minimize, or remedy the risk of harm to the requesters, Treasury/Fiscal
    Service, the Federal Government, or national security.


                                              JA407               25-cv-00430_DMD_UST_0071
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    Fiscal Service also slightly expanded the scope of SORN .003 (Claims and Inquiry Records on
    Treasury Checks, and International Claimants) to cover payments that will be made pursuant
    to the Guam World War II Loyalty Recognition Act, Public Law 114-328, Title XVII. This
    change is consistent with the purpose of the SORN and many other payments made pursuant
    to similar statutes and requirements. [*11777]
    In addition to the changes noted above, this notice updates some of the system of records
    notices, changes references in the systems of records notices, and makes other administrative
    changes to reflect the consolidation into the Fiscal Service, such as updating the procedures
    for gaining access to, or contesting the contents of, records in these systems of records.
    This notice covers all systems of records adopted by the Fiscal Service as of February 27,
    2020. The system notices are reprinted in their entirety following the Table of Contents.
    Ryan Law,
    Deputy Assistant Secretary for Privacy, Transparency, & Records.
    Table of Contents
    Fiscal Service
    TREASURY/Fiscal Service .001—Administrative Records
    TREASURY/Fiscal Service .002—Payment Records
    TREASURY/Fiscal Service .003—Claims and Inquiry Records on Treasury Checks, and
    International Claimants
    TREASURY/Fiscal Service .004—Education and Training Records
    TREASURY/Fiscal Service .005—Fiscal Service Personnel Records
    TREASURY/Fiscal Service .006—Employee Assistance Records
    TREASURY/Fiscal Service .007—Direct Deposit Enrollment Records
    TREASURY/Fiscal Service .008—Mailing List Records
    TREASURY/Fiscal Service .009—Delegations and Designations of Authority for Disbursing
    Functions
    TREASURY/Fiscal Service .010—Pre-complaint Counseling and Complaint Activities
    TREASURY/Fiscal Service .011—Gifts to the United States
    TREASURY/Fiscal Service .012—Debt Collection Operations System


                                                    JA408              25-cv-00430_DMD_UST_0072
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    TREASURY/Fiscal Service .013—Collections Records
    TREASURY/Fiscal Service .014—United States Securities and Access
    TREASURY/Fiscal Service .015—Physical Access Control System
    TREASURY/Fiscal Service .016—Health Unit Records
    TREASURY/Fiscal Service .017—Do Not Pay Payment Verification Records
    TREASURY/Fiscal Service .018—OneVoice Customer Relationship Management
    TREASURY/Fiscal Service .019—Gifts to Reduce the Public Debt
    TREASURY/Fiscal Service .020—U.S. Treasury Securities Fraud Information System


    Treasury/Fiscal Service .001


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .001—Administrative Records.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 3201 Pennsy Drive,
    Warehouse “E”, Landover, MD 20785.


    SYSTEM MANAGER(S):


    (1) For Retiree Mailing Records: Legislative and Public Affairs, Bureau of the Fiscal Service,
    3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785; and
                                                    JA409         25-cv-00430_DMD_UST_0073
USCA4 Appeal: 25-1282  Doc: 39-1           Filed: 04/14/2025 Pg: 413 of 582
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    (2) For all other records: Assistant Commissioner, Office of Management, Bureau of the
    Fiscal Service, 3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; 40 U.S.C. 581.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained about Fiscal Service
    employees, their relocating family members, contract vendors, retirees and other individuals if:
    (1) The Fiscal Service has incurred obligations on their behalf; (2) the individual has requested
    mailings from Fiscal Service or other Treasury publications; (3) the individual has a parking
    permit issued by the Fiscal Service; (4) the individual has been involved in a motor vehicle
    accident that may involve the Fiscal Service; (5) the individual has engaged in certain
    transactions in connection with their employment with the Fiscal Service or (6) the individual
    is a vendor to the Fiscal Service.


    The information contained in the records assists Fiscal Service in properly tracking its use of
    appropriated and non-appropriated funding to acquire goods and services received from
    contractors and other federal agencies, as well as non-payroll related reimbursements to
    employees. Fiscal Service maintains these records to ensure that financial records pertaining to
    procurement, financial management and relocation are maintained accurately. For those
    receiving mailings, information contained in the records assists Fiscal Service in establishing
    and maintaining a robust relationship with its customers, as well as maintaining its
    commitment to actively engage employees, even those who have retired from the Civil
    Service.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Fiscal Service employees (including current and former employees), family members of
    relocating Fiscal Service employees, contractors, vendors, sellers/purchasers associated with

                                                JA410               25-cv-00430_DMD_UST_0074
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    residential transactions involving certain relocating Fiscal Service employees, and individuals
    requesting various Treasury publications.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    (1) Motor vehicle accident reports and parking permits;


    (2) Procurement records relating to: (a) Contractors/vendors that are individuals; and (b)
    government purchase cardholders. These records may include, for example, the name, Social
    Security number and credit card number for employees who hold Government-use cards, as
    well as procurement integrity certificates;


    (3) Financial management records that relate to government travel, vendor accounts, other
    employee reimbursements, interagency transactions, employee pay records, vendor
    registration data, purchase card accounts and transactions, and program payment agreements;


    (4) Relocation records that relate to employee relocation travel authorizations,
    reimbursements, and related vendor invoices;


    (5) Retiree mailing records that contain the name and address furnished by Fiscal Service
    retirees that request mailings of newsletters and other special mailings; and


    (6) Distribution Lists of Individuals Requesting Various Treasury Publications.


    RECORD SOURCE CATEGORIES:


    Information in this system of records is provided by Fiscal Service personnel,
    contractors/vendors or individuals requesting Treasury publications.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:

                                               JA411              25-cv-00430_DMD_UST_0075
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    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) General Services Administration for driver's permits, parking permits, accident reports,
    and credentials;


    (2) Government Accountability Office or Fiscal Service contractors for servicing the public on
    Treasury publications and managing subscriptions to the appropriate publications;


    (3) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation [*11778] or for enforcing or implementing a statute, rule, regulation,
    order, or license, when a record, either on its face or in conjunction with other information,
    indicates a violation or potential violation of law, which includes criminal, civil, or regulatory
    violations and such disclosure is proper and consistent with the official duties of the person
    making the disclosure;


    (4) The Office of Personnel Management, the Merit Systems Protection Board, the Equal
    Employment Opportunity Commission, and the Federal Labor Relations Authority upon
    authorized request;


    (5) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (6) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;



                                                JA412               25-cv-00430_DMD_UST_0076
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    (7) Foreign governments in accordance with formal or informal international agreements;


    (8) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (9) Contractors for the purpose of processing personnel and administrative records;


    (10) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (11) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (12) Federal agencies, state agencies, and local agencies for tax purposes;


    (13) Private creditors for the purpose of garnishing wages of an employee if a debt has been
    reduced to a judgment;


    (14) Authorized federal and non-federal entities for use in approved computer matching
    efforts, limited to those data elements considered necessary in making a determination of
    eligibility under particular benefit programs administered by those agencies or entities, to
    improve program integrity, and to collect debts and other monies owed to those agencies or
    entities or to the Fiscal Service;


    (15) Other federal agencies to effect salary or administrative offset for the purpose of
    collecting a debt, except that addresses obtained from the Internal Revenue Service shall not
    be disclosed to other agencies;


    (16) Next-of-kin, voluntary guardians, and other representative or successor in interest of a
    deceased or incapacitated employee or former employee;


                                                JA413               25-cv-00430_DMD_UST_0077
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    (17) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;


    (18) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm; and


    (19) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by name, Social Security number, other assigned identifier, and
    Treasury publication.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:

                                               JA414               25-cv-00430_DMD_UST_0078
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    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    DISCLOSURE TO CONSUMER REPORTING AGENCIES:


    In accordance with section (b)(12) of the Privacy Act of 1974, as amended (5 U.S.C.
    552a(b)(12)), disclosures may be made from this system of records to “consumer reporting
    agencies” 2               in accordance with section 3711(e) of title 31. The purpose of the
    disclosure is to aid in the collection of outstanding debts owed to the Federal Government.
    After the prerequisites of 31 U.S.C. 3711 have been followed, the Fiscal Service may disclose
    information necessary to establish the identity of the individual responsible for the claim,
    including name, address, and taxpayer identification number; the amount, status, and history
    of the claim; and the agency or program under which the claim arose.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.




    2      “Consumer reporting agency” is defined in 31 U.S.C. 3701(a)(3).

                                                                JA415          25-cv-00430_DMD_UST_0079
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    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record
     [*11779] pertaining to himself or herself must follow the procedures set forth in the
    regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart C,
    Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .001—
    Human Resources and Administrative Records and on October 15, 2012 (77 FR 62602) as the
    Department of the Treasury, Financial Management Service .001—Administrative Records.


    Treasury/Fiscal Service .002


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .002—Payment Records



                                              JA416               25-cv-00430_DMD_UST_0080
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    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Kansas City Regional Financial Center, Bureau of the Fiscal Service, U.S. Department of the
    Treasury, 4241 NE 34th Street, Kansas City, MO 64117; Bureau of the Fiscal Service, 320
    Avery Street, Parkersburg, WV 26106-1328. Records are also located throughout the United
    States at Federal Reserve Banks and financial institutions acting as Treasury's fiscal and
    financial agents. The addresses of the fiscal and financial agents may be obtained from the
    system manager below.


    SYSTEM MANAGER(S):


    Chief Disbursing Officer, Assistant Commissioner, Payment Management, Bureau of the
    Fiscal Service, 3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; 31 U.S.C. 321, 3301, 3321, 3321 note, 3325, 3327, 3328, 3332, 3334, 3720.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected from federal government entities that are
    requesting disbursement of domestic and international payments to their recipients and is
    used to facilitate such payments.


    The information will also be used for collateral purposes related to the processing of
    disbursements, such as collection of statistical information on operations, development of


                                                    JA417         25-cv-00430_DMD_UST_0081
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    computer systems, investigation of unauthorized or fraudulent activity, and the collection of
    debts arising out of such activity.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Individuals who are the intended or actual recipients of payments disbursed by the United
    States Government.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    Payment records showing a payee's name, Social Security number, employer identification
    number, or other agency identification or account number; date and location of birth, physical
    and/or electronic mailing address; telephone numbers; payment amount; date of issuance;
    trace number or other payment identification number, such as Treasury check number and
    symbol; financial institution information, including the routing number of his or her financial
    institution and the payee's account number at the financial institution; and vendor contract
    and/or purchase order number.


    RECORD SOURCE CATEGORIES:


    Information in this system is provided by: Federal departments and agencies responsible for
    certifying, disbursing, and collecting federal payments; Treasury or Fiscal Service-designated
    fiscal and financial agents of the United States that process payments and collections; and
    commercial database vendors. Each of these record sources may include information obtained
    from individuals.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:

                                               JA418              25-cv-00430_DMD_UST_0082
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    (1) The banking industry for payment verification;


    (2) Federal investigative agencies, Departments and agencies for whom payments are made,
    and payees;


    (3) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (4) A federal, state, or local agency maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (5) A court, magistrate, mediator, or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (6) Foreign governments in accordance with formal or informal international agreements;


    (7) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (8) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


                                                JA419               25-cv-00430_DMD_UST_0083
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    (9) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (10) Federal creditor agencies, their employees, or their agents for the purpose of facilitating
    or conducting federal administrative offset, federal tax refund offset, federal salary offset, or
    for any other authorized debt collection purpose;


    (11) Any state, territory or commonwealth of the United States, or the District of Columbia to
    assist in the collection of state, commonwealth, territory or District of Columbia claims
    pursuant to a reciprocal agreement between Fiscal Service and the state, commonwealth,
    territory or the District of Columbia, or pursuant to federal law that authorizes the offset of
    federal payments to collect delinquent obligations owed to the state, commonwealth, territory,
    or the District of Columbia;


    (12) The Defense Manpower Data Center and the United States Postal Service and other
    federal agencies through authorized computer matching programs for the purpose of
    identifying and locating individuals who are delinquent in their repayment of debts owed to
    the Department or other federal agencies in order to collect those debts through salary offset
    and administrative [*11780] offset, or by the use of other debt collection tools;


    (13) A contractor of the Fiscal Service for the purpose of performing routine payment
    processing services, subject to the same limitations applicable to Fiscal Service officers and
    employees under the Privacy Act;


    (14) A fiscal or financial agent of the Fiscal Service, its employees, agents, and contractors, or
    to a contractor of the Fiscal Service, for the purpose of ensuring the efficient administration
    of payment processing services, subject to the same or equivalent limitations applicable to
    Fiscal Service officers and employees under the Privacy Act;


    (15) To appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,

                                                JA420               25-cv-00430_DMD_UST_0084
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    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (16) To another Federal agency or Federal entity, when the Department of the Treasury
    and/or Fiscal Service determines that information from this system of records is reasonably
    necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
    breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the
    recipient agency or entity (including its information systems, programs, and operations), the
    Federal Government, or national security, resulting from a suspected or confirmed breach;


    (17) (a) a federal or state agency, its employees, agents (including contractors of its agents) or
    contractors; (b) a fiscal or financial agent designated by the Fiscal Service or other Department
    of the Treasury bureau or office, including employees, agents or contractors of such agent; or
    (c) a contractor of the Fiscal Service, for the purpose of identifying, preventing, or recouping
    improper payments to an applicant for, or recipient of, federal funds, including funds
    disbursed by a state in a state-administered, federally-funded program; disclosure may be made
    to conduct computerized comparisons for this purpose;


    (18) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity; and


    (19) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 4 U.S.C. 2904 and 2906.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS IN THE SYSTEM:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


                                                JA421               25-cv-00430_DMD_UST_0085
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    Records may be retrieved by name, Social Security number, employer identification number,
    agency-supplied identifier, date of payment, or trace number, or other payment identifying
    information, such as check number.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow procedures set forth in
    the regulations of the U.S. Department of the Treasury published in 31 CFR, Part 1, Subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.

                                              JA422               25-cv-00430_DMD_UST_0086
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    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on
    October 15, 2012 (77 FR 62602) as the Department of the Treasury, Financial Management
    Service .002—Payment Records.


    Treasury/Fiscal Service .003


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .003—Claims and Inquiry Records
    on Treasury Checks, and International Claimants.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:

                                                    JA423         25-cv-00430_DMD_UST_0087
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    Kansas City Regional Financial Center, Bureau of the Fiscal Service, U.S. Department of the
    Treasury, 4241 NE 34th Street, Kansas City, MO 64117; Bureau of the Fiscal Service, 320
    Avery Street, Parkersburg, WV 26106-1328. Records are also located throughout the United
    States at Federal Reserve Banks and financial institutions acting as Treasury's fiscal and
    financial agents. The addresses of the fiscal and financial agents may be obtained from the
    system manager below.


    SYSTEM MANAGER(S):


    Chief Disbursing Officer, Assistant Commissioner, Payment Management, Bureau of the
    Fiscal Service, 3201 Pennsy Drive, Warehouse “E,”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; Treasury check claims—15 U.S.C. 771 with delegation of authority from
    Comptroller General of the United States; International claims—50 U.S.C. 2012; 22 U.S.C.
    1627, 1641, 1642; Public Law 114-328.


    PURPOSE(S) OF THE SYSTEM:


    To be the system of record for all checks issued by the U.S. Department of the Treasury and
    claims against these checks, including:


    (1) Claims where the payee has verified they were not the endorser of [*11781] the check
    therefore resulting in potential fraud;


    (2) Claims of non-entitlement (reclamations) by agencies;


    (3) Claims of non-receipt by payees;


                                                 JA424             25-cv-00430_DMD_UST_0088
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    (4) Expired checks, i.e., limited pay cancellations; and


    (5) Claims for benefits under the War Claims Act, the International Claims Settlement Act of
    1949, and the Guam World War II Loyalty Recognition Act.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    (1) Payees and holders of Treasury checks; and


    (2) Claimants awarded benefits under the War Claims Act, the International Claims Settlement
    Act of 1949, and the Guam World War II Loyalty Recognition Act.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    (1) Treasury check claim files; and


    (2) Awards for claims for losses sustained by individuals.


    RECORD SOURCE CATEGORIES:


    Information in this system of records is provided by:


    (1) Individual payees of Treasury checks, endorsers of Treasury checks, investigative agencies,
    contesting claimants;


    (2) Federal program agencies and other federal entities; and


    (3) Awards certified to Treasury for payment by Foreign Claims Settlement Commission.


                                                 JA425             25-cv-00430_DMD_UST_0089
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    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Endorsers concerning checks for which there is liability, federal agencies, state and local
    law enforcement agencies, General Accountability Office, congressional offices and media
    assistance offices on behalf of payee claimants;


    (2) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation of or for enforcing or implementing a statute, rule, regulation, order,
    or license, when a record, either on its face or in conjunction with other information, indicates
    a violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (3) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (4) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of discovery,
    litigation, or settlement negotiations, in response to a subpoena, or in connection with
    criminal law proceedings;


    (5) Foreign governments in accordance with formal or informal international agreements;




                                                 JA426               25-cv-00430_DMD_UST_0090
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    (6) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (7) The news media and the public, with the approval of the Chief Privacy Officer in
    consultation with counsel, when there exists a legitimate public interest in the disclosure of the
    information, when disclosure is necessary to preserve confidence in the integrity of the Fiscal
    Service, or when disclosure is necessary to demonstrate the accountability of Fiscal Service's
    officers, employees, or individuals covered by the system, except to the extent the Chief
    Privacy Officer determines that release of the specific information in the context of a
    particular issue would constitute an unwarranted invasion of personal privacy;


    (8) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (9) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (10) The public when attempts by Fiscal Service to locate the claimant have been
    unsuccessful. This information is limited to the claimant's name, city, and state of last known
    address, and the amount owed to the claimant. (This routine use does not apply to the Iran
    Claims Program or the Holocaust Survivors Claims Program or other claims programs that
    statutorily prohibit disclosure of claimant information);


    (11) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;


    (12) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in

                                                JA427               25-cv-00430_DMD_UST_0091
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    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (13) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach; and


    (14) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by:


    (1) Name of payee and check number and symbol;


    (2) Social Security number; and


    (3) Name of claimant or alphanumeric reference to claim number.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:

                                               JA428               25-cv-00430_DMD_UST_0092
USCA4 Appeal: 25-1282  Doc: 39-1         Filed: 04/14/2025 Pg: 432 of 582
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    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
     [*11782] Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow procedures set forth in
    the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart C,
    Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


                                              JA429               25-cv-00430_DMD_UST_0093
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 433 of 582
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    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on Oct. 15,
    2012 (77 FR 62602) as the Department of the Treasury, Financial Management Service .003—
    Claims and Inquiry Records on Treasury Checks, and International Claimants.


    Treasury/Fiscal Service .004


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .004—Education and Training
    Records.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 320 Avery Street, Parkersburg,
    WV 26106-1328.


    SYSTEM MANAGER(S):




                                                    JA430         25-cv-00430_DMD_UST_0094
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    Assistant Commissioner, Office of Management, Bureau of the Fiscal Service, 3201 Pennsy
    Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; 31 U.S.C. 321; 31 U.S.C. chapter 33; 31 U.S.C. 3720.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained about Government
    employees and other individuals who participate in Fiscal Service's education and training
    program. The information contained in the records will assist Fiscal Service in properly
    tracking individual training and accurately account for training revenue and expenditures
    generated through the Fiscal Service's training programs (for example, Integrated Talent
    Management (ITM)). For Fiscal Service personnel, the records contained in Fiscal Service's
    training records will also assist managers' active participation in their employees' learning
    plans. Fiscal Service maintains the information necessary to ensure that Fiscal Service keeps
    accurate records related to classes, including a training participant's training and enrollment
    status, class completion information, and learning history. Fiscal Service also maintains the
    records to ensure that financial records pertaining to a training participant's payment for
    training fees are maintained accurately. Fiscal Service's training records will report financial
    information to the Internal Revenue Service and Office of Personnel Management. Finally,
    the information contained in the covered records will be used for collateral purposes related
    to the training processes, such as the collection of statistical information on training programs,
    development of computer systems, investigation of unauthorized or fraudulent activity related
    to submission of information to Fiscal Service for training program purposes and the
    collection of debts arising out of such activity.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Government employees (including separated employees, in certain cases) and other individuals
    who access and apply for Fiscal Service training services.




                                                JA431               25-cv-00430_DMD_UST_0095
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    CATEGORIES OF RECORDS IN THE SYSTEM:


    (1) Personal Profile—Account Record;


    (2) Transcript Record;


    (3) Enrollment Status Record;


    (4) My Plan Record;


    (5) Assessment Performance Results Record;


    (6) Managerial Approval/Disapproval Status Record;


    (7) Class Roster Record;


    (8) Class Evaluation Record;


    (9) Payment Record; and


    (10) Statistical Reports—retrievable by names: (a) Learning History, (b) Class Enrollment
    Report, (c) Class Payment/Billing Report, (d) Status of Training Report, (e) Ad Hoc Training
    Report, and (f) Other Similar Files or Registers.


    RECORD SOURCE CATEGORIES:


    Information in this system is provided by the individual on whom the record is maintained;
    the individual's employer; and other governmental agency or educational institutions.


                                             JA432              25-cv-00430_DMD_UST_0096
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    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (2) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (3) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (4) Federal agencies, financial institutions, and contractors for the purpose of performing
    fiscal services, including, but not limited to, processing payments, investigating and rectifying
    possible erroneous reporting information, testing and enhancing related computer systems,
    creating and reviewing statistics to improve the quality of services provided, or conducting
    debt collection services;


    (5) Federal agencies, their agents and contractors for the purposes of facilitating the collection
    of receipts, [*11783] determining the acceptable method of collection, the accounting of such
    receipts, and the implementation of programs related to the receipts being collected as well as
    status of their personnel training, statistical training information;


                                                JA433               25-cv-00430_DMD_UST_0097
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    (6) Financial institutions, including banks and credit unions, and credit card companies for the
    purpose of collections and/or investigating the accuracy of information required to complete
    transactions using electronic methods and for administrative purposes, such as resolving
    questions about a transaction;


    (7) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (8) Foreign governments in accordance with formal or informal international agreements;


    (9) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (10) Federal agencies, their agents and contractors, credit bureaus, and employers of
    individuals who owe delinquent debt when the debt arises from the unauthorized use of
    electronic payment methods. The information will be used for the purpose of collecting such
    debt through offset, administrative wage garnishment, referral to private collection agencies,
    litigation, reporting the debt to credit bureaus, or for any other authorized debt collection
    purpose;


    (11) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;


    (12) To appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;

                                               JA434               25-cv-00430_DMD_UST_0098
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    (13) To another Federal agency or Federal entity, when the Department of the Treasury
    and/or Fiscal Service determines that information from this system of records is reasonably
    necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
    breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the
    recipient agency or entity (including its information systems, programs, and operations), the
    Federal Government, or national security, resulting from a suspected or confirmed breach;
    and


    (14) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Electronic training data can be retrieved by class name and/or organization name and
    participant name. Electronic financial data can be retrieved by name, organization and
    payment information (e.g., credit card, Standard Form 182).


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:

                                               JA435               25-cv-00430_DMD_UST_0099
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    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow procedures set forth in
    the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart C,
    Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:

                                              JA436               25-cv-00430_DMD_UST_0100
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    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .001—
    Human Resources and Administrative Records and on October 15, 2012 (77 FR 62602) as the
    Department of the Treasury, Financial Management Service .004—Education and Training
    Records.


    Treasury/Fiscal Service .005


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .005—Fiscal Service Personnel
    Records.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, locations at: 3201 Pennsy
    Drive, Warehouse “E”, Landover, MD 20785; 200 Third Street, Parkersburg, WV 26106-
    1328; 320 Avery Street, Parkersburg, WV 26106-1328; 4241 NE 34th Street, Kansas City, MO
    64117-3120; 13000 Townsend Road, Philadelphia, PA 19154; and Fiscal Service offices in
    Austin, TX 78714 and Birmingham, AL. Copies of some documents have been duplicated for
    maintenance by supervisors for employees or programs under their supervision. These
    duplicates are also covered by this system of records.


    SYSTEM MANAGER(S):




                                                    JA437         25-cv-00430_DMD_UST_0101
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    (1) For personnel records: Assistant Commissioner, Office of Management, Bureau of the
    Fiscal Service, 3201 [*11784] Pennsy Drive, Warehouse “E”, Landover, MD 20785; and


    (2) For personnel security records: Assistant Commissioner, Office of Information and
    Security Services, Bureau of the Fiscal Service, 320 Avery Street, Parkersburg, WV 26106-
    1328.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; U.S. Office of Personnel Management, Guide to Personnel Recordkeeping
    (Operating Manual).


    PURPOSE(S) OF THE SYSTEM:


    The information contained in these records assists Fiscal Service in: (1) Maintaining current
    and historical personnel records and preparing individual administrative transactions relating
    to classification; assignment; career development; evaluation; promotion, compensation,
    separation and retirement; making decisions on the rights, benefits, entitlements and the
    utilization of individuals; providing a data source for the production of reports, statistical
    surveys, rosters, documentation, and studies required for the orderly personnel administration
    within Treasury; (2) maintaining employment history; (3) providing investigatory information
    for determinations concerning whether an individual is suitable or fit for Government
    employment; eligible for logical and physical access to Treasury controlled facilities and
    information systems; eligible to hold sensitive positions (including but not limited to eligibility
    for access to classified information); fit to perform work for or on behalf of the U.S.
    Government as a contractor; qualified to perform contractor services for the U.S.
    Government; or loyal to the United States; (4) ensuring that Fiscal Service is upholding the
    highest standards of integrity, loyalty, conduct, and security among its employees and contract
    personnel; (5) to help streamline and make the adjudicative process more efficient; and (6) to
    otherwise conform with applicable legal, regulatory and policy authorities.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:




                                                 JA438               25-cv-00430_DMD_UST_0102
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    Fiscal Service employees (including current and separated employees), family members of
    Fiscal Service employees, and applicants for Fiscal Service employment.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    (1) Human Resources Records: Records covered under the National Archives and Records
    Administration (“NARA”)'s General Records Schedule, 2.0 Human Resources, which relate to
    the supervision over and management of federal civilian employees, including the disposition
    of Official Personnel Folders and other records relating to civilian personnel; and


    (2) Personnel Security Records: Records covered under the NARA General Records Schedule
    2.1 Employee Acquisition Records, and 5.6 Security Records that relate to initial and recurring
    background investigations of Fiscal Service employee and contractors, as well as the issuance
    of PIV-enabled identification cards (i.e., credentials).


    RECORD SOURCE CATEGORIES:


    Information in this system of records is provided by applicant Notification of Personnel
    Action Forms (SF-50), job application/resume (completed by applicant), payroll actions
    references, educational institutions, the subject of the record, authorized representatives,
    supervisor, employers, medical personnel, other employees, other federal, state, or local
    agencies, and commercial entities.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or

                                               JA439              25-cv-00430_DMD_UST_0103
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    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (2) The Office of Personnel Management, the Merit Systems Protection Board, the Equal
    Employment Opportunity Commission, and the Federal Labor Relations Authority upon
    authorized request;


    (3) Other federal, state, or local agencies, such as a state employment compensation board or
    housing administration agency, so that the agency may adjudicate an individual's eligibility for
    a benefit, or liability in such matters as child support;


    (4) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (5) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (6) Foreign governments in accordance with formal or informal international agreements;


    (7) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (8) Contractors for the purpose of processing personnel and administrative records;




                                                JA440               25-cv-00430_DMD_UST_0104
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    (9) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (10) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (11) Consumer reporting agencies, private creditors and debt collection agencies, including
    mailing addresses obtained from the Internal Revenue Service to obtain credit reports;


    (12) Federal agencies and to state and local agencies for tax purposes;


    (13) Private creditors for the purpose of garnishing wages of an employee if a debt has been
    reduced to a judgment;


    (14) Authorized federal and non-federal entities for use in approved computer matching
    efforts, limited to those data elements considered necessary in making a determination of
    eligibility under particular benefit programs administered by those agencies or entities, to
    improve program integrity, and to collect debts and other monies owed to those agencies or
    entities or to the Fiscal Service;


    (15) Other federal agencies to effect salary or administrative offset for the purpose of
    collecting a debt, except that addresses obtained from the Internal Revenue Service shall not
    be disclosed to other agencies;


    (16) Next-of-kin, voluntary guardians, and other representative or successor in interest of a
    deceased or incapacitated employee or former employee;


    (17) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records [*11785] management inspections under authority of 44 U.S.C. 2904
    and 2906;



                                                JA441               25-cv-00430_DMD_UST_0105
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    (18) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (19) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (20) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach; and


    (21) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    DISCLOSURE TO CONSUMER REPORTING AGENCIES:


    In accordance with section (b)(12) of the Privacy Act of 1974, as amended (5 U.S.C.
    552a(b)(12)), disclosures may be made from this system of records to “consumer reporting
    agencies” 3               in accordance with section 3711(e) of title 31.” The purpose of the
    disclosure is to aid in the collection of outstanding debts owed to the Federal Government.
    After the prerequisites of 31 U.S.C. 3711 have been followed, the Fiscal Service may disclose
    information necessary to establish the identity of the individual responsible for the claim,



    3      “Consumer reporting agency” is defined in 31 U.S.C. 3701(a)(3).

                                                                JA442          25-cv-00430_DMD_UST_0106
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    including name, address, and taxpayer identification number; the amount, status, and history
    of the claim; and the agency or program under which the claim arose.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    By name, Social Security number or other assigned identifier.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:




                                               JA443                25-cv-00430_DMD_UST_0107
USCA4 Appeal: 25-1282   Doc: 39-1         Filed: 04/14/2025 Pg: 447 of 582
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    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .001—
    Human Resources and Administrative Records and on October 15, 2012 (77 FR 62602) as the
    Department of the Treasury, Financial Management Service .005—FMS Personnel Records.


    Treasury/Fiscal Service .006


    SYSTEM NAME AND NUMBER:


                                              JA444               25-cv-00430_DMD_UST_0108
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 448 of 582
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    Department of the Treasury, Bureau of the Fiscal Service .006—Employee Assistance
    Records.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    This system covers Fiscal Service employee assistance records that are maintained by another
    federal, state, local government, or contractor under an agreement with the Fiscal Service
    directly or through another entity to provide the Employee Assistance Program (EAP)
    functions. The address of the other agency or contractor may be obtained from the system
    manager below.


    SYSTEM MANAGER(S):


    Assistant Commissioner, Office of Management, Bureau of the Fiscal Service, 3201 Pennsy
    Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301, 7361, 7362, 7904; 44 U.S.C. 3101.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained to provide a history and
    record of the employee's or his/her family member's counseling session.


                                                    JA445         25-cv-00430_DMD_UST_0109
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 449 of 582
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    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Fiscal Service employees and former employees who have been counseled, either by self-
    referral or supervisory-referral, regarding alcohol or drug abuse, emotional health, or other
    personal problems. Where applicable, this system also covers family members of Fiscal
    Service employees when the family member uses the services of the EAP.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    This system contains records of each employee and, in some cases, family [*11786] members
    of the employee who have used the EAP for an alcohol, drug, emotional, or personal
    problem. Examples of information that may be found in each record are: The individual's
    name; Social Security number; date of birth; grade; job title; home address; telephone
    numbers; supervisor's name and telephone number; assessment of problem; and referrals to
    treatment facilities and outcomes.


    RECORD SOURCE CATEGORIES:


    Information in this system of records comes from the individual to whom it applies, the
    supervisor of the individual if the individual was referred by a supervisor, or the contractor's
    staff member who records the counseling session.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) An entity under contract with the Fiscal Service for the purpose of providing the EAP
    function;



                                               JA446               25-cv-00430_DMD_UST_0110
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    (2) Medical personnel to the extent necessary to meet a bona fide medical emergency in
    accordance with the Confidentiality of Alcohol and Drug Abuse Patient Records regulations
    (42 CFR part 2);


    (3) Contractors and consultants, and their employees, contractors or other personnel for the
    purpose of conducting scientific research, management audits, financial audits, or program
    evaluation, provided individual identifiers are not disclosed in any manner, in accordance with
    the Confidentiality of Alcohol and Drug Abuse Patient Records regulations (42 CFR part 2);


    (4) The Department of Justice or other appropriate federal agency in defending claims against
    the United States when the records are not covered by the Confidentiality of Alcohol and
    Drug Abuse Patient Records regulations at 42 CFR part 2;


    (5) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (6) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (7) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (8) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in

                                               JA447               25-cv-00430_DMD_UST_0111
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    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (9) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach; and


    (10) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    These records are retrieved by the name and Social Security number or other assigned
    identifier of the individual on whom they are maintained.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:
                                               JA448               25-cv-00430_DMD_UST_0112
USCA4 Appeal: 25-1282   Doc: 39-1         Filed: 04/14/2025 Pg: 452 of 582
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    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    When Fiscal Service contracts with an entity for the purpose of providing the EAP functions,
    the contractor shall be required to maintain Privacy Act of 1974, as amended, safeguards with
    respect to such records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


                                              JA449               25-cv-00430_DMD_UST_0113
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 453 of 582
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    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .005—
    Employee Assistance Records. [*11787]


    Treasury/Fiscal Service .007


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .007—Direct Deposit Enrollment
    Records.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Federal Reserve Bank of Dallas, acting in its capacity as Treasury's fiscal agent, 2200 North
    Pearl Street, Dallas, TX 75201.


    SYSTEM MANAGER(S):


    Chief Disbursing Officer, Assistant Commissioner, Payment Management, Bureau of the
    Fiscal Service, 3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785.



                                                    JA450         25-cv-00430_DMD_UST_0114
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    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; 31 U.S.C. 321; 31 U.S.C. chapter 33; 31 U.S.C. 3332.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained about individuals who wish
    to enroll in the Direct Deposit program in order to receive federal payments directly to a bank
    account or other similar type of account via electronic funds transfer, rather than by paper
    check.


    The records are used to process Direct Deposit enrollment applications that may be received
    directly by Fiscal Service, its fiscal agents, and/or contractors. The records are collected and
    maintained to guarantee that Direct Deposit enrollment applications are processed properly to
    ensure that a recipient's federal payment will be disbursed to the correct account. Without the
    appropriate information, Fiscal Service, its fiscal agents and contractors, would not be able to
    process the Direct Deposit enrollment application as requested by the individual authorizing
    the Direct Deposit.


    The information will also be used for collateral purposes related to the processing of Direct
    Deposit enrollments, such as collection of statistical information on operations, development
    of computer systems, investigation of unauthorized or fraudulent activity, and the collection
    of debts arising out of such activity.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Individuals who enroll with the Fiscal Service to receive federal payments from the Federal
    Government via an electronic funds transfer program known as “Direct Deposit.”


    CATEGORIES OF RECORDS IN THE SYSTEM:




                                               JA451               25-cv-00430_DMD_UST_0115
USCA4 Appeal: 25-1282   Doc: 39-1                        Filed: 04/14/2025 Pg: 455 of 582
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    The records may contain identifying information, such as: An individual's name(s), Social
    Security number, home address, home and work telephone number, and personal email
    address (home and work); date of birth; bank account(s) and other types of accounts to which
    payments are made, such as the individual's bank account number and the financial institution
    routing and transit number; information about an individual's payments received from the
    United States, including the type of payment received and the federal agency responsible for
    authorizing the payment; information related to the cancellation or suspension of an
    individual's Direct Express® debit card 4             by Fiscal Service's financial agent; and
    information provided by an individual regarding a hardship due to a remote geographic
    location or about his or her inability to manage a bank account or prepaid debit card due to
    mental impairment.


    RECORD SOURCE CATEGORIES:


    Information in this system is provided by the individual on whom the record is maintained (or
    by his or her authorized representative), other persons who electronically authorize payments
    from the Federal Government, federal agencies responsible for authorizing payments, federal
    agencies responsible for disbursing payments, Treasury financial agents, Treasury fiscal agents
    that process Direct Deposit enrollment applications, and contractors.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    4       Direct Express® is a registered service mark of the Bureau of the Fiscal Service, U.S. Department of the Treasury.

                                                                  JA452                         25-cv-00430_DMD_UST_0116
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 456 of 582
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    (2) A federal, state, or local agency, maintaining civil, criminal, or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (3) Foreign governments in accordance with formal or informal international agreements;


    (4) Authorized federal and non-federal entities for use in approved computer matching
    efforts, limited to those data elements considered necessary in making a determination of
    eligibility under particular benefit programs administered by those agencies or entities, to
    improve program integrity, and to collect debts and other monies owed to those agencies or
    entities or to the Fiscal Service;


    (5) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (6) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (7) Fiscal agents, financial agents, financial institutions, and contractors for the purposes of:
    (a) Processing Direct Deposit enrollment applications, including, but not limited to,
    processing Direct Deposit enrollment forms and implementing programs related to Direct
    Deposit; investigating and rectifying possible erroneous information; creating and reviewing
    statistics to improve the quality of services provided; conducting debt collection services for
    debts arising from Direct Deposit activities; or developing, testing and enhancing computer
    systems; and (b) processing waivers from the requirement to receive payments electronically,
    including, but not limited to, processing automatic waivers and applications for waivers, as
    well as implementing the waivers; investigating and rectifying possible erroneous information
    or fraud; creating and reviewing statistics to improve the quality of services provided; or
    developing, testing and enhancing computer systems;


                                                JA453               25-cv-00430_DMD_UST_0117
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    (8) Federal agencies, their agents, and contractors for the purposes of facilitating the
    processing of Direct Deposit enrollment applications and the implementation of programs
    related to Direct Deposit; [*11788]


    (9) Federal agencies, their agents and contractors, credit bureaus, and employers of individuals
    who owe delinquent debt for the purpose of garnishing wages, only when the debt arises from
    the unauthorized or improper use of the Direct Deposit program. The information will be
    used for the purpose of collecting such debt through offset, administrative wage garnishment,
    referral to private collection agencies, litigation, reporting the debt to credit bureaus, or for
    any other authorized debt collection purpose;


    (10) Financial institutions, including banks and credit unions, for the purpose of disbursing
    payments and/or investigating the accuracy of information required to complete transactions
    using Direct Deposit and for administrative purposes, such as resolving questions about a
    transaction;


    (11) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;


    (12) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (13) Federal agencies, state agencies, and local agencies for tax purposes;


    (14) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;

                                                JA454               25-cv-00430_DMD_UST_0118
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 458 of 582
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    (15) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach;


    (16) Consumer reporting agencies, as defined by the Fair Credit Reporting Act, 5 U.S.C.
    1681(f), to encourage repayment of a delinquent debt; and


    (17) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records are retrieved by name, Social Security number, telephone number, transaction
    identification number, or other alpha/numeric identifying information.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


                                               JA455               25-cv-00430_DMD_UST_0119
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    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.



                                              JA456               25-cv-00430_DMD_UST_0120
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    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on
    October 15, 2012 (77 FR 62602) as the Department of the Treasury, Financial Management
    Service .006—Direct Deposit Enrollment Records.


    Treasury/Fiscal Service .008


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .008—Mailing List Records.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 3201 Pennsy Drive,
    Warehouse “E”, Landover, MD 20785, or its fiscal or financial agents at various locations.
    The addresses of the fiscal or financial agents may be obtained by contacting the System
    Manager below.


    SYSTEM MANAGER(S):


    Chief Disbursing Officer, Assistant Commissioner, Payment Management, Bureau of the
    Fiscal Service, 3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


                                                    JA457         25-cv-00430_DMD_UST_0121
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 461 of 582
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    5 U.S.C. 301; 31 U.S.C. 321; 31 U.S.C. chapter 33; 31 U.S.C. 3332; Title XII of the Dodd-
    Frank Wall Street Reform and Consumer Protection Act (Pub. L. 111-203, Jul. 21, 2010).


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained about low to moderate
    income individuals, who are more likely to be unbanked or under-banked, and who could
    potentially receive federal tax refund payments. The records are used to send letters to
    individuals informing them of the benefits of electronic payments and Treasury-
    recommended account options for receiving payments electronically. Without the
    information, Fiscal Service and its fiscal or financial agents and contractors would not be able
    to directly [*11789] notify prospective payment recipients about the benefits of electronic
    payments and the Treasury-recommended account options for the receipt of federal payments
    electronically.


    The information will also be used to study the effectiveness of offering account options to
    individuals for the purpose of receiving federal payments. To study program efficacy, Fiscal
    Service may use its mailing list records to collect aggregate statistical information on the
    success and benefits of direct mail and the use of commercial database providers.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Low- to moderate-income individuals, who are more likely to be unbanked or underbanked,
    who could potentially receive federal tax refund payments, and whose names and addresses
    are included on mailing lists purchased from commercial providers.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    The records may contain identifying information, such as an individual's name(s) and address.


    RECORD SOURCE CATEGORIES:

                                               JA458               25-cv-00430_DMD_UST_0122
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    Information in this system is provided by commercial database providers based on publicly
    available information.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) The U.S. Department of Justice (“DOJ”) for its use in providing legal advice to the
    Department or in representing the Department in a proceeding before a court, adjudicative
    body, or other administrative body before which the Department is authorized to appear,
    where the use of such information by the DOJ is deemed by the Department to be relevant
    and necessary to the litigation, and such proceeding names as a party or interests: (a) The
    Department or any component thereof; (b) any employee of the Department in his or her
    official capacity; (c) any employee of the Department in his or her individual capacity where
    DOJ has agreed to represent the employee; or (d) the United States, where the Department
    determines that litigation is likely to affect the Department or any of its components;


    (2) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (3) Fiscal agents, financial agents, and contractors for the purpose of mailing information to
    individuals about the benefits of electronic federal payments and Treasury-recommended
    account options for receipt of federal payments electronically, including, but not limited to,
    processing direct mail or performing other marketing functions; and creating and reviewing
    statistics to improve the quality of services provided;


    (4) Federal agencies, their agents and contractors for the purposes of implementing and
    studying options for encouraging current and prospective federal payment recipients to
    receive their federal payments electronically;


                                              JA459               25-cv-00430_DMD_UST_0123
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 463 of 582
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    (5) Representatives of the National Archives and Records Administration (“NARA”) who are
    conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;


    (6) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (7) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violations or enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (8) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (9) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (10) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


                                                JA460               25-cv-00430_DMD_UST_0124
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 464 of 582
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    (11) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach; and


    (12) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records are retrieved by name, address, or other alpha/numeric identifying information.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:




                                               JA461               25-cv-00430_DMD_UST_0125
USCA4 Appeal: 25-1282   Doc: 39-1         Filed: 04/14/2025 Pg: 465 of 582
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    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including [*11790] the use of passwords and sign-on protocols,
    which are periodically changed. Only employees whose official duties require access are
    allowed to view, administer, and control these records. Copies of records maintained on
    computer have the same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:



                                              JA462               25-cv-00430_DMD_UST_0126
USCA4 Appeal: 25-1282   Doc: 39-1            Filed: 04/14/2025 Pg: 466 of 582
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    Notice of this system of records was last published in full in the Federal Register on
    October 15, 2012 (77 FR 62602) as the Department of the Treasury, Financial Management
    Service .008—Mailing List Records.


    Treasury/Fiscal Service .009


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .009—Delegations and Designations
    of Authority for Disbursing Functions


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Kansas City Regional Financial Center, Bureau of the Fiscal Service, U.S. Department of the
    Treasury, 4241 NE 34th Street, Kansas City, MO 64117.


    SYSTEM MANAGER(S):


    Chief Disbursing Officer, Assistant Commissioner, Payment Management, Bureau of the
    Fiscal Service, 3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; 31 U.S.C. 3321, 3325.



                                                    JA463          25-cv-00430_DMD_UST_0127
USCA4 Appeal: 25-1282   Doc: 39-1        Filed: 04/14/2025 Pg: 467 of 582
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    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained from federal agencies that
    are requesting disbursement of domestic and international payments to its recipients. The
    information is collected and maintained to ensure that only properly authorized Federal
    Government personnel are able to engage in the process of disbursing a payment.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Heads of Agencies, Certifying Officers, designated agents, and other federal employees
    designated to perform specific disbursement-related functions.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    Records are maintained on the designation or removal of individuals to act in a specified
    capacity pursuant to a proper authorization.


    RECORD SOURCE CATEGORIES:


    Information in this system of records is provided by government departments and agencies
    requiring services of the Department for issuance and payment of Treasury checks.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:




                                              JA464              25-cv-00430_DMD_UST_0128
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 468 of 582
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    (1) Banking institutions, Federal Reserve Banks, and government agencies for verification of
    information on authority of individuals to determine propriety of actions taken by such
    individuals;


    (2) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (3) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (4) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (5) Foreign governments in accordance with formal or informal international agreements;


    (6) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (7) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (8) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


                                                JA465               25-cv-00430_DMD_UST_0129
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 469 of 582
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    (9) Contractors for the purpose of processing personnel and administrative records;


    (10) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (11) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach; [*11791]


    (12) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;
    and


    (13) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.



                                               JA466               25-cv-00430_DMD_UST_0130
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 470 of 582
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    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by name.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


                                              JA467               25-cv-00430_DMD_UST_0131
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 471 of 582
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    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on
    October 15, 2012 (77 FR 62602) as the Department of the Treasury, Financial Management
    Service .010—Records of Accountable Officers' Authority With Treasury.


    Treasury/Fiscal Service .010


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .010—Pre-complaint Counseling
    and Complaint Activities.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:

                                                    JA468         25-cv-00430_DMD_UST_0132
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 472 of 582
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    Bureau of the Fiscal Service, U.S. Department of the Treasury, 200 Third Street, Parkersburg,
    WV 26106-1328.


    SYSTEM MANAGER(S):


    Director, Equal Employment Opportunity & Diversity, Bureau of the Fiscal Service, 200
    Third Street, Parkersburg, WV 26106-1328.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 7154; 42 U.S.C. 200e-16; Executive Order 11478; and 5 CFR part 713.


    PURPOSE(S) OF THE SYSTEM:


    The system is used for the investigation of complaints of discrimination on the basis of race,
    color, national origin, sex, age, retaliation/reprisal and disability. In addition, the system
    contains case files developed in investigating complaints and in reviewing actions within Fiscal
    Service to determine if it conducted programs and activities in compliance with the federal
    laws. The system also contains annual and bi-annual statistical data submitted to and used by
    the Fiscal Service.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Employees seeking services of EEO Counselors.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    Monthly pre-complaint activity reports from all Fiscal Service facilities.


                                                 JA469               25-cv-00430_DMD_UST_0133
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 473 of 582
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    RECORD SOURCE CATEGORIES:


    Information in this system of records is provided by monthly submissions by financial centers
    and headquarters.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (2) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (3) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (4) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (5) Appropriate federal, state, local, or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations



                                                JA470               25-cv-00430_DMD_UST_0134
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 474 of 582
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    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (6) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (7) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
     [*11792] result of the suspected or confirmed breach there is a risk of harm to individuals,
    the Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (8) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach;


    (9) Contractors for the purpose of processing personnel and administrative records; and


    (10) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:



                                               JA471               25-cv-00430_DMD_UST_0135
USCA4 Appeal: 25-1282   Doc: 39-1         Filed: 04/14/2025 Pg: 475 of 582
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    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by employee name and date of receipt.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:



                                              JA472               25-cv-00430_DMD_UST_0136
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 476 of 582
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    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on
    October 15, 2012 (77 FR 62602) as the Department of the Treasury, Financial Management
    Service .012—Pre-complaint Counseling and Complaint Activities.


    Treasury/Fiscal Service .011


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .011—Gifts to the United States


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


                                                    JA473         25-cv-00430_DMD_UST_0137
USCA4 Appeal: 25-1282   Doc: 39-1         Filed: 04/14/2025 Pg: 477 of 582
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    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 200 Third Street, Parkersburg,
    WV 26106-1328.


    SYSTEM MANAGER(S):


    Director, Reporting and Analysis Division, Reporting and Analysis Branch 2, Bureau of the
    Fiscal Service, 200 Third Street, Parkersburg, WV 26106-1328.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    31 U.S.C. 3113.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained to document donors' gifts to
    the United States Government.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Donors of inter vivos and testamentary gifts to the United States.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    Correspondence, copies of wills and court proceedings, and other material related to gifts to
    the United States.


                                               JA474               25-cv-00430_DMD_UST_0138
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 478 of 582
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    RECORD SOURCE CATEGORIES:


    Information in this system of records is provided by individuals, executors, administrators and
    other involved persons.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Fiscal agents, financial agents, financial institutions, and contractors for the purpose of
    performing fiscal or financial services, including, but not limited to, processing payments,
    investigating and rectifying possible erroneous reporting information, creating and reviewing
    statistics to improve the quality of services provided, or developing, testing and enhancing
    computer systems;


    (2) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (3) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this [*11793] system of records is reasonably
    necessary to assist the recipient agency or entity in (1) responding to a suspected or confirmed
    breach or (2) preventing, minimizing, or remedying the risk of harm to individuals, the
    recipient agency or entity (including its information systems, programs, and operations), the
    Federal Government, or national security, resulting from a suspected or confirmed breach;

                                               JA475               25-cv-00430_DMD_UST_0139
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    (4) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (5) Representatives of the National Archives and Records Administration (“NARA”) who are
    conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;


    (6) The news media and the public, with the approval of the Chief Privacy Officer in
    consultation with counsel, when there exists a legitimate public interest in the disclosure of the
    information, when disclosure is necessary to preserve confidence in the integrity of the Fiscal
    Service, or when disclosure is necessary to demonstrate the accountability of the Fiscal
    Service's officers, employees, or individuals covered by the system, except to the extent the
    Chief Privacy Officer determines that release of the specific information in the context of a
    particular issue would constitute an unwarranted invasion of personal privacy;


    (7) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (8) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (9) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;




                                                JA476               25-cv-00430_DMD_UST_0140
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    (10) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (11) Authorized federal and non-federal entities for use in approved computer matching
    efforts, limited to those data elements considered necessary in making a determination of
    eligibility under particular benefit programs administered by those agencies or entities, to
    improve program integrity, and to collect debts and other monies owed to those agencies or
    entities or to the Fiscal Service; and


    (12) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by name of donor.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:



                                              JA477               25-cv-00430_DMD_UST_0141
USCA4 Appeal: 25-1282   Doc: 39-1         Filed: 04/14/2025 Pg: 481 of 582
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    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:



                                              JA478               25-cv-00430_DMD_UST_0142
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 482 of 582
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    Notice of this system of records was last published in full in the Federal Register on
    October 15, 2012 (77 FR 62602) as the Department of the Treasury, Financial Management
    Service .013—Gifts to the United States.


    Treasury/Fiscal Service .012


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .012—Debt Collection Operations
    System.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Records are located throughout the United States at Bureau of the Fiscal Service operations
    centers, Federal Records Centers, Federal Reserve Banks acting as Treasury's fiscal agents, and
    financial institutions acting as Treasury's financial agents. Addresses may be obtained from
    system managers.


    SYSTEM MANAGER(S):


    System Manager, Debt Management Services, Bureau of the Fiscal Service, 3201 Pennsy
    Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:




                                                    JA479         25-cv-00430_DMD_UST_0143
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 483 of 582
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    Federal Claims Collection Act of 1966 (Pub. L. 89-508), as amended by the Debt Collection
    Act of 1982 (Pub. L. 97-365, as amended); Deficit Reduction Act of 1984 (Pub. L. 98-369, as
    amended); Debt Collection Improvement Act of 1996 (Pub. L. 104-134, sec. 31001); Taxpayer
    Relief Act of 1997 (Pub. L. 105-34); Internal Revenue Service Restructuring and Reform Act
    of 1998 (Pub. L. 105-206); Improper Payments Information Act of 2002 (Pub. L. 107-300);
    Recovery Audit Act of 2002 (Pub. L. 107-107; Section 831; 115 Stat. 1186); Improper
    Payments Elimination and [*11794] Recovery Act of 2010 (Pub. L. 111-204); Improper
    Payments Elimination and Recovery Improvement Act of 2012 (Pub. L. 112-248); 26 U.S.C.
    6402; 26 U.S.C. 6331; 31 U.S.C. chapter 37 (Claims), subchapter I (General) and subchapter II
    (Claims of the U.S. Government); 31 U.S.C. 3321 note.


    PURPOSE(S) OF THE SYSTEM:


    The purpose of this system is to maintain records about individuals who owe current
    receivable(s) or delinquent debt(s) to the United States or to any person for whom the United
    States is authorized by statute to collect for the benefit of such person, through one or more
    of its departments or agencies, or to states, including past due support enforced by states. The
    information contained in the records is maintained for the purpose of taking action to
    facilitate the collection or resolution of the debt(s) using various methods, including, but not
    limited to, requesting repayment of the debt orally or in writing; offset or levy of federal or
    state payments; administrative wage garnishment; referral to collection agencies or for
    litigation; or other collection or resolution methods authorized or required by law. The
    information is also maintained for the purpose of providing collection information about the
    debt to the agency collecting the debt, so that debtors can access information to resolve their
    debt, and to provide statistical information on debt collection operations. The information is
    also maintained for the purpose of testing and developing enhancements to: The computer
    systems which contain the records; and operations or business processes used to collect or
    resolve debts. The information is also maintained for the purpose of data analysis related to
    improving government-wide efforts to resolve and/or collect current receivables and
    delinquent debts owed to federal and/or state agencies. The information is also maintained
    for the purpose of resolving delinquent debts owed by debtors who are ineligible for federally
    funded programs until the delinquency is resolved, or for identifying, preventing, or recouping
    improper payments to individuals who owe obligations to federal and/or state agencies.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:




                                               JA480               25-cv-00430_DMD_UST_0144
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 484 of 582
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    Individuals who may owe current receivables or delinquent debts (collectively “debts”) to: (a)
    The United States, through one or more of its departments and agencies; or (b) states,
    territories or commonwealths of the United States, or the District of Columbia (hereinafter
    collectively referred to as “States”).


    CATEGORIES OF RECORDS IN THE SYSTEM:


    Debt records containing information about the debtor(s), the type of debt, the governmental
    entity to which the debt is owed, and the debt collection tools utilized to collect the debt. The
    records may contain identifying information, such as: (a) Debtor name(s) and taxpayer
    identifying number(s) (i.e., Social Security number or employer identification number); (b)
    debtor contact information, such as work and home address, email address, or work, home or
    cellular telephone numbers; (c) contact information for the debtor's authorized third party
    representative(s); (d) information concerning the financial status of the debtor and his/her
    household, including income, assets, liabilities or other financial burdens, and any other
    resources from which the debt may be recovered; and (e) name of employer or employer
    contact information. Debts may include taxes, loans, assessments, fines, fees, penalties,
    overpayments, advances, extensions of credit from sales of goods or services, or other
    amounts of money or property owed to, or collected by, the Federal Government or a State,
    including past due support which is being enforced by a State.


    The records also may contain information about: (a) The debt, such as the original amount of
    the debt, the debt account number, the date the debt originated, the amount of the
    delinquency or default, the date of delinquency or default, basis for the debt, amounts accrued
    for interest, penalties, and administrative costs, proof of debt documentation, or payments on
    the account; (b) actions taken to collect or resolve the debt, such as copies of demand letters
    or invoices, information prepared for the purpose of referring the debt to private collection
    agencies or the United States Department of Justice, recordings of telephone calls and
    computer activity related to the collection and resolution of debt, collectors' notes regarding
    telephone or other communications related to the collection or resolution of the debt, copies
    of administrative wage garnishment orders, due process notices, hearing requests, and hearing
    decisions, payment or compromise agreements; (c) other relevant information, including
    orders for military service, prison records, bankruptcy notices, medical records, or other
    correspondence with the debtor; and (d) the referring or governmental agency that is
    collecting or owed the debt, such as name, telephone number, and address of the agency
    contact.


                                                JA481               25-cv-00430_DMD_UST_0145
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 485 of 582
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    RECORD SOURCE CATEGORIES:


    Information in this system is provided by: The individual on whom the record is maintained;
    Federal and state agencies to which the debt is owed; Federal agencies and other entities that
    employ the individual or have information concerning the individual's employment or
    financial resources; Federal and State agencies issuing payments; collection agencies; locator
    and asset search companies, credit bureaus, and other database vendors; Federal, State or local
    agencies furnishing identifying information and/or debtor address information; and/or public
    documents.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (2) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (3) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;




                                                JA482               25-cv-00430_DMD_UST_0146
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    (4) Any federal agency, State or local agency, or their agents or contractors, including private
    collection agencies:


    (a) To facilitate the collection of debts through the use of any combination of various debt
    collection methods required or authorized by law, including, but not limited to:


    (i) Request for repayment by telephone or in writing;


    (ii) Negotiation of voluntary repayment or compromise agreements; [*11795]


    (iii) Offset or levy of Federal or State payments, which may include the disclosure of
    information contained in the records for the purpose of providing the debtor with appropriate
    notice or to otherwise comply with prerequisites, to facilitate voluntary repayment in lieu of
    offset or levy, to provide information to the debtor to understand what happened to the
    payment, or to otherwise effectuate the offset or levy process;


    (iv) Referral of debts to private collection agencies, to Treasury-designated debt collection
    centers, or for litigation;


    (v) Administrative and court-ordered wage garnishment;


    (vi) Debt sales;


    (vii) Publication of names and identities of delinquent debtors in the media or other
    appropriate places; or


    (viii) Any other debt collection method authorized by law;


    (b) To conduct computerized comparisons to locate Federal or State payments to be made to
    debtors;


                                               JA483               25-cv-00430_DMD_UST_0147
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    (c) To conduct computerized comparisons to locate employers of, or obtain taxpayer
    identifying numbers or other information about, an individual for debt collection purposes;


    (d) To collect a debt owed to the United States through the offset of payments made by
    States;


    (e) To account or report on the status of debts for which such entity has a legitimate use for
    the information in the performance of official duties;


    (f) For the purpose of denying Federal financial assistance in the form of a loan or loan
    insurance or guaranty to an individual who owes delinquent debt to the United States or who
    owes delinquent child support that has been referred to Fiscal Service for collection by
    administrative offset;


    (g) To develop, enhance and/or test database, matching, communications, or other
    computerized systems which facilitate debt collection processes;


    (h) To conduct data analysis which facilitates processes related to the collection or resolution
    of debts owed to Federal and/or State agencies; or


    (i) For any other appropriate debt collection purpose.


    (5) The Department of Defense, the U.S. Postal Service, or other Federal agency for the
    purpose of conducting an authorized computer matching program in compliance with the
    Privacy Act of 1974, as amended, to identify and locate individuals receiving Federal payments
    including, but not limited to, salaries, wages, or benefits, which may include the disclosure of
    information contained in the record(s) for the purpose of requesting voluntary repayment or
    implementing Federal employee salary offset or other offset procedures;




                                               JA484               25-cv-00430_DMD_UST_0148
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    (6) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (7) The Department of Justice or other federal agency:


    (a) When requested in connection with a legal proceeding, including a pending or threatened
    legal proceeding; or


    (b) To obtain concurrence in a decision to compromise, suspend, or terminate collection
    action on a debt;


    (8) The Internal Revenue Service in connection with reporting income from the cancellation
    of a debt;


    (9) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (10) Any individual or other entity who receives federal or state payments as a joint payee with
    a debtor for the purpose of providing notice of, and information about, offsets from such
    federal payments;


    (11) Any individual or entity:


    (a) To facilitate the collection and/or resolution of debts using any combination of various
    debt collection methods required or authorized by law, including, but not limited to:


    (i) Performing administrative and court-ordered wage garnishment;


                                               JA485               25-cv-00430_DMD_UST_0149
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    (ii) Reporting information to commercial or consumer credit bureaus;


    (iii) Conducting asset searches or locating debtors;


    (iv) Publishing names and identities of delinquent debtors in the media or other appropriate
    places; or


    (v) Selling debts;


    (b) For the purpose of denying federal financial assistance in the form of a loan or loan
    insurance or guaranty to an individual who owes delinquent debt to the United States or who
    owes delinquent child support that has been referred to the Fiscal Service for collection by
    administrative offset; or


    (c) For any other appropriate debt collection purpose;


    (12) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (13) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach;

                                                JA486              25-cv-00430_DMD_UST_0150
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    (14)(a) A Federal or State agency, its employees, agents (including contractors of its agents) or
    contractors; (b) fiscal or financial agent designated by the Fiscal Service or other Department
    of the Treasury bureau or office, including employees, agents or contractors of such agent; or
    (c) contractor of the Fiscal Service, for the purpose of identifying, preventing, or recouping
    improper payments to an applicant for, or recipient of, Federal funds, including funds
    disbursed by a state in a state-administered, Federally funded program; disclosure may be
    made to conduct computerized comparisons for this purpose;


    (15) Consumer reporting agencies (as defined by the Fair Credit Reporting Act, 5 U.S.C.
    1681(f)) in accordance with 5 U.S.C. 552a(b)(12) and 31 U.S.C. 3711(e), to encourage
    repayment of a delinquent debt; and


    (16) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically, or on paper in secure facilities in a locked
    drawer behind a locked door. [*11796]


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by various combinations of identifiers, including but not limited to
    name, taxpayer identifying number (i.e., Social Security number or employer identification
    number), debt account number, offset trace number, payment trace number, telephone
    number or address.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:




                                                JA487               25-cv-00430_DMD_UST_0151
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    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:
                                              JA488               25-cv-00430_DMD_UST_0152
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    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on
    October 15, 2012 (77 FR 62602) as the Department of the Treasury, Financial Management
    Service .014—Debt Collection Operations System.


    Treasury/Fiscal Service .013


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .013—Collections Records.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 3201 Pennsy Drive,
    Warehouse “E”, Landover, MD 20785. Records are also located throughout the United States
    at Federal Reserve Banks and financial institutions acting as Treasury's fiscal and financial
    agents. The addresses of the fiscal and financial agents may be obtained from the system
    manager below.


    SYSTEM MANAGER(S):



                                                    JA489         25-cv-00430_DMD_UST_0153
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    Assistant Commissioner, Revenue Collections Management, Bureau of the Fiscal Service,
    3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; 31 U.S.C. 321; 31 U.S.C. chapter 33; 31 U.S.C. 3720.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained about individuals who
    electronically authorize payments to the Federal Government. The information contained in
    the records is maintained for the purpose of facilitating the collection and reporting of
    receipts from the public to the Federal Government and to minimize the financial risk to the
    Government and the public of unauthorized use of electronic payment methods. Examples of
    payment mechanisms authorized electronically include Automated Clearing House (ACH),
    check conversion, wire transfers, credit and debit cards, or stored value cards. Individuals may
    authorize payments using paper check conversion or internet-based systems through
    programs such as “Pay.gov” and “Electronic Federal Taxpayer Payment System” or directly
    through their financial institution. The information also is maintained to:


    (a) Provide collections information to the federal agency collecting the public receipts;


    (b) Authenticate the identity of individuals who electronically authorize payments to the
    Federal Government;


    (c) Verify the payment history and eligibility of individuals to electronically authorize
    payments to the Federal Government;


    (d) Provide statistical information on collections operations;


    (e) Test and develop enhancements to the computer systems that contain the records; and


                                                JA490                25-cv-00430_DMD_UST_0154
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    (f) Collect debts owed to the Federal Government from individuals when the debt arises from
    the unauthorized use of electronic payment methods.


    Fiscal Service's use of the information contained in the records is necessary to process
    financial transactions while protecting the government and the public from financial risks that
    could be associated with electronic transactions. The records are collected and maintained to
    authenticate payers and their ability to pay, process payments through banking networks, and
    resolve after-the-fact accounting and reconciliation questions.


    In addition, the information contained in the covered records will be used for other purposes
    related to the processing of financial transactions, such as collection of statistical information
    on operations, development of computer systems, investigation of unauthorized or fraudulent
    activity related to electronic transactions, and the collection of debts arising out of such
    activity.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Individuals who electronically authorize payments to the Federal Government through the use
    of communication networks, such as the internet, via means such as ACH, check conversion,
    wire transfer, credit/debit cards, and/or stored value card.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    Collections records containing information about individuals who electronically authorize
    payments to the Federal Government to the extent such records are covered by the Privacy
    Act of 1974, as amended. The records may contain identifying information, such as: An
    individual's name(s), taxpayer identifying number (i.e., Social Security number or employer
    identification number), home address, home telephone number, and email addresses (personal
    and work); an individual's employer's name, address, telephone number, and email address; an
    individual's date of birth and driver's license number; information about an individual's bank
    account(s) and other types of accounts from which payments [*11797] are made, such as
    financial institution routing and account number; credit and debit card numbers; information
    about an individual's payments made to or from the United States (or to other entities such as

                                                JA491               25-cv-00430_DMD_UST_0155
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    private contractors for the Federal Government), including the amount, date, status of
    payments, payment settlement history, and tracking numbers used to locate payment
    information; user name and password assigned to an individual; other information used to
    identify and/or authenticate the user of an electronic system to authorize and make payments,
    such as a unique question and answer chosen by an individual; and information concerning
    the authority of an individual to use an electronic system (access status) and the individual's
    historical use of the electronic system. The records also may contain information about the
    governmental agency to which payment is made and information required by such agency as
    authorized or required by law.


    The information contained in the records covered by Fiscal Service's system of records is
    necessary to process financial transactions while protecting the government and the public
    from financial risks that could be associated with electronic transactions. It is noted that the
    system covers records obtained in connection with various mechanisms that either are used
    currently or may be used in the future for electronic financial transactions. Not every
    transaction will require the maintenance of all of the information listed in this section. The
    categories of records cover the broad spectrum of information that might be connected to
    various types of transactions.


    RECORD SOURCE CATEGORIES:


    Information in this system is provided by the individual on whom the record is maintained (or
    by his or her authorized representative), other persons who electronically authorize payments
    to the Federal Government, federal agencies responsible for collecting receipts, federal
    agencies responsible for disbursing and issuing federal payments, Treasury fiscal and financial
    agents that process collections, and commercial database vendors.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:




                                               JA492               25-cv-00430_DMD_UST_0156
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    (1) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (2) Commercial database vendors for the purposes of authenticating the identity of individuals
    who electronically authorize payments to the Federal Government, to obtain information on
    such individuals' payment or check writing history, and for administrative purposes, such as
    resolving a question about a transaction. For purposes of this notice, the term “commercial
    database vendors” means vendors who maintain and disclose information from consumer
    credit, check verification, and address databases;


    (3) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (4) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (5) Fiscal agents, financial agents, financial institutions, and contractors for the purpose of
    performing fiscal or financial services, including, but not limited to, processing payments,
    investigating and rectifying possible erroneous reporting information, creating and reviewing
    statistics to improve the quality of services provided, conducting debt collection services, or
    developing, testing and enhancing computer systems;


    (6) Federal agencies, state agencies, and local agencies for tax purposes;


    (7) Federal agencies, their agents and contractors, credit bureaus, and employers of individuals
    who owe delinquent debt for the purpose of garnishing wages only when the debt arises from
    the unauthorized use of electronic payment methods. The information will be used for the
    purpose of collecting such debt through offset, administrative wage garnishment, referral to

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    private collection agencies, litigation, reporting the debt to credit bureaus, or for any other
    authorized debt collection purpose;


    (8) Financial institutions, including banks and credit unions, and credit card companies for the
    purpose of collections and/or investigating the accuracy of information required to complete
    transactions using electronic methods and for administrative purposes, such as resolving
    questions about a transaction;


    (9) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (10) Authorized federal and non-federal entities for use in approved computer matching
    efforts, limited to those data elements considered necessary in making a determination of
    eligibility under particular benefit programs administered by those agencies or entities, to
    improve program integrity, and to collect debts and other monies owed to those agencies or
    entities or to the Fiscal Service;


    (11) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (12) A federal, State, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (13) Foreign governments in accordance with formal or informal international agreements;


    (14) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
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    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (15) Another Federal agency or Federal entity, when the Department of [*11798] the
    Treasury and/or Fiscal Service determines that information from this system of records is
    reasonably necessary to assist the recipient agency or entity in (1) responding to a suspected or
    confirmed breach or (2) preventing, minimizing, or remedying the risk of harm to individuals,
    the recipient agency or entity (including its information systems, programs, and operations),
    the Federal Government, or national security, resulting from a suspected or confirmed breach;


    (16) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;
    and


    (17) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    DISCLOSURE TO CONSUMER REPORTING AGENCIES:


    Debt information concerning a government claim against a debtor when the debt arises from
    the unauthorized use of electronic payment methods is also furnished, in accordance with 5
    U.S.C. 552a(b)(12) and 31 U.S.C. 3711(e), to consumer reporting agencies, as defined by the
    Fair Credit Reporting Act, 5 U.S.C. 1681(f), to encourage repayment of a delinquent debt.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.




                                                JA495               25-cv-00430_DMD_UST_0159
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    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by account number (such as financial institution account number or
    credit card account number), name (including an authentication credential, e.g., a user name),
    Social Security number, transaction identification number, or other alpha/numeric identifying
    information.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must comply with the rules of the
    U.S. Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    CONTESTING RECORD PROCEDURES:




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    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on
    October 15, 2012 (77 FR 62602) as the Department of the Treasury, Financial Management
    Service .017—Collections Records.


    Treasury/Fiscal Service .014


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .014—United States Securities and
    Access.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.
                                                    JA497         25-cv-00430_DMD_UST_0161
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    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 200 Third Street, Parkersburg,
    WV 26106-1328; Bureau of the Fiscal Service, U.S. Department of the Treasury, 3201 Pennsy
    Drive, Warehouse “E”, Landover, MD 20785; the Federal Reserve Bank of Minneapolis, 90
    Hennepin Avenue, Minneapolis, MN 55401; and the Federal Reserve Bank of New York,
    East Rutherford Operations Center, 100 Orchard Street, East Rutherford, NJ 07073.


    SYSTEM MANAGER(S):


    Assistant Commissioner, Retail Securities Services, Bureau of the Fiscal Service, 200 Third
    Street, Parkersburg, WV 26106-1328. For Federal Housing Administration (FHA)
    Debentures: Assistant Commissioner, Office of Fiscal Accounting Operations, 200 Third
    Street, Parkersburg, WV 26106-1328.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301; 31 U.S.C. 3101, et seq.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and used to identify and maintain all account
    and ownership data, both paper and electronic (internet based), on past and current purchases
    of Treasury securities. This includes, for example, U.S. Treasury bonds, notes, and bills;
    adjusted service bonds; armed forces leave bonds; and Federal Housing Administration
    debentures as well as savings-type securities including savings bonds, savings notes, definitive
    accrual, current income, and retirement-type savings securities. Information on transactions
    related to the inquiry and servicing of these Treasury securities is also collected and
    maintained. The collection of information allows Fiscal Service and its agents to issue and
    process Treasury securities, make payments, identify owners and their accounts, and other
    customer service related transactions.


                                                  JA498              25-cv-00430_DMD_UST_0162
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    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Present and former owners of, subscribers to, claimants to, persons entitled to, and inquirers
    concerning United States savings-type securities and interest on securities, for example, United
    States savings bonds, savings notes, retirement plan bonds, and individual retirement bonds.


    Present and former owners of, subscribers to, claimants to, persons entitled to, and inquirers
    concerning United States Treasury securities (except savings-type securities) and interest on
    securities and such securities for which the Treasury acts as agents, for example, Treasury
    bonds, notes, and bills; adjusted service bonds; armed forces leave bonds; and Federal
    Housing Administration debentures.


    Individuals who provide information to create an account for the purchase of United States
    Treasury securities and [*11799] savings-type securities through the internet.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    (1) Issuance: Records relating to registration, issuance, and correspondence in connection with
    issuance of United States Treasury securities and savings-type securities;


    (2) Holdings: Records of accounts for the purchase of United States securities. These records
    may include ownership and interest activity on registered or recorded United States Treasury
    securities and savings-type securities;


    (3) Transactions (redemptions, payments, reissues, transfers, and exchanges): Records which
    include securities transaction requests;


    (4) Claims: Records including correspondence concerning lost, stolen, destroyed, or mutilated
    United States Treasury securities and savings-type securities; and



                                               JA499               25-cv-00430_DMD_UST_0163
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    (5) Inquiries: Records of correspondence with individuals who have requested information
    concerning United States Treasury securities and savings-type securities.


    All of the above categories of records include records of FHA debentures in the Fiscal
    Accounting securities accounting system.


    All of the above categories of records include or may include the following types of personal
    information:


    (1) Personal identifiers (name, including previous name used; Social Security number; date of
    birth; physical and electronic addresses; telephone, fax, and pager numbers); and


    (2) Authentication aids (personal identification number, password, account number, shared-
    secret identifier, digitized signature, or other unique identifier).


    RECORD SOURCE CATEGORIES:


    Information on records in this system is furnished by the individuals or their authorized
    representatives as listed in “Categories of Individuals” and issuing agents for securities, is
    generated within the system itself, or, with their authorization, is derived from other systems
    of records.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Agents or contractors of the Department for the purpose of administering the public debt
    of the United States;


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    (2) Next-of-kin, voluntary guardian, legal representative or successor in interest of a deceased
    or incapacitated owner of securities and others entitled to the reissue, distribution, or payment
    for the purpose of assuring equitable and lawful disposition of securities and interest;


    (3) Any owner of United States Treasury securities or savings-type securities registered to two
    or more owners; or to the beneficiary of such securities registered in beneficiary form if
    acceptable proof of death of the owner is submitted;


    (4) Federal agencies, state agencies, and local agencies for tax purposes;


    (5) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (6) Foreign governments in accordance with formal or informal international agreements;


    (7) The Department of Veterans Affairs and selected veterans' publications for the purpose of
    locating owners or other persons entitled to undeliverable bonds held in safekeeping by the
    Department;


    (8) The Department of Veterans Affairs when it relates to the holdings of Armed Forces
    Leave Bonds, to facilitate the redemption or disposition of these securities;


    (9) Other federal agencies to effect salary or administrative offset for the purpose of collecting
    debts;


    (10) A consumer-reporting agency, including mailing addresses obtained from the Internal
    Revenue Service, to obtain credit reports;


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    (11) A debt collection agency, including mailing addresses obtained from the Internal Revenue
    Service, for debt collection services;


    (12) Contractors conducting Treasury-sponsored surveys, polls, or statistical analyses relating
    to the marketing or administration of the public debt of the United States;


    (13) Appropriate federal, state, local, or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (14) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (15) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (16) Other federal agencies, through computer matching, information on individuals owing
    debts to the Fiscal Service for the purpose of determining whether the debtor is a federal
    employee or retiree receiving payments that may be used to collect the debt through
    administrative or salary offset;


    (17) Requesting federal agencies, through computer matching under approved agreements
    limiting the information to that which is relevant in making a determination of eligibility for
    federal benefits administered by those agencies, information on holdings of United States
    Treasury securities and savings-type securities;


    (18) Other federal agencies through computer matching, information on individuals with
    whom the Fiscal Service has lost contact, for the purpose of utilizing letter forwarding services


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    to advise these individuals that they should contact the Fiscal Service about returned payments
    and/or matured, unredeemed securities;


    (19) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (20) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably
     [*11800] necessary to assist the recipient agency or entity in (1) responding to a suspected or
    confirmed breach or (2) preventing, minimizing, or remedying the risk of harm to individuals,
    the recipient agency or entity (including its information systems, programs, and operations),
    the Federal Government, or national security, resulting from a suspected or confirmed breach;


    (21) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity;


    (22) “Consumer reporting agencies” 5              to aid in the collection of outstanding debts
    owed to the Federal Government. After the prerequisites of 31 U.S.C. 3711 have been
    followed, the Fiscal Service may disclose information necessary to establish the identity of the
    individual responsible for the claim, including name, address, and taxpayer identification
    number; the amount, status, and history of the claim; and the agency or program under which
    the claim arose; and


    (23) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906.


    5      “Consumer reporting agency” is defined in 31 U.S.C. 3701(a)(3).

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    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Information can be retrieved alphabetically by name, address, and period of time the security
    was issued, by bond serial numbers, other assigned identifier, or, in some cases, numerically by
    taxpayer identification number. In the case of securities, except Series G savings bonds
    registered in more than one name, information relating to those securities can be retrieved
    only by the names, or, in some cases, by the taxpayer identification number of the registrants,
    primarily the registered owners or first-named co-owners. In the case of gift bonds inscribed
    with the taxpayer identification number of the purchaser, bonds are retrieved under that
    number or by bond serial number.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


                                               JA504               25-cv-00430_DMD_UST_0168
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    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    Appendix of Treasury Retail Securities sites:


    This appendix lists the mailing addresses and telephone number of the places that individuals
    may contact to inquire about their securities accounts maintained in Treasury Direct or the
    Legacy Holding System. The toll-free telephone number 1-844-284-2676 is used to reach all
    the locations. Customers may also view information on the TreasuryDirect website at
    www.TreasuryDirect.gov.


    For Series EE and Series I Bonds:

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    Treasury Retail Securities Services Site, P.O. Box 214, Minneapolis, MN 55480-0214.


    For Series HH and Series H Bonds:


    Treasury Retail Securities Services Site, P.O. Box 2186, Minneapolis, MN 55480-2816.


    For all other Series:


    Treasury Retail Securities Services Site, P.O. Box 9150, Minneapolis, MN 55480-9150.


    For TreasuryDirect:


    Treasury Retail Securities Site, P.O. Box 7015, Minneapolis, MN 55480-9150.


    For Legacy Holding System:


    Retail Securities Services, Bureau of the Fiscal Service, 200 Third Street, Parkersburg, WV
    26106-1328.


    For FHA Debentures:


    Fiscal Accounting Office, Special Investments Branch, Bureau of the Fiscal Service, P.O. Box
    396, 200 Third Street, Parkersburg, WV 26106-1328.


    HISTORY:




                                              JA506              25-cv-00430_DMD_UST_0170
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    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .002—
    United States Savings-Type Securities, Department of the Treasury, Bureau of the Public Debt
    .003—United States Securities (Other than Savings-Type Securities) and Department of the
    Treasury, Bureau of the Public Debt .008—Retail Treasury Securities Access Application.


    Treasury/Fiscal Service .015


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .015—Physical Access Control
    System.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    All Bureau of the Fiscal Service, U.S. Department of the Treasury, locations.


    SYSTEM MANAGER(S):


    Assistant Commissioner, Information and Security Services, Bureau of the Fiscal Service, 320
    Avery Street, Parkersburg, WV 26106-1328.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    31 U.S.C. 321; 41 CFR 101-20.103.


                                                    JA507          25-cv-00430_DMD_UST_0171
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    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained to allow the Fiscal Service to
    control and verify access to all Fiscal Service facilities. [*11801]


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    All Fiscal Service employees, employees of contractors or service companies, and visitors.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    Every individual with access to Fiscal Service facilities controlled by the Physical Access
    Control System (“PACS”) has a personal record stored in the PACS database. This record
    contains the individual's full legal name, date of birth, height, weight, eye/hair color, digital
    color photograph, federal agency smart credential number, and their door access profile.
    When an access card is presented at a reader, a record of the access is created on the PACS
    database. This record contains the individual's name, date/time, door/location scanned, and
    whether the access was granted or denied.


    RECORD SOURCE CATEGORIES:


    Information in this system of records is provided by the individual concerned, his/her
    supervisor, or an official of the individual's firm or agency.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:

                                                JA508               25-cv-00430_DMD_UST_0172
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    (1) Appropriate federal, state, local, or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (2) A federal, state, or local agency maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (3) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (4) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (5) Unions recognized as exclusive bargaining representatives under 5 U.S.C. Chapter 71,
    arbitrators, and other parties responsible for the administration of the federal labor-
    management program if needed in the performance of their authorized duties;


    (6) Contractors for the purpose of processing personnel and administrative records;


    (7) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;




                                                JA509               25-cv-00430_DMD_UST_0173
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    (8) The Office of Personnel Management, the Merit System Protection Board, the Equal
    Employment Opportunity Commission, and the Federal Labor Relations Authority upon
    authorized request;


    (9) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (10) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach;


    (11) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;
    and


    (12) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.



                                               JA510               25-cv-00430_DMD_UST_0174
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    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Information on individuals can be retrieved by name or card number or other assigned
    identifier such as biometric or biographic information.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.
                                              JA511               25-cv-00430_DMD_UST_0175
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 515 of 582
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    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must [*11802] follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .004—
    Controlled Access Security System.


    Treasury/Fiscal Service .016


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .016—Health Unit Records


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


                                                    JA512         25-cv-00430_DMD_UST_0176
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 516 of 582
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    Bureau of the Fiscal Service, U.S. Department of the Treasury, 200 Third Street, Parkersburg,
    WV 26106-1328; Bureau of the Fiscal Service, U.S. Department of the Treasury, 320 Avery
    Street, Parkersburg, WV 26106-1328; and Bureau of the Fiscal Service, U.S. Department of
    the Treasury, 3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785.


    SYSTEM MANAGER(S):


    Assistant Commissioner, Office of Management, Bureau of the Fiscal Service, 3201 Pennsy
    Drive, Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 7901; 29 U.S.C. 2613.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained to document an individual's
    utilization on a voluntary basis of health services provided under the Federal Employee
    Health Services Program at the health unit at the Fiscal Service and to document employees'
    requests for Family Medical Leave Act (“FMLA”) leave in Parkersburg, West Virginia or
    Hyattsville, Maryland. Data is necessary to ensure: Proper evaluation, diagnosis, treatment,
    and referral to maintain continuity of care; a medical history of care received by the individual;
    planning for further care of the individual; a means of communication among health care
    members who contribute to the individual's care; a legal document of health care rendered;
    and is a tool for evaluating the quality of health care rendered; and for assessing employees'
    requests for FMLA leave.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    (1) Fiscal Service employees who receive services under the Federal Employee Health Services
    Program from the Fiscal Service health units in Parkersburg, West Virginia or Hyattsville,



                                                JA513               25-cv-00430_DMD_UST_0177
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    MD, or who submit medical documentation in support of their requests for sick leave or leave
    under the FMLA;


    (2) Federal employees of other organizations who receive services under the Federal
    Employee Health Services Program from the Fiscal Service health units in Parkersburg, West
    Virginia or Hyattsville, Maryland; and


    (3) Non-federal individuals working in or visiting the buildings, who may receive emergency
    treatment from the Fiscal Service health unit in Parkersburg, West Virginia or Hyattsville,
    Maryland.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    This system is comprised of records developed as a result of an individual's utilization of
    services provided under the Federal Employee Health Services Program or provided in
    support of employees' requests for FMLA leave. These records contain information such as:
    Examination, diagnostic, assessment and treatment data; laboratory findings; nutrition and
    dietetic files; nursing notes; immunization records; CPR training; first aider: Names, Social
    Security number, date of birth, addresses, and telephone numbers of individual; name,
    address, and telephone number of individual's physician; name, address, and telephone
    number of hospital; name, address, and telephone number of emergency contact; and
    information obtained from the individual's physician(s); medical documents related to
    employees' requests for FMLA leave, and record of requested accesses by any Fiscal Service
    employee (other than health unit personnel) who has an official need for the information.


             Note: This system does not cover records related to counseling for drug, alcohol, or
    other problems covered by the system of records notice Treasury/Fiscal Service .006—
    Employee Assistance Records. Medical records relating to a condition of employment or an
    on-the-job occurrence are covered by the Office of Personnel Management's system of
    records notice OPM/GOVT-10—Employee Medical File System Records.


    RECORD SOURCE CATEGORIES:




                                              JA514              25-cv-00430_DMD_UST_0178
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    Information in this system of records comes from the individual to whom it applies;
    laboratory reports and test results; health unit physicians, nurses, and other medical
    technicians who have examined, tested, or treated the individual; the individual's personal
    physician; other federal employee health units; and other federal agencies.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Medical personnel under a contract agreement with the Fiscal Service;


    (2) A federal, state, or local public health service agency as required by applicable law,
    concerning individuals who have contracted certain communicable diseases or conditions.
    Such information is used to prevent further outbreak of the disease or condition;


    (3) Appropriate federal, state, or local agencies responsible for investigation of an accident,
    disease, medical condition, or injury as required by pertinent legal authority;


    (4) A federal agency responsible for administering benefits programs in connection with a
    claim for benefits filed by an employee;


    (5) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (6) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;



                                               JA515              25-cv-00430_DMD_UST_0179
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    (7) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such [*11803] agencies, entities, and persons is reasonably necessary to
    assist in connection with the Department of the Treasury's and/or Fiscal Service's efforts to
    respond to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (8) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach;


    (9) Fiscal Service employees who have a need to know the information in order to assess
    employees' requests for FMLA leave;


    (10) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;


    (11) Contractors for the purpose of processing personnel and administrative records; and


    (12) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.

                                               JA516               25-cv-00430_DMD_UST_0180
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    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    These records are retrieved by the name or other assigned identifier of the individual to whom
    they pertain.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in a secured database. Medical personnel under a contract
    agreement who have access to these records are required to maintain adequate safeguards with
    respect to such records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


                                              JA517               25-cv-00430_DMD_UST_0181
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    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .006—
    Health Service Program Records.


    Treasury/Fiscal Service .017


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .017—Do Not Pay Payment
    Verification Records.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:



                                                    JA518         25-cv-00430_DMD_UST_0182
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    Bureau of the Fiscal Service, U.S. Department of the Treasury, 3201 Pennsy Drive,
    Warehouse “E”, Landover, MD 20785. Records are also located throughout the United States
    at Fiscal Service operations centers, Federal Records Centers, Federal Reserve Banks acting as
    Treasury's fiscal agents, and financial institutions acting as Treasury's financial agents. The
    specific address for each of the aforementioned locations may be obtained upon request.


    SYSTEM MANAGER(S):


    Director, Do Not Pay Business Center, Bureau of the Fiscal Service, 3201 Pennsy Drive,
    Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    Improper Payments Elimination and Recovery Improvement Act of 2012, 31 U.S.C. 3321
    note, Public Law 112-248; the Improper Payments Elimination and Recovery Act of 2010,
    Public Law 111-204; E.O. 13520 (Reducing Improper Payments and Eliminating Waste in
    Federal Programs), 74 FR 62201; OMB Memorandum M-12-11 (Reducing Improper Payment
    through the “Do Not Pay List”, April 12, 2012; OMB Memorandum M-13-20 (Protecting
    Privacy while Reducing Improper Payments with the Do Not Pay Initiative); Presidential
    Memorandum on Enhancing Payment Accuracy through a “Do Not Pay List” (June 18,
    2010).


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained to assist federal agencies in
    verifying that individuals are eligible to receive federal payments by allowing the Department
    of the Treasury/Fiscal Service to collect, maintain, analyze, and disclose records that will assist
    federal agencies in identifying, preventing, and recovering payment error, waste, fraud, and
    abuse within federal spending, as required by the Improper Payments Elimination and
    Recovery Improvement Act.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:



                                                 JA519               25-cv-00430_DMD_UST_0183
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    (1) Individuals who have applied for or are receiving payments (including contract, grant,
    benefit or loan payments) disbursed by any federal agency, its agents or contractors;


    (2) Individuals declared ineligible to participate in federal procurement programs or to receive
    certain federal loans, assistance, and/or benefits as a result of an exclusion or disqualification
    action;


    (3) Individuals declared ineligible to participate in federal health care programs or to receive
    federal assistance and/or benefits as a result of an exclusion action;


    (4) Individuals who are barred from entering the United States;


    (5) Individuals in bankruptcy proceedings or individuals who have declared bankruptcy;


    (6) Individuals who are, or have been, incarcerated and/or imprisoned;


    (7) Individuals who are in default or delinquent status on loans, judgment debt, or rural
    development and farm services programs provided through federal agencies responsible for
    administering federally-funded programs;


    (8) Individuals who owe non-tax debts to the United States; [*11804]


    (9) Individuals who owe debts to states, where the state has submitted the debt to the Fiscal
    Service for offset; and


    (10) Individuals conducting, or attempting to conduct, transactions at or through a financial
    institution where the financial institution has identified, knows, suspects, or has reason to
    suspect that: (a) The transaction involves funds originating from illegal activities; (b) the
    purpose of the transaction is to hide or disguise funds or assets, or attempt to hide or disguise
    funds or assets, originating from illegal activities as part of a plan to violate or evade any law
    or regulation or to avoid any transaction reporting requirement under federal law; or (c) the
    transaction is illegal in nature or is not the type of transaction in which the particular
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    individual would normally be expected to engage, and the financial institution knows of no
    reasonable explanation for the transaction after examining the available facts, including the
    background and possible purpose of the transaction.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    The records in this system contain information that will assist federal agencies to identify and
    prevent payment error, waste, fraud, and abuse within federal spending. The records contain
    information about intended or actual payees or recipients of federal payments, including
    information about financial assets, including income, wages, and bank accounts into which
    payments are made, and other information to assist federal agencies in making eligibility
    determinations regarding applicants for and recipients of payments from the Federal
    Government.


    The records may contain the following information:


    (1) Name(s), including aliases and surnames;


    (2) State and federal taxpayer identification number (TIN), Social Security number (SSN),
    employer identification number (EIN), individual taxpayer identification number (ITIN),
    taxpayer identification number for pending U.S. adoptions (ATIN), and preparer taxpayer
    identification number (PTIN));


    (3) Date of birth;


    (4) Home and work address;


    (5) Driver's license information and other information about licenses issued to an individual
    by a governmental entity;


    (6) Home, work, and mobile telephone numbers;


                                               JA521               25-cv-00430_DMD_UST_0185
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    (7) Personal and work email addresses;


    (8) Income;


    (9) Employer information;


    (10) Assets and bank account information, including account number and financial institution
    routing and transit number;


    (11) Other types of accounts to which payments are made, including account numbers and
    identifiers (e.g., financial institution routing number, account number, credit card number, and
    information related to pre-paid debit cards);


    (12) Tracking numbers used to locate payment information;


    (13) Loan information, such as borrower identification (“ID”) number and ID type, case
    number, agency code, and type code;


    (14) Incarceration information, such as inmate status code, date of conviction, date of
    confinement, and release date;


    (15) Information about legal judgments;


    (16) Data Universal Numbering System (“DUNS”) numbers;


    (17) Information about non-tax debts owed to the United States; and


    (18) Information about debts owed to state agencies.

                                               JA522               25-cv-00430_DMD_UST_0186
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    RECORD SOURCE CATEGORIES:


    Information in this system is provided by the individual (or an authorized representative) to
    whom the record pertains, federal agencies that authorize payments or issue payments with
    federal funds, Treasury fiscal and financial agents who work with data in this system, and
    commercial database vendors. The system may contain information about an individual from
    more than one source, and this information may vary, depending on the source that provided
    it.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows: 6


    (1) (a) A federal agency, its employees, agents (including contractors of its agents) or
    contractors; (b) a fiscal or financial agent designated by the Fiscal Service, its predecessors, or
    other Department bureau or office, including employees, agents or contractors of such agent;
    or (c) a Fiscal Service contractor, for the purpose of identifying, preventing, or recouping
    improper payments to an applicant for, or recipient of, federal funds;


    (2) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (3) (a) a federal agency, its employees, agents (including contractors of its agents) or
    contractors; (b) a fiscal or financial agent designated by the Fiscal Service, its predecessors, or
    other Department bureau or office, including employees, agents or contractors of such agent;

    6              This system contains records that are collected by the Fiscal Service and other federal agencies. Notwithstanding the routine uses listed
    in this system of records, Federal law may further limit how records may be used, and the Fiscal Service may agree to additional limits on
    disclosure for some data through a written agreement with the entity that supplied the information. As such, the routine uses listed in this system
    of records may not apply to every data set in the system. To identify which routine uses apply to specific data sets, visit
    https://fiscal.treasury.gov/dnp/privacy-program.html.

                                                                         JA523                          25-cv-00430_DMD_UST_0187
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    or (c) a Fiscal Service contractor, to initiate an investigation, or during the course of an
    investigation, and to the extent necessary, obtain information supporting an investigation
    pertinent to the elimination of systemic fraud, waste, and abuse within federal programs;


    (4) (a) a federal agency, its employees, agents (including contractors of its agents) or
    contractors; (b) a fiscal or financial agent designated by the Fiscal Service, its predecessors, or
    other Department bureau or office, including employees, agents or contractors of such agent;
    or (c) a Fiscal Service contractor for the purpose of validating eligibility for an award through
    a federal program;


    (5) (a) a federal agency, its employees, agents (including contractors of its agents) or
    contractors; (b) a fiscal or financial agent designated by the Fiscal Service, its predecessors, or
    other Department bureau or office, including employees, agents or contractors of such agent;
    or (c) a Fiscal Service contractor to check or improve the quality and accuracy of system
    records;


    (6) Financial institutions and their servicers in order to: (a) verify the proper routing and
    delivery of any federal payment; (b) verify the identity of any recipient or intended recipient of
    a federal payment; or (c) investigate or pursue recovery of any improper payment;


    (7) Foreign governments in accordance with formal or informal international agreements;


    (8) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper [*11805] and consistent with the official duties of the person
    making the disclosure;


    (9) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;

                                                 JA524               25-cv-00430_DMD_UST_0188
USCA4 Appeal: 25-1282   Doc: 39-1          Filed: 04/14/2025 Pg: 528 of 582
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    (10) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (11) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (12) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach;


    (13) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;
    and


    (14) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:




                                               JA525               25-cv-00430_DMD_UST_0189
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    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by identifiers, including, but not limited to, exact name, partial
    name, SSN, TIN, EIN, DUNS numbers, or a combination of these elements.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    The Fiscal Service may agree to additional safeguards for some data through a written
    agreement with the entity supplying the data. Information on additional safeguards can be
    found at https://donotpay.treas.gov.


    RECORD ACCESS PROCEDURES:




                                              JA526               25-cv-00430_DMD_UST_0190
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    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on
    December 9, 2013 (78 FR 73923) as the Department of the Treasury, Bureau of the Fiscal
    Service .023—Do Not Pay Payment Verification Records.


    Treasury/Fiscal Service .018


    SYSTEM NAME AND NUMBER:



                                              JA527               25-cv-00430_DMD_UST_0191
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 531 of 582
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    Department of the Treasury, Bureau of the Fiscal Service .018—OneVoice Customer
    Relationship Management.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 3201 Pennsy Drive,
    Warehouse “E”, Landover, MD 20785. Records are also located throughout the United States
    at data centers operated by Fiscal Service service providers.


    SYSTEM MANAGER(S):


    Director, Office of Agency Outreach, Bureau of the Fiscal Service, 3201 Pennsy Drive,
    Warehouse “E”, Landover, MD 20785.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:


    5 U.S.C. 301.


    PURPOSES(S) OF THE SYSTEM:


    The purpose of this system of records is to establish a customer relationship management
    (“CRM”) tool within the Fiscal Service. An enterprise-wide CRM tool is necessary to
    strategically promote, share, and guide the organization in developing processes for marketing,
    messaging, outreach, engagement and consistent product and service implementations. In
    addition, this system will increase transparency; improve outreach, communications, and
    collaboration efforts with our customers and vendors; and employ sound, repeatable
    methodologies.
                                                    JA528         25-cv-00430_DMD_UST_0192
USCA4 Appeal: 25-1282   Doc: 39-1           Filed: 04/14/2025 Pg: 532 of 582
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    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Sole proprietors and other entities, which provide goods and/or services to the Fiscal Service
    (“Vendors”); and individuals representing agencies that purchase goods and/or services
    through the Fiscal Service (“Clients”). [*11806]


    CATEGORIES OF RECORDS IN THE SYSTEM:


    (1) Client's or Vendor's name;


    (2) Agency or organization identifier (if applicable);


    (3) Position information (title and expertise area);


    (4) Phone and fax numbers;


    (5) Email addresses; and


    (6) Physical work address.


    RECORD SOURCE CATEGORIES:


    Records are obtained directly from clients and vendors and added to the system by authorized
    Fiscal Service employees, contractors, and fiscal or financial agents.


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


                                                 JA529            25-cv-00430_DMD_UST_0193
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    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) A federal, state, or local agency, maintaining civil, criminal, or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (2) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (3) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (4) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (5) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach;



                                                JA530               25-cv-00430_DMD_UST_0194
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    (6) Representatives of the National Archives and Records Administration (“NARA”) who are
    conducting records management inspections under the authority of 44 U.S.C. 2904 and 2906;


    (7) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (8) Foreign governments in accordance with formal or informal international agreements; and


    (9) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    Records may be retrieved by name, address, or other alpha/numeric identifying information.


    POLICIES AND PROCEDURES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


                                                JA531               25-cv-00430_DMD_UST_0195
USCA4 Appeal: 25-1282   Doc: 39-1         Filed: 04/14/2025 Pg: 535 of 582
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    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, which are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.

                                              JA532               25-cv-00430_DMD_UST_0196
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    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on
    September 19, 2014 (79 FR 56433) as the Department of the Treasury, Bureau of the Fiscal
    Service .024—OneVoice Customer Relationship Management.


    Treasury/Fiscal Service .019


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .019—Gifts to Reduce the Public
    Debt.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.


    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 200 Third Street, Parkersburg,
    WV 26106-1328. [*11807]


    SYSTEM MANAGER(S):


    Assistant Commissioner, Office of Retail Securities Services, Division of Securities
    Accounting, Bureau of the Fiscal Service, 200 Third Street, Parkersburg, WV 26106-1328.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM:

                                                    JA533         25-cv-00430_DMD_UST_0197
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    31 U.S.C. 3113.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained to document donors' gifts to
    reduce the public debt. They provide a record of correspondence between Fiscal Service and
    the donor, information concerning any legal matters, and a record of depositing the gift and
    accounting for it.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Donors of gifts to reduce the public debt.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    Correspondence; copies of checks, money orders, or other payments; copies of wills and other
    legal documents; and other material related to gifts to reduce the public debt by the Bureau of
    the Fiscal Service.


    Note: This system of records does not cover gifts sent to other agencies, such as gifts sent
    with one's federal income tax return to the Internal Revenue Service. It also does not include
    records pertaining to gifts of tangible property, nor does it include any other gifts to the
    United States.


    RECORD SOURCE CATEGORIES:


    Information in this system of records comes from the individual to whom it applies,
    executors, administrators, and other involved persons.



                                                 JA534            25-cv-00430_DMD_UST_0198
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    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) Appropriate federal, state, local, or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (2) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;


    (3) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (4) Agents or contractors of the Department for the purpose of administering the public debt
    of the United States;


    (5) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (6) The Internal Revenue Service for the purpose of confirming whether a tax-deductible
    event has occurred;

                                                JA535               25-cv-00430_DMD_UST_0199
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    (7) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal Government, or national security; and (3) the
    disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (8) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach;


    (9) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (10) Representatives of the National Archives and Records Administration (“NARA”) who
    are conducting records management inspections under authority of 44 U.S.C. 2904 and 2906;
    and


    (11) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


                                               JA536               25-cv-00430_DMD_UST_0200
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    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:


    These records are retrieved by the name of the donor, amount of gift, type of gift, date of gift,
    Social Security number of donor, if provided, control number, check number, state code, or
    other assigned identifier.


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, that are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:



                                                JA537               25-cv-00430_DMD_UST_0201
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    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in [*11808] the regulations of the U.S. Department of the Treasury
    published in 31 CFR part 1, subpart C, Appendix G.


    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    None.


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .007—
    Gifts to Reduce the Public Debt.


    Treasury/Fiscal Service .020


    SYSTEM NAME AND NUMBER:


    Department of the Treasury, Bureau of the Fiscal Service .020—U.S. Treasury Securities
    Fraud Information System.


    SECURITY CLASSIFICATION:


    Information in this system is not classified.

                                                    JA538         25-cv-00430_DMD_UST_0202
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    SYSTEM LOCATION:


    Bureau of the Fiscal Service, U.S. Department of the Treasury, 200 Third Street, Parkersburg,
    WV 26106-1328; Bureau of the Fiscal Service, U.S. Department of the Treasury, 3201 Pennsy
    Drive, Warehouse “E”, Landover, MD 20785. This system also covers the Fiscal Service
    records that are maintained by contractor(s) under agreement. The system manager maintains
    the system location of these records. The addresses of the contractor(s) may be obtained from
    the system manager below.


    SYSTEM MANAGER(S):


    (1) Assistant Commissioner, Office of Information Technology, Bureau of the Fiscal Service,
    200 Third Street, Parkersburg, WV 26106-1328;


    (2) Assistant Commissioner, Retail Securities Services, Bureau of the Fiscal Service, 200 Third
    Street, Parkersburg, WV 26106-1328; and


    (3) Office of the Chief Counsel, Bureau of the Fiscal Service, 200 Third Street, Parkersburg,
    WV 26106-1328.


    AUTHORITY FOR MAINTENANCE OF THE SYSTEM


    31 U.S.C. 321(a)(5), 31 U.S.C. 333, 31 U.S.C. 3101, et seq. 31 U.S.C. 5318, and 5 U.S.C. 301.


    PURPOSE(S) OF THE SYSTEM:


    Information in this system of records is collected and maintained to: (1) Identify and monitor
    fraudulent and suspicious activity related to Treasury securities, other U.S. obligations, and
    fictitious instruments; (2) ensure that the Fiscal Service provides a timely and appropriate
    notification of a possible violation of law to law enforcement and regulatory agencies; (3)

                                                JA539               25-cv-00430_DMD_UST_0203
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    protect the Government and individuals from fraud and loss; (4) prevent the misuse of
    Treasury names and symbols on fraudulent instruments; and (5) compile summary reports
    that conform with the spirit of the USA Patriot Act's anti-terrorism financing provisions and
    the Bank Secrecy Act's anti-money laundering provisions, and submit the reports to the
    Financial Crimes Enforcement Network.


    CATEGORIES OF INDIVIDUALS COVERED BY THE SYSTEM:


    Individuals under investigation or who make inquiries or report fraudulent or suspicious
    activities related to Treasury securities and other U.S. obligations.


    CATEGORIES OF RECORDS IN THE SYSTEM:


    The types of personal information collected/used by this system are necessary to ensure the
    accurate identification of individuals who report or make fraudulent transactions involving
    Treasury securities, other U.S. obligations, and fictitious instruments. The types of personal
    information potentially could include the following:


    (1) Personal identifiers (name, including previous name used, and aliases; Social Security
    number; tax identification number; physical and electronic addresses; telephone, fax, and
    pager numbers); and


    (2) Authentication aids (personal identification number, password, account number, credit
    card number, shared-secret identifier, digitized signature, or other unique identifier).


    Supporting records may contain correspondence between the Fiscal Service and the entity or
    individual suspected of fraud or individual submitting a complaint or inquiry, correspondence
    between the Fiscal Service and the Department, or correspondence between the Fiscal Service
    and law enforcement, regulatory bodies, or other third parties.


    RECORD SOURCE CATEGORIES:



                                              JA540               25-cv-00430_DMD_UST_0204
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    Information in this system of records is exempt from the Privacy Act provision that requires
    that record source categories be reported. (See “Exemptions Promulgated for the System,”
    below.)


    ROUTINE USES OF RECORDS MAINTAINED IN THE SYSTEM, INCLUDING
    CATEGORIES OF USERS AND THE PURPOSES OF SUCH USES:


    In addition to those disclosures generally permitted under the Privacy Act of 1974, 5 U.S.C.
    552a(b), records and/or information or portions thereof maintained as part of this system may
    be disclosed outside Treasury as a routine use pursuant to 5 U.S.C. 552a(b)(3) as follows to:


    (1) A congressional office in response to an inquiry made at the request of the individual to
    whom the record pertains;


    (2) Appropriate federal, state, local or foreign agencies responsible for investigating or
    prosecuting a violation or for enforcing or implementing a statute, rule, regulation, order, or
    license, when a record, either on its face or in conjunction with other information, indicates a
    violation or potential violation of law, which includes criminal, civil, or regulatory violations
    and such disclosure is proper and consistent with the official duties of the person making the
    disclosure;


    (3) A federal, state, or local agency, maintaining civil, criminal or other relevant enforcement
    information or other pertinent information, which has requested information relevant to or
    necessary to the requesting agency's or the bureau's hiring or retention of an individual, or
    issuance of a security clearance, suitability determination, license, contract, grant, or other
    benefit;


    (4) A court, magistrate, mediator or administrative tribunal in the course of presenting
    evidence, including disclosures to opposing counsel or witnesses in the course of civil
    discovery, litigation, or settlement negotiations, in response to a subpoena, or in connection
    with criminal law proceedings;




                                                JA541               25-cv-00430_DMD_UST_0205
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    (5) Third parties during the course of an investigation to the extent necessary to obtain
    information pertinent to the investigation;


    (6) Agents or contractors who have been engaged to assist the Fiscal Service in the
    performance of a service related to this system of records and who need to have access to the
    records in order to perform the activity;


    (7) Appropriate agencies, entities, and person when (1) the Department of the Treasury
    and/or Fiscal Service suspects or has confirmed that there has been a breach of the system of
    records; (2) the Department of the Treasury and/or Fiscal Service has determined that as a
    result of the suspected or confirmed breach there is a risk of harm to individuals, the
    Department of the Treasury and/or Fiscal Service (including its information systems,
    programs, and operations), the Federal [*11809] Government, or national security; and (3)
    the disclosure made to such agencies, entities, and persons is reasonably necessary to assist in
    connection with the Department of the Treasury's and/or Fiscal Service's efforts to respond
    to the suspected or confirmed breach or to prevent, minimize, or remedy such harm;


    (8) Another Federal agency or Federal entity, when the Department of the Treasury and/or
    Fiscal Service determines that information from this system of records is reasonably necessary
    to assist the recipient agency or entity in (1) responding to a suspected or confirmed breach or
    (2) preventing, minimizing, or remedying the risk of harm to individuals, the recipient agency
    or entity (including its information systems, programs, and operations), the Federal
    Government, or national security, resulting from a suspected or confirmed breach; and


    (9) Representatives of the National Archives and Records Administration (“NARA”) who are
    conducting records management inspections under authority of 44 U.S.C. 2904 and 2906.


    POLICIES AND PRACTICES FOR STORAGE OF RECORDS:


    Records in this system are stored electronically or on paper in secure facilities in a locked
    drawer behind a locked door.


    POLICIES AND PRACTICES FOR RETRIEVAL OF RECORDS:

                                               JA542               25-cv-00430_DMD_UST_0206
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    Records may be retrieved by (name, alias name, Social Security number, tax identification
    number, account number, or other unique identifier).


    POLICIES AND PRACTICES FOR RETENTION AND DISPOSAL OF
    RECORDS:


    All data maintained by this Fiscal Service system of records are retained and destroyed in
    accordance with the Fiscal Service File Plan. All records schedules and categories within the
    Fiscal Service File Plan are approved by NARA.


    ADMINISTRATIVE, TECHNICAL, AND PHYSICAL SAFEGUARDS:


    These records are maintained in controlled access areas. Identification cards are verified to
    ensure that only authorized personnel are present. Electronic records are protected by
    restricted access procedures, including the use of passwords and sign-on protocols, that are
    periodically changed. Only employees whose official duties require access are allowed to view,
    administer, and control these records. Copies of records maintained on a computer have the
    same limited access as paper records.


    RECORD ACCESS PROCEDURES:


    Individuals requesting information under the Privacy Act must follow the procedures set forth
    in the regulations of the U.S. Department of the Treasury published in 31 CFR part 1, subpart
    C, Appendix G.


    CONTESTING RECORD PROCEDURES:


    Individuals seeking to contest and/or amend records under the Privacy Act must follow the
    procedures set forth in the regulations of the U.S. Department of the Treasury published in 31
    CFR part 1, subpart C, Appendix G.


                                              JA543               25-cv-00430_DMD_UST_0207
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    NOTIFICATION PROCEDURES:


    Individuals seeking to be notified if this system of record contains a record pertaining to
    himself or herself must follow the procedures set forth in the regulations of the U.S.
    Department of the Treasury published in 31 CFR part 1, subpart C, Appendix G.


    EXEMPTIONS PROMULGATED FOR THE SYSTEM:


    Records maintained in this system have been designated as exempt from 5 U.S.C. 552a(c)(3),
    (d)(1), (2), (3), and (4), (e)(1), (e)(4)(G), (H), and (I), and (f) pursuant to 5 U.S.C. 552a(k)(2).
    See 31 CFR 1.36.7


    HISTORY:


    Notice of this system of records was last published in full in the Federal Register on August
    17, 2011 (76 FR 51128) as the Department of the Treasury, Bureau of the Public Debt .009—
    U.S. Treasury Securities Fraud Information System.


    [FR Doc. 2020-03969 Filed 2-26-20; 8:45 am]
    BILLING CODE 4810-35-P

    Dates


    DATES: Submit comments on or before March 30, 2020. The new routine uses will be
    applicable on March 30, 2020 unless Treasury receives comments and determines that changes
    to the system of records notice are necessary.

    Contacts




    7          As noted in the Supplementary Information section, this SORN is the successor to BPD SORN .009 (U.S. Treasuries Securities Fraud
    Information System). Therefore, references to BPD .009 in 31 CFR part 1 should be construed as a reference to this SORN.

                                                                   JA544                        25-cv-00430_DMD_UST_0208
USCA4 Appeal: 25-1282   Doc: 39-1      Filed: 04/14/2025 Pg: 548 of 582
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    ADDRESSES: David J. Ambrose, Chief Security Officer/Chief Privacy Officer, Bureau of
    the Fiscal Service, 3201 Pennsy Drive, Warehouse “E”, Landover, MD 20785.
    FOR FURTHER INFORMATION CONTACT: David J. Ambrose, Chief Security
    Officer/Chief Privacy Officer, Bureau of the Fiscal Service, 202-874-6488.

    FEDERAL REGISTER


      End of Document




                                          JA545              25-cv-00430_DMD_UST_0209
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                                     Exhibit 3




                                         JA546
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND


        AMERICAN FEDERATION OF
        TEACHERS, et al.,

                               Plaintiffs,
                                                               Case No. 8:25-cv-430-DLB
                       v.

        SCOTT BESSENT, et al.,

                               Defendants.



                            CERTIFICATION OF ADMINISTRATIVE RECORD

               I, Bonnie Hochhalter, am currently employed as the Deputy Chief Human Capital Officer

        for the U.S. Department of Education. I am familiar with the claims asserted against the

        Department of Education in the above-captioned action regarding the granting of access to data

        systems to employees implementing Executive Order 14,158.

               I hereby certify, to the best of my knowledge, that the accompanying administrative record

        is complete and contains all non-deliberative documents and materials directly or indirectly

        considered regarding the Department of Education actions challenged in this case. 1 Among these

        documents and materials, the Department of Education has duly evaluated all predecisional

        documents before excluding them from the record.




               1
                 Notwithstanding the Court’s order to file an administrative record in this case, Defendants
        maintain that the Amended Complaint does not challenge any final agency action and reserve their
        right to argue in further proceedings in this case, including in any subsequent appeal, that the
        Administrative Procedure Act does not provide for review.



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               In accordance with 28 U.S.C. § 1746, I hereby certify and declare under penalty of perjury

        that the foregoing is true and correct to the best of my knowledge, information, and belief.



                                                                            3/7/2025
                                                             [NAME]




                                                         2

                                                    JA548
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                 Index for Administrative Record of the U.S. Department of Education

                              Title of Document                        Bates Range
          1   Executive Office of the President, U.S. DOGE       ED-000001 – ED-000004
              Service, Terms and Conditions for Reimbursable
              Work, Department of Education
          2   ED-1 Employee Memorandum of Understanding          ED-000005 – ED-000007
          3   ED-1 Employee Memorandum of Understanding          ED-000008
          4   ED-2 Employee Request for Schedule C               ED-000009
              Appointment
         5    ED-2 Employee Appointment Letter                   ED-000010 – ED-000012
         6    ED-3 Employee Memorandum of Understanding          ED-000013 – ED-000016
         7    ED-4 Employee Consultant Agreement                 ED-000017 – ED-000020
         8    ED-4 Employee SF-61                                ED-000021
         9    ED-4 Employee Waiver                               ED-000022
         10   Executive Order 14,158, 90 Fed. Reg. 8,441 (Jan.   ED-000023 – ED-000024
              29, 2025)
         11   DOGE Authorization Memo                            ED-000025
         12   Rules of Behavior                                  ED-0000026 – ED-000029




                                                JA549
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                                                     JA553
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                                         JA554
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                                         JA555
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                                         JA556
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                                         JA557
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                                         JA558
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                                         JA559
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                                         JA560
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                                         JA561
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                                         JA562
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                                         JA563
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                                         JA564
USCA4 Appeal: 25-1282   Doc: 39-1     Filed: 04/14/2025 Pg: 568 of 582
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                                         JA565
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                                         JA566
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                                         JA567
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                                         JA568
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                                         JA569
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                                         JA570
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                                         JA571
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                                         JA572
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                                             (b) Agency Heads shall take all necessary steps, in coordination with
                                          the USDS Administrator and to the maximum extent consistent with law,
                                          to ensure USDS has full and prompt access to all unclassified agency records,
                                          software systems, and IT systems. USDS shall adhere to rigorous data protec-
                                          tion standards.
                                             (c) This Executive Order displaces all prior executive orders and regula-
                                          tions, insofar as they are subject to direct presidential amendment, that
                                          might serve as a barrier to providing USDS access to agency records and
                                          systems as described above.
                                          Sec. 5. General Provisions. (a) Nothing in this order shall be construed
                                          to impair or otherwise affect:
                                             (i) the authority granted by law to an executive department or agency,
                                             or the head thereof; or
                                            (ii) the functions of the Director of the Office of Management and Budget
                                            relating to budgetary, administrative, or legislative proposals.
                                            (b) This order shall be implemented consistent with applicable law and
                                          subject to the availability of appropriations.
                                            (c) This order is not intended to, and does not, create any right or benefit,
                                          substantive or procedural, enforceable at law or in equity by any party
                                          against the United States, its departments, agencies, or entities, its officers,
                                          employees, or agents, or any other person.




                                          THE WHITE HOUSE,
                                          January 20, 2025.


     [FR Doc. 2025–02005
     Filed 1–28–25; 11:15 am]
     Billing code 3395–F4–P




                                                           JA573
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                                         JA574
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                               U.S. Department of Education
                    Information Technology (IT) System Rules of Behavior
        All Government and Contractor personnel of the Department of Education (ED) must follow the rules of
        behavior set forth in this document when accessing and using IT equipment, systems, and departmental
        data and information. The Department of Education computer network provides access to e-mail, the
        Internet, Intranet, and most other systems required for the execution of the Department’s mission. All
        personnel authorized access will be held accountable for their actions. Violations of the rules of behavior
        will be brought to the attention of Management for action, as situations warrant (e.g., personnel found in
        violation may face disciplinary action). According to the Department’s Handbook for Information
        Assurance (IA) Security Policy, personnel who violate the rules may have their access to the ED computer
        network revoked. The rules described below are not to be used in place of existing policy, rather they are
        intended to enhance and define the specific rules each user must follow while accessing the Department
        of Education computer network.

        This applies to all Government and Contractor personnel who have access to Department of Education
        computer network systems, data, records, and files. Further, all Government and Contractor personnel
        must adhere to all Department of Education Policy, Guidance and Procedures which include, but are not
        limited to:

            x   You are prohibited from uploading offensive or objectionable material to, or downloading from,
                the Internet. Refer to “Personal Use of Government Equipment and Information Resources”, dated
                April 16, 2006
            x   You must not knowingly, and with the intent to defraud the U.S. Government, access a protected
                computer without authorization, or beyond your authorization level
            x   You are prohibited from using the Department of Education computer network or computer
                equipment to engage in any activity that is illegal or otherwise expressly prohibited (e.g. political
                activity, lobbying activity prohibited by law or running a personal business). You are, however,
                permitted occasional personal use, provided that such use incurs only a negligible additional
                expense to the Department of Education; does not impede your ability to do your job, does not
                impede other employees' ability to do their jobs; occurs during off-duty hours, whenever possible;
                and, is not for the purpose of generating income for yourself or anyone else
            x   All computer resources (including personal computers, laptops, wireless devices, all parts of the
                Department of Education computer network, communication lines and computing facilities) are to
                be used in accordance with ED OCIO 1-104, “Personal Use of Government Equipment and
                Information Resources”, policy
            x   Be aware that all Department of Education network and system resources used and accessed by
                Government and Contractor personnel are subject to periodic test, review, audit, and monitoring
            x   You must adhere to all Department of Education IT security policies, practices and procedures, as
                well as relevant Presidential Directives and Office of Management and Budget (OMB) memoranda
            x   You must adhere to the handling and disclosure of information as set forth in the Freedom of
                Information Act and the Privacy Act
            x   The confidentiality and integrity of information must be maintained. Therefore, information in any
                form shall be appropriately protected. You must not maliciously delete, modify, destroy or
                otherwise misuse any Department data or information
            x   You must complete the OCIO Annual Security Awareness Training, and, if you are identified as
                being key IA or IT personnel, you must complete the required annual specialized education and
                training requirements defined by the OCIO IAS organization




                                                             1


                                                          JA575
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                               U.S. Department of Education
                    Information Technology (IT) System Rules of Behavior

        User IDs and Passwords
        All Government and Contractor personnel must adhere to the policy set forth in the Department of
        Education’s IT Password Guidance, which includes, but is not limited to:

           x   You are prohibited from sharing your account information with anyone, and must take the
               appropriate action to ensure your account information is stored in a secure manner
           x   Your password must be a mix of at least 12 characters that contain upper and lower case letters,
               two numbers and at least one special character
           x   Passwords cannot resemble any part of your user-ID or name
           x   Passwords cannot not be reused for 24 iterations
           x   Passwords must be changed at least once every 90 days
           x   If your User-ID or password is compromised, you must report it immediately to your supervisor
               and ISSO/ISSM
           x   Personal Identification Numbers (PINs) will be constructed as required, by the token issuer of any
               system requiring a PIN for access

        Account Inactivity
        The Department will implement procedures and methodologies to ensure adequate management of
        information system accounts.

           x   After 30 days of inactivity, the account shall be put in suspension within 5 working days, and will
               be terminated after 90 days. If you will not access your account for 90 days, contact your ISSO in
               advance to avoid having your account terminated.
           x   Accounts with a cyclical business model (normally not accessed within 30 days) will not be
               suspended after 30 days of inactivity. These accounts will be suspended after 30 days of inactivity
               of their normal access period. Example: if an account with a cyclical business model is only
               accessed every 60 days, then it would be suspended after 90 days of inactivity. These accounts
               should be coordinated through ISSO channels.

        Access to Information Must be Controlled

           x   All Government and Contractor personnel will be given access to information based on a need to
               know. Bypassing web filtering is a violation of Department policy that can expose the user and the
               Department to risks
           x   You must work within the confines of the access allowed, and you must not attempt to access
               information for which you do not have a need to know
           x   Do not leave computers logged on and unattended. Log off at the end of each session, or use
               access control software (i.e., screen saver with password) or configure auto-lock for unattended
               use
           x   All wireless devices must be password protected
           x   Do not leave mobile, wireless devices or cell phones unattended. Handheld devices should be
               stored securely when left unattended. To prevent theft, make sure that add-on modules and
               accessories are adequately protected when not in use
           x   You are prohibited from sharing mobile or wireless devices, cell phones, or calling cards that have
               been assigned to you
           x   You are prohibited from using a dial-up modem to directly access the internal network or any
               internal network devices. Dial-up access to the networks must be through OCIO operated access
               servers, and will only be assigned to authorized personnel
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                              U.S. Department of Education
                   Information Technology (IT) System Rules of Behavior
           x   Connection to the Internet shall be in accordance with the ED IA Security Policy
           x   Users shall not establish Internet or other external network connections (e.g., via modem access
               or unauthorized VPN) that could allow unauthorized non-Department of Education personnel to
               bypass security features, and gain access to Department systems and information
           x   Users shall not connect unauthorized devices to any Department networks, systems or devices
           x   Users shall not access or attempt to access network resources, systems or devices with
               unauthorized devices

        Proper Use of IT Resources

           x   You are only authorized to access and use Department of Education licensed/approved
               software. The use of unlicensed software is strictly prohibited
           x   All licensed/approved software and documentation must be used in accordance with the
               copyrighted license agreement
           x   You are only authorized to back-up your data to a network device or approved backup
               device. You are prohibited from storing sensitive or mission-critical data on your systems’ hard
               drive or handheld device
           x   All Department of Education system resources, including hardware, software programs, files,
               paper reports, and data are the sole property of the Department of Education, and there should
               be no expectation of privacy
           x   You are only authorized to use Department-approved USB drives
           x   Department-issued laptops should be physically secured with laptop locks in the workspace

        Service Provisions and Restoration

           x   The Department of Education Network will be available for use by authorized users, at a
               minimum, during core business hours
           x   The proper controls are in place to ensure the restoration of critical information systems in the
               event that the Department of Education Network becomes inoperable

        Warning Banners
        All Government and Contractor personnel who request access to the Department of Education’s computer
        network or systems must read, agree to, and adhere to the Department’s Warning Banner before being
        granted access.

           Standard Mandatory Warning Banner
           Ё You are accessing a U.S. Government information system, which includes (1) this computer, (2)
               this computer network, (3) all computers connected to this network, and (4) all devices and
               storage media attached to this network or to a computer on this network. This information
               system is provided for U.S. Government-authorized use only
           Ё Unauthorized or improper use of this system may result in disciplinary action, as well as civil and
               criminal penalties
           Ё By using this information system, you understand and consent to the following:
           Ё You have no reasonable expectation of privacy regarding any communications or data transiting
               or stored on this information system. At any time, the government may monitor, intercept, search
               and seize any communication or data transmitting or stored on this information system
           Ё Any communications or data transiting by or stored on this information system may be disclosed
               or used for any purpose.

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                              U.S. Department of Education
                   Information Technology (IT) System Rules of Behavior
           Remote Log on Mandatory Warning Banner/User Agreement
           Ё You are accessing a U.S. Government information system, which includes this computer session,
              this computer network, and all computers connected to this network session.
           Ё This information system is provided for U.S. Government authorized use only.
           Ё Unauthorized or improper use of this system may result in disciplinary action, as well as civil and
              criminal penalties.
           Ё Personnel using remote access shall not download or store Government information on private
              equipment, optical or digital media.
           Ё By using this information system, you understand and consent to the following:
              ·    You have no reasonable expectation of privacy regarding any communications of data
                   transiting this information system. At any time, the Government may monitor, intercept,
                   search, and seize any communications or data transiting this information system
              ·    Any communications or data transiting this information system may be disclosed or used for
                   any purpose
           Ё By logging on, I agree and consent to these terms and conditions.




        By signing below, I acknowledge and accept the rules of behavior outlined above.




               Name:
                                                               (Printed Name)




               Email Address:
                                                           (Please Print Legibly)




               Signature:




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                                CERTIFICATE OF SERVICE

              I hereby certify that on April 14, 2025, I electronically filed the

        foregoing joint appendix with the Clerk of the Court for the United States

        Court of Appeals for the Fourth Circuit by using the appellate CM/ECF

        system. Service will be accomplished by the appellate CM/ECF system.


                                                     s/ Jack Starcher
                                                    Jack Starcher
